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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:
                                                       Case No. 12-80220
WEINSTOCK & SCAVO, P.C.,                               Chapter 7
                                                       Judge Sacca
     Debtor.


WILLIAM J. LAYNG, JR., as Chapter 7 Trustee
for WEINSTOCK & SCAVO, P.C.,

     Plaintiff,
                                                       Adversary No. 21-05122-jrs
v.

US BANK TRUST NATIONAL ASSOCIATION,
not in its individual capacity but solely as Owner
Trustee for VRMTG Asset Trust, et al.,

     Defendants.


                             STIPULATIONS OF FACT FOR TRIAL

          COME NOW, Trustee William J. Layng, Jr. (“Trustee” or “Layng”) and U.S. Bank Trust

 National Association, not in its individual capacity but solely as Owner Trustee for VRMTG

 Asset Trust (“U.S. Bank”), and hereby submit the following Stipulations of Fact pursuant to this

 Court’s Order entered on January 27, 2022:

          1.      Layng is the duly authorized and acting trustee in the bankruptcy case of

 Weinstock & Scavo, P.C. (“Debtor”).

          2.      On December 4, 2012 (the "Petition Date"), Debtor filed a voluntary petition for

 relief under Chapter 7 of the United States Bankruptcy Code (the "Bankruptcy Code").




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       3.      Trustee holds title to residential real property known as 2225 Wallace Road SW,

Atlanta, Georgia 30331 (the “Property”). The estate obtained title to the Property in connection

with the Trustee’s turnover action captioned: William J. Layng, Jr., as chapter 7 Trustee for the

Estate of Weinstock & Scavo, P.C., Plaintiff, v. Charlton Carlos Lester, OTS, Inc., Jade Eye 72

Trust, Tie Ray Trust, Black Royal Trust and BMS Realty, LLC, Defendants; Adversary

Proceeding No. 19-05234 (the “Fraudulent Transfer Case”).

       4.      On September 30, 2009, Charlton C. Lester executed a security deed conveying

the Property to Mortgage Electronic Registration Systems, Inc. (“MERS”) as nominee for CBC

National Bank, its successors and assigns (the “First Priority Security Deed”). The First Priority

Security Deed secures a loan in the original principal amount of $417,000.00, and is recorded in

Deed Book 48403, Page 675, Fulton County, Georgia records. A true and correct copy of the

Security Deed is attached hereto as Exhibit “A”.

       5.      On December 30, 2015, MERS assigned the First Priority Security Deed to Wells

Fargo Bank, N.A. via Corporate Assignment of Security Deed recorded on January 6, 2016, in

Deed Book 55740, Page 82, Fulton County, Georgia records (the “First Assignment”). A true

and correct copy of the First Assignment is attached hereto as Exhibit “B”.

       6.      On August 5, 2019, Wells Fargo Bank, N.A. assigned the First Priority Security

Deed to Specialized Loan Servicing, LLC via Corporate Assignment of Security Deed recorded

on August 13, 2019, in Deed Book 60390, Page 208, Fulton County, Georgia records (the

“Second Assignment”). A true and correct copy of the Second Assignment is attached hereto as

Exhibit “C”.

       7.      On March 18, 2021, Specialized Loan Servicing, LLC assigned the First Priority

Security Deed to U.S. Bank via Assignment of Security Deed recorded on April 12, 2021, in



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Deed Book 63551, Page 529, Fulton County, Georgia records (the “Third Assignment”). A true

and correct copy of the Third Assignment is attached hereto as Exhibit “D”.

       8.      The Trustee and U.S. Bank agree that U.S. Bank is the current holder of the First

Priority Security Deed.

       9.      The Trustee and U.S. Bank agree that as of December 9, 2021, the amount

required to satisfy the debt due and owing on the First Priority Security Deed was $512,997.30.

       10.     The Trustee and U.S. Bank agree that no payments have been received by U.S.

Bank on the First Priority Security Deed since the payoff statement generated on December 9,

2021, and that the debt continues to exist and to accrue interest and all other charges allowable

by the First Priority Security Deed and associated loan documents.

       11.     The Trustee and U.S. Bank agree that the First Priority Security Deed is senior in

priority to any other claim which could be asserted by any of the other Defendants in this

adversary proceeding.

       12.     The Certificate of Title for the Property examined in the real estate records of the

Superior Court of Fulton County as of February 24, is attached as Exhibit “E” and shows the

following liens in order of priority as follows:

               a. First Priority Security Deed to U.S. Bank- Deed Book 48403, Page 675, filed

                   on September 30, 2009 in the original principal amount of $417,000.00;

               b. Security Deed to RBC Bank (USA)- Deed Book 48403, Page 688, filed on

                   September 30, 2009 in the original principal amount of $117,500.00 (the

                   “Second Priority Security Deed”;

               c. Notice of Claim of Deed by Charlton Carlos Lester, Deed Book 64562, Page

                   142, filed September 29, 2021;



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            d. Notice of Claim of Deed by Charlton Carlos Lester; Deed Book 64562, Page

               176, September 29, 2021;

            e. UCC Financing Statement by Jermaine Bradley as secured party against Jade

               Eye 72 Trust as debtor; Deed Book 58019, Page 639, filed October 16, 2017;

            f. UCC Financing Statement by Charlton Lester as secured party against

               Charlton Carlos Lester, a Trust Entity, as debtor; Deed Book 60487, Page 697,

               filed September 9, 2019;

            g. UCC Financing Statement by Jermaine Bradley as secured party against Jade

               Eye 72 Trust as debtor; Deed Book 62055, Page 492, filed August 7, 2020;

            h. Lis Pendens Notice in the Fraudulent Transfer Case, Lien Book 4570, Page 76

               filed June 24, 2019;

            i. Title Affidavit of Michael J. Campbell with attached Order in the Fraudulent

               Transfer Case transferring title to the Property to Trustee, Deed Book 62038,

               Page 57, filed on August 5, 2020;

            j. Fulton County- Fi Fa No. XXXXX; Lien Book 3945, Page 281, filed on June

               19, 2017, Louis Cohan and Weinstock & Scavo vs. Charlton Carlos Lester,

               civil action no. 2011CV205919, judgment date- April 3, 2017 in the principal

               amount of $62,317.87;

            k. Notice of Federal Tax Lien against Omni Tech Institute, Inc., Lien Book

               5087, Page 74, filed on April 9, 2021;




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STIPULATED TO:

/s/ Bret J. Chaness
BRET J. CHANESS (GA Bar No. 720572)
RUBIN LUBLIN, LLC
3140 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(678) 281-2730 (Telephone)
(404) 921-9016 (Facsimile)
bchaness@rlselaw.com
Attorney for U.S. Bank Trust National Association,
not in its individual capacity but solely as
Owner Trustee for VRMTG Asset Trust

/s/ Theodore N. Stapleton
Theodore N. Stapleton
Georgia Bar No. 675850
Attorneys for Trustee
Suite 100-B
2802 Paces Ferry Road
Atlanta, Georgia, 30339
Telephone: (770) 436-3334
tstaple@tstaple.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this 1st day of March, 2022, filed the within and foregoing by

CM/ECF, which will serve notice on all parties.

                                                    /s/ Bret J. Chaness
                                                    BRET J. CHANESS (GA Bar No. 720572)
    EXHIBIT    A
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                                                                                                                        Filed and Recorded Sep-30-£009 0£:10pn
                                                                                                                              2009-O2 85032
                                                                                                                        Georgia Intangible Tax Paid $1,251.00
                                                                                                                          Cathelene        Robinson
             After Recording Return To;
                                                                                                                            Clerk of Superior Court
             CJ3C      NATIONAL              BA1
                                                                                                                             Fulton County, Georgia

             3010      ROYAL              'LEVARD      SOUTH,     SUITE      230                                  CROSS REFERENCE
                                                                                                                DE Book 56794 Page 615
             ALPHARETTA,                   GEtfRGIA        30022


                                                                                                                              ASGN
                                        RETURN TO                                                                        DE Book 55740 Page 82
                                        Hudnall Cohn Fyvolent & Shaver, P.O.
                                        3471 Donaville Street
                                        Duluth, GA 30096



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             MIN:       1006094-0909004342-7                               SECURITY DEED

             DEFINITIONS


             Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13, 18,
             20 and 21.      Certain rules regarding the usage of words used in this document are also provided in Section 16.


             (A)    "Security Instrument" means this document, which is dated                            SEPTEMBER         25,     2009
             together with all Riders to this document.
             CD)    "Borrower" is CHARLTON                   C.    LESTER


                                                                                                       Borrower is the grantor under this Security Instrument.
             (C)    "MERS" is Mortgage Electronic Registration Systems, Inc.                           MERS is a separate corporation thai is acting solely as
             a nominee for Lender and Lender's successors and assigns. MERS is the grantee under this Security Instrument. MERS
             is organized and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint,
             Michigan 48501-2026, tel. (888)679-MERS.
             (D) "Lender" is CBC     NATIONAL BANK


             Lender is          A NATIONAL               BANK                                                          organized and existing under the laws of
                                                                              .   Lender's address is          3 010    ROYAL      BOULEVARD
             SOUTH,          SUITE           230,       ALPHARETTA,               GEORGIA              30022
             (E) "Note" means the promissory note signed by Borrower and dated                                   SEPTEMBER           25,    2009
             The Note stales that Borrower owes Lender                  FOUR        HUNDRED              SEVENTEEN         THOUSAND AND NO/100

             Dollars (U.S. S            417, 000.00                        ) plus interest.      Borrower has promised to pay this debt in regular Periodic
             Payments and to pay the debt in full not later than                   OCTOBER              1,     2039
             (F) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."
             (G)    "Loan" means the debt evidenced by die Note, plus interest, any prepayment charges and late charges due under the
             Note, and all sums due under this Security Instrument, plus interest.
             (IT)   "Riders" means all riders to this Security Instrument that are executed by Borrower.                         The following riders are to be
             executed by Borrower [check box as applicable] :


                    Zl Adjustable Rate Rider                         _| Condominium Rider                                   n Second Home Rider
                    = Balloon Rider                                  _ Planned Unit Development Rider                       [>0 Other (s) [specify]
                    _ 1-4 Family Rider                               _| Biweekly Paymenl Rider                                   LEGAL      ATTACHED
                                                          WAIVER      OF    BORROWER'S                RIGHTS   AND    CLOSING    ATTORNEY




             GEORGIA   Single Fatuity   Ftnoie kWFfeddic Mac UNIFORM INSTRUMENT                                                                       Fuim 3 01 1   I'OI
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               (I)  "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
               administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial opinions.
               {J) "Community Association Dues, Fees and Assessments" means all dues, fees, assessments and other charges that are
           '   imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.
               (Kj    "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft, or
               similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic tape
               so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not
               limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and
               automated clearinghouse transfers.
               (L) "Escrow Items" means those items that are described in Section 3.
               (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any third party
               (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or destruction of, the
               Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or
               (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
               (N)    "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
               (O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note, plus (ii)
               any amounts under Section 3 of this Security Instrument.
               (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its implementing
               regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or successor
               legislation or regulation that governs the same subject matter. As used in this Security. Instrument, "RESPA" refers to all
               requirements and restrictions that are imposed in regard to a "federally related mortgage loan" even if the Loan does not
               qualify as a "federally related mortgage loan" under RESFA.
               (Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that party
               has assumed Borrower's obligations under the Note and/or this Security Instrument.

               TRANSFER OF RIGHTS IN THE PROPERTY

               This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications
               of the Note; and (ii) the performance of Borrower's covenants and agreements under this Security Instrument and the Note.
               For this purpose, Borrower does hereby mortgage, grant and convey to MERS (solely as nominee for Lender and Lender's
               successors and assigns) and to the successors and assigns of MERS, with power of sale, the following described property
               "located' in the
                             "            COUNTY                           of    FULTON                                                 :
                                                 [Type of Recording Jurisdiction!                           (Name of Recording Jurisdiction)
               LEGAL         DESCRIPTION               ATTACHED            HERETO            AND          MADE    A   PART       HEREOF




                        curre ntly   has the address of        2225       WALLACE             ROAD         SW
                                                                                           [Street]


               ATLANTA                                      .Georgia       30331                 ("Property Address"):
                           [City]                                            (Zip Code)


                    TO HAVE AND TO HOLD this property unto MERS (solely as nominee for Lender and Lender's successors and
               assigns) and to the successors and assigns of MERS, forever, together with all the improvements now or hereafter erected
               on the property, and all easements, appurtenances, and fixtures now or hereafter a part of the property.       All replacements
               and additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument
               as the "Properly." Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower
               in this Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's
               successors and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to
               foreclose and sell the Property; and to take any action required of Lender including, but not limited to, releasing and
               canceling this Security Instrument.


               GEORGIA - Single Family - Fannie Mai Freddie Mac UNIFORM INSTRUMENT                                                             Form 3011   1/01
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                  BORROWER COVENANTS (hat Borrower is lawfully seised of the estate hereby conveyed and has the right to grant
             and convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants
             and will defend generally the title to the Property against all claims and demands, subject to any encumbrances of record.

                  THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
             variations by jurisdiction to constitute a uniform security instrument covering real property.


                    UNIFORM COVENANTS.          Borrower and Lender covenant and agree as follows:
                   1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay
             when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges due
             under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and
             this Security Instrument shall be made in U.S. currency. However, if any check or other instrument received by Lender
             as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all
             subsequent payments due under the Note and this Security Instrument be made in one or more of the following forms, as
             selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided
             any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or entity; or
             (d) Electronic Funds Transfer.
                  Payments are deemed received by Lender when received at the location designated in the Note or at such other location
             as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return any payment
             or partial payment if the payment or partial payments are insufficient to bring the Loan current.     Lender may accept any
             payment or partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice to
             its rights to refuse such payment or partial payments in the future, but Lender is not obligated to apply such payments at the
             time such payments are accepted.     If each Periodic Payment is applied as of its scheduled due date, then Lender need not
             pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
             current. If Borrower does not do so within a reasonable period of time, Lender shall either apply such funds or return them
             to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under the Note
             immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future against Lender shall
             relieve Borrower from making payments due under the Note and this Security Instrument or performing the covenants and
             agreements secured by this Security Instrument.
                  2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted and
             applied by Lender shall be applied in the following order of priority: (a) interest due under the Note; (b) principal due under
             the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the order in which
             it became due. Any remaining amounts shall be applied first to late charges, second to any other amounts due under this
             Security Instrument, and then to reduce the principal balance of the Note:
                  If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to
             pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If more than one
             Periodic Payment is outstanding. Lender may apply any payment received from Borrower to the repayment of the Periodic
             Payments if, and to the extent that, each payment can be paid in full. To the extent that any excess exists after the payment
             is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late charges due.
             Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.
                   Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall not
             extend or postpone the due date, or change the amount, of the Periodic Payments.
                   3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
             until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and assessments and
             other items which can attain priority over this Security Instrument as a lien or encumbrance on the Property; (b) leasehold
             payments or ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under Section
             5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of
             Mortgage Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow Items." At
             origination or at any time during the term of the Loan, Lender may require that Community Association Dues, Fees and
             Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower
             shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds
             for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may
             waive Borrower's obligation to pay to Lender Funds for any ur all Escrow Items at any time. Any such waiver may only
             be in writing.
                          In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for any


             GEORGIA - Single family - Faonie MaVFieddij Mac UNIFORM INSTRUMENT                                                 Form 3011   1/01
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                Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender
                receipts evidencing such payment within such time period as Lender may require.       Borrower's obligation to make such
           i    payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
                Instrument, as the phrase "covenant and agreement" is used in Section 9.                     If Borrower is obligated to pay Escrow Items
                directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights
                under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
                amount.       Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with
                Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required
                under this Section 3.
                       Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the
                time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA. Lender shall
                estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow
                Items or otherwise in accordance with Applicable Law.
                      The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
                (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank.   Lender
                shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA.                       Lender shall not charge
                Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless
                Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge.                            Unless an
                agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to
                pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall
                be paid on the Funds.         Lender shall give to Borrower, without charge, an annual accounting of the Funds as required by
                RESPA.
                       If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
                funds in accordance with RESPA.               If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall
                notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage
                in accordance with RESPA, but in no more than twelve monthly payments. If there is a deficiency of Funds held in escrow,
                as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
                necessary to make up the deficiency in accordance with RESPA, but in no more than twelve monthly payments.
                       Upon payment in full of ail sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
                Funds held by Lender.
                      4.    Charges; Liens.         Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the
                Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if any,
                and Community Association Dues, Fees, and Assessments, if any.                           To the extent that these items are Escrow Items,
                Borrower shall pay them in the manner provided in Section 3.
                       Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a) agrees
                in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as
                Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against enforcement of the lien
                in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien while those proceedings are
                pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an agreement satisfactory
                to Lender subordinating the lien to this Security Instrument. If Lender determines that any part of the Property is subject
                to a lien which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the lien.
                Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions
                set forth above in this Section 4.
                    Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used
                by Lender in connection with this Loan.
                       5.   Property Insurance.          Borrower shall keep the improvements now existing or hereafter erected on the Property
                insured against loss by fire, hazards included within the term "extended coverage," and any other hazards including, but not
                limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in the amounts
                (including deductible levels) and for the periods that Lender requires.                   What Lender requires pursuant to the preceding
                sentences can change during the term of the Loan.                     The insurance carrier providing the insurance shall be chosen by
                Borrower subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender
                may require Borrower to pay,             in connection with this Loan, either: (a) a one-time charge for flood zone determination,
                certification and tracking services: or (b) a one-time charge foi flood zone determination and certification services and
                subsequent charges each time remappings or similar changes occur which reasonably might affect such determination or
                certification.        Borrower shall also be responsible for the payment of any fees imposed by the Federal Emergency
                Management Agency in connection with the review of any fiord zone determination resulting from an objection by Borrower.


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                   If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at Lender's
             option and Borrower's expense.              Lender is under no obligation to purchase any particular type or amount of coverage.
             Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in the Property,
             or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser coverage than was
             previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed
             the cost of insurance that Borrower could have obtained.                  Any amounts disbursed by Lender under this Section 5 shall
             become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate
             from the date of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
             payment.
                   All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to disapprove
             such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional loss
             payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires, Borrower shall promptly
             give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance coverage, not
             otherwise required by Lender, for damage to, or destruction of, the Property, such policy shall include a standard mortgage
             clause and shall name Lender as mortgagee and/or as an additional loss payee.
                   In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof
             of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance proceeds,
             whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of the Property,
             if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
             period. Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity to inspect such
             Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
             promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
             payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid
             on such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on such proceeds. Fees
             for public adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance proceeds and shall
             be the sole obligation of Borrower. If the restoration or repair is not economically feasible or Lender's security would be
             lessened, the insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due,
             with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                   If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
             matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to settle
             a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice is given. In either
             event, or if Lender acquires the Property under Section 22 or otherwise. Borrower hereby assigns to Lender (a) Borrower's
             rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument,
             and (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by Borrower) under
             all insurance policies covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender
             may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this
             Security Instrument, whether or not then due.                '
                   6.   Occupancy.       Borrower shall occupy, establish, and use the Property as Borrower's principal residence within sixty
             days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's principal
             residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall
             not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's control.
                  7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage
             or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is
             residing in the Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or
             decreasing in value due to its condition.              Unless it is determined pursuant to Section 5 that repair or restoration is not
             economically feasible, Borrower shall promptly repair the Property if damaged to avoid further deterioration or damage.
             If insurance or condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower shall
             be responsible for repairing or restoring the Property only if Lender has released proceeds for such purposes. Lender may
             disburse proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work is
             completed.      If the insurance or condemnation proceeds are not sufficient to repair or restore the Property, Borrower is not
             relieved of Borrower's obligation for the completion of such repair or restoration.
                   Lender or its agent may make reasonable entries upon and inspections of the Property.                   If it has reasonable cause,
             Lender may inspect the interior of the improvements on the Property.                  Lender shall give Borrower notice at the time of or
             prior to such an interior inspection specifying such reasonable cause.


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                  8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process, Borrower or
             any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially false,
             misleading, or inaccurate information or statements to Lender (or failed to provide Lender with material information) in
             connection with the Loan. Material representations include, but are not limited to, representations concerning Borrower's
             occupancy of the Property as Borrower's principal residence.
                   9.   Protection of Lender's Interest in the Property and Rights Under this Security
             Instrument.   If (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
             is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security
             Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which
             may attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
             Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property
             and rights under this Security Instrument, including protecting and/or assessing the value of the Property, and securing and/or
             repairing the Property (as set forth below). Lender's actions can include, but are not limited to: (a) paying any sums secured
             by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys' fees
             to protect its interest in the Property and/or rights under this Security Instrument, including its secured position in a
             bankruptcy proceeding. Securing the Property includes, but is not limited to, making repairs, replacing doors and windows,
             draining water from pipes, and eliminating building or other code violations or dangerous conditions. Although Lender may
             take action under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed
             that Lender incurs no liability for not taking any or all actions authorized under this Section 9.
                  Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
             Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable,
             with such interest, upon notice from Lender to Borrower requesting payment.
                  If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If Borrower
             acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger in
             writing.
                    10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall
             pay the premiums required to maintain the Mortgage Insurance in effect.     If, for any reason, the Mortgage Insurance
             coverage required by Lender ceases to be available from the mortgage insurer that previously provided such insurance and
             Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall
             pay the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a
             cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
             mortgage insurer selected by Lender, If substantially equivalent Mortgage Insurance coverage is not available, Borrower
             shall continue to pay to Lender the amount of the separately designated payments that were due when the insurance coverage
             ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in lieu of
             Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in
             full, and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer
             require loss reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
             provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires separately designated
             payments toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making
             the Loan and Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance,
             Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
             reserve, until the Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between
             Borrower and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
             Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
                  Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if
             Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
                  Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
             agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
             conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
             agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer may
             have available (which may include funds obtained from Mortgage Insurance premiums).
                  As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity,
             or any affiliate of any of the forgoing, may receive (directly cr indirectly) amounts that derive from (or might be
             characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the
             mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the
             insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
             reinsurance." Further:


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                    (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance,
             or any Other terms of the Loan.               Such agreements will not increase the amount Borrower will owe for Mortgage
             Insurance, and they will not entitle Borrower to any refund.
                    (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage Insurance
             under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to receive certain
             disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
             automatically, and/or to receive a refund of any Mortgage Insurance premiums that were unearned at the time of such
             cancellation or termination.
                    11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and shall
             be paid to Lender.
                  If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if
             the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
             period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect such
             Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
             promptly.  Lender may pay for the repairs and restoration in a single disbursement or in a series of progress payments as
             the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
             Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous
             Proceeds. If the restoration or repair is not economically feasible or Lender's security would be lessened, the Miscellaneous
             Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any,
             paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.
                   In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be applied
             to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
                   In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
             Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the sums
             secured by this Security Instrument immediately before the partial taking, destruction, or loss in value, unless Borrower and
             Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the
             Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured immediately before
             the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
             partial taking, destruction, or loss in value.          Any balance shall be paid to Borrower.
                    In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
             Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured
             immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing,
             the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether or not the sums are then
             due.
                   If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined
             in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender within 30
             days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to
             restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then due. "Opposing
             Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right
             of action in regard to Miscellaneous Proceeds.
                  Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's judgment,
             could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under
             this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in Section
             19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the
             Property or other material impairment of Lender's interest in the Property or rights under this Security Instrument. The
             proceeds of any award or claim for damages that are attributable to the impairment of Lender's interest in the Property are
             hereby assigned and shall be paid to Lender.
                    All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
             provided for in Section 2.
                   12.  Borrower Not Released; Forbearance By Lender Not a Waiver,                 Extension of the time for payment or
             modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor
             in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of Borrower.
             Lender shall not be required to commence proceedings against any Successor in Interest of Borrower or to refuse to extend
             time for payment or otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand


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             made by the original Borrower or any Successors in Interest of Borrower.                      Any forbearance by Lender in exercising any
             right or remedy including, without limitation, Lender's acceptance of payments from third persons, entities or Successors
             in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any
             right or remedy.
                    13.   Joint and Several Liability; Co-signers; Successors and Assigns Bound.                     Borrower covenants and agrees that
             Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security Instrument
             but does not execute the Note (a "co-signer") : (a) is co-signing this Security Instrument only to mortgage, grant and convey
             the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
             sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify,
             forbear or make any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
             consent.

                    Subject to the provisions of Section 18, any Successo>- in Interest of Borrower who assumes Borrower's obligations
             under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and benefits under
             this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under this Security
             Instrument unless Lender agrees to such release in writing. The covenants and agreements of this Security Instrument shall
             bind (except as provided in Section 20) and benefit the successors and assigns of Lender.
                    14. Loan Charges.           Lender may charge Borrower fees for services performed in connection with Borrower's default,
             for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument, including, but not
             limited to, attorneys' fees, property inspection and valuation fees.                   In regard to any other fees, the absence of express
             authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the
             charging of such fee.        Lender may not charge fees that are expressly prohibited by this Security Instrument or by Applicable
             Law.
                    If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest
             or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any such
             loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already
             collected from Borrower which exceeded permitted limits will be refunded to Borrower.                      Lender may choose to make this
             refund by reducing the principal owed under the Note or by making a direct payment to Borrower.                         If a refund reduces
             principal, the reduction will be treated as a partial prepayment without any prepayment charge (whether or not a prepayment
             charge is provided for under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower will
             constitute a waiver of any right of action Borrower might have arising out of such overcharge.
                    15.   Notices.    All notices given by Borrower or Lender in connection with this Security Instrument must be in writing.
             Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower when
             mailed by first class mail or when actually delivered to Borrower's notice address if sent by other means. Notice to any one
             Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires otherwise.                    The notice address
             shall be the Property Address unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall
             promptly notify Lender of Borrower's change of address.                  If Lender specifies a procedure for reporting Borrower's change
             of address, then Borrower shall only report a change of address through that specified procedure. There may be only one
             designated notice address under this Security Instrument at any one time. Any notice to Lender shall be given by delivering
             it or by mailing it by first class mail to Lender's address stated herein unless Lender has designated another address by notice
             to Borrower. Any notice in connection with this Security Instrument shall not be deemed to have been given to Lender until
             actually received by Lender. If any notice required by this Security Instrument is also required under Applicable Law, the
             Applicable Law requirement will satisfy the corresponding requirement under this Security Instrument.
                    16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by federal law
             and the law of the jurisdiction in which the Property is located.                      All rights and obligations contained in this Security
             Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly
             allow the parties to agree by contract or it might be silent, but such silence shall not be construed as a prohibition against
             agreement by contract.          In the event that any provision or clause of this Security Instrument or the Note conflicts with
             Applicable Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be given
             effect without the conflicting provision.
                  As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter
             words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and (c)
             the word "may" gives sole discretion without any obligation to take any action.
                    17.   Borrower's Copy.           Borrower shall be given one copy of the Note and of this Security Instrument.




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                 18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the
             Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests
             transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the
             transfer of title by Borrower at a future date to a purchaser.
                  If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural
             person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may
             require immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be
             exercised by Lender if such exercise is prohibited by federal law.
                  If Lender exercises this option, Lender shall give Boriower notice of acceleration. The notice shall provide a period
             of not less than 30 days from the date the notice is given im accordance with Section 15 within which Borrower must pay
             all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
             Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.
                    19.   Borrower's Right to Reinstate After Acceleration.                        If Borrower meets certain conditions, Borrower shall have
             the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days before
             sale of the Property pursuant to any power of sale contained in this Security Instrument: (b) such other period as Applicable
             Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security
             Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
             Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c)
             pays all expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys' fees,
             property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's interest in the Property
             and rights under this Security Instrument; and (d) takes such action as Lender may reasonably require to assure that Lender's
             interest in the Property and rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this
             Security Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and expenses
             in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
             treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured by
             a federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security
             Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred. However, this right
             to reinstate shall not apply in the case of acceleration under Section 18.
                   20.    Sale of Note; Change of Loan Servicer; Notice of Grievance.                      The Note or a partial interest in the Note (together
             with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might result in a
             change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note and this Security
             Instrument and performs other mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable
             Law. There also might be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change
             of the Loan Servicer, Borrower will be given written notice of the change which will state the name and address of the new
             Loan Servicer, the address to which payments should be made and any other information RESPA requires in connection with
             a notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the
             purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer or be
             transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise provided by the Note
             purchaser,
                   Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant
             or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that alleges that
             the other party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such Borrower
             or Lender has notified the other party (with such notice given in compliance with the requirements of Section 15) of such
             alleged breach and afforded the other party hereto a reasonable period after the giving of such notice to take corrective
             action. If Applicable Law provides a time period which must elapse before certain action can be taken, that time period will
             be deemed to be reasonable for purposes of this paragraph.                     The notice of acceleration and opportunity to cure given to
             Borrower pursuant to Secdon 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed
             to satisfy the notice and opportunity to take corrective action provisions of this Section 20.
                  21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances defined as
             toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline, kerosene,
             other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos
             or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal laws and laws of the jurisdiction where
             the Property is located that relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any
             response action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition"
             means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.


             OEOP.OIA - Single Family - Faiwie MaiFFieddie Mac UNIFORM INSTRUMENT                                                                  Form 3011   1/01
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                     Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances, or
               threaten io release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do,
           .   anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an Environmental
               Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely
               affects the value of the Property, The preceding two sentences shall not apply to the presence, use, or storage on the
               Property of small quantities of Hazardous Substances that are generally recognized to be appropriate to normal residential
               uses and to maintenance of the Property (including, but not limited 10, hazardous substances in consumer products).
                     Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action by
               any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
               Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited
               to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused
               by the presence, use or release of a Hazardous Substance which adversely affects the value of the Property. If Borrower
               learns, or is notified by any governmental or regulatory authority, or any private party, that any removal or other remediation
               of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary remedial actions
               in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an Environmental Cleanup.

                     NON-UNIFORM COVENANTS.                        Borrower and Lender further covenant and agree as follows:
                     22.   Acceleration; Remedies.            Lender shall give notice to Borrower prior to acceleration following Borrower's
               breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18 unless
               Applicable Law provides otherwise).                 The notice shall specify: (a) the default; (b) the action required to cure the
               default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by which the default must be
               cured; and (d) that failure to cure the default on or before the date specified in the notice may result in acceleration
               of the sums secured by this Security Instrument and sale of the Property. The notice shall further inform Borrower
               of the right to reinstate after acceleration and the right to bring a court action to assert the non-existence of a default
               or any other defense of Borrower to acceleration and sale. If the default is not cured on or before the date specified
               in the notice, Lender at its option may require immediate payment in full of all sums secured by this Security
               Instrument without further demand and may invoke the power of sale granted by Borrower and any other remedies
               permitted by Applicable Law. Borrower appoints Lender the agent and attorney-in-fact for Borrower to exercise the
               power of sale.       Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
               Section 22, including, but not limited to, reasonable attorneys' fees and costs of title evidence.
                     If Lender invokes the power of sale, Lender shall give a copy of a notice of sale by public advertisement for the
               time and in the manner prescribed by Applicable Law. Lender, without further demand on Borrower, shall sell the
               Property at public auction to the highest bidder at the time and place and under the terms designated in the notice
               of sale in one or more parcels and in any order Lender determines. Lender or its designee may purchase the Property
               at any sale.
                     Lender shall convey to the purchaser indefeasible title to the Property, and Borrower hereby appoints Lender
               Borrower' s agent and attorney-in-fact to make such conveyance. The recitals in the Lender' s deed shall be prima facie
               evidence of the truth of the statements made therein.                   Borrower covenants and agrees that Lender shall apply the
               proceeds of the sale in the following order: (a) to all expenses of the sale, including, but not limited to, reasonable
               attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the person or persons legally
               entitled to it. The power and agency granted are coupled with an interest, are irrevocable by death or otherwise and
               are cumulative to the remedies for collection of debt as provided by Applicable Law.
                     If the Property is sold pursuant to this Section 22, Borrower, or any person holding possession of the Property
               through Borrower, shall immediately surrender possession of the Property to the purchaser at the sale. If possession
               is not surrendered, Borrower or such person shall be a tenant holding over and may be dispossessed in accordance
               with Applicable Law.
                     23.    Release.  Upon payment of all sums secured by this Security Instrument, Lender shall cancel this Security
               Instrument.     Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
               Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee is permitted under
               Applicable Law.
                     24.    Waiver of Homestead.            Borrower waives all rights of homestead exemption in the Property.
                    25. Assumption Not a Novation. Lender's acceptance of an assumption of the obligations of this Security Instrument
               and the Note, and any release of Borrower in connection therewith, shall not constitute a novation.
                    26. Security Deed. This conveyance is to be construed under the existing laws of the State of Georgia as a deed
               passing title, and not as a mortgage, and is intended to secure the payment of all sums secured hereby.


               GEORGIA - Single Family - Fanaie Mai/Freddie Mac UNIFORM INSTRUMENT                                                    Form 3011   3/01
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                   BORROWER ACCEPTS AND AGREES to the terms and covenants contained in this Security Instrument and in any
             Rider .executed by Borrower and recorded with it.


                   IN WITNESS WHEREOF, Borrower has signed and sealed this Security Instrument.


             Signed.              and delivered in the presence of:

                                                                                                        1

               notti          'itness                                                                   CHARLTON    C,   LESTER           Borrower




                                                                                                                                               (Seal)
             Notary Public                                                                                                                Borrower
                                                        UVlUUIIM,",,


                                                   />ET S>%
             My Commission Expires:                                                                                                            (Seal)
                                                                                                                                          Borrower
                                            #W         EXPIRES
                                                     GEORGIA               -    s

                                           11          March [0.2012
                                                                               ^ounty                                                          (Seal)
                                                                                                                                          Borrower



                                                                                                                                               (Seal)
                                                                                                                                          Borrower



                                                                                                                                               (Seal)
                                                                                                                                          Borrower




                                                                       (Space Below This Line For Acknowledgment)




             GEORGIA - Single Family - Fannie Mao/Freddie Mac UNIFORM INSTRUMENT                                                         Form 3011   1/01
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                                                          EXHIBIT "A"


                  ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
                  94 AND 105 OF THE 14™ (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
                  BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:


                  BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
                  WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
                  WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
                  NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                  ROAD, FIFTY-ONE AND SIX-TENTHS (51.6) FEET TO AN IRON PIN; RUNNING
                  THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88 DEGREES
                  51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
                  THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING
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                  DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
                  HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
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                  AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE PRECEDING
                  CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
                  RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
                  EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
                  SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE
                  NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                  ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
                  IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
                  ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
                  1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
                  73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.




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                                                                                                       Cathelene              Robinson
                                                                                                          Clerk of Superior Court
                                                                                                           Fulton County, Georgia

          GEORGIA
          GRANTOR:            CHARLTON             C.   LESTER



          LENDER:            CBC      NATIONAL          BANK
          DATE OF SECURITY DEED:                    SEPTEMBER     25,    2009

                                                          WAIVER OF BORROWER'S RIGHTS


                 BY EXECUTION OF THIS PARAGRAPH, GRANTOR EXPRESSLY: (1) ACKNOWLEDGES THE RIGHT TO
          ACCELERATE THE DEBT AND THE POWER OF ATTORNEY GIVEN HEREIN TO LENDER TO SELL THE
          PREMISES BY NONJUDICIAL FORECLOSURE UPON DEFAULT BY GRANTOR WITHOUT ANY JUDICIAL
          HEARING AND WITHOUT ANY NOTICE OTHER THAN SUCH NOTICE AS IS REQUIRED TO BE GIVEN UNDER
          THE PROVISIONS HEREOF; (2) WAIVES ANY AND ALL RIGHTS WHICH GRANTOR MAY HAVE UNDER THE
          FIFTH AND FOURTEENTH AMENDMENTS TO THE CONSTITUTION OF THE UNITED STATES, THE VARIOUS
          PROVISIONS OF THE CONSTITUTION FOR THE SEVERAL STATES, OR BY REASON OF ANY OTHER
          APPLICABLE LAW TO NOTICE AND TO JUDICIAL HEARING PRIOR TO THE EXERCISE BY LENDER OF ANY
          RIGHT OR REMEDY HEREIN PROVIDED TO LENDER, EXCEPT SUCH NOTICE AS IS SPECIFICALLY REQUIRED
          TO BE PROVIDED HEREOF; (3) ACKNOWLEDGES THAT GRANTOR HAS READ THIS DEED AND
          SPECIFICALLY THIS PARAGRAPH AND ANY AND ALL QUESTIONS REGARDING THE LEGAL EFFECT OF
          SAID DEED AND ITS PROVISIONS HAVE BEEN EXPLAINED FULLY TO GRANTOR AND GRANTOR HAS BEEN
          AFFORDED AN OPPORTUNITY TO CONSULT WITH COUNSEL OF GRANTOR' S CHOICE PRIOR TO EXECUTING
          THIS DEED; (4) ACKNOWLEDGES THAT ALL WAIVERS OF THE AFORESAID RIGHTS OF GRANTOR HAVE
          BEEN MADE KNOWINGLY, INTENTIONALLY AND WILLINGLY BY GRANTOR AS PART OF A BARGAINED
          FOR LOAN TRANSACTION; AND (5) AGREES THAT THE PROVISIONS HEREOF ARE INCORPORATED INTO
          AND MADE A PART OF THE SECURITY DEED.

                 READ AND AGREED BY GRANTOR:


          SignetLsj          and delivered
          in tbe^lresepce of                                                                                                                iL)
                                                                                               TT

                                                                                                                                       (SEAL)
                                                                                    -Granlor

                                                                                                                                       {SEAL)



                                                   /Jf%                             -Grantor

                                                                                                                                       (SEAL)



                                                   I i GSkA
                                                                                    -Granlor


                                                                                                                                       (SEAL)
                                                                                    -Granlor


                                                                                                                                       (SEAL)
                                                                                    -Granlor




                                                           CLOSING ATTORNEY'S AFFIDAVIT


               Before the undersigned attesting officer personally appeared the undersigned closing attorney, who, having been first
          duly sworn according to law, states under oath as follows:
               In closing the above loan, but prior to the execution of the Deed to Secure Debt and "Waiver of Borrower's Rights"
          by the Borrowers), I reviewed with and explained to the Borrower(s) the terms and provisions of the Deed to Secure Debt
          and particularly the provisions thereof authorizing the Lender to sell the secured property by a nonjudicial foreclosure under
          a power of sale, together with the "Waiver of Borrower's Rights" and informed the Borrower(s) of Borrower's rights under
          the Constitution of the State of Georgia and the Constitution of the United States to notice and a judicial hearing prior to such
          foreclosure in the absence of a knowing, intentional and willing contractual waiver by Borrower(s) of Borrower s rights.
          After said review with and explanation to Borrower(s), Borrower(s) executed the Deed to Secure Debt and "Waiver of
          Borrower's Rights."
               Based on said review with and explanation to the Borrower(s), it is my opinion that Borrower(s) knowingly, intentionally
           and willingly executed the waiver of Borrow^s^^jjfflfttt^ial rights to notice and judicial hearing prior to any such
           nonjudicial foreclosure.                                                                                       /

           Sworn to and subscribed before me on th


                                                                                /
           Notary Public                                                               (sing Attorn)
                                                            % \

                                                         FOREC]         iu<   ISING DISCLOSURE

                  O.C.G.A. Section 7-1-1014 (3) requires that we inform you that if you fail to meet any condition or term of the
           documents that you sign in connection with obtaining a mortgage loan you may lose the property that serves as collateral
           for the mortgage loan through foreclosure.




           HP490257- 10/98           52065.15241                                                          WAIVER OF BORROWER S RIGHTS (GEORGIA)




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                                                                                      CATHELENE ROBINSON
                                                                                      Clerk of Superior Court
                                                                                      Fulton County, GA
                                                                                      Participant IDs: 9578415599
                                                                                      7067927936




                 Prepared By and Return To:


                 Collateral Department
                 Meridian Asset Services, LLC
                 3201 34th Street South, Suite 310
                 St. Petersburg, FL 3371 1
                 (727) 497-4650



                                                              Space above for Recorder's use


                                                                                                        13564145
                                                      ASSIGNMENT OF SECURITY DEED

                 FOR GOOD AND VALUABLE CONSIDERATION, the sufficiency of which is hereby acknowledged, the
                 undersigned, SPECIALIZED LOAN SERVICING LLC, whose address is 6200 S QUEBEC ST,
                 GREENWOOD VILLAGE, CO 80111, (ASSIGNOR), does hereby grant, assign and transfer to US BANK
                 TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS OWNER
                 TRUSTEE FOR VRMTG ASSET TRUST, whose address is 888 7TH AVENUE 10TII FLOOR, NEW YORK,
                 NY 10019, (ASSIGNEE), its successors, transferees and assigns forever, all beneficial interest under that certain
                 Security Deed, together with the certain note(s) described therein with all interest, all liens, and any rights due or to
                 become due thereon.

                 Date of Security Deed: 9/25/2009
                 Original Loan Amount: $417,000.00
                 Executed by (Borrower(s)): CHARLTON C. LESTER
                 Original Lender: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS GRANTEE, AS
                 NOMINEE FOR CBC NATIONAL BANK, ITS SUCCESSORS AND ASSIGNS
                 Filed of Record:   In Book 48403, Page 675
                 Document/Instrument No: 2009-0285032 in the Recording District of Fulton, GA, Recorded on 9/30/2009.


                 Legal Description: SEE EXHIBIT "A" ATTACHED
                 Property more commonly described as: 2225 WALLACE ROAD SW, ATLANTA, GEORGIA 30331


                 IN WITNESS WHEREOF, the undersigned by its duly elected officers and pursuant to proper authority of its board
                 of directors has duly executed, sealed, acknowledged and delivered this assignment.

                 Date:    2-fg -Zs-pz-/
                 SPECIALIZED LOAN SERVICING LLC, BY FAY SERVICING, LLC, ITS ATTORNEY-IN-FACT

                 6W
                 By:                Darnel Alvarado                                        Witness Name:        RFG1NA MCAIxNNCH
                 Title:                  Assistant Secretary

                                                                                                             npr\           Q

                                                                                           Witness Name:         Cl3Udia M. AndlBWS




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                 A NOTARY PUBLIC OR OTHER OFFICER COMPLETING THIS CERTIFICATE VERIFIES ONLY THE IDENTITY OF
                 THE INDIVIDUAL WHO SIGNED THE DOCUMENT TO WHICH THIS CERTIFICATE IS ATTACHED, AND NOT THE
                 TRUTHFULNESS, ACCURACY, OR VALIDITY OF THAT DOCUMENT




                State of               TEXAS

                County of               DALLAS




                On                   r _                   . before me, MARY CHAVARRIA . a Notary Public, personally
                appeared             Daniel Aivarado                ,    Assistant Secretary                   Of/for fay        "
                SERVICING, LLC, AS ATTORNEY-IN-FACT FOR SPECIALIZED LOAN SERVICING LLC, personally
                known to me. or who proved to me on the basis of satisfactory evidence to be the person(s) whose name(sLtVpre
                subscribed to the within instrument and acknowledged to me thatAe/shc/thcy executed the same in(htS/her/tKeir
                authorized capacity(ies), and that byjfiTsjlher/their signature(s) on tKe instrument the person(s), or the entity upon
                behalf of which the person(s) acted, executed the instrument. I certify under PENALTY OF PERJURY under the
                laws of the State of  TRYAS that the foregoing paragraph is true and correct. I further certify
                            Daniel Aivarado         signed, sealed, attested and delivered this document as a voluntary act in my
                presence.



                Witness my hand and official seal.




                                    MARY CHAVARRIA
                (Notary Name):
                My commission expires:       3'       1                 fSr!                           of Texas

                                                                        sessSr




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                                                                                               CATHELENE ROBINSON
                                                                                               Clerk of Superior Court




                                                            EXHIBIT "A"



                  ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
                  94 AND 105 OF THE 1 4™ (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
                  BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

                  BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
                  WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
                  WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
                  NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                  ROAD, FIFTY-ONE AND SIX-TENTHS (51.6) FEET TO AN IRON PIN; RUNNING
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                  51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
                  THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING
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                  DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
                  HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
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                 RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
                 EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
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                 NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                 ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
                 IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
                 ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
                 1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
                 73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.




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EXHIBIT E
 Case 21-05122-jrs                   Doc 12        Filed 03/01/22 Entered 03/01/22 14:20:24                                    Desc Main
                                                  Document     Page 27 of 178




         ill IntownTitle, llc                                                                        Page 1 of
                                                                                                                     152
                                                                                                                 I 152 I
       7110 W 48th Ave.                                                                        Pile no.; Theodore Stapleton
       Wheat Ridge, CO 80033
       303.495.0661 office
       lntowntitle.com
                                                      CERTIFICATE OF TITLE

       Date: 02/28/22                Purchaser:


       Effective Date: 02/17/22              Search Type: Full x       Limited        Other:

       Record Title Vested in: Harold Ruben Maddox



       Deed Type: TRD      Dated: 02/01/22           Filed: 02/02/22       Deed Book: 65215          Page: 612             JTWROS: No

                                                               SCHEDULE A
       Plat Shows:

        Barb wire fence along side & rear                     Land Lot(s): 94 & 105                  District: 14FF        Section:.
        lot lines.
                                                              County: Fulton             Lot(s): 6.4 acres                 Block:

                                                              subdivision: Property of Mrs. Gussie Traw Reneger


                                                                                 Plat Book: 73        Page(s):. 70


                                                               Address:   2225 Wallace Road




                                                               SCHEDULE B

       Restrictive Covenants:                X        none of record/expired

       Located at           Book                   Page            Amended: Yes           No       Mand Assessments: Yes               No

       Note:

       Easements. Rights of Wav. etc.:

   i Sewer Easement             to Fulton County                       at Deed Book   4820        Page   285      dated    10/20/67

   2.                           to                                     at Deed Book               Page            dated

                                to                                     at Deed Book               Page            dated

   4                            to                                     at Deed Book               Page           j dated

   5                            to                                     at Deed Book               Page           j dated

   6                            to                                     at Deed Book               Page           j dated

                                to                                     at Deed Book               Page           j dated

   8                            to                                     at Deed Book               Page            dated

   9_                           to                                     at Deed Book               Page           j dated


       (Continued on Page 2)
Case 21-05122-jrs            Doc 12         Filed 03/01/22 Entered 03/01/22 14:20:24                                      Desc Main
                                           Document     Page 28 of 178




                                                                                                                        Page 2



                                                                                                   File no: Theodore Stapleton
  Open Security Deeds:


  1. Mortgagor: Charlton C. Lester (still open, no release found on record)
     Mortgagee: Mers Inc. as nominee for CBC National Bank
     Deed Book: 48403               Page: 675           Dated: 09/25/09             Filed: 09/30/09
    Amount: $417,000                          Maturity Date: 1 0/01 /39
                   US Bank Trust NA, not in its indivudual capacity but solely as owner Trustee for VRMTG Asset Trust
    Assigned to:


     Deed Book: 63651               Page: 629                t dated: 04/1 2/21          .
     Notes: Modified @ DB 56794/615 filed 12/06/16 attached.

  2. Mortgagor: **Charlton C. Lester (still open, no release found on record)
     Mortgagee: RBC Bank (USA)

     Deed Book: 48403              Page: 688            Dated: 09/25/09             Filed: 09/30/09
    Amount: $117,500                          Maturity Date: 1 0/01 /29

    Assigned to:


    Deed Book:                     Page:                      dated                          .


    Notes: Notice of Claim Deed by Charlton Carlos Lester filed 09/29/21 @ DB 64562/142 attached.

  Liens and Judgments: None                  Yes. 1 ® LB 3954/281.                                                 (copies attached)



  Additional Exceptions/Notes:

   Subject Property was transferee! by Order as part of Affidavit filed 08/05/20 @ DB 62038/57
   to William J Layng, Jr., as chapter 7 trustee for the estate of Weinstock & Savo, P.C. who
   conveyed suoject Property to Harold Huoen Maddox in I rustee's deed tiled 02/02/22 (s? Ub
   05215/612.


   Security Deed # 3: Mortgagor: Harold Ruben Maddox. Mortgagee: Mers Inc. as nominee for
   Movement Mortgage, LLC @ DB 65215/619, dated 02/01/22, filed 02/02/22, $ 747,000,
   matures 03/01/52.                                               ~

   Notico of Claim Dood by Charlton Carlos Lootor fiiod 09/29/21 @ DB 64562/1 42 attached.
   UCC Financing Statements @ DB 58019/639 filed 10/16/17: @ DB 60487/697 filed
   09/09/19; DB 62055/492 filed 07/07/20.
   Lis Pendens Notice @ LB 4570/76 filed 06/14/19 attached.




  *Note: Unless otherwise instructed, purchasers are searched for Federal Tax Liens only.
    Case   21-05122-jrs
     Nm: ANDREW           Doc 12 CFN
                GUTIERREZ CertDocCpy-l Filed  03/01/22 ORB
                                           DE2009-0285031 Entered  03/01/22 14:20:24
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                                                                                      Deed Book -4-3403 Pg      673
                                                                                  Filed and Recorded Sep-30-2009 02:l0pa
                                                                                         2009-022503 X
                                                                                      Real Estate Transfer Tax $669.00
                                                                                    Cat h e 1 ene        Robinson
                                                                                          Clerk of Superior Court
                                                                                           Fulton County, Georgia




Return to: Marianne T. Shaver
Hudnall, Cohn, Fyvolent & Shaver, P.C                                                       File #09D8528R/LESTER
3471 Donavillc Street
Duluth, Georgia 30096


                                                WARRANTY DEED

State of Georgia
County of Gwinnett

This Indenture made this 25th day of September, in the year Two Thousand Nine, between

                                        WILLIE F. BRITTIAN and LINDA BRITTIAN


of the State of GEORGIA, as party or parties of the first part, hereinafter called Grantor, and

                                                    CHARLTON C. LESTER


 of the County of FLJTGTON. and State of GEORGIA!, as party or parties of the second part, hereinafter called Grantee
(the words "Grantor" and "Grantee" to include their respective heirs, successors, and assigns where the context requires or
permits).


WITNESSETH that: Grantor, for and in consideration of the sum of Ten Dollars ($10.00) and other good and valuable
consideration, in hand paid at and before the sealing and delivery of these presents, the receipt whereof is hereby
acknowledged, has granted, bargained, sold, aliened, conveys and confirmed, and by these presents does grant, bargain,
sell, alien, convey and confirm unto the said Grantee:

FOR LEGAL DESCRIPTION SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF.

Subject to all easements and restrictions of record.


TO HAVE AND TO HOLD the said tract or parcel of land, with all and singular the rights, members and appurtenances
thereof, to the same being, belonging, or in anywise appertaining, to the only proper use, benefit and behoof of the said
Grantee forever in FEE SIMPLE.


AND THE SAID Grantor will warrant and forever defend the right and title to the above described property unto the said
Grantee against the claims of all persons whomsoever.


IN WITNESS WHEREOF, Grantor has signed and sealed this deed, the day and year first above written.

Signed, sealed and delivered
in presence of:




                                                                                                            :al)
Unofficial' Witness                                                WILLIE F. BRITTIAN




>f6tary Publ!
                                —1—GEORGIA
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                                                                                                  ^^^eSEAL)
                                                                        »A BRITTIAN
my commission expires:
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                               Document          Page 30 of 178
                                                                                  Deed Book 4B403 Pg        674
                                                                                  Cathe 1 ene        Robinson
                                                                                      Clerk of Superior Court
                                                                                       Fulton County} Georgia


                                                   EXHIBIT "A"


       ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
       94 AND 105 OF THE 14™ (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
       BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

       BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
       WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
       WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
       NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
       ROAD, FIFTY-ONE AND SIX-TENTHS (51 .6) FEET TO AN IRON PIN; RUNNING
       THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88 DEGREES
       51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
       THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING
       THENCE SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107
       DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
       HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
       EASTERLY LINE OF LAND LOT 105, RUNNING THENCE EASTERLY, FORMING
       AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE PRECEDING
       CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
       RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
       EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
       SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE
       NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
       ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
       IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
       ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
        1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
       73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.




                                              --   ~



              I hereby certify the within and foregoing .to be a true.^cprrect and complete <^py of the   (0^^
                               CATHLENE ROBINSON.Cjefk of'Superior Court, Fulton County, GA
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                                        not valid unless signed in RED ink
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                                    Document         Page 31 of 178
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                                                                                                 Real Estate Transfer Tax $8.08
                                                                                               Cathelene                 Robinson
                                                                                                      Clerk of Superior Court
                                                                                                       Fulton County, Georgia
                                                        QUITCLAIM DEED

        A298-10
        R298-04




                  THIS QUITCLAIM DEED, Executed this 14th day of December 2010, by first party,

        Grantor, Charlton C. Lester, whose post office address is 3434 Hamlin Square, SW, Atlanta, GA

        30331 to second party, Grantee, OTS, Inc., whose post office address is P.O. Box 43846, Atlanta,

        GA 30336.



                  WITNESSETH, That the said first party, for good consideration and for the sum of One

        Dollar ($1.00) paid by the said second party, the receipt whereof is hereby acknowledged, does

        hereby remise, release and quitclaim unto the said second party forever, all the right title, interest and

        claim which the said first party has in and to the following described parcel of land, and

         improvements and appurtenances thereto in the County of Fulton, State of Georgia, to wit:


                  All that tract or parcel ofland lying and being in Land Lots 94 and 1 05 of the 1 4,h (FF) District, Fulton
                  County, Georgia, being more particularly described as follows:


                  Beginning at an iron pin located'on the Southwesterly side of Wallace Road at the intersection of the
                  Southwest side of Wallace Road and the East line of Land Lot 105; running thence Northwesterly
                  along the Southwesterly side of Wallace Road, fifty-one and six-tenths (51.6) feet to an iron pin;
                  running thence Southwesterly, forming an interior angle of 88 degrees 5 1 minutes with the preceding
                  call a distance of three hundred thirty-eight and one-tenth (338.1) feet to an iron pin; running thence
                  Southwesterly, forming an interior angle of 1 07 degrees 24 minutes with the preceding call a distance
                  of four hundred twenty-six (426) feet to an iron pin located on the Easterly line of Land Lot 105,
                  running thence Easterly, forming an interior angle of 128 degrees 12 minutes with the preceding call,
                  a distance of five hundred thirty (530) feet to an iron pin; running thence Northerly, one hundred
                  eighty-eight and eight-tenths (188.8) feet to an iron pin; located on the Southwesterly side of Wallace
                  Road; running thence Northwesterly along the Southwesterly side of Wallace Road, six hundred
                  seventy-nine and nine-tenths (679.9) feet to an iron pin and the point ofbeginning, as shown on survey
                  entitled property of Mrs. Gussie Traw Reneger, dated August 9, 1961, prepared by C.E. Ruppe,
                  Engineer, and recorded in plat book 73, Page 70, Fulton County, Georgia records.




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                                                   Document          Page 32 of 178


                             IN WITNESS WHEREOF, The said first party has signed and sealed these presents the day and year first above
                             written. Signed, sealed and delivered in presence of:


                                 l


                             Signature 0f Witness (First Party)                                           Signature of First Party
                                                                                                          Charlton C. Lester



                         fY\ f                                  "HgyoyO
                             Signature of)Witness (Second Party)                                          Signature of Second Party
                                                                                                          Authorized Officer of OTS, Inc.




                             State of Georgia
                             County of DeKalb

                             On this                    day of                     JLO/O     before me,          P/iasr L£b^j         (Z .             j
                             appeared, personally known to me (or proved to me on the basis of satisfactory evidence) to be the person whose name
                             is subscribed to within this instrument and acknowledged to me that she executed the same in her authorized capacity,
                             and that by her signature on the instrument the person, or the entity upon behalf of which the person acted, executed the
                             instrument.


                             WITNESS my hand and official seal.



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                                               I hereby certify the within and foregoing to be a true, correct and complete copy of the
                                       original that appears in tit- BtOEHiX PG^fr-YH irUhjs office this^v_ day of Feb                        20^*2.
                                                                          CATKLENE R08I NSON "Clerk df Superior Court, Fulton County, GA                              2\
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                                                                                     Deed Book 56394 Pg         173
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                                                                                    Cathelene            Robinson
                                                                                         Clerk of Superior Court
                                                                                          Fulton County, Georgia




                                                     QUITCLAIM DEED




                 THIS QUITCLAIM DEED, Executed this 21st day of July 2016, by first party, Grantor OTS,
         Inc., whose post office address Is P.O. Box 43846, Atlanta, GA 30336 to second party, Grantee
               Charlton C. Lester, whose address is 3434 Hamlin Square, SW, Atlanta, GA 30331.


                 WITNESSETH, That the said first party, for good consideration and for the sum of One
        Dollar ($1.00) paid by the said second party, the receipt whereof is hereby acknowledged, does
        hereby remise, release and quitclaim unto the said party forever, all the right title, interest and
            claim which the said first party has in and to the following described parcel of land, and
          improvements and appurtenances thereto in the County of Fulton, State of Georgia, to wit:




          All that tract or parcel of land lying and being in Land Lots 94 and 105 of the 14lh (FF) District, Fulton
                              County, Georgia, being more particularly described as follows:

         Beginning at an iron pin located on the Southwesterly side of Wallace Road at the intersection of the
        Southwest side of Wallace Road and East line of Land Lot 105; running thence Northwesterly along the
         Southwesterly side of Wallace Road, fifty-one and six-tenths (51.6) feet to an iron pin; running thence       '
        Southwesterly, forming an interior angle of 88 degrees 51 minutes with the preceding call a' distance of
          three hundred thirty-eight and one-tenth (338.1) feet to an iron pin; running thence Southwesterly,
        forming an interior angle of 107 degrees 24 minutes with the preceding call a distance of four hundred
        twenty-six (426) feet to an iron pin located on the Easterly line of land Lot 105, running thence Easterly,
        forming an interior angle of 128 degrees 12 minutes with the preceding call, a distance of five hundred
         thirty (530) feet to an iron pin; running thence Northerly, one hundred eighty-eight and eight-tenths
            (188.8) feet to an iron pin; located on the Southwesterly side of Wallace Road; running thence
        Northwesterly along the Southwesterly side of Wallace road, six hundred seventy-nine and nine-tenths
          (679.9) feet to an iron pin and the point of beginning, as shown on survey entitled property of Mrs.
         Gussie Traw Reneger, dated August 9, 1961, prepared by C.E. Ruppe, Engineer, and recorded in plat

                                    book 73, Page 70, Fulton County, Georgia records.




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                                                                                                                    Clerk of Superior Court
                                                                                                                     Fulton County, Georgia


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                   IN WITNESS WHEREOF, The said first party has signed and sealed these p                                       day and year first above
                   written. Signed, sealed and delivered in prdgence of:

                                                                           a \\
                    Oil fojJblLg.
                   Signature (jf Witness (First Party)                                         Signature of Si? CD \lC\>
                                                                                               Charlton C. Lester-ssS^



                             k
                   Signature ofJWitness (Second Party)                                         Signature of f) Y^]
                                                                                               Authorized Officer of OTS, Inc.



                   State of Georgia
                   County of DeKalb


                   On this            day of kTL./i/"/ ZjhUi#                     before me,          PAoa tt&kj           C, .
                   appeared, personally known tome (or proved to me on the basis of satisfactory evidence) to be the person whose name
                   is subscribed to within this instrument and acknowledged to me that she executed the same in her authorized capacity,
                   and that by her signature on the instrument the person, or the entity upon behalf of which the person acted, executed the
                   instrument.


                   WITNESS my hand and official seal.




                   Signd&re of Notary                                                                   Affiant            Known.         Produced ID
                                                                                                        Type of ID



                   a
                                 LAVIETTER ALSTON               ,
                                  ' Notary Public '
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                             .     Fulion County
                                  Stare of Georgia
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         *                                                                       Real Estate Transfer Tax $0.00
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   WHEN RECORDING IS COMPLETED MAIL                                                 Clerk of Superior Court
                                                                                     Fulton County, Georgia
   ORIGINAL COPY TO:

   JADE EYE 72 TRUST
   150 East Campbellton Rd
   Fairburn, GA 30213




                                            WARRANTY DEED


             THIS WARRANTY DEED is being made this 10& day of February 2017 by Charlton C. Lester
Grantor(s) AND TOTALLY CONVEYED TO Grantee, JADE EYE 72 TRUST as under Trust Agreement
                                                                 i

date February 10, 2017 with full power and authority, to protect, conserve, sell, lease, encumber or otherwise
manage and dispose of said property, Grantee(s) address are 150 East Campbellton Road, Fairburn, GA
30213.


WITNESSETH, that the said first party, for and in consideration of the sum of S2 1.00 in silver coin of the US

in hand along with other good and valuable consideration, conveys, grants, bargains, sells, confirms and
warrants, for payment as paid by the second party, the receipt whereof; is hereby acknowledged does hereby

remise, release and quit-claim unto the said Grantee forever all the right, title, interest, claim and demand

which the said first party(s) Charlton C. Lester address P.O. Box 43846, Atlanta, GA 30336 has in and to and
                        i


shall acquire in the following described lot, piece, or parcel of land, situated, lying and being in the County of

Fulton, State of Georgia, to wit Commonly Known As 2225 Wallace Road, Atlanta, GA 3033 1 . See Exhibit

"A" for legal Description.

TO HAVE AND TO HOLD the said property in fee simple absolute upon the above said trust and for uses

and purposes herein and in said trust agreement set forth.

Full power and authority is hereby granted to said Trustee(s) to improve, subdivide, protect, conserve, sell,

lease, encumber and otherwise manage and dispose of said property or any part thereof, to dedicate parks,

streets, highways or alleys and to vacate any subdivision or part thereof, and to re-subdivide said property as

often as described, to contract to sell, to grant options to purchase, to sell on any terms, to convey either with

or without consideration, to convey said property or any part thereof to a successor or successors in trust and

to grant to such successor or successors in trust all of the title, estate, powers and authorities vested in sai

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                                  Document           Page 36 of 178        Deed Book 58019 Pg            635




Trustee(s), to donate, to dedicate, to mortgage, pledge or otherwise encumber said property, or any part

thereof, to lease said property or any part thereof, from time to time, in possession or reversion, by leases to

commence in present or in future, and upon any terms and for any period or periods of time, not exceeding in

the case of any single demise the term of 99 years and to renew or extend leases upon and terms and for any

period or periods of time and to amend, change or modify leases and the terms and provision thereof at any

time or at times hereafter, to contract to make leases and to grant options to lease and options to renew leases

and options to purchase the whole or in any part of the reversion and to contract respecting the manner of

fixing the amount of present or future rentals, to partition or to exchange said property, or any part thereof,

for other real or personal property, to submit said property to condominium, to grant easements or charges of

any kind, to release, convey or assign any right, title or interest in or about or easements appurtenant to said

premises or any part thereof, and to deal with said property and every part thereof in all ways and for such

considerations as it would be lawful for any person owning the same to deal with the same, whether similar

to or different from the ways above specified, at any time or times hereafter.

Any contract, obligation or indebtedness incurred or entered into by the Trustee(s) in connection with said

property shall be as Trustee(s) of an express trust and not individually and the Trustee(s) shall have no

obligation whatsoever with respect to any such contract, obligation or indebtedness except only so far as the

trust property in the actual possession of the Trustee(s) shall be applicable for the payment and discharge

thereof; and it shall be expressly understood that any representations, warranties, covenants, undertakings and

agreements hereinafter made on the part of the Trustee(s), while in form purporting to be the representations,

warranties, covenants, undertakings and agreements of said Trustee(s), are nevertheless made and intended

not as personal representations, warranties, covenants, undertakings, and agreements by the Trustee(s)of for

the purpose or with the intention of binding said Trustee(s) personally, but are made and intended for the

purpose of binding only the trust property specifically described herein, and that no personal liability or

personally responsibility is assumed by nor shall at any time be asserted or enforceable against the Trustee(s)

individually on account of any instrument executed by or on account of any representation, warranty,

covenant, undertaking or agreement of the said Trustee(s), either expressed or implied, all such personal

liability, if any, being expressly waived and released and all persons and corporations whomsoever and

whatsoever shall be charged with notice of this condition from the date of the filing of the record of this

Deed.

In no case shall any party with said Trustee(s) in relation to said property, or to whom said property or any

part thereof shall be conveyed, contracted to be sold, leased or mortgaged by said Trustee(s), be obliged to

see to the application of any purchase money, rent or money borrowed or advanced on said property, or be




                                                                                                              &
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                                  Document           Page 37 of 178



obliged to see that the terms of this trust have been complied with, or be obliged to inquire into the necessity

or expediency of any act of said Trustee(s), or be obliged or privileged to inquire into any of the terms of said

trust agreement; and every deed, trust deed, mortgage, lease or other instrument executed by said Trustee(sO

in relation to said property shall be conclusive evidence in favor or every person relying upon or claiming

under any such conveyance, lease or other instrument, (a) that at the time of the delivery thereof the trust

created by this Indenture and by said trust agreement was in full force and effect, (b) that such conveyance or

their instrument was executed in accordance with the trusts, conditions and limitations contained in the

Indenture and in said trust agreement or in some amendment thereof and binding upon all beneficiaries

thereunder, (c) that the Trustee(sO was duly authorized and empowered to execute and deliver every such

deed, trust deed, lease, mortgage or other instrument and (d) if the conveyance is made to a successor or

successors in trust, that such are fully vested with all the title, estate, rights, powers, authorities, duties and

obligations of its, his or their predecessor in trust.

The interest of each beneficiary under the trust agreement hereunder and of all persons claiming under them

or any of them shall be only in possession, earnings, avails and proceeds arising from the sale or other

disposition of said property, and such interest is hereby declared to be personal property, and no beneficiary

hereunder shall have any title or interest, legal or equitable, in or to said property as such, but only an interest

in the possession, earnings, avails and proceeds thereof as aforesaid.




   In Witness Whereof, Grantor has hereunto set grantor's hand and seal the day and year first above
   written signed, seal and delivered in our presence:




    By:.     €*
           Charlton C. Lester     (Grantor)




   Witness




   Witness




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                                Document           Page 38 of 178        Deed Book  5Q019      Pg    637




STATE OF GEORGIA                        )
                                        )SS
COUNTY OF                               >

I HEREBY CERTIFY that on this day before me, an officer duly qualified to take acknowledgments,
personally appeared Charlton C. Lester, (grantor) to me known to be the persons described in and who
executed the foregoing instrument and acknowledged before me that he executed the same by his free
hand and deed.

WITNESS my hand and official seal in the County and State lost aforesaid this /f)             day of
 m&rfr/j                     2017.                                                  ~7^




                Notary (J "

                                                                       fgrs&m            *7   =
STATE OF GEORGIA                            )
                                            )SS
COUNTY OF       cQgKa\^>                    )

I HEREBY CERTIFY that on this day before me, an officer duly qualified to take acknowledgments,
personally appeared Jermaine Bradley as (trustee) for JADE EYE 72 TRUST, (grantee) and to me
known to be the persons described in and who executed the foregoing instrument and acknowledged
before me that he executed the same by his free hand and deed.

WI
 mraSSrny           hand and official seal in the County and State lost aforesaid this / 0    day of
                              2017.



By:
        istee   .




Prepared by: JADE EYE 72 TRUST




                Notary           (




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                                                                                              Pg     638
                                                                                     Clerk of Superior Court
                                                                                       Fulton County, Georgia


                                                  EXHIBIT "A"




THE LAND AND/OR PROPERTY REFERRED TO IN THIS COMMITMENT IS DESCRIBED AS FOLLOWS:


PHYSICAL ADRESS:      2225 Wallace Road, Atlanta, GA 30331

PROPERTY LEGAL DESCRIPTION:




       ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND
       LOTS 94 AND 105 OF THE 14th (FF) DISTRICT OF FULTON COUNTY,
       GEORGIA, AND BEING MORE PARTICULARLY DESCRIBED AS
       FOLLOWS:


       BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY
       SIDE OF WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST
       SIDE OF WALLACE ROAD AND THE EAST LINE OF LAND LOT 1 05;
       RUNNING THENCE NORTHWESTERLY ALONG THE SOUTHWESTERLY
       SIDE OF WALLACE ROAD, FIFTY-ONE AND SIX-TENTHS (5 1 .6) FEET TO
       AN IRON PIN; RUNNING THENCE SOUTHWESTERLY, FORMING AN
       INTERIOR ANGLE OF 88 DEGREES 51 MINUTES WITH THE PRECEDING
       CALL A DISTANCE OF THREE HUNDRED THIRTY-EIGHT AND ONE-
       TENTH (338. 1) FEET TO AN IRON PIN; RUNNING THENCE
       SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107 DEGREES 24
       MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
       HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
       EASTERLY LINE OF LAND LOT 1 05, RUNNING THENCE EASTERLY,
       FORMING AN INTERIOR ANGLE OF 128 DEGREES 1 2 MINUTES WITH
       THE PRECEDING CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530)
       FEET TO AN IRON PIN; RUNNING THENCE NORTHERLY, ONE
       HUNDRED EIGHTY-EIGHT AND EIGHT-TENTHS (188.8) FEET TO AN
       IRON PIN; LOCATED ON THE SOUTHWESTERLY SIDE OF WALLACE
       ROAD; RUNNING THENCE NORTHWESTERLY ALONG THE
       SOUTHWESTERLY SIDE OF WALLACE ROAD, SIX HLTNDRED
       SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN IRON PIN AND
       THE POINT OF BEGINNING, AS SHOWN ON SURVEY ENTITLED
       PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9, 1961.
       PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
       73. PAGE 70. FULTON COLINTY, GEORGIA RECORDS.




             I hereby certify the within and foregoing to be a true;-cbrrect and complete copy of the
         original that appears in j^L BK^o-t R ' PGfe&teft in this_o?fice this^Y^dav of           :
                                                                                                  20
                             CATHLEfeKOBINSON Clerk of'§ppsrior Court, Fulton County, GA
                                                                                                            S:.
                      By                  -   -   —              ,           Deputy Clerk                       o:

                                       not valid uml^s-signed in RED ink
3    Case 21-05122-jrs         Doc 12    Filed 03/01/22 Entered 03/01/22 14:20:24                  Desc Main
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                                                                                CATHEUENE0iog?g4DN
                               IN THE UNITED STATES BANKRUPTCY COURfJ®* of Superior Court
                                FOR THE NORTHERN DISTRICT OF GEORGIA                            °n ounty ' 6eors 1 Q
                                                ATLANTA DIVISION



         IN RE:
                                                                         CHAPTER 7 CASE
          WEINSTOCK & SCAVO, P.C.,
                                                                         NO. 12-80220
                  Debtor.




          WILLIAM J. LAYNG, JR., as chapter 7
          Trustee for the Estate of
          WEINSTOCK & SCAVO, P.C.,


                  Plaintiff,
                                                                          ADVERSARY PROCEEDING

                                                                          NO. 19-05234
          v.



          CHARLTON CARLOS LESTER, OTS, INC.,
          JADE EYE 72 TRUST, TIE RAY TRUST,
          and BMS REALTY, LLC,


                  Defendants.



                                                LIS PENDENS NOTICE

                  Notice is hereby given, pursuant to O.C.G.A. § 23-1-18 and O.C.G.A. Title 44, Chapter

          14, Article 9, that the above styled case is pending in the United States Bankruptcy Court for the

          Northern District of Georgia, Atlanta Division.

                  Said suit involves the real property described in Exhibit "A" attached hereto, incorporated


          herein, and made a part hereof.

                  The relief sought in said suit against said real property is as follows: Complaint For

          Turnover Of Property Of The Estate, For Avoidance Of Fraudulent Transfers And Other Relief.

                  This 23rd day of June 2019.


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                                                                                             Clerk of Superior Court
                                                                                                    Fulton Countaf Georsia




                                                                                 THEODORE N. STAPLETON


                                                                                  /s/ Theodore N. Stapleton
                                                                                 Georgia Bar No. 675850
                                                                                 Attorneys for Chapter 7 Trustee
             Suite 100-B               .
             2802 Paces Ferry Road, NW
             Atlanta, Georgia 30339
             (770) 436 3334
             tstaple@tstaple.com




                                                           EXHIBIT "A"

             ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 94 AND
             105 OF THE 14TH (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND BEING MORE
             PARTICULARLY DESCRIBED AS FOLLOWS:

             BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
             WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF WALLACE
             ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE NORTHWESTERLY
             ALONG THE SOUTHWESTERLY SIDE OF WALLACE ROAD, FIFTY-ONE AND SIX-
             TENTHS (51.6) FEET TO AN IRON PIN; RUNNING THENCE SOUTHWESTERLY,
             FORMING AN INTERIOR ANGLE OF 88 DEGREES 51 MINUTES WITH THE PRECEDING
             CALL A DISTANCE OF THREE HUNDRED THIRTY-EIGHT AND ONE-TENTH (338.1)
             FEET TO AN IRON PIN; RUNNING THENCE SOUTHEASTERLY, FORMING AN
             INTERIOR ANGLE OF 107 DEGREES 24 MINUTES WITH THE PRECEDING CALL A
             DISTANCE OF FOUR HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED
             ON THE EASTERLY LINE OF LAND LOT                             105, RUNNING THENCE EASTERLY,
             FORMING AN INTERIOR ANGLE OF 128                             DEGREES 12 MINUTES WITH THE
             PRECEDING CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON
             PIN; RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND EIGHT-
             TENTHS (1 88.8) FEET TO AN IRON PIN; LOCATED ON THE SOUTHWESTERLY SIDE OF
             WALLACE          ROAD;           RUNNING       THENCE          NORTHWESTERLY                ALONG     THE
             SOUTHWESTERLY SIDE OF WALLACE ROAD, SIX HUNDRED SEVENTY-NINE AND
             NINE-TENTHS (679.9) FEET TO AN IRON PIN AND THE POINT OF BEGINNING, AS
             SHOWN ON SURVEY ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER,
             DATED AUGUST 9, 1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN
             PLAT BOOK 73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.



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                        I hereby certify the within aniferagoing to he~a true, correct and complete copy of the
                   original that appears in   yiBKOjS^PGlk^nthiS^fiGe th\sM day of fPL
                                           CATHLENEi RQfelNSON Clerk of Sqpedor Court, Pulton CornwGA

                                 By                                                    Deputy Clerk
                                                  not valid unless signed in RED ink
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2
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
                                                                                                                                        Deed Book 604S7 Ps       697



                                                                                                                                ~ ^_Real Estate Transfer Tax. $0.00
                                                                                                                               CATHELENE
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                                                                                                                                    Filed and Recorded Sep-09-2019 03s 45pm
                                                                                                                                                2019-0314677
                                                                                                                                                                      ROBINSON
                                                                                                                                                 Clerk of Superior Court
                                                                                                                                                  Fulton Counts r Georgia
 A. NAME & PHONE OF CONTACT AT FILER (optional)


 B. E-MAIL CONTACT AT FILER (optional)



 C. SEND ACKNOWLEDGMENT TO:                 (Name and Address)

   I     Charlton C Lester                                                                      "I-
         do 2225 Wallace RdSW
         Atlanta, GA postal zone [30349|


   L                                                                                            J                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1 . DEBTOR'S NAME: Provide only coa Debtor name (1a or lb) (use exact tut] name: do not omit modify, or abbreviate any part of the Debtor's name): If any part of the Individual Debtors
   name wit) not fit In line 1b. leave all of item 1 blank, check here Q] and provide the Individual Dsbtor information in item 10 of the Financing Statement Addendum (Form UCCIAd)

       1a. ORGANIZATION'S NAME

       CHARLTON CARLOS LESTER, a Trust Entity
OR
       1b. INDIVIDUAL'S SURNAME                                                      FIRST PERSONAL NAME                               ADDITIONAL NAME(S)fiNITIAL(S)            SUFFIX



10. MAILING ADDRESS                                                                  CITY                                              STATE      POSTAL CODE                   COUNTRY

 P.O. BOX 492289                                                                     ATLANTA                                            GA        30349                         US
2. DEBTOR'S"NAME: Provide only SQB Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name): If any part of the Individual Debtor's
   name will not fit in line 2b. taave ell of item 2 blank, check here Q end provide (he Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCCIAd)

       2a. ORGANIZATION'S NAME



OR
       2b. INDIVIDUAL'S SURNAME                                                      FIRST PERSONAL NAME                               AOOTIONAL NAME(S)itNITtAL(S)             SUFFIX



2c. MAILING ADDRESS                                                                  CITY                                               STATE     POSTAL CODE                   COUNTRY




3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only cflfl Secured Party name (3a or 3b)
       3a. ORGANIZATION'S NAME                                                              •


OR
       3b. INDIVIDUAL'S SURNAME                                                      FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX

       Lester                                                                        Charlton                                           C
3C. MAILING ADORESS                                                                  CITY                                              STATE      POSTAL CODE                   COUNTRY

 c/o 2225 Wallace Road                                                               Non-domestic without thcfc] Ga                               30349-9998                    USA
4. COLLATERAL: This financing statement covets tho following collateral:

 Per the contract, the above Secured Party, a living man, hereby duly gives notice of claim to (1) all right, interest and title in
 STATE OP GEORGIA Certificate of Birth #414-A0014630759 as received by the NEW JERSEY DEPARTMENT OF
 HEALTH, BUREAU OF VITAL STATISTICS ON January 27, A. D. 1964, and the pledge represented by same, not limited
 to the pignus, hypothecs, hereditiments, res, the energy and all products derived therefrom, and all signatures on all
 contracts and agreements predicated on the legal entity described above as Debtor, nunc pro tunc to the date of creation, (2)
 all right, interest and title in the bond(s) behind Certificate of Birth #414-A0014630759, which represents the pre-paid
 financing on any and all activities of Debtor, and (3) all right, interest and title in any and all indentures, debentures and
 bonds of Debtor, nunc pro tunc to the date of creation. The Secured Party further claims all right, interest and title in all of
 the Debtor's titled and non-titled interests in assets, possessions, property, resources and licenses, etc., including, but not
 limited to, STATE OF GEORGIA DRIVER LICENSE #0433850080, private land commonly identiGed by the public as
 being located at "2225 Wallace Road" at Atlanta, on Georgia, and any and all funds due to the Debtor from the Debtor's
 Social Security contract identiGed by account number XXX-XX-XXXX.            (Continued on Addendum #1 ]


                                                                                                                                | being administered by a Decedent's Personal Representative
6a. Check only if applicable and chack only one box:                                                                            6b. Check QQlX if applicable and check stfx one box:

^J^^ubji«^liniancc^(aisadioi^^^^^^anuterturB^HaneTra<wattfon                         ED A Debtor is a Transmitting Utility      ^JZJjgfiailtuf^^
7^^ERNMTV^3ESIGNWIO^i^pplirable)^^j^esse^LessDf                              r^^onsiflreeftoT$ifine^^^^^^e]lertBuye^^^^7^ailcBra^jrjjj^J^futoBrogjj|ra
8. OPTIONAL FILER REFERENCE DATA;                                                                                                                                                        *
 Secured Party: By:                    /^;

RUNG OFRCE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
                                                                                                                International Association of Commercial
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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS

 9. NAME OF FIRST DEBTOR: Seme osline la or lb en Financing Statement; it line lb was left blank
       because Individual Debtor name did not fit, check here |    |
            nun AMI7ATtnM-e msmp                                       ^


        CHARLTON CARLOS LESTER, NON-ADVERSE, NON-BEUJGERENT. NON- COMBATANT BAILEE
                                                              t

                                                                  .'b- -                                                V



 OR
        Sb. INDIVIDUAL'S SURNAME



            FIRST PERSONAL NAME



            ADDITIONAL NAME(S)/INITIAL(S)                                                                   SUFFIX


                                                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

 10. DEBTOR'S NAME: Provide (1 Oo or 10b) only fine additional Debtor name or Debtor name that did not hi in line lb or 2b of the Financing Statement (Form UCCI) (use exact, full name;
        do not omit, modify, or abbreviate any part of the Debtor's name) and enter the moiling address in trne 1 0c
        10a. ORGANIZATION NAME                        u                                                                                        —
                                                                                                                                         ~.T
         CHARLTON CARLOS LESTER. NO^ADVERSE,-NON-BELUGERENT;NON-COMBATANT BAILEE-
 OR



             INDIVIDUAL'S FIRST PERSONAL NAME



                 INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                              SUFFIX



 10c MAILING ADDRESS                                                                        CITY                                                   STATE      POSTAL CODE                                COUNTRY

  8801 NW 31st AVENUE                                                                       MIAMI                                                  FL         33150                                      USA
 11         ADDITIONAL SECURED PARTY'S NAME si                             EZI ASSIGNOR SECURED PARTY'S NAME: Provide only one name (1 la or 1 lb)
        1 to. ORGANIZATION'S NAME


 OR
        1 lb. INDIVIDUAL'S SURNAME                                                          FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX

         Lester El                                                                          Charlton                                               C
 11c MAILING ADDRESS                                                                        CITY                                                   "Nation"

  General-Post Office, 2225 Wallace Rd SW                                                   Atlanta

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 1 3. [71 This FINANCING STATEMENT is to be Ned [for record) (or recorded) in the 1 1 4. This FINANCING STATEMENT:
            REAL ESTATE RECORDS (if applicable)
                                                                                                  I I cavers timber to be cut    Q covers os-exUacted collateral      171 is filed os a fixture filing
 1 5. Name and address of a RECORD OWNER of real estate described in item 1 6
       (II Debtor does not have a record Interest):                                                                                                                  ' *
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 17. MISCELLANEOUS:                                                                                                                                                                                  :                       :i
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UCC FINANCING STATEMENT AMENDMENT ADDENDUM
FOLLOW INSTRUCTIONS

1 1 . INITIAL FINANCING STATEMENT FILE NUMBER: Some os item lo on Amendment form


1 2. NAME OF PARTY AUTHORIZING THIS AMENDMENT: Some os item 9 on Amendment form
       nn nBrtflNI7rtTinM"i NftHF                  .
       CHARLTON CARLOS LESTER, NON-ADVERSE, NON-BELLKZRENT. NON- COMBATANT BAILEE —

                       *3.SC       '                                     • -.4                   -r.                             ~


OR
      1 2b. INDIVIDUAL'S SURNAME



           FIRST PERSONAL NAME



              ADDITIONAL NAME(S)/ENITIAL(S)                                                                        SUFFIX

                                                                                                                                             THE ABOVE SPACE IS FOR RUNG OFFICE USE ONLY

1 3. Nome of DEBTOR on related financing statement (Nome of a current Debtor of record recurred for Indexing purposes only in some filing offices * see Instruction item 13): Provide only
      one Debtor Rome (13a or 13b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name): see Instructions if name does not fit

      13a. ORGANIZATION'S NAME


OR                                                                                                     FIRST PERSONAL NAME                                        ADDITIONAL NAME(SUINJTIAUS)         SUFFIX
       13b. INDIVIDUAL'S SURNAME
                                               CM


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The reccni'ltihre case proves iba one isNOT precluded finm'diaiing in the earisdtudoosl money utd is tiKj&eveoted from chooiingto PAY debts instead ofmerely DISCHARGINGtbon.. *                                     "
Ail sfDEBTOR'S emeu, on Lend, Air, Sea, Space, ell penanii property, end *11 DEBTOR'S right. ode endinreren in right *nd interestin til said utctr. Land sad persona] properly, ocw owned tad hereafler acquired. now existing end

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Any Violation ofthia Contract is Sutjca to t Penalty Fee of t l00,000,0w!000i00DoUsnL-                                     ;             '                               •
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COUmr^K-FULTW^')
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                                                                                        • 4 >«                                                                      county, Georgia
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                                                                '-By:.                                                                                   :]
                                                                                                                                                              r* ^ftMr^b2^Q22            .
15. This FINANCING STATEMENT AMENDMENT:                                                                               1 7. Description of real estate:

      I~1 covets timber to be cut      I I covers os-extmcted collateral            I I is filed os o fixture filing All property belonging to Secured Party IS Subject to

''                        «S01""**"*"" """ "                                                                         I <**» and defences:
                                                                                                                       1. Declaration of Independence for protection and defense
NEW JERSEY
                                                                                                                       of the self-evident truth; and               .
140 E Front St
                                                                                                                       2. State as Adnrinistrator and Usufructuary; and
Trenton, NJ 08625
                                                                                                                       Quiet enjoyment of property and persons remains with
                                                                                                                       Secured Party with care and maintenance
                                                                                                                       provided by Usufructuary.
                                                                                                                       As a real -man with hands and legs, and real -land in the
                                                                                                                       United States of America-WITH TRUST
                                                                                                                       IN GOD, this real-estate is with the PUBLIC -l-OJSk&JL
                                                                                                                       MANY all 50 states
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18. MISCELLANEOUS:                                                                                                                                                                                :                  :
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                              Case 21-05122-jrs                      Doc 12    Filed 03/01/22 Entered 03/01/22 14:20:24
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y§"
&<£$. ,                                                      CERTIFICATE OF BIRTH
v* .




j£|j;                       NAME OF CHJLD                                                                                                                                                                        ^                <
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                                                                                                                                                             SEX
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                "              vfOuHsdl riSafea endorsements In accordance with UCC 3-419, HJR 192 and Public Law 73-10. Charge
                               my Private UCC Contract Trust Account Employer Identification #150643104 for the registration fees                                                                                        >1
                                                                                                                                                                                                                         I*
          F* ' NAM§$l§/9S3fi?ftn^ t^ie memory ofaccount #XXX-XX-XXXX to charge the same to the Debtor's Order, or                                                                                        •j
           ij                  your Order. Employer Identification #150643104 - Bond # 414-A0014630759 - Pre-Paid - Preferred
          j'                RUBY GLOVER                          Stock -Priority Exempt from Levy -Posted: Certified Account
                                                                           Invoice #CCL2019990 Date 09/09/2019
            *       9



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                    . LUCAS LESTER
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       * Health Department                                                                                                                                                                                               l-*
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    <l|                      Karen Sfzer^lartin, Registrar

    «S$..Wb& to certify that the above is correctly
    ;                a record on file in my office.                                                                                                                                         A .li
    ¥l Certified copy net valid unless the raised                                                                                                                                           > la          }](&*
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    W'                      or the &al of the Issuing municipality                                                                                                                            4

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                                                                                                                State Registrar

                                                             A0014630759                             Office of Vital Statistics and Registry
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                            ATTACHMENT "A" - PROPERTY LIST
                ATTACHMENT TO COMMERCIAL SECURITY AGREEMENT # CCL-AA101


All of the property listed in this Property List is protected by all terms, conditions, and
agreements contained in all the documents recorded herein.

1.    All land in which DEBTOR has an interest, including the soil itself; all minerals atop or beneath the soil surface; all air
      rights; all waters on or in the soil or land surface such as a lake or pond, within the land boundaries;                    •

2.    All real property and all documents involving all real property in which DEBTOR has an interest, including ail buildings,
      structures, fixtures, and appurtenances situated on or affixed thereto, as noted in #1 above;

3.    All personal property and all documents involving all personal property in which DEBTOR has an interest.
4.    Ail household goods and appliances, linen, wardrobe, toiletries, furniture, kitchen utensils, cutlery, tableware, cooking
      utensils, pottery, collectibles, collections, antiques, etc.;                                                           •

5.    All ownership, equity, property, and rights to property now owned or held or hereafter acquired in ail businesses,
      corporations, companies, partnerships, limited partnerships, organizations, proprietorships, and the like; and all books and
      records pertaining thereto; all income therefrom; and all accessories, accounts, equipment, information, inventory, money,
      spare parts, and computer software pertaining thereto;

6.    All cottages, cabins, houses, mansions, and buildings of whatever type and wherever located;

7.    All bank accounts foreign and domestic, bank "safety" deposit boxes and the contents therein; personal security codes,
      passwords, and the like associated therewith; credit card accounts, mutual fund accounts, certificates of deposit accounts,
      checking accounts, savings accounts, retirement plan accounts, stocks, bonds, securities, and benefits from trusts;

8.    All inventory from any source;

9.    All machinery, either farm or industrial; all mechanical tools, construction tools, tools of trade;

10.   All boats, yachts, and watercraft; and all equipment, accoutrements, baggage, and cargo affixed or pertaining thereto or
      stowed therein, inter alia: all motors, engines, ancillary equipment, accessories, parts, tools, instruments, electronic
      equipment, navigation aids, service equipment, lubricants, ftiels, and fuel additives;

11.   All aircraft, gliders, balloons, and all equipment, accoutrements, baggage, and cargo affixed or pertaining thereto or
      stowed therein, inter alia; all motors, engines, ancillary equipment, accessories, parts, tools, instruments, electronic
      equipment, navigation aids, service equipment, lubricants, fuels, and fuel additives;

12.   All motor homes, trailers, mobile homes, recreational vehicles, houses, cargo, and travel trailers; and all equipment,
      accoutrements, baggage, and cargo affixed or pertaining thereto or stowed therein, inter alia: all ancillary equipment,
      accessories, parts, service equipment, lubricants, fuels, and fuel additives;

13.   All animals and all farm livestock; and all things required for the care, feeding, use, transportation, and husbandry thereof;

14.   All pets, including cats, dogs, birds, fish, or whatever other of the animal kingdom has been gifted or otherwise acquired:
      whether kept indoors or outdoors; with all fixtures, vehicles, and housings required for their protection, feeding, care,
      transportation, shelter, and whatever other needs may arise;

15.   All vehicles, autos, trucks, four-wheel vehicles, trailers, wagons, motorcycles, bicycles, tricycles, wheeled conveyances of
      any kind, motorized or otherwise, in which DEBTOR has an interest;

16.   All computers, computer-related equipment and accessories, flash drives, electronically stored files or data, telephones,
      electronic equipment, office equipment and machines;

17.   All visual reproduction systems, aural reproduction systems, motion pictures, films, video tapes, audio tapes, sound
      tracks, compact discs, DVDs, ipods, digital audioA/ideo players, phonograph records and players, film, slides and
      projectors, photography and video and aural production equipment, cameras, projectors, tape recorders, cassette players,
      etc.;

18.   All manuscripts, books, booklets, pamphlets, treatises, treatments, monographs, stories, written material, libraries, plays,
      screenplays, lyrics, songs, music;

19.   All books and financial records of DEBTOR;

20.   All trademarks, registered marks, copyrights, patents, proprietary data and technology, inventions, intellectual

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ATTACHMENT «A" PROPERTY UST
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                                                                                                    Deed Book 6G4S7 Pa                     702
       royalties, good will;

21 .   All public or private scholastic degrees, titles, credentials, medals, trophies, honors, awards, recognitions, meritorious
       citations, certificates from apprenticeship training and/or continuing education programs, etc., from whatever source, for
       whatever trade, occupation, work, or endeavor;

22.    All military (Army, Navy, Air Force, Marine, National Guard, etc.) discharge papers, and the like;
23.    All records, diaries, journals, photographs, negatives, transparencies, images, video footage, film footage, drawings,
       sound records, audio tapes, video tapes, computer production or storage of all kinds whatsoever;

24.    Ail rights to obtain, use, request, refuse, or authorize the administration of any food, beverage, nourishment, or water, or
       any substance to be infused or injected into or affecting the body by any means whatsoever;

25.    All rights to obtain, use, request, refuse, or authorize the administration of any drug, manipulation, material, process,
       procedure, ray, or wave which alters or might alter the present or future state of the body, mind, spirit, free will, faculties,
       and self by any means, method, or process whatsoever;

26.    All keys, locks, lock combinations, encryption codes or keys, safes, secured places, and security devices, security
       programs, software, user names, passwords, machinery, or devices related thereto;

27.    All rights to barter, buy, contract, sell, or trade ideas, products, services, or work;

28.    All rights to barter, buy, contract, sell, or trade any kind of asset, tool, item of value, time, property whatsoever without any
       requirement to apply for or obtain any government license, permit, certificate, or permission of any kind whatsoever;

29.    All rights to create, invent, adopt, utilize, or promulgate any system or means of currency, private money, medium of
       exchange, coinage, barter, economic exchange, bookkeeping, record-keeping, and the like;

30.    AH rights to use any free, rented, leased, fixed, or mobile domicile, as though same were a permanent domicile; and to be
       free from requirement to apply for or obtain any government license or permission, permit and otherwise; and to be free
       from "entry, intrusion, or surveillance, by any means, regardless of duration of lease period;

31 .   All signatures on all applications for and all value associated with all public addresses;

32. . All signatures and seals;

33.    All signatures on all applications for and all value associated with all licenses foreign and domestic;
34.     Ail present and future retirement incomes, commissions, compensation, and the fruits of my labor, and rights to such
        incomes, commissions, compensation, and the fruits of my labor issuing from all accounts and trusts;

35.     AH applications, filings, correspondence, information, images, identifying marks, image licenses, travel documents,
        materials, permits, registrations, and records and records numbers held by any entity, for any purpose, however acquired,
        as well as the analyses and uses thereof, and any use of any information and images contained therein, regardless of
        creator, method, location, process, or storage form, inter alia: all processed algorithms analyzing, classifying, comparing,
        compressing, displaying, identifying, processing, storing, or transmitting said applications, filings, correspondence,
        information, images, identifying marks, image licenses, travel documents, materials, permits, registrations, records and
        records numbers, and the like;

36.     All signatures on all applications for and all value associated with all library cards;

37.     All credit, charge, and debit cards, mortgages, notes, applications, card numbers, and associated records and information;

38.     All credit of DEBTOR;

39.     AH signatures on and ail value associated with all traffic citations/tickets;

40.     All signatures on and ail value associated with all parking citations/tickets;

41 .    All value from all court cases and all judgments, past, present, and future, in any court whatsoever; and all bonds, orders,
        warrants, and other matters attached thereto or derived therefrom;

42.     All precious metals, bullion, coins, jewelry, precious jewels, semi-precious stones, mounts; and any storage boxes,
        receptacles, and depositories within which said items are stored;

43.     All bank accounts foreign and domestic, all brokerage accounts, stocks, bonds, certificates of deposit, drafts, futures,
        insurance policies, investment, securities, all retirement plan accounts, Individual Retirement Accounts, money market
        accounts, mutual funds, notes, options, puts, calls, pension plans, savings accounts, stocks, warrants, securities, benefits
        from trusts, 401 Ks. and the like;

44.      All accounts, deposits, escrow accounts, lotteries, overpayments, prepayments, prizes, rebates, refunds, returns,
       . Treasury Direct Accounts, claimed and unclaimed funds; and all records and records numbers, correspondence^anda%>^

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ATTACHMENT "A" PROPERTY LIST                                                                                               S:              P
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       information pertaining thereto or derived therefrom;

45.    All stockpiles, collections, buildups, amassment, and accumulations, however small, of Federal Reserve Notes (FRNs),
       gold certificates, silver certificates; and all other types and kinds of cash, coins, currency, and money delivered into
       possession of Secured Party Creditor;

46.    All drugs, herbs, medicine, medical supplies, cultivated plants, growing plants, inventory, ancillary equipment, supplies,
       propagating plants, and seeds; and all related storage facilities and supplies;

47.    All fitness and/or sports equipment intended to increase vitality, fitness, and health; and whole food complexes, vitamin,
       mineral, and other supplements to the diet for the same health and fitness purposes; and all juicers, grinders, dehydrators,
       and storage and delivery devices or equipment;

48.    All products of and for agriculture; and all equipment, inventories, supplies, contracts, and accoutrements involved in the
       planting, tilling, harvesting, processing, preservation, and storage of all products of agriculture;

49.    All plants and shrubs, trees, fruits, vegetables, farm and garden produce, indoors and out, watering devices, fertilizers and
       fertilizing equipment, pots, collections of plants, e.g., bonsai, dry or live assortments of flowers and plants, or anything
       botanical;

50.    All farm, lawn, and irrigation equipment, accessories, attachments, hand tools, implements, service equipment, parts,
       supplies, and storage sheds and contents;

51.    All fuel, fuel tanks, containers, and involved or related delivery systems;

52.    All metal-working, woodworking, and other such machinery; and all ancillary equipment, accessories, consumables,
  '    power tools, hand tools, inventories, storage cabinets, tool boxes, work benches, shops, and facilities;

53.    All camping, fishing, hunting, and sporting equipment; and all special clothing, materials, supplies, and baggage related
       thereto;

54.    All storage units, safes, rifles, guns, bows, crossbows, other weapons, and related accessories; and the ammunition,
       reloading equipment and supplies, projectiles, and integral components thereof;

55.    All radios, televisions, communication equipment, receivers, transceivers, transmitters, antennas, towers, etc.; and all
       ancillary equipment, supplies, computers, software programs, wiring, and related accoutrements and devices;

56.    All power-generating machines or devices; and ail storage, conditioning, control, distribution, wiring, and ancillary
       equipment pertaining to or attached thereto;

57.    All devices, engines, fixtures, fens, plans needed for the production or storage of electrical energy;

58.    All computers and computer systems and the information contained therein; as well as all ancillary equipment printers,
       and data compression or encryption devices, processes, and processors;

59.    All office and engineering equipment, furniture, ancillary equipment, drawings tools, electronic and paper files, and items
       related thereto;

60.    All water wells and well-drilling equipment; and all ancillary equipment, chemicals, tools, and supplies;

61 .   All shipping, storing, and cargo containers, and all chassis, truck trailers, vans, and the contents thereof; whether on-site,
       in transit, or in storage anywhere;

62.    All building materials and prefabricated buildings; and all components or materials pertaining thereto, before or during
       manufacture, transportation, storage, building, erection, or vacancy while awaiting occupancy thereof;

63.    All communications and data; and the methods, devices, and forms of information storage and retrieval, and the products
       of any such stored information;

64.    All artwork and supplies, paintings, etchings, photographic art, lithographs, and serigraphs, etc.; and all frames and
       mounts pertaining to or affixed thereto;

65.    Ail food; and all devices, tools, equipment, vehicles, machines, and related accoutrements involved in food preservation,
       preparation, growth, transport, and storage;

66.    All construction machinery; and all ancillary equipment, fuels, fuel additives, supplies, materials, and service equipment
       pertaining thereto;

67.    All medical, dental, optical, prescription, and insurance records, records numbers, and information contained in any such
       records or pertaining thereto;

68.    The Last Will and Testament from any source;




ATTACHMENT "A" PROPERTY LIST
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                                                                                                        Deed Book 604S7 pg             7n4.
                                                                                                    CATHELENE            RDBINBON
                                                                                                           Clerk of Superior Court
    69.   All inheritances gotten or to be gotten;
                                                                                                            Fulton Countu t Georsio
    70.   All wedding bands and rings, watches, and jewelry;

    71.   All household goods and appliances, linen, wardrobe, toiletries, furniture, kitchen utensils, cutlery, tableware, cooking
          utensils, pottery, collectibles, collections, antiques, etc.;

    72.   All musical instruments, whether new or old, including brass, woodwinds, percussion, strings, etc.;

    73.   All children's toys, books, clothing, playthings, and possessions of any type or amount;

    74.   All businesses, corporations, companies, trusts, partnerships, limited partnerships, organizations, proprietorships, and the
          like, now owned or hereafter acquired; and all books and records thereof and therefrom; all income, commissions,
          compensation, and the fruits of my labor therefrom; and all accessories, accounts, equipment, information, inventory,
          money, spare parts, and computer software pertaining thereto;

    75.   All signatures on ail applications for social security numbers, and all value associated with all accounts, XXX-XX-XXXX;

    76.   All tax correspondence, filings, notices, coding, record numbers, all benefit from social security account # XXX-XX-XXXX;
          and any information contained therein, wherever and however located, and no matter by whom said information was
          obtained, compiled, codified, recorded, stored, analyzed, processed, communicated, or utilized;

    77.   All value associated with the private contract trust account number                       ;

    78.   All private, registered, bond/account numbers; and ail bonds and notes tendered to any and all entities, including the
          Department of the Treasury, banks, creditors, corporations, etc;
    79.   All rights, interest, and exclusive title in CERTIFICATE OF LIVE BIRTH FILE # 41 4-A0014630759, January 27. 1964,
          issued by NEW JERSEY DEPARTMENT OF HEALTH, OFFICE OF VITAL RECORDS, instilling the pledge represented
          by the same pignus, hypothecs, hereditaments, res, the energy and ail products derived therefrom including, but not
          limited to all caps name CHARLTON CARLOS LESTER, CHARLTON LRSTER, CHARLTON C. LESTER, C. LESTER, or
          C.C.LESTER, or any other derivative thereof; and

    80.   Any and all property not specifically listed, named, or specified by make, model, serial number, etc., is expressly herewith
          included as collateral of the Secured Party Creditor.




    End of Attachment "A" - Property List
                                                                   By:
                                                                          Chariton Carlos Lester,
                                                                          Secured Party Creditor




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    ATTACHMENT "A" PROPERTY UST                                                                                                Page 4 of 4

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                 original that appears in iSE BK _    j        .. .fe_9ffice thistly day of       _____
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                                                                                                       Filed and Recorded 08/05/2020 1 1 :32:00 AM
                                                                                                       2020-0252766
                                                                                                       Cathelene Robinson
                                                                                                       Clerk of Superior Court
                                                                                                       Fulton County, GA
                                                                                                       Participant IDs: 1663542869
                                                                                                       0848497841




                      Return to:                                         CLERK: Please cross reference to Deed Book
                      Campbell & Brannon, LLC                                           58019, page 634.
                      5565 Glenridge Connector                           Grantor: Jade Eye 72 Trust
                      Suite 350
                      Atlanta, Georgia 30342
                      (Return to JMC)                                            Tax Parcel 14F-0094-LL-019-3
                                                                                 2225 Wallace Road, Atlanta, GA



                                                                      AFFIDAVIT


                      STATE OF GEORGIA,
                      COUNTY OF FULTON.


                               Personally appeared before me, a notaiy public, J. Michael Campbell, who being duly sworn,
                      deposes and states on oath as follows:


                                                                            1.

                              My name is J. Michael Campbell and this Affidavit is recorded to provide notice to interested
                      parties of the existence of a certain Order for Contempt and Sanctions entered 7/29/2020.

                                                                            2.


                               I am aware that this affidavit will be relied upon by various buyers, lenders, lawyers, and title
                      insurance companies concerning the title to the said property.

                               Witness the hand and seal of the undersigned on this 3 1 st day of July, 2020.                                        j




                                                                           M
                                                                         J^Michael CampbdH         ~
                                                                                                                             (SEAL)


           ^--"Signed/              I, and delivered in
                      the presence o:




                      Notary


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A.   . V   •• =                                                                                                             "Brawn?"
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                                         Document      Page 1 of 6             Deed         Book 62038 Page 58




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         IT IS ORDERED as set forth below:                                    < W'
                                                                                        W

         Date: July 29, 2020

                                                                       James R. Sacca
                                                                 U.S. Bankruptcy Court Judge

                                                                                                                      :




                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION                                                             j
    IN RE:
                                                                                                                      !
                                                                  CHAPTER 7 CASE
    WEINSTOCK & SCAVO, P.C.,
                                                                  NO. 12-80220
            Debtor.



    WILLIAM J. LAYNG, J1L, as chapter 7
    Trustee for the Estate of
    WEINSTOCK & SCAVO, P.C.,


            Plaintiff,
                                                                 ADVERSARY PROCEEDING


                                                                 NO. 19-05234
    v.



    CHARLTON CARLOS LESTER, OTS, INC.,
    JADE EYE 72 TRUST, TIE RAY TRUST,
    BLACK ROYAL TRUST and
    BMS REALTY, LLC,

            Defendants.




                               ORDER FOR CONTEMPT
         AND FOR SANCTIONS AGAINST CO-DEFENDANTS BMS REALTY. LLC. JADE
               EYE 72 TRUST. BLACK ROYAL TRUST AND TIE RAY TRUST

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Case 21-05122-jrs         Doc 12    Filed 03/01/22 Entered 03/01/22 14:20:24                  Desc Main
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                                                                                                                               !
         This matter is before the Court on the Plaintiff William J. Layng Jr. 's Motionfor Order of

    Contempt andfor Sanctions Against Co-Defendants BMS Realty, LLC, Jade Eye 72 Trust, Black


    Royal Trust And Tie Ray Trust filed July 3, 2020 [Doc. No. 35](the "Contempt Motion"). The


    Contempt Motion requests the Court find Co-Defendants BMS Realty, LLC ("BMS"), Jade Eye


    72 Trust ("Jade Eye"), Tie Ray Trust ('Tie Ray") and Black Royal Trust ("Black Royal") to be in


    willful contempt for failure to comply with this Court's Orders as follows:


            1) Default Judgment in Favor of Plaintiff William J Layng, Jr., as Chapter 7 Trustee,


               Against Co-Defendants OTS, Inc. and BMS Realty, LLC entered October 11, 2019


                [Doc. No. 8](the "BMS Turnover Order"); and

            2) Default Judgment in Favor of Plaintiff William J Layng, Jr>> os Chapter 7 Trustee,

               Against Co-Defendants Jade Eye 72 Trust, Tie Ray Trust and BlackRoyal Trust entered


               May 27, 2020 [Doc. No. 33] (the 'Trusts Turnover Order").


           The Contempt Motion seeks the entry of an Order transferring title to the 2225 Wallace


    Road, 1226 Byewood Lane, 1529 Bellflower Court and 1876 Wedgewood Drive properties, as
                                                                                                                               1
    identified in the Amended Complaint, to the bankruptcy estate for liquidation in satisfaction ofthe
                                                                                                                               !
    Lester Judgment and OTS Judgment, as identified in the Amended Complaint The Court

    entered the BMS Turnover Order on October 11, 2019 and despite demand for compliance with

   the BMS Turnover Order made by the Trustee to BMS on October 21, 2019, BMS has failed to


    comply. The Court entered the Trusts Turnover Order on May 27, 2020 and despite demand for

   compliance with the Trusts Turnover Order made by the Trustee to Jade Eye, Tie Ray and


   Black Royal on June 1, 2020, Jade Eye, Tie Ray and Black Royal have failed to comply.


           A hearing on the Contempt Motion was held on July 28, 2020, at which time no

   objections to the Contempt Motion were asserted. No objections having been filed and good


   cause having been shown for granting the reliefrequested in the Contempt Motion; it is herebap^ofic^ ...


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            ORDERED that the Contempt Motion is GRANTED; it is further

            ORDERED that title to the 2225 Wallace Road, 1226 Byewood Lane, 1529

    Bellflower Court and 1876 Wedgewood Drive properties, as identified in the Amended


    Complaint and more specifically described on Exhibit "A" attached, is hereby transferred to

    William J. Layng, Jr., as chapter 7 trustee for the estate of Weinstock & Scavo, P.C., for


    liquidation in satisfaction of the Lester Judgment and OTS Judgment, as identified in the

    Amended Complaint.




                                           END OF DOCUMENT

    Prepared and presented by:


    THEODORE N. STAPLETON, P.C.
    Isf Theodore N. Stapleton
    Theodore N. Stapleton
   Georgia Bar No. 675850
   Attorneys for Plaintiff



    Suite 100-B
   2802 Paces Feny Road, SE
   Atlanta, GA 30339
   Telephone: (770) 436-3334
    tstaple@tstaple.com



                                         DISTRIBUTION LIST

   Theodore N. Stapleton
   Suite 100-B
   2802 Paces Ferry Road, SE
   Atlanta, GA 30339




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    Charlton Carlos Lester
    3434 Hamlin Square, S.W.
    Atlanta, GA 30331


    Black Royal Trust
    c/o Jermaine Bradley, as trustee
    150 East Campbelltown Road
    Fairbuin,GA 30213

    Jade Eye 72 Trust
    c/o Jermaine Bradley, as trustee
    150 East Campbelltown Road
    Faiiburn, GA 30213


    Tie Ray Trust
    c/o Michelle Jones, as trustee
    4426 Hugh Howell Road
    Suite B 554
    Tucker, GA 30084


    BMS Realty, LLC
    c/o Regina S. Molden, Esq.
    The Molden Law Firm
    233 Peachtxee Street NE
    Suite 1245, Harris Tower
    Atlanta, GA 30303




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                                              F.XOTBIT"A»


        1) KNOWN AS:            2225   WALLACE         ROAD,     ATLANTA, FULTON             COUNTY,
           GEORGIA 30331

    PROPERTY LEGAL DESCRIPTION:
    ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 94 AND
    105 OF THE 14TH <FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND BEING MORE
    PARTICULARLY DESCRIBED AS FOLLOWS:
    BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
    WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF WALLACE
    ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE NORTHWESTERLY
    ALONG THE SOUTHWESTERLY SIDE OF WALLACE ROAD, FIFTY-ONE AND SIX-
    TENTHS (51.6) FEET TO AN IRON PIN; RUNNING THENCE SOUTHWESTERLY,
    FORMING AN INTERIOR ANGLE OF 88 DEGREES 51 MINUTES WITH THE PRECEDING
    CALL A DISTANCE OF THREE HUNDRED THIRTY-EIGHT AND ONE-TENTH (338.1)
    FEET TO AN IRON PIN; RUNNING THENCE SOUTHEASTERLY,                                 FORMING AN
    INTERIOR ANGLE OF 107 DEGREES 24 MINUTES WITH THE PRECEDING CALL A
    DISTANCE OF FOUR HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED
    ON THE EASTERLY LINE OF LAND LOT 105, RUNNING THENCE EASTERLY,
    FORMING AN INTERIOR ANGLE OF                      128   DEGREES      12   MINUTES      WITH     THE
    PRECEDING CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON
    PIN; RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND EIGHT-
    TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE SOUTHWESTERLY SIDE OF
    WALLACE         ROAD;       RUNNING        THENCE        NORTHWESTERLY             ALONG        THE
    SOUTHWESTERLY SIDE OF WALLACE ROAD, SIX HUNDRED SEVENTY-NINE AND
    NINE-TENTHS (679.9) FEET TO AN IRON PIN AND THE POINT OF BEGINNING, AS
    SHOWN ON SURVEY ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER,
    DATED AUGUST 9, 1961, PREPARED BY CD. RUPPE, ENGINEER, AND RECORDED IN
    PLAT BOOK 73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.


    PARCEL ID NO. 14F0094 LL0193


    CROSS REFERENCE- DB- 58019; PG- 634; TITLE OWNER- JADE EYE 72 TRUST


        2) KNOWN AS:          1226 BYEWOOD LANE, SW, ATLANTA, FULTON COUNTY,
            GEORGIA 30310


    PROPERTY LEGAL DESCRIPTION:
    ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 137 OF THE
    146 DISTRICT, FULTON COUNTY, GEORGIA, OAKLAND PARK SUBDIVISION, AS PER
    PLAT RECORDED IN DEED BOOK 36323, PAGE 67, FULTON COUNTY, GEORGIA
    RECORDS, SAID PLAT BEING INCORPORATED HEREIN BY REFERENCE AND MADE
    A PART OF THIS DESCRIPTION, BEING IMPROVED PROPERTY KNOWN AS 1226
    BYEWOOD LANE, SW, ATLANTA, GEORGIA 30310, ACCORDING TO THE PRESENT
    SYSTEM OF NUMBERING HOUSES IN FULTON COUNTY, GEORGIA.




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                                                                                                                  Deed Book 62038 Page 63
                                                                                                                  Cathelene Robinson
                                                                                                                  Clerk of Superior Court

    PARCEL ID NO. 14 013700060381


    CROSS REFERENCE- DB- 58625; PG- 231; TITLE OWNER- TIE RAY TRUST

        3)    KNOWN AS: 1529 BELLFLOWER COURT, STONE MOUNTAIN, DEKALB
              COUNTY, GEORGIA 30088


    PROPERTY LEGAL DESCRIPTION:
    ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 29 OF THE
    16TH DISTRICT, DEKALB COUNTY, GEORGIA, BEING LOT 7, BLOCK Z, HIDDEN
    HILLS SUBDIVISION, UNIT NINE, ACCORDING TO PLAT RECORDED IN PLAT BOOK
    72, PAGE 32, DEKALB COUNTY RECORDS, WHICH PLAT IS INCORPORATED HEREIN
    BY REFERENCE.


    PARCEL ID NO. 16-029-06-007


    CROSS REFERENCE- DB- 22304; PG- 176; TITLE OWNER- BMS REALTY, LLC
    CROSS REFERENCE- DB- 26544; PG- 397; TITLE OWNER- BLACK ROYAL TRUST



       4)    KNOWN AS:             1876 WEDGEWOOD DRIVE, STONE MOUNTAIN, DEKALB
             COUNTY, GEORGIA 30088



    PROPERTY LEGAL DESCRIPTION:
    ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 5, I 6th
   DISTRICT, DEKALB COUNTY, GEORGIA, BEING LOT 12, BLOCK C, HIDDEN HILLS,
   UNIT 17-A, AS PER PLAT RECORDED IN PLAT BOOK 92, PAGE 29, DEKALB COUNTY
   RECORDS, WHICH REFERENCE IF MADE FOR THE PURPOSE OF INCORPORATING
   THE SAME AS A PART HEREIN, AND BEING IMPROVED PROPERTY KNOWN AS 1876
   WEDGEWOOD DRIVE, ACCORDING TO THE PRESENT SYSTEM OF NUMBERING
   HOUSES IN DEKALB COUNTY, GEORGIA.

    PARCEL ID NO. 16-005-08-028

    CROSS REFERENCE- DB- 22304; PG- 553; TITLE OWNER- BMS REALTY, LLC




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                 I hereby certify the   within and foregoing to be a true; correot and complete copy of thed$^^-?c^
             original that appears in   {SjjgBKfafloIffRG              thifroffic&this 0*4 day of PfcJL 2        V
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                                                                                                                          C ATHELENE ROBINSON
                                                                                                                                    Clerk of Superior Court
                                                                                                                                     Fulton Counter Georgia
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

A NAME & PHONE OF CONTACT AT FILER (optional)


 B. E-MAIL CONTACT AT FILER (optional)              *


C. SEND ACKNOWLEDGMENT TO:                   (Name and Address)


   |     Jermaine W Bradley                                                                 ~1
         do 150 Campbellton Street
         Fairburn, Ga 30216

                                                                                                                 Itoss.                                                     F563V
   L                                                                                        J                   THE ABOVE SPACE IS FOR RUNG OFFICE USE ONLY
1 . DEBTOR'S NAME: Provide only flna Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
    name wiB not fit in line 1b. leave all of Item 1 blank, check here Q end provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCClAd)

       1a. ORGANIZATION'S NAME

       JADE EYE 72 TRUST
OR
       1b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX



1c. MAILING AODRESS                                                                 CITY                                              STATE      POSTAL CODE                  COUNTRY

 150 CAMPBELLTON STREET                                                              ATLANTA                                           GA        30213                         USA
2. DEBTOR'S NAME: Provide only gna Debtor name (2a or 2b) (use exact full name; do rat omit, modify, or abbreviate any part cf the Debtor's name); if any part of tha Individual Debtor's
   name will not fit in tine 2b, leave all of item 2 blank, check here Q and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCClAd)

       2a. ORGANIZATION'S NAME


OR
       2b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX



2c. MAILING ADDRESS                                                                 CITY                                               STATE     POSTAL CODE                  COUNTRY




3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only oca Secured Party name (3a or 3b)
       3a. ORGANIZATION'S NAME


OR
       3b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                               ADDITIONAL NAME(S)flNITIAL(S)           SUFFIX

       Jermaine                                                                      Bradley
3c. MAILING ADDRESS                                                                 CITY                                               STATE     POSTAL CODE                  COUNTRY

 150 Campbellton Street                                                              Fail-burn                                         Ga        30213                         USa
4. COLLATERAL: This financing statement covers the following collateral:

 THIS IS ACTUAL AND CONSTRUCTWE NOTICE all the Debtor's interested in the following property is hereby
 Accepted as collateral for securing contractual obligation in favor of the Secured Party This is a suit or action at
 Common Law and the value in controversy exceeds twenty (20) dollars. The controversy is not confined to the question
 of Title to Property or in relation to other property, but to Claimant's Common Law Claim for the acquisition, finance,
 repair, maintenance and improvements to the herein described property, and obligations of duties, wherein the Claiment
 demands the said controversy by determined by a Common Law Jury in a Court of Common Law and according to the
 Rules of Common Law. Common Law. Liens supersede ALL Liens, including, but not Limited to, Mortgage Leins, Statutory
 Liens, and Lis Pendens Liens. The value of the Secured Party's Claim in $4,170,000.00 United States Dollars this in the entry
 of the DEBTOR into the Commercial Registry and Public Notice of a Commercial Transaction. The Secured Party hereby
 secures all right, interest and title in said property.




6a. Check ante If applicable and check snltt one box:                                                                          6b. Check cnly If applicable and check sob one best:



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8. OPTIONAL FILER REFERENCE DATA:                                                                                                                                     57*
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                                                                                                                                     Deed Book 62055 Ps                             4-93




UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS

9. NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line lb was left blank
   because Individual Debtor name did not fit. check here Q

      9a. ORGANIZATION'S NAME

      JADE EYE 72 TRUST


OR
      Sb. INDIVIDUAL'S SURNAME



          FIRST PERSONAL NAME



          ADDITIONAL NAME(S)JINITIAL(S)                                                                SUFFIX

                                                                                                                           THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. DEBTOR'S NAME: Provide (10a or 10b) only sua additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact. fuP name;
      do not omit, modify, or abbreviate any part of the Debtor's name) end enter the mailing address in line 10c

      10a. ORGANIZATION'S NAME


OR
      10b. INDIVIDUAL'S SURNAME



           INDIVIDUAL'S FIRST PERSONAL NAME



           INDIVIDUAL'S ADDITIONAL NAME(SyiNITIAL{S)                                                                                                                          SUFFIX



10c MAILING ADDRESS                                                                      CITY                                          STATE   POSTAL CODE                    COUNTRY




11.       ADDITIONAL SECURED PARTY'S NAME fl£                              ASSIGNOR SECURED PARTY'S NAME: Provide only ana name (1laorllb>
      11a. ORGANIZATION'S NAME



OR
      11b. INDIVIDUAL'S SURNAME                                                          FIRST PERSONAL NAME                           ADDITIONAL NAME(S)JINITIAL(S)          SUFFIX




11c MAILING ADDRESS                                                                      CITY                                          STATE   POSTAL CODE                    COUNTRY




12. ADDITIONAL SPACE FOR ITEM 4 (Collateral);
This Common Law lien is can only be discharged by Claimant, or by Common Law Jury in a Court of Common Law and
according to the rules of Common Law. It can not be discharged for One Hundred (100) years, and cannot be extinguished
due to the death of Claimant, or by Claimants heirs, assigns, or executors. This Common Law Lien is for repairs/
maintenance and improvements related to said Claimant, and performance of duty as related to ail other assets due and
payable in lawful money of the United States, a DOLLAR being described in the 1792 US Coinage Acts 371.25 grains of fine
silver, or the equivalent of Gold, notes or other instruments acceptable to Claimant


13. [71 This FINANCING STATEMENT is to be filed [for record] (or recorded) in the 14. This FINANCING STATEMENT:
        REAL ESTATE RECORDS (if applicable)
                                                                                      I I covere timber to be cut I I covers as-extracted collateral    | [ Is filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate described in item 16               16. Description of real estate:
    (if Debtor dees not have a record interest):

JADE EYE 72 TRUST                                                                                               "SEE ATTACHMENT"
2225 Wallace Road
Atlanta, GA 30331




17. MISCELLANEOUS:



                                                                                                                     International Association of Commercial Administrators (IACA)
FILING OFFICE COPY — UCC FINANCING STATEMENT ADDENDUM (Form UCCIAd) (Rev. 04/20/11)
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                                           Document     Page 59 of 178

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                                                                                         C ATHELENE            ROBI NSDN
                                                                                                   Clerk of Superior Court-
                                                       EXHIBIT "A"                                  Fulton Country Gears i a




      THE LAND AND/OR PROPERTY REFERRED TO IN THIS COMMITMENT IS DESCRIBED AS FOLLOWS:


      PHYSICAL ADRESS:        2225 Wallace Road, Atlanta, GA 30331

      PROPERTY LEGAL DESCRIPTION:




             ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 94 AND 105 OF
             THE 14th (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND BEING MORE
             PARTICULARLY DESCRIBED AS FOLLOWS:

              BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF WALLACE
             ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF WALLACE ROAD AND THE
             EAST LINE OF LAND LOT 105; RUNNING THENCE NORTHWESTERLY ALONG THE            .
             SOUTHWESTERLY SIDE OF WALLACE ROAD, FIFTY-ONE AND SIX-TENTHS (51 .6) FEET TO
             AN IRON PIN; RUNNING THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88
             DEGREES 51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
             THIRTY-EIGHT AND ONE-TENTH (338. 1 ) FEET TO AN IRON PIN; RUNNING THENCE
             SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107 DEGREES 24 MINUTES WITH
             THE PRECEDING CALL A DISTANCE OF FOUR HUNDRED TWENTY-SIX (426) FEET TO AN
             IRON PIN LOCATED ON THE EASTERLY LINE OF LAND LOT 105, RUNNING THENCE
             EASTERLY, FORMING AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE
             PRECEDING CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
             RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND EIGHT-TENTHS
             (188.8) FEET TO AN IRON PIN; LOCATED ON THE SOUTHWESTERLY SIDE OF WALLACE
             ROAD; RUNNING THENCE NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF
             WALLACE ROAD, SIX HLTNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
             IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY ENTITLED PROPERTY
             OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9, 1961. PREPARED BY C.E. RUPPE,
             ENGINEER, AND RECORDED IN PLAT BOOK 73. PAGE 70. FULTON COLINTY, GEORGIA
             RECORDS.




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                                             not valid unl   igned in RED ink
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              Recording Requested By:                                                           Deed Book 64562 Pg       1 <4-2
              Trust# RE199848455US-03                                                       Filed and Recorded SeP-29-2021 01:58pm
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              % P.O. Box 43846
                                                                                        CATHELENE             ROBINSON
              Atlanta, Georgia dmm 602 1.3e (2)                                                    Clerk of Superior Court
                                                                                                    Fulton County? Geor-9ia
              And When Recorded Mail To:
              Trust# RE 1 99848455US-03
              % P.O. Box 43846
              Atlanta, Georgia dmm 602 1.3e (2)




                                                                                                                         ptij* (rlo
                                           NOTICE OF CLAIM DEED


            "This is actual constructive public notice by Grantor(s)[that he is] owner and holder of all
          ' right, title, and interest in 2225 Wallace Road, Atlanta, Georgia 30331 in the name of
            CHARLTON CARLOS LESTER, at 2225 Wallace Road, Atlanta, Georgia 30331, with the non-
            negotiable instrument claim number RE 199848455 US-03 with all attachments and
            proceeds therefrom as being held in private.


            If any information regarding this needs to be gleaned, please contact the Grantor(s) at the
            address above."                                                                                        .


            WITNESS MYSIGNATURE on this, the^^da\^September. in theyearTwoThousand
            and Twenty One.                                                                                    '



            By Grantor:
                          ===i


                                           Lester, Charlton Carlos, Grantor
                          Private American citizen of the United States of America, privately
                           residing within a non-military occupied private estate, outside a
                      "Federal District" not subject to the jurisdiction of the "United States"




                                                        ACKNOWLEDGEMENT


                    On     this ^T^tiay of                            in the year Two Thousand and Twenty One,
            personally appeared before me,                                 , whose name is
            subscribed within NOTICE OF CLAIM DEED instrument and acknowledged to me that he
            executed the same.




                Notary Public, Signature
                                                                    ^ NOTARY           C.
                                                                       PUBLIC
                Commission Expires:
                                                               C.      Mar 31. 2025




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                                                                                                                       W"
                                                                                                                       to:
                                      NOTICE OF CLAIM DEED # RE 199 843 455 US-03
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                                                                                                    Deed Book                  Ps   143




                    Certificate of Title of Special Deposit REGISTERED MAIL#RE 199 848 455 US




               To All to Whom These Presents Shall Come:

                /, :Lester,; Charlton Carlos: , in my capacity as a private-citizen of The United States of America, hereby certify that on thi

               day of September 2021; from within the State of GEORGIA County of FULTON, without the"United States," within a

    . non-military occupied private estate, that /, the grantor/settlor, with intent and purpose, hereby deliver/ conveyI transfer legal title o:

      all right title and interest of equitable asset title RE 199 848 455 US/ ASSET CREDIT VOUCHER No. RE 199 848 455 US along

      with ail of its special deposit as I do assign if any, attachment, derivations, RE 000 000 000 US-003 thru and including RE 000 000 •
      000 US-999. and did perform the Deed of Delivery via USPS Registered No. RE 567251242 US- as evidenced by this original

      Certificate in trust and care of the appointee/trustee, Charlton Carlos Lester, TRUSTEE-CO-TRUSTEES et al, in care Trustee, at P.C

      Box 43846, Atlanta, GA 30336, Co-Trustee, Assistant, all successors and assigns, and it shall be binding upon him/her by its

*     acceptance by the Trustee(s) in the absence of a valid disclaimer.




      This legal title supersedes all previously issued legal titles of same by Charlton Carlos Lester.


      Executed and Sealed this   22*           day of September, 2021 1 set my seal below in execution of the above:


                                                                                                       •   i




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                                                         •%                                         [sei

                                                :Lester, Charlton-Carlos: grantor/settler


                                           Private Citizen of the United-Stan

               J.




      Private Witness I                                                  Private Witness 2


       Private Citizen of the United States                              Private Citizen of the United States




                              Lester, Charlton-Carlos: Private Citizen of the United States




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                                                                                                                  Georgia Intangible Tax Paid $1,251.80
                                                                                                                   Cathelene Robinson
                 After Recording Return To:
                                                                                                                     Clerk of Superior Court
N                GBC. NATIONAL BA1
•0                                                                                                                        Fulton County, Georgia

II\l         '   3010 ROYAL              ILEVARD SOUTH,            SUITE     230
*
'<0              ALPHARETTA,              GEORGIA 30022
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                                      3471 Donaville Street
                                      DuIuth.GA 30098




                                                                     (Space Above This Line For Recording Date)


                                                                          SECURITY DEED



                 Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11 , 13, 18,
                 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16.

                 (A) "Security Instrument" means this document, which is dated                     SEPTEMBER 25,           2009
                 together with all Riders to this document.
                 (B) "Borrower" is CHARLTON C.                      LESTER

                                                                                                 Borrower is the grantor under this Security Instrument.
                 (C) "MERS" is Mortgage Electronic Registration Systems, Inc.                    MERS is a separate corporation that is acting solely as
                 a nominee for Lender and Lender's successors and assigns. MERS is the grantee under this Security Instrument. MERS
                 is organized and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026. Flint,
                 Michigan 48501-2026, tel. (888)679-MERS.
                 (D) "Lender" is CBC NATIONAL BANK

                 Lender is        A NATIONAL BANK                                           organized and existing under the laws of
                                                                  . Lender's address is 3010 ROYAL BOULEVARD
                 SOUTH, SUITE 230,                     ALPHARETTA, GEORGIA 30022
                 (E) "Note" means the promissory note signed by Borrower and dated SEPTEMBER 25, 2009
                 The Note states that Borrower owes Lender FOUR HUNDRED SEVENTEEN THOUSAND AND NO/ 100

                 Dollars (U.S. $ 417,000.00                       ) plus interest. Borrower has promised to pay this debt in regular Periodic
                 Payments and to pay the debt in full not later than      OCTOBER 1 , 2039               .
                 (F) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."
                 (G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under the
                 Note, and all sums due under this Security Instrument, plus interest.
                 (H) "Riders" means all riders to this Security Instrument that are executed by Borrower. The following riders are to be
                 executed by Borrower (check box as applicable]:

                      [I Adjustable Rate Rider                         _ Condominium Rider                           0 Second Home Rider
                      IT Balloon Rider                                 _ Planned Unit Development Rider              0 Olher(s) [specify]
                      Q 1-4 Family Rider                               _] Biweekly Payment Rider                         LEGAL ATTACHED
                                                           WAIVER OF BORROWER'S RIGHTS AND CLOSING ATTORNEY




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                 (I) "Applicable Law* means all controlling applicable federal, state and local statutes, regulations, ordinances and
N                administrative rules and orders (that have the effect of law) as well as ail applicable final . non-appealable judicial opinions.
'A               {J) "Community Association Dues, Fees and Assessments" means all dues, fees, assessments and other charges that are
If)          '   imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.
*                (K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft, or
                 similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic tape
*o               so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term Includes, but Is not
 o
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                 limited to. point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and
T9
                 automated clearinghouse transfers.
a>               (L) "Escrow Items" means those items that are described in Section 3.
                 (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any third party
                 (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or destruction of, the
                 Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance In lieu of condemnation; or
                 (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
                 (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of. or default on, the Loan.
                 (O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note, plus (ii)
                 any amounts under Section 3 of this Security Instrument.
                 (P) "RESPA* means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its implementing
                 regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or successor
                 legislation or regulation that governs the same subject matter. As used in this Security. Instrument, "RESPA" refers to all
                 requirements and restrictions that are imposed in regard to a "federally related mortgage loan" even if the Loan does not
                 qualify as a "federally related mortgage loan" under RESPA.
                 (Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that party
                 has assumed Borrower's obligations under the Note and/or this Security Instrument.

                 TRANSFER OF RIGHTS IN THE PROPERTY

                 This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications
                 of the Note; and (ii) (he performance of Borrower's covenants and agreements under this Security Instrument and the Note.
                 For this purpose. Borrower does hereby mortgage, grant and convey to MERS (solely as nominee for Lender and Lender's
                 successors and assigns) and to the successors and assigns of MERS. with power of sale, the following described property
                 located in the             COUNTY         •                 of~   FULTON
                                                                                    "      ~
                                                 [Type of Recording Ju risdlctionl                     IName of R      Jurisdiction!
                 LEGAL DESCRIPTION ATTACHED                                HERETO AND MADE A PAR                       HEREOF




                 w&cL uirreritly^as^tfie5a^tlreis of 2225 WALLACE ROAD SW
                                                                                           [Streetl

                 ATLANTA                                    .Georgia       30331               ("Property Address"):
                            ICItyl                                           [Zip Code}


                       TO HAVE AND TO HOLD this property unto MERS (solely as nominee for Lender and Lender's successors and
                 assigns) and to the successors and assigns of MERS, forever, together with all the improvements now or hereafter erected
                 on the property, and all easements, appurtenances, and futures now or hereafter a part of the property. All replacements
                 and additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument
                 as the "Property." Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower
                 in this Security Instrument, but. if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's
                 successors and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to
                 foreclose and sell the Property; and to take any action required of Lender Including, but not limited to, releasing and
                  canceling this Security Instrument.


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                      BORROWER COVENANTS that Borrower Is lawfully seised of the estate hereby conveyed and has the right to grant
N                and convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants
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                 and will defend generally the title to the Property against all claims and demands, subject to any encumbrances of record.
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                      THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
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                 variations by jurisdiction to constitute a uniform security instrument covering real property.
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CQ                     UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:                                                     •
"5                     1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.               Borrower shall pay
                 when due the principal of, and interest on. the debt evidenced by the Note and any prepayment charges and late charges due
                 under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and
                 this Security Instrument shall be made in U.S. currency. However, if any check or other instrument received by Lender
                 as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all
                 subsequent payments due under the Note and this Security Instrument be made in one or more of the following forms, as
                 selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided
                 any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or entity; or
                 (d) Electronic Funds Transfer.                                     '
                      Payments are deemed received by Lender when received at the location designated in the Note or at such other location
                 as may be designated by Lender in accordance with the notice provisions in Section 15.       Lender may return any payment
                 or partial payment if the payment or partial payments are Insufficient to bring the Loan current. Lender may accept any
                 payment or partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice to
                 its rights to refuse such payment or partial payments in the future, but Lender is not obligated to apply such payments at the
                 time such payments are accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not
                 pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
                 current. If Borrower does not do so within a reasonable period of time. Lender shall either apply such funds or return them
                 to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under the Note
                 immediately prior to foreclosure. No ofTset or claim which Borrower might have now or in the future against Lender shall
                 relieve Borrower from making payments due under the Note and this Security Instrument or performing the covenants and
                 agreements secured by tliis Security Instniment.
                      2. Application of Payments or Proceeds. Except as otherwise described in this Section 2. all payments accepted and
                 applied by Lender shall be applied in the following order of priority: (a) interest due under the Note; (b) principal due under
                 the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the order in which
                 it became due. Any remaining amounts shall be applied first to late charges, second to any other amounts due under this
                 Security Instrument, and then to reduce the principal balance of the Note:
                       If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to
                 pay any late charge due. the payment may be applied to the delinquent payment and the late charge. If more than one
                 Periodic Payment is outstanding. Lender may apply any payment received from Borrower to the repayment of the Periodic
                 Payments if. and to the extent that, each payment can be paid in full. To the extent that any excess exists after the payment
                 is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late charges due.
                 Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.
                      Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall no!
                 extend or postpone the due date, or change the amount, of the Periodic Payments.
                       3.   Funds for Escrow Items.         Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
                 until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and assessments and
                 other items which can attain priority over this Security Instrument as a lien or encumbrance on the Property: (b) leasehold
                 payments or ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under Section
                 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of
                 Mortgage Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow Items." At
                 origination or at any time during the term of the Loan, Lender may require that Community Association Dues, Fees and
                 Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower
                 shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds
                 for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may
                 waive Borrower's obligation to pay to Lender Funds for any i.r all Escrow Items at any time. Any such waiver may only
                 be in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for any


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                 Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender
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                 receipts evidencing such payment within such time period as Lender may require. Borrower's obligation to make such
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              . payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
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                 Instrument, as the phrase "covenant and agreement" is used in Section 9. If Borrower Is obligated to pay Escrow Items
                 directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights
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                 under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
o
                 amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with
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                 Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required
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 Q"              under this Section 3.
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o                .     Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the
                 time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA. Lender shall
               • estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow
                 Items or otherwise in accordance with Applicable Law.
                      The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
                 (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender
                 shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge
                 Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless
                 Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless an
                 agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to
                 pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall
                 be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as required by
                 RESPA.                                                                                '
                      If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
                 funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA. Lender shall
                 notify Bon-ower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage
                 in accordance with RESPA, but in no more than twelve monthly payments. If there is a deficiency of Funds held in escrow,
                 as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
                 necessary to make up the deficiency in accordance with RESPA. bat in no more than twelve monthly payments.
                      Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
                 Funds held ty Lender.
                     4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the
                 Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, If any,
                 and Community Association Dues, Fees, and Assessments, If any.                  To the extent that these items are Escrow Items,
                 Borrower shall pay them in the manner provided in Section 3.
                       Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower (a) agrees
                 In writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as
                 Borrower is performing such agreement; (b) contests the lien in good faith by. or defends against enforcement of the lien
                 in, legal proceedings, which in Lender's opinion operate to prevent the enforcement of the lien while those proceedings are
                 pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an agreement satisfactory
                 to Lender subordinating the lien to this Security Instrument. If Lender determines that any part of the Property is subject
                 to a lien which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the Hen.
                 Within 10 days of the date on which that notice is given. Borrower shall satisfy the lien or lake one or more of the actions
                 set forlh above In this Section 4.
                       Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting sendee used
                 by Lender in connection with this Loan.
                       5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Properly
                 insured against loss by fire, hazards included within the term "extended coverage," and any other hazards including, but not
                 limited to. earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained In the amounts
                 (Including deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the preceding
                 sentences can change during the term of the Loan. The insurance carrier providing the insurance shall be chosen by
                 Borrower subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender
                 may require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood rone determination,
                 certification and tracking services; or (b) a one-time charge for flood rone determination and certification services and
                 subsequent charges each time remappings or similar changes occur which reasonably might affect such determination or
                 certification. Borrower shall also be responsible for the payment of any fees imposed by the Federal Emergency
                 Management Agency in connection with the review of any flood zone determination resulting from an objection by Borrower.

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                    If Borrower fails to maintain any of the coverages described above. Lender may obtain insurance coverage, at Lender's
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'•Q            option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of coverage.
If.'           Therefore, such coverage shall cover Lender, but might or might not protect Borrower. Borrower's equity in (he Property,
*              or the contents of (he Property, against any risk, hazard or liability and might provide greater or lesser coverage than was
               previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed
               the cost of insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
S
o              become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate
CO
               from the date of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
"S             payment.
CM
o                   AU insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to disapprove
               such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional loss
               payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires. Borrower shall promptly
               give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance coverage, not
               otherwise required by Lender, for damage to, or destruction of. the Property, such policy shall include a standard mortgage
               clause and stall name Lender as mortgagee and/or as an additional loss payee.
                    In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof,
                of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance proceeds,
               whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of the Property,
               if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
               period. Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity to inspect such
               Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
               promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
               payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid
               on such insurance proceeds. Lender shall not be required to pay Borrower any interest or earning? on such proceeds. Fees
               for public adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance proceeds and shall
                be the sole obligation of Borrower. If the restoration or repair is not economically feasible or Lender's security would be
                lessened, the insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due.
                with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                      If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
                matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to settle
                a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice is given. In either
                event, or if Lender acquires the Property under Section 22 or otherwise. Borrower hereby assigns to Lender (a) Borrower's
                rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument,
                and (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by Borrower) under
                all insurance policies covering the Property, insofar as. such rights are applicable to the coverage of the Property. Lender
                may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this
                Security Instrument, whether or not then due.
                      6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within sixty
                days after (he execution of this Security instrument and shall continue to occupy the Property as Borrower's principal
                residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall
                not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's control.
                      7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage
                or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is
                residing in the Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or
                decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or restoration is not
                economically feasible, Borrower shall promptly repair the Property if damaged to avoid further deterioration or damage.
                If insurance or condemnation proceeds are paid in connection with damage to. or the taking of, the Property. Borrower sIra11
                be responsible for repairing or restoring the Property only if Lender has released proceeds for such purposes. Lender may
                disburse proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work is
                completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Properly, Borrower is not
                relieved of Borrower's obligation for the completion of such repair or restoration.
                      Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause.
                Lender may inspect the interior of (he improvements on the Property. Lender shall give Borrower notice at the time of or
                prior to such an interior inspection specifying such reasonable cause.


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                      8. Borrower's Loan Application.             Borrower shall be in default if, during the Loan application process, Borrower or
M               any persons or entitles acting at the direction of Borrower or with Borrower's knowledge or consent gave materially false,
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            .   misleading, or inaccurate information or statements to Lender (or failed to provide Lender with material information) in
in              connection with the Loan. Material representations include, but are not limited to. representations concerning Borrower's
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                occupancy of the Property as Borrower's principal residence.
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                      9.   Protection of Lender's Interest in the Property and Rights Under this Security
o               Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
o
CO              is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security
"O              Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which
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 a)             may attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
                Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property
                and rights under this Security Instrument, including protecting and/or assessing the value of the Property, and securing and/or
                repairing the Property (as set forth below). Lender's actions can include, but are not limited to: (a) paying any sums secured
                by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys' fees
                to protect its interest in the Property and/or rights under this Security Instrument, including its secured position in a
                bankruptcy proceeding. Securing the Property includes, but is not limited to, making repairs, replacing doors and windows,
                draining water from pipes, and eliminating building or other code violations or dangerous conditions. Although Lender may
                take action under this Section 9. Lender does not have to do so and is not under any duty or obligation to do so. It is agreed
                that Lender incurs no liability for not taking any or all actions authorized under this Section 9.
                     Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
                Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable,
                with such interest, upon notice from Lender to Borrower requesting payment.
                      If this Security Instrument is on a leasehold. Borrower shall comply with all the provisions of the lease. If Borrower
                acquires fee title to the Property, the leasehold and (he fee title shall not merge unless Lender agrees to the merger In
                writing.
                      10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall
                pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage Insurance
                coverage required by Lender ceases to be available from the mortgage insurer that previously provided such insurance and
                Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall
                pay the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a
                cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
                mortgage insurer selected by Lender. If substantialty equivalent Mortgage Insurance coverage is not available. Borrower
                shall continue to pay to Lender the amount of the separately designated payments that were due when the insurance coverage
                ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in lieu of
                Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact lhat the Loan is ultimately paid in
                full, and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer
                require toss reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
                provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires separately designated
                payments toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making
                the Loan and Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance,
                Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
                reserve, until the Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between
                Borrower and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
                Section 10 affects Borrower's obligation to pay interest at the rale provided in the Note.
                     Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if
                Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
                     Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
                agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
                conditions that are satisfactory to die mortgage insurer and the other party (or parties) to these agreements. These
                agreements may require the mortgage insurer to make payments using any source of funds that the mortgage Insurer may
                have available (which may include funds obtained from Mortgage Insurance premiums).
                     As a result of these agreements, Lender, any purchaser of ihe Note, another insurer, any reinsurer, any other entity,
                or any affiliate of any of Ihe forgoing, may receive (directly cr indirectly) amounts that derive from (or might be
                characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the
                mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the
                insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
                reinsurance." Further:


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                     (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance,
N              or any Other terms of the Loan.               Such agreements will not increase the amount Borrower will owe for Mortgage
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               Insurance, and they will not entitle Borrower to any refund.
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                    '(b) Any such agreements will not afTect the rights Borrower has - if any - with respect to the Mortgage Insurance
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               under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to receive certain
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               disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated

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               automatically, and/or to receive a refund of any Mortgage Insurance premiums that were unearned at the time of such
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               cancellation or termination.
"S                  1 1. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and shall
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Q              be paid to Lender.
                     If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if
               the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
               period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect such
               Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
               promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of progress payments as
               the work is completed. Unless an agreement is made in writing or Applicable Law requires Interest to be paid on such
               Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on sucb Miscellaneous
               Proceeds. If the restoration or repair is not economically feasible or Lender's security would be lessened, the Miscellaneous
               Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any,
               paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.
                     In the event of a total taking, destruction, or loss in value of (he Property, the Miscellaneous Proceeds shall be applied
               to the sums secured by this Security Instrument, whether or not then due. with the excess, if any. paid to Borrower.
                     In the event of a partial taking, destruction, or loss In value of the Property in which the fair market value of the
               Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the sums
               secured by this Security Instrument immediately before the partial taking, destruction, or loss in value, unless Borrower and
               Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the
               Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured immediately before
               the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
               partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
                     In the event of a partial taking, destruction, or loss in value of the Properly in which the fair market value of the
               Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured
               immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing,
               the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether or not the sums are then
               due.
                     If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined
               in the next sentence) offers to make an award to settle a claim for damages. Borrower foils to respond to Lender within 30
               days after the date the notice is given. Lender is authorized to collect and apply the Miscellaneous Proceeds either to
               restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then due. "Opposing
               Party" means the third party thai owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right
               of action in regard to Miscellaneous Proceeds.
                     Borrower shall be in default if any action or proceeding, whether civil or criminal, Is begun that, in Lender's judgment,
               could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under
               this Security Instrument. Borrower can cure such a default and. if acceleration has occurred, reinstate as provided in Section
               19, by causing the action or proceeding to be dismissed with a ruling thai, in Lender's judgment, precludes forfeiture of the
               Property or other material impairment of Lender's interest in the Property or rights under this Security Instrument. The
               proceeds of any award or claim for damages that are attributable to the impairment of Lender's interest in the Property are
               hereby assigned and shall be paid to Lender.
                   All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
               provided for in Section 2.
                     12.    Borrower Not Released; Forbearance By Lender Not a Waiver.                Extension of (he time for payment or
               modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor
               in Interest of Borrower shall not operate to release the liability of Borrower or any Successors In Interest of Borrower.
               Lender shall nol be required to commence proceedings against any Successor in Interest of Borrower or to refuse to extend
               time for payment or otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand


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                 made, by the original Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any
M                right or remedy including, without limitation. Lender's acceptance of payments from third persons, entities or Successors
             _   in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any
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                 right or remedy.
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                      13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees that
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                 Borrower's obligations and liability shall bejoint and several. However, any Borrower who co-signs this Security Instrument
s                but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to mortgage, grant and convey
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                 the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
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                 sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify,
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o                forbear or make any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
                 consent.
                       Subject to the provisions of Section 18. any Successor in Interest of Borrower who assumes Borrower's obligations
                 under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and benefits under
                 this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under this Security
                 Instrument unless Lender agrees to such release in writing. The covenants and agreements of this Security Instrument shall
                 bind (except as provided in Section 20) and benefit the successors and assigns of Lender.
                       14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's default,
                 for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument, including, but not
                 limited to. attorneys' fees, property inspection and valuation fees. In regard to any other fees, the absence of express
                 authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the
                 charging of such fee. Lender may not charge fees that are expressly prohibited by this Security Instrument or by Applicable
                 Law.
                      If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest
                 or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any such
                 loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already
                 collected from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this
                 refund by reducing the principal owed under the Note or by making a direct payment to Borrower. If a refund reduces
                 principal, the reduction will be treated as a partial prepayment without any prepayment charge (whether or not a prepayment
                 charge is provided for under the Note). Borrower's acceptance cf any such refund made by direct payment to Borrower will
                 constitute a waiver of any right of action Borrower might have arising out of such overcharge.
                      15. Notices. All notices given by Borrower or Lender- in connection with this Security Instrument must be in writing.
                 Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower when
                 mailed by first class mail or when actually delivered to Borrower's notice address if sent by other means. Notice to any one
                 Borrower shall constitute notice to alt Borrowers unless Applicable Law expressly requires otherwise. The notice address
                 shall be the Property Address unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall
                 promptly notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change
                 of address, then Borrower shall only reporl a change of address through that specified procedure. There may be only one
                 designated notice address under this Security Instrument at any one time. Any notice to Lender shall be given by delivering
                 it or by mailing it by first class mail to Lender's address slated herein unless Lender has designated another address by notice
                 to Borrower. Any notice in connection with this Security Instrument shall not be deemed to have been given to Lender until
                 actually received by Lender. If any notice required by this Security Instrument is also required under Applicable Law, Ihe
                 Applicable Law requirement will satisfy the corresponding requirement under this Security Instrument.
                       16. Governing Law; Severability, Rules of Construction. This Security Instrument shall be governed by federal law
                 and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security
                 Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or Implicitly
                 allow lite parties to agree by contract or it might be silent, but such silence shall not be construed as a prohibition against
                 agreement by contract. In the event that any provision or clause of this Security Instrument or the Note conflicts with
                 Applicable Law, such conflict shall not affect other provisions cf this Security Instrument or the Note which can be given
                 effect without the conflicting provision.
                      As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter
                 words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and (c)
                 the word "may" gives sole discretion without any obligation to lake any action.
                       17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.




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                       18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the
N                Properly" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests
'-0          .   transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the
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                 transfer of title by Borrower at a future date to a purchaser.       .
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                       If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural
                 person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may
-s               require immediate payment in lull of all sums secured by this Security Instrument. However, this option shall not be
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cci              exercised by Lender If such exercise is prohibited by federal law.
"S                     If Lender exercises this option. Lender shall give Borrower notice of acceleration. The notice shall provide a period
                 of not less than 30 days from the date the notice is given in* accordance with Section 15 within which Borrower must pay
                 all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
                 Lender ma)' invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.
                       19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions. Borrower shall have
                 the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days before
                 sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other period as Applicable
                 Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security
                 Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
                 Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c)
                 pays all expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys' fees,
                 property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's interest in the Property
                 and rights under this Security Instrument; and (d) takes such action as Lender may reasonably require to assure that Lender's
                 interest in the Property and rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this
                 Security Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and expenses
                 in one or more of the following forms, as selected by Lender: (a) cash: (b) money order; (c) certified check, bank check,
                 treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured by
                 a federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security
                 Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred. However, this right
                 to reinstate shall not apply in the case of acceleration under Section IB.
                       20. Sale ofNote; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note (together
                 with (his Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might result in a
                 change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note and this Security
                 Instrument and performs other mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable
                 Law. There also might be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change
                 of the Loan Servicer, Borrower will be given written notice of the change which will state the name and address of the new
                 Loan Servicer, the address to which payments should be made and any other information RESPA requires in connection with
                 a notice of transfer of servicing. If the Note is sold and thereafter the Loan Is serviced by a Loan Servicer other than the
                 purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer or be
                 transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise provided by the Note
                 purchaser.
                      Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant
                 or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that alleges that
                 the other party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such Borrower
                 or Lender has notified the other party (with such notice given in compliance with the requirements of Section 15) of such
                 alleged breach and afforded the other party hereto a reasonable period after the giving of such notice to take corrective
                 action. If Applicable Law provides a time period which must elapse before certain action can be taken, that time period will
                 be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure given to
                 Boriower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed
                 to satisfy the notice and opportunity to take corrective action provisions of this Section 20.
                      21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances defined as
                 toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline, kerosene,
                 other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos
                 or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal laws and laws of the jurisdiction where
                 the Property is located that relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any
                 response action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition"
                 means a condition that can cause, contribute to. or otherwise trigger an Environmental Cleanup.

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                      Borrower shall not cause or permit the presence, use, disposal, storage, .or release of any Hazardous Substances, or
M                threaten- to release any Hazardous Substances, on or in the Property. Borrower shall not do. nor allow anyone else to do,
^0
              . anything affecting the Properly (a) that is in violation of any Environmental Law. (b) which creates an Environmental
V)
                 Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely
*
                 affects the value of the Property. The preceding two sentences shall not apply to the presence, use, or storage on the
                 Property of small quantities of Hazardous Substances that are generally recognized to be appropriate to normal residential
o
o
               ' uses and to maintenance of the Property (including, but not limited to, hazardous substances in consumer products).
GQ                     Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action by
T3
                 any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
IV
O               Environmental Law of which Borrower has actual knowledge,                (b) any Environmental Condition, including but not limited
                to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused
                by the presence, use or release of a Hazardous Substance which adversely affects the value of the Property. If Borrower
                learns, or is notified by any governmental or regulatory authority, or any private party, that any removal or other remediation
                of any Hazardous Substance affecting the Property is necessary. Borrower shall promptly take all necessary remedial actions
                in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an Environmental Cleanup.

                       NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                    22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's
                breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18 unless
                Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action required to cure the
                default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by which the default must be
                cured; and (d) that failure to cure the default on or before the date specified in the notice may result in acceleration
                of the sums secured by this Security Instrument and sale of the Property. The notice shall further inform Borrower
                of the right to reinstate after acceleration and the right to bring a court action to assert the non-existence of a default
                or any other defense of Borrower to acceleration and sale. If the default is not cured on or before the date specified
                in the notice, Lender at its option may require immediate payment in full of all sums secured by this Security
                Instrument without further demand and may invoke the power of sale granted by Borrower and any other remedies
                permitted by Applicable Law. Borrower appoints Lender the agent and attorney-in-fact for Borrower to exercise the
                power of sale. Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
                 Section 22, including, but not limited to, reasonable attorneys' fees and costs of title evidence.
                      If Lender invokes the power of sale. Lender shall give a copy of a notice of sale by public advertisement for the
                 time and in the manner prescribed by Applicable Law. Lender, without further demand on Borrower, shall sell the
                 Property at public auction to the highest bidder at the time and place and under the terms designated in the notice
                 ofsale in one or more parcels and in any order Lender determines. Lender or its designee may purchase the Property
                 at any sale.
                       Lender shall convey to the purchaser indefeasible title to the Property, and Borrower hereby appoints Lender
                 Borrower' s agent and attorney-in-fact to make such conveyance. The recitals in the Lender's deed shall be prima facie
                 evidence of the truth of the statements made therein. Borrower covenants and agrees that Lender shall apply the
                 proceeds of the sale in the following order: (a) to all expenses of the sale, including, but not limited to, reasonable
                 attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the person or persons legally
                 entitled to it. The power and agency granted are coupled with an interest, are irrevocable by death or otherwise and
                 are cumulative to the remedies for collection of debt as provided by Applicable Law.
                       If the Property is sold pursuant to this Section 22, Borrower, or any person holding possession of the Property
                 through Borrower, shall immediately surrender possession of the Property to the purchaser at the sale. If possession
                 is not surrendered, Borrower or such person shall be a tenant holding over and may be dispossessed in accordance
                .with Applicable Law.
                      23. Release. Upon payment of all sums secured by this Security Instrument. Lender shall cancel this Security
                 Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
                 Instrument, but only if the fee is paid to a third party for services rendered and the chaining of the fee is permitted under -
                 Applicable Law.                                              -
                      24. Waiver of Homestead. Borrower waives all rights of homestead exemption in the Property.
                      25. Assumption Not a Novation. Lender's acceptance of an assumption of the obligations of this Security Instrument
                 and the Note, and any release of Borrower in connection therewith, shall not constitute a novation.
                      26. Security Deed. This conveyance is to be construed under the existing laws of the State of Georgia as a deed
                 passing title, and not as a mortgage, and is intended to secure the payment of all sums secured hereby.


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                      BORROWER ACCEPTS AND AGREES to the terms and covenants contained in this Security Instrument and in any
N                 Rider .executed by Borrower and recorded with it.

iff
                         IN WITNESS WHEREOF, Borrower has signed and sealed this Security Instrument.
*
                  Signe^seaTeH and delivered in the presence of:
•S
 o                                                                                                    t
CO




                   tiu           'itnfes                                                              CHARLTON C.      LESTER           Borrower



                                                                                                                                             (Seal)
                  Notary Public                                                                                                         Borrower



                  My Commission Expires^Vpf
                                                     ^ET>y                                                                                   (Seal)
                                                                                                                                        Borrower
                                                 |^/            EXPIRES       'Vp\
                                                 |       i GEORGIA i              |
                                                 =       \    March 10.2012   J   s
                                                                                                                                             (Seal)

                                                 WB^/UMy                                                                                Borrower



                                                                                                                                             (Seal)
                                                                                                                                        Borrower



                                                                                                                                             (Seal)
                                                                                                                                        Borrower




                                                                          (Space Below This Line For Acknowledgment)




                  GEORGIA • SLtg!t Kindly • Funic M*tfP»cddie Mce UNIFORM INSTRUMENT                                                   Fans Mil 1/01
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If) '                                                                                        Deed Book 48403 Pg           686
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                                                               EXHIBIT "A"
M
Ml
If)                    ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
                       94 AND 105 OF THE 14™ (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
Ml
                       BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:
3
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TS
                       BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
 ai
 ni                    WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
Q
                       WALLACE ROAD AND THE EAST LINE OF LAND LOT 1 05; RUNNING THENCE
                       NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                       ROAD, FIFTY-ONE AND SIX-TENTHS (51.6) FEET TO AN IRON PIN; RUNNING
                       THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88 DEGREES
                       51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
                       THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING
                       THENCE SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107
                       DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
                       HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
                       EASTERLY LINE OF LAND LOT 105, RUNNING THENCE EASTERLY, FORMING
                       AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE PRECEDING
                       CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
                       RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
                       EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
                       SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE
                       NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                       ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
                       IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
                       ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
                       1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
                       73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.




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Ift                                                                                                                                                 Clerk of Superior Court
H                                                                                                                                                   Fulton County,        Georgia

                 CEORCIA
    m
                 GRANTOR:              CHARLTON             C.   LESTER
Cu      .    '

                 LENDER:              CBC     NATIONAL           BANK
M                DATE OF SECURITY DEED:                      SEPTEMBER            25/     200 9
<0
                                                                    WAIVER OF BORROWER'S RIGHTS
U)
                     BY EXECUTION OF THIS PARAGRAPH. GRANTOR EXPRESSLY: (1) ACKNOWLEDGES THE RIGHT TO
'<0              ACCELERATE THE DEBT AND THE POWER OF ATTORNEY GIVEN HEREIN TO LENDER TO SELL THE
                 PREMISES BY NONJUDICIAL FORECLOSURE UPON DEFAULT BY CRANTOR WITHOUT ANY JUDICIAL
                 HEARING AND WITHOUT ANY NOTICE OTHER THAN SUCH NOTICE AS IS REQUIRED TO BE GIVEN UNDER
 o
 o               THE PROVISIONS HEREOF: (2) WAIVES ANY AND ALL RIGHTS WHICH GRANTOR MAY HAVE UNDER THE
CO               FIFTH AND FOURTEENTH AMENDMENTS TO THE CONSTITUTION OF THE UNITED STATES. THE VARIOUS
-o               PROVISIONS OF THE CONSTITUTION FOR THE SEVERAL STATES. OR BY REASON OF ANY OTHER
 cu              APPLICABLE LAW TO NOTICE AND TO JUDICIAL HEARING PRIOR TO THE EXERCISE BY LENDER OF ANY
                  RIGHT OR REMEDY HEREIN PROVIDED TO LENDER. EXCEPT SUCH NOTICE AS IS SPECIFICALLY REQUIRED
                 TO BE PROVIDED HEREOF; (3) ACKNOWLEDGES THAT GRANTOR HAS READ THIS DEED AND
                 SPECIFICALLY THIS PARAGRAPH AND ANY AND ALL QUESTIONS REGARDING THE LEGAL EFFECT OF
                 SAID DEED AND ITS PROVISIONS HAVE BEEN EXPLAINED FULLY TO GRANTOR AND CRANTOR HAS BEEN
                 AFFORDED AN OPPORTUNITY TO CONSULT WITH COUNSEL OF GRANTOR'S CHOICE PRIOR TO EXECUTING
                 THIS DEED: (4) ACKNOWLEDGES THAT ALL WAIVERS OF THE AFORESAID RIGHTS OF GRANTOR HAVE
                 BEEN MADE KNOWINGLY. INTENTIONALLY AND WILLINGLY BY GRANTOR AS PART OF A BARGAINED
                 FOR LOAN TRANSACTION: AND (5) AGREES THAT THE PROVISIONS HEREOF ARE INCORPORATED INTO
                  AND MADE A PART OF THE SECURITY DEED.

                             READ AND AGREED BY CRANTOR:


                  Signet!.*           and delivered
                  ill                  of                                                                                                                                               .)
                                                                                                   r     •uruiior             CI              Tfr   C.    LESTER

                                                                                                                                                                                  (SEAL)
                                                                                                         •Grantor


                                                                                                                                                                                 .(SEAL)
                                                                                                             -Grantor


                                                                                                                                                                                 .(SEAL)
                                                                                    &                        •Grantor

                                                                   fan* 10.2012                                                                                                   (SEAL)
                                                                                                             •Grantor
                                                                 5^%sl\5:X                                                                                                        (SEAL)
                                                                                                             -Grantor
                                                                      MHttn




                                                                    CLOSING ATTORNEY S AFFIDAVIT

                        "     Before the undersigned attesting officer personally appeared (he undersigned closing attorney, who. having been first
                  duly sworn according to law. states under oath as follows:                                  •
                              In closing the above loan, but prior to the execution of the Deed to Secure Debt and "Waiver of Borrower's Rights"
                  by the Bom>wer(s). I reviewed with and explained to the Borrower(s) the terms and provisions of the Deed to Secure Debt
                  and particularly the provisions thereof authorizing the Lender to sell the secured property by a nonjudicial foreclosure under
                  a power of sale, together with the "Waiver of Borrower's Rights" and informed the Borrowers) of Borrower's rights under
                  the Constitution of the State of Georgia and the Constitution of the United Slates to notice and a judicial hearing prior to such
                  foreclosure in the absence of a knowing, intentional and willing contractual waiver by Borrower(s) of Borrower's rights.
                  After said review with and explanation to Borrowerfs), Borrowers) executed the Deed to Secure Debt and "Waiver of
                   Borrower's Rights."
                              Based on said review with and explanation to the Borrowers), it is my opinion that Borrowerfs) knowingly, intentionally
                  and willingly executed the waiver of Borrowjgsi&!fl8tySP£iKl«^al rights to notice and judicial hearing prior to any such
                   nonjudicial foreclosure.
                                                                                        A Rp
                   Swodn to and subscribed. befoA me on


                   Notary Public
                                                                        ibapS                                          ,-<7
                                                                                                                       (sing Attorney
                                                                                    J>V&Z
                                                                   FORECLi                              iING DISCLOSURE

                              O.C.G.A. Section 7-1-1014(3) requires that we inform you that If you fail to meet any condition or term of the
                   documents that you sign In connection with obtaining a mortgage loan you may lose the property that serves as collateral
                   for the mortgage loan through foreclosure.




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                   llP490£57vlQ/gft           52009.19141                                                                                           WAlVtiR OP BORROWER'S RIGHT? (GEORGIA!




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                                                                                    '                                  J_ -
                                       I hereby certify the within and foregoing" to/be; aTrue, corrertand complete copy of the
                                 original that appears in£3L bHQhqS PG 6aS>~'ir. this officV'thi^V*" day ofdepjr 20«3\
                                                             CATHLENE ROBINSON 'Cteck'ofSuperior'Court, Fulton County, GA
                                                                                                                                                                                  W
                                                                                                                                                                                 c°:
                                                                                                                                                                                             •r

                                                      By                                          —-                                      Deputy Clerk                            :

                                                                     not valid unless signed in RED ink
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      ;
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                                                                                                                              Filed and Recorded Sep-S4-2007 01:19po
                             Return To:
                                                                                                                                       2007-0274956
;•>             • •          Wachovia Mortgage .     •                                                                            Georgia Intangible Tax Paid *819.00
          Cu                 Corpe^ti on                                                                                           Cathelene           Robinson
                             1100 Corpprate Center Drive.                                                                               Clerk of Superior Court
      W                      Ral ei gh . R6s27607                           '                                                            Fulton County, 6eorgia
      Mi
      If/                                                                                                                            DE Book 555§3 Page 51 7
      *
                             Prepared By:
      ••0
                             Wachovia Mortgage Corporation
                             1100 Corporate Center Drive
       o
      CO                     Raleigh.            NC 27607
      •o
          a<




                           AFTER RECORDING RE1URM TO:
                                                                                I Space Above 'litis l,bic For Recording l>nln|

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                               AJUHOLGA 80S4
                                                                                  SECURITY DEED
                                                                                                                       MIN 100013700067606432




                              DEFINITIONS


                              Words used hi multiple sections of this document are defined below and other words are defined in
                              Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding die usage of words used in this document                             are


                              also provided in Section 16.

                              (A) "Security Instrument" means this document, which is dated                                  September 18 . 2007
                              togedter with all Riders to this document.
                              (B) "Borrower" is Charlton C.                        Lester.       Individual




                              Borrower is die grantor under diis Security Instrument.
                              (O "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation Uiat is
                              acting solely as a nominee for Lender and Lender's successors and assigns. MERS Is the grantee under
                              this Security Instrument.                 MERS is organized and existing under die laws of Delaware, and lias ail
                              address and telephone uuinber of P.O. Box 2026, Flint, Ml 48501-2026. tel. (888) 679-MERS.

                                                                                                                                                         ester

                              GEORGIA-Singlo Fam ily-Fartnio Mae/Freddie. Mae UNIFORM INSTRUMENT WITH MERS                                       Form 301 1   l/OI


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                              Pag* 1 of 14                         Inilia


                                             VMP Mortgage Solution*, inc.




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Irt
                                                                                                        Deed Book 45737 Pg                 £36
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CL
                       (D) "Lender" is Wachovia Mortgage Corporation
H
Ml                     Lender is a Corporation -               •
                       orgauix.u.1 and existing under the laws of     North Carolina
Ifl
                       Lender's ndilress is    1100 Corporate Center Drive, Raleigh, NC 27607
*
*                      (E) "Note" means the promissory note signal by Borrower and tinted September 18, 2007
 o                     The Note states that Borrower owes Lender Two Hundred Seventy Three Thousand
 o                                                                                                                               Dollars
CO
                       (U.S. $ 273,000.00                   ) plus inlcrcsl. Borrower has promisui to pay this debt in regular Periodic
T3
    at                - Payments and to pay the debt in full not later than    October 1, 2037                     .
at
o
                       (F) "Property" means the property that is described below under the heading "Transfer or Rights in the
                       Property."
                       (G) "Loan" means the debt evidenced by the Note; plus interest, any prepayment charges mid late charges
                       due under tltc Note, tuul all sunts due under this Security Instrument, plus interest. '
                       (H) "Riders" means nil Riders to this Security Instrument that are executed by Borrower. Tltc following
                       Riders arc to be executed by Borrower [check box as applicable]:

                             -   Adjustable Rale Rider    — Condominium Rider                      Second Home Rider
                        — Balloon Rider                   =25= Planned Unit Development Rider       I -4 Family Rider
                        —J VA Rider                       — Biweekly Payment Rider              — Othcr(s) [specify]



                       (I)       "Applicable Law"   means all controlling applicable falernl, slate and local statutes, regulations,
                       ordinances and administrative rules and orders (that have the ciTcd of law) as well as all applicable fninl,
                       tton-appealable judicial opinions.
                       (J) "Community Association Dues, Fees, and Assessments" mums alt dues, fees, assessments and other
                       cltarges that arc imposed on Borrower or the Properly by a condominium association, homeowners
                       association or similar organization.
                       (K) "Electronic Funds Transfer" ittcmts any trnnsrcr of fumLs, other than a transaction originated by cho;k,
                       draft, or similar paper instrument, which is iuiliated through an electronic terminal, telephonic instrument,
                       computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
                       accmutt. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
                       transactions, transfers initiated by telephone, wire transfers, and aulniuniod clearinghouse transfers.

                       (L) "Escrow Items" means those items thai are described itt Suction 3.       -
                       (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or pruccals paid
                       by any third party (other titan insurance proceeds paid under the coverages described in Section S) for: (i)
                       damage to, or destruction of, the Property; (ii) condemnation or other hiking of all or any part of the
                       Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the
                       value ami/or condition of the Property.
                       (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on,
                       the Loan.
                       (O) "Periodic Payment" means tlie regularly scheduled amount due for (i)' principal and interest under the
                       Note, plus (ii) any amounts under Section 3 of this Security Instrument.
                       (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 el seq.) and its
                       implementing regulation, Regulation X (24 C.F.R. Part 3500), as lliey might be amended from time to time,
                       or any additional or successor legislation or regulation that governs the same subject matter. As used



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      H                                                                                                    Deed Book 4-573-7 Pg                 £37

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          m
      Cl.
                            ill Uiis Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed iu regard
      N         '           to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage

      4                     loan" under RESPA.                        .                                         •

      If)                   (Q) "Successor In Interest of Borrower" means any party that has taken title to the Property, whether or
                            not dint party has assumed Borrower's obligations under the Note and/or this Security Instrument.
      *
                            TRANSFER OF RIGHTS IN THE PROPERTY
      JC                    This Security Instrument secures to Lender: (i) die repayment of the Loan, and all renewals, extensions and
       O
          O                 modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this
      Qj
                            Security Instrument and die Note. For this purpose. Borrower does hereby grant and convey to MERS
      "S                    (solely as nominee for Lender and Lender's successors and assigus) and the successors and assigns of
                            MERS, with power of sate, the following described property located in lite       CoUfTty
                                                                             of   Ful ton                                                        :

                                        [Type of Recording Jurisdiction!                         (Name of Recording Jurisdiction!
                            See legal     description attached hereto andmade a part hereof




                            Parcel ID Number:                                                   -        which currently lias die address of
                            3434 Hamlin Square                                                                                            IStrcell
                               Atlanta                                                        ICityl , Georgia         30349        lZipCude|
                            ("Property Address"):


                                 TO HAVE AND TO HOLD this property unto MERS (solely as nominee for Lender and Lender's
                            successors aud assigns) and to die successors and assigns of MERS, forever, together widi all die
                            improvements now or hereafter erected on die property, and all easements, appurtenances, and fixtures
                            now or hereafter a part of the property. All replacements and additions shall also be covered by diis
                            Security instrument. AH of die foregoing is referred to in diis Security Instrument as the "Property."
                            Borrower understands and agrees diat MERS holds only legal tide to the interests granted by Borrower in
                            this Security Instrument, but, if necessary to comply widi law or custom, MERS (as nominee for Lender
                            and Lender's successors and assigns) has die right: to exercise any or all of diose interests, including, but
                            not limited to, the right to foreclose and sell tlte Property; and to take any aetion required of Lender
                            including, but not limited to, releasing aud canceling Uiis Security Instrument.
                                 BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
                            the right to grant and convey the Property and diat the Property is unencumbered, except for encumbrances
                            of record. Borrower warrants and will defend generally the title to the Property against all claims and
                            demands, subject to any encunibrauces of record.
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    a.
                             THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
    M                   covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
                        property.
    vO                        UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
    Ifl                       1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges,
    *                   Borrower shall pay when due the principal of. and interest on, the debt evidenced by die Note and any
                        prepayment charges and late charges due under the Note. Borrower shall also pay fuuds for Escrow items
    '•0
                        pursuant to Section 3. Payments due under the Note aud this Security Instrument shall be made in U.S.
                        currency. However, if any cheek or other instrument received by Lender as payment under the Note or this
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                        Security Instrument is returned to Lender unpaid. Lender may require that any or all subsequent payments
                        due under the Note and this Security Instrument be made in one or more of the following forms, as
    "D                  selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
    01                  cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
    as
    Q                   federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
                              Payments are deemed received by Lender when received at the location designated in the Note or at
                        such other location as may be designated by Lender in accordance with the notice provisions in Section IS.
                        Lender may return any payment or partial paymeut if die payment or partial paymetits are insufficient to
                        bring die Loan current. Lender may accept auy payment or partial payment insufficient to bring lite Loan
                        current, without waiver of any rights hereunder or prejudice to its rights to refuse such paymeut or partial
                        payments in the future, but Lender is not obligated to apply such payments at the time such payments are
                        accepted. If each Periodic Payment is applied as of its schedule*) due date, Uteit Lender need uot pay
                        interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring
                        the Loan current. If Borrower does not do so within a reasonable period of time. Lender shall cidier apply
                        such hinds or return diem to Borrower. If not applied earlier, sucli funds will be applied to die outstanding
                        principal balance under die Note immediately prior to foreclosure. No offset or claim which Borrower
                        might have now or in die future against Lender shall relieve Borrower front making payments due under
                        the Note and this Security lustruineitt or performing die covenants and agreements secured by this Security
                        Instrument.
                             2. Application of Payments or Proceeds. Except as odierwise described in this Section 2, all
                        payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
                        due under the Note; (b) principal due under die Note; (c) amounts due under Section 3. Such payments
                        shall be applied to eaeh Periodic Payment in die order in which it became due. Auy remaining amounts
                        shall be applied first to Idle charges, second to any other amounts due under this Security Instrument, and
                        then to reduce llie principal balance of the Note.
                             If Lender receives a paymeut from Borrower for a delinquent Periodic Payment which includes a
                        sufficient amount to pay any late charge due, die payment may be applied to die delinquent payment and
                        the late charge. If more than one Periodic Payment is outstanding, Leuder may apply any payment received
                        front Borrower to die repayment of the Periodic Payments if, aud to the extent that, each payment can be
                        paid in full. To the extent diat any excess exists after the payment is applied to die full payment of one or
                        more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall
                        be applied first to any prepayment charges and dieu as described in the Note.
                             Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
                        die Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
                             3. Funds for Escrow Items. Borrower shall pay to Leuder on the day Periodic Payments are due
                        under die Note, until the Note is paid in full, a sum (the "Funds") to provide for paymeut of amounts due
                        for: (a) taxes and assessments and other items which can attain priority over dtis Security Instrument as a
                        lien or encumbrance on die Property; (b) leasehold payments or ground rents on die Property, if any; (c)
                        premiums for any and all 'insurance required by Lender under Section 5; and (d) Mortgage Insurance
                        premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
                        Insurance premiums in accordance with die provisions of Section 10. These items are called "Escrow
                        Items." At origination or at any time during dte term of the Loan. Lender may require diat Community
                        Association Dues. Fees, and Assessments, if auy. be escrowed by Borrower, aud such dues, fees and
                        assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
                        he paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives
                        Borrower's obligation to pay die Funds for any or all Escrow Items. Lender may waive Borrower's
                        obligation to pay to Lender Funds for any or all Escrow Items at auy time. Auy such waiver may only be
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               N                   in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
                                   due for any Escrow Items for which payment of Funds lias been waived by Lender and, if Lender requires,
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                                   shall furnish to Lender receipts evidencing such payment widiiu such time period as Lender may require.
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                                   Borrower's obligation to make such payments and to provide receipts shall for all purposes be deemed to
               *                   be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and agreement"
                                   is used in Section 9. If Borrower is obligated to pay Escrow items directly, pursuant to a waiver, and
               .i:                 Borrower fails to pay the amouut due for an Escrow Item, Lender may exercise its rights under Section 9
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                o                  and pay such amouut and Borrower shall then be obligated under Section 9 to repay to Lender any such
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                                   amouut. Lender may revoke the waiver as to any or all Escrow Hems at any time by a notice given in
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                                   accordance with Section 15 and, upon such revocation. Borrower shall pay to Lender all Funds, and in
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               ai                  such amounts, that are then required under this Section 3.
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                                          Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
                                   the Funds at die time specified under RESPA, and (b) not to exceed the maximum amount a lender cau
                                   require under RESPA. Lender shall estimate tile amount of Funds due on the basis of current data and
                                   reasonable estimates of expenditures of future Escrow items or otherwise in accordance with Applicable
                                   Law.
                                          The   Funds shall   be held   in an institution   whose deposits are    insured   by   a   federal agency,
                                   instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
                                   any Federal Home Loan Bauk. Lender shall apply the Funds to pay the Escrow Iteins no later Uian die time
                                   specified under RESPA. Leuder shall not charge Borrower for holding aud applying the Funds, annually
                                   analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
                                   Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
                                   or Applicable Law requires interest to be paid on the Funds. Lender sliall not be required to pay Borrower
                                   any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
                                   shall be paid on the Funds. Leuder shall give to Borrower, without charge, an annual accounting of the
                                   Funds as required by RESPA.
                                          If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
                                   Borrower for the excess funds in accordance widt RESPA. If there is a shortage of Funds held in escrow,
                                   as defined under RESPA, Lender shall notify Borrower as required by RESPA. and Borrower shall pay to
                                   Lender the amount necessary to make up the shortage in accordance with RESPA. but in no more titan 12
                                   monthly payments. If Uiere is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
                                   notify Borrower as required by RESPA. and Borrower shall pay to Lender the amount necessary to make
                                   up die deficiency in accordance with RESPA, but in no more titan 12 moiidtly payments.
                                         Upon payment in full of all sums secured by Utis Security Instrument. Lender shall promptly refund
                                   to Borrower any Funds lield by Lender.                                                      .
                                         4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
                                   attributable to .the Property which can attain priority over Utis Security Instrument, leasehold payments or
                                   ground rents on lite Property, if any. and Community Association Dues. Fees, and Assessments, if any. To
                                   the extent that these items are Escrow Items, Borrower shall pay them in die manner provided in Section 3.
                                         Borrower shall promptly discltarge any lien which lias priority over this Security Instrument unless
                                   Borrower: (a) agrees in writing to die payment of the obligation secured by die lien in a manner acceptable
                                   to Lender, but only so loug as Borrower is perforiniug such agreement; (b) contests the lien in good faith
                                   by, or defends against enforcement of the lieu hi, legal proceedings which in Lender's opinion operate to
                                   prevent the enforcement of the lien while diose proceedings are pending, but only until such proceedings
                                   are concluded; or (c) secures from the holder of die lien an agreement satisfactory to Lender subordinating
                                   die lien to diis Security Instrument. If Lender determines dial any part of the Property is subject to a lien
                                   which can attain priority- over this Security Instrument, Lender may give Borrowers notice identifying the




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                                   lien. Witiiin 10 days of the date on which that notice is given. Borrower shall satisfy the lieu or take one or
               N                   more of the actions set forth above in this Section 4.

               '•0                      Lender may require Borrower -to pay a one-time charge for a real estate tax verification aiul/or
                                   reporting service used by Lender in connection with this Loan.
               Ift
                                        5. Property Insurance. Borrower shall keep the improvements now existing or liereafter erected on
               *                   the Property insured against loss by fire, hazards included within the term "extended coverage," and any
               ^0                  other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
                                   This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
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               o                   Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
               CO
                                   the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
               "S                  right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
               01                  require Borrower to pay, in connection with litis Loan, either: (a) a one-time charge for flood zone
               a
                                   determination, certification and tracking services; or (b) a one-time charge for flood zone determination
                                   and certification services and subsequent charges each time remappings or similar changes occur which
                                   reasonably might affect such determination or certification. Borrower shall also be responsible for the
                                   payment of any fees imposed by the Federal Emergency Management Agency hi connection with the
                                   review of any flood zone determination resulting from au objection by Borrower.
                                        If Borrower fails to maintain any of the coverages described above. Lender may obtaiu insurance
                                   coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
                                   particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
                                   not protect Borrower, Borrower's equity in tiie Property, or tlie contents of the Property, against any risk,
                                   ha2ard or liability and might provide greater or lesser coverage tlian was previously iu effect. Borrower
                                   acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
                                   insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section S shall
                                   become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
                                   at the Note rate from the date of disbursement aud shall be payable, with such interest, upon notice from
                                   Lender to Borrower requesting payment.
                                        AU insurance policies required by Lender and renewals of such policies shall be subject to Lender's
                                   right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
                                   mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
                                   certificates. If Lender requires. Borrower shall promptly give to Leuder all receipts of paid premiums aud
                                   renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Leuder,
                                   for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
                                   shall name Lender as mortgagee and/or as an additional loss payee.
                                        In the event of loss. Borrower shall give prompt notice to die insurance carrier and 'Lender. Lender
                                   may make proof of loss if. not made promptly by Borrower. Unless Leuder and Borrower otherwise agree
                                   in writing, any insurance proceeds, whether or not die underlying insurance was required by Lender, shall
                                   be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
                                   Lender's security is not lessened. During such repair and restoration period. Lender shall have die right to
                                   hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
                                   work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
                                   promptly. Lender may disburse proceeds for the repairs and restoration iu a single payment or in a series
                                   of progress payments as die work is completed. Unless an agreement is nuide in writing or Applicable Law
                                   requires interest to be paid on sucli insurance proceeds. Leuder shall not be required to pay Borrower any
                                   interest or earuiugs on such proceeds. Fees for public adjusters, or other diird parties, retained by
                                   Borrower shall not be paid out of the insurance proceeds and shall be die sole obligation of Borrower. If
                                   the restoration or repair is not economically feasible or Lender's security would be lesseued, die iusurauce
                                   proceeds shall be applied to the sums secured by diis Security Instrument, whether or not dieu due, widi


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                                (lie excess, if any, paid to Borrower. Sucli insurance proceeds shall be applied in the order provided for in

        tt                      Section 2.                       '
                                     If Burrower abandons the Property, Lender may file, negotiate and settle any available insurance
        '<0
                                claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
                                insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
            *                   period will begin when the notice is given. In either event, or if Lender acquires the Property uuder
            *                   Section 22 or otherwise.      Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
                                proceeds in an amount not to exceed the amounts unpaid uuder the Note or this Security Instrument, and
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            o                   (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
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                                Borrower) under ail insurance policies covering the Property, insofar as such rights are applicable to the
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                                coverage of die Property. Lender may use the insurance proceeds either to repair or restore the Property or
             a)                 to pay amounts unpaid under the Note or diis Security Instrument, whether or not then due.
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                                     <S. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
                                residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
                                Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
                                otherwise agrees hi writing, which consent shall not be unreasonably widilield, or unless extenuating
                                circumstances exist which are beyond Borrower's control.
                                     7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
                                destroy, damage or impair the Property, allow die Property to deteriorate or commit waste on the
                                Property. Whether or not Borrower is residing in die Property, Borrower shall maintain the Property in
                                order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
                                determined pursuaut to Section S that repair or restoration is not economically feasible. Borrower shall
                                promptly     repair die   Property   if damaged to avoid   furdier deterioration or damage.   If insurance or
                                condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
                                sltall be responsible for repairing or restoring dte Property only if Lender has released proceeds for such
                                purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
                                progress payments as die work is completed. If the insurance or condemnation proceeds are not sufficient
                                to repair or restore the Property, Borrower is not relieved of Borrower's obligation for die completion of
                                such repair or restoration.
                                     Lender or its agent may make reasonable entries upon and inspections of die Property. If it has
                                reasonable cause. Lender may inspect the interior of the improvements on the Property. Lender sltall give
                                Borrower notice at die time    of or prior to such an interior inspection specifying such reasonable cause.
                                     8. Borrower's Loan        Application. Borrower shall be in default If. during the Loan application
                                process. Borrower or any       persons or entities acting at die direction of Borrower or widt Borrower's
                                knowledge or consent gave      materially false, misleading, or inaccurate information or statements to Lender
                                (or failed to provide Lender with material information) in connection with die Loan. Material
                                representations include, but are not limited to. representations concerning Borrower's occupancy of die
                                Property as Borrower's principal residence.
                                     9. Protection or Lender's Interest in the Property and Rights Under this Security Instrument. If
                                (a) Borrower fails to perform die covenants and agreements contained in this Security Iiistrumeut, (b) there
                                is a legal proceeding diat might significandy affect Lender's interest in die Property and/or rights uuder
                                this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
                                enforcement of a lieu which may attain priority over this Security Instrument or to enforce laws or
                                regulations), or (c) Borrower has abandoned die Property, then Lender may do and pay for wltatever is
                                reasonable or appropriate to protect Lender's interest in the Property and rights under diis Security
                                Instrument, including protecting and/or assessing the value of die Properly, aud securing and/or repairing
                                the Property (as set fordi below). Lender's actions can include, but are not limited to: (a) paying any sums
                                secured by a lieu which has priority over this Security instrument; (b) appearing in court; and (c) paying



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                        reasonable attorneys' fees to protect its interest in the Property and/or rights under this Security
                        Instrument, including its secured position in a bankruptcy proceeding. Securing die Property includes, but
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                        is not limited to, making repairs, replacing doors and windows, draining water from pipes, and eliminating
    MS                  building or other code violations of dangerous conditions. Although Lender may take action under this
    to                  Section 9, Lender does not have to do so aud is not under any duty or obligation to do so. It is agreed that
    *                   Lender incurs no liability for not taking any or all actions authorized under this Section 9.
                             Any amounts disbursed by Lender under this Section 9 shall become additional debt of'Borrower
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                        secured by this Security Instrument. These amounts sliail bear interest at the Note rate from the date of
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                        disbursement and shall be payable, witli such interest, upon notice from Lender to Borrower requesting
    o                   payment.                                                                                  _
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                             If litis Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
    *a                  lease. If Borrower acquires fee title to die -Property, die leasehold and the fee title shall not merge unless
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     a<                 Lender agrees to the merger in writing.
    Q                         10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan.
                        Borrower shall pay die premiums required to inaiutaiu the Mortgage Insurance in effect.' If, fur any reason,
                        the Mortgage Insurance coverage required by Lender ceases to be available from die mortgage insurer that
                        previously provided such insurance and Borrower was required to make separately designated payments
                        toward die premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
                        coverage substantially equivalent to the Mortgage Insurance previously in effect,, at' a cost substantially
                        equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
                        mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
                        available. Borrower shall continue to pay to Lender the amount of the separately designated payments that
                        were due when the 411501111106 coverage ceased to be iu effect. Lender will accept, use and retain these
                        payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
                        non-refundable. notwithstanding the fact that the Loan is ultimately paid iu full, and Lender shall not be
                        required to pay Borrower any interest or earnings on sucli loss reserve. Lender can no longer require loss
                        reserve payments if Mortgage Insurance coverage (in the ainouut and for (lie period tliat Lender requires)
                        provided by an insurer selected by Lender again becomes available, is obtained, and Leuder requires
                        separately designated payments toward die premiums for Mortgage Insurance. If Leuder required Mortgage
                        Insurance as a condition of making the Loan and Borrower was required to make separately designated
                        payments toward the premiums for Mortgage Insurance. Borrower shall pay die premiums required to
                        maintain Mortgage Insurance ill effect, or to provide a non-refundable loss reserve, until Lender's
                        requirement for Mortgage Insurance ends in accordance widi any written agreement between Borrower and
                        Lender providing for such termination or until termination is required by Applicable Law. NuUiitig in this
                        Section 10 affects Borrower's obligation to pay interest at die rate provided in die Note.
                             Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
                        may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
                        Insurance.                                                                                 '
                             Mortgage insurers evaluate their total risk on all such insurance ill force from time to time, and may
                        enter into agreements with odter parties that share or modify their risk, or reduce losses. These agreements
                        are on terms and conditions that are satisfactory to the mortgage insurer and the odier party (or parties) to
                        these agreements. These agreements may require the mortgage insurer to make payments using any source
                        of funds diat die mortgage insurer may have available (which may include funds obtained from Mortgage
                        Insurance premiums).
                             As a result of diese agreements. Lender, any purchaser of die Note, another insurer, any reinsurer,
                        any other entity, or any affiliate of any of the foregoing, may receive (directly or indirecdy) amounts tltac
                        derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
                        exchange for sharing or modifying die mortgage insurer's risk, or reducing losses. If such agreement
                        provides diat an affiliate of Leuder takes a share of die insurer's risk in exchange for a share of die
                        premiums paid to die insurer, the arrangemeut is often termed "captive reinsurance." Further:
                           ' (a) Any such agreements will not afTeci tlie amounts that Borrower has agreed to pay for
                        Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
                        Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refiuid.




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                     (b) Any such agreements will not affect the rights Borrower has - if any - witli respect to the
N              Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
•0             may include the right to receive certain disclosures, to request ami obtain cancellation of the
               Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
*              refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or
               termination.                                                                             -
'•0                  11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
.g             assigned to and shall be paid to Lender.                                                            -
 o                   If die Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
CO             the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
               During such repair and restoration period, Leuder shall have the right to hold such Miscellaneous Proceeds
"5             until Lender has had an opportunity to inspect such Property to ensure die work lias been completed to
01
o              Lender's satisfaction, provided that such inspection sliall be undertaken promptly. Lender may pay for die
               repairs and restoration in a single disbursement or in a series of progress payments as die work is
               completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
               Miscellaneous Proceeds. Lender shall not be required to pay Borrower any interest or earnings on sucli
               Miscellaneous Proceeds. If die restoration or repair is not economically feasible or Lender's security would
               be lesseued, the Miscellaneous Proceeds shall be applied to die sums secured by this Security Instrument,
               whedter or not then due, with die excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
               applied in die order provided for in Section 2.
                     In die event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
               Proceeds sliall be applied to the sums secured by this Security Instrument, whether or not then due, widi
               die excess, if any, paid to Borrower.
                    til the event of a partial taking, destruction, or loss ill value of die Property in which die fair market
               value of tlie Property immediately before the partial taking, destruction, or loss in value is equal to or
               greater than die amount of die sums secured by diis Security Instrument immediately before die partial
               taking, destruction, or loss in value, uuless Borrower aild Lender odierwise agree in writing, the sums
               secured by      this Security Instrument shall   be reduced by tlie amount of the Miscellaneous Proceeds
               multiplied by the following fraction: (a) die total amount of the sums secured immediately before the
               partial taking, destruction, or loss ill value divided by (b) die fair market value of die Property
                immediately before die partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
                    In die event of a partial taking, destruction, or loss in value of die Property in which the fair market
               value of die Property immediately before the partial taking, destruction, or loss in value is (ess than die
               amount of the sums secured immediately before die partial taking, destruction, or loss in value, unless
               Borrower and Lender odierwise agree in writing, the Miscellaneous Proceeds shall be applied to die sums
                sec ured   by this Security Instrument wliedier or not the sums are then due.                              .
                   If die Property is abandoned by Borrower, or if. after notice by Lender to Borrower that die
               Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages.
                Borrower fails to respond to Lender wiUiiu 30 days after die date the notice is given. Lender is authorized
               to collect and apply die Miscellaneous Proceeds either to restoration or repair of die Property or to die
               sums secured by this Security Instrument, whether or not then due. "Opposing Party" means die third party
               that owes Borrower Miscellaneous Proceeds or die party against whom Borrower has a right of action in
                regard to Miscellaneous Proceeds.
                      Borrower sliall be iu.default if any actiou or proceeding, whether civil or criminal, is begun diat. in
                Lender's judgment, could -result in forfeiture of die Property or other material impairment of Lender's
                interest in die Property or rights under this Security Iiistrumeut. Borrower can cure such a default and, if
                acceleration has occurred, reinstate as provided in Section 19, by causing die action or proceeding to be
                dismissed widi a ruling diat. iu Lender's judgment, precludes forfeiture of tlie Property or other material
                impairment of Lender's interest iu the Property or rights under this Security Instrument. Tlie proceeds of
                any award or claim for damages that are attributable to the impairment of Lender's interest in die Property
                are hereby assigned aud sliall be paid to Lender.
                     All Miscellaneous Proceeds diat are not applied to restoration or repair of die Property sliall be
                applied in die order provided for in Section 2.




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                          12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
         N            payment or modification of amortization of die sums secured by this Security Instrument granted by Lender
                      to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
                      or any Successors in Interest of Borrower. Leuder shall not be required to commence proceedings against
         If/          any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify
         *            amortization of die sums secured by tills Security Instrument by reason of any demand made by the original
         •<0          Borrower or any Successors in Interest of Borrower. Any forbearance by Leuder in exercising any right or
                      remedy including, without limitation. Lender's acceptance of payments from third persons, entities or
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                      Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
                      preclude the exercise of any right or remedy.
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                            13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
         ID           and agrees dial Borrower's obligations and liability shall be joint and several. However, any Borrower who
         Of
         HI           CO-SI*gus Uiis Security instrument but does not execute the Note (a "co-signer"): (a) is co-signing dtis
         a
                      Security Instrument only to mortgage, grant and convey die co-signer's interest in die Property under tlie
                      terms of this Security Instrument; (b) is not personally obligated to pay die sums secured by this Security
                      Instrument; and (c) agrees diat Lender and any otlter Borrower can agree to extend, modify, forbear or
                      make any accommodations widi regard to the terms of diis Security Instrument or die Note without die
                      co-signer's consent.                                                                               a
                            Subject to die provisions of Section 18, any Successor in Interest of Borrower who assumes
                      Borrower's obligations under diis Security Instrument in writing, and is approved by Lender, shall obtain
                      all of Borrower's rights and benefits under tills Security Instrument. Borrower shall-. not be released from
                      Borrower's obligations and liability under tbis Security Instrument unless Lender agrees to such release in
                      writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
                      Section 20) and benefit the successors and assigns of Leuder.                  '
                           14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
                      Borrower's default, for die purpose of protecting Lender's interest In the Property and rights under this
                      Security Instrument, including, but not limited to. attorneys' fees, property inspection and vaiuatiou fees.
                      In regard to any other fees, die absence of express audiority in diis Security Instrument to charge a specific
                      fee to Borrower shall not be construed as a prohibit ion on die cliarging of such fee. Lender may not charge
                      fees that are expressly prohibited by this Security Instrument or by Applicable Law*.
                            If tlie Loan is subject to a law which sets maximum loan cliarges, and dint law is finally interpreted so
                      that die interest or other loan charges collected or to be collected in connection with the Loau exceed the
                      permitted limits, then: (a) any sucli loau cliarge shall be reduced by die amount necessary to reduce the
                      charge to die permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
                      limits will be refuuded to Borrower. Lender may choose to make this refund by reducing die principal
                      owed under die Note or by making a direct payment to Borrower. If a refund reduces principal, die
                      reduction will be treated as a partial prepayment widiout any prepayment charge (whether or not a
                      prepayment cliarge is provided for under die Note). Borrower's acceptance of any such refund made by
                      direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
                      of sucli overcliarge.
                           15. Notices. All notices giveu by Borrower or Lender in connection with this Security instrument
                      must be in writing. Any notice to Borrower in connection witii diis Security Instrument shall be deemed to
                      have been given to Borrower wheu mailed by first class mail or when actually delivered to Borrower's
                      notice address if sent by odier means. Notice to any one Borrower shall constitute notice to all Borrowers
                      unless Applicable Law expressly requires otherwise. The notice address shall be die Property Address
                      unless Borrower lias designated a substitute notice address by notice to Lender. Borrower shall promptly
                      notify Lender of Borrower's change of address. If Leuder specifies a procedure for reporting Borrower's
                      change of address, then Borrower shall only report a change of address through diat specified procedure.
                      There may be only one designated notice address under diis Security Instrument at any one tune. Any
                      notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
                      stated herein unless Leuder lias designated another address by notice to Borrower. Any notice in
                      connection widi diis Security Instrument sliall not be deemed to have been given to Lender until actually
                      received by Lender. If any notice required by this Security Instrument is also required under Applicable
                      Law, the Applicable Law requirement will satisfy die corresponding requirement under this Security
                      Instrument.


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                  M                16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
                              governed by federal law and -die law of the jurisdiction in which the Property is located. AU rights and
                              obligations contained in this Security Instrument are subject to any requirements and limitations of
                 If/          Applicable Law. Applicable Law might explicitly or implicitly Allow the parties to agree by contract or it
                 *            might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In
                 '<0          the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
                              Law. such conflict shall not affect other provisions of this Security Instrument or the Note which can be
                 .se
                  o           giveu effect without the conflicting provision.                                       '
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                 OQ                As used in this Security Instrument: (a) words of die masculine gender shall mean and iuclude
                              corresponding ueuter words or words of the feminine geuder; (b) words in tiie singular shall mean and
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                 Of           include the plural and vice versa; and (c) die word "may" gives sole discretion widiout any obligation to
                 01           take any action.
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                                    17. Borrower's Copy. Borrower shall be given one copy of die Note and of this Security Instrument.
                                   18. Transfer or the Property or a Beneficial Interest in Borrower. As used in this Section 18,
                              "Interest in die Property" means any legal or beneficial interest ill die Property, including, but not limited
                              to, dtose beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
                              escrow agreement, the intent of which is die transfer of title by Borrower at a future date to a purchaser.
                                    If all or auy part of die Property or any Interest in the Property is sold or transferred (or if Borrower
                              is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
                              written consent. Lender may require immediate payment in full of all sums secured by this Security
                              Instrument. However, Uiis option sliatl not be exercised by Lender if such exercise is prohibited by
                              Applicable Law.
                                    If Leuder exercises this option. Lender shall give Borrower notice of acceleration. Hie notice shall
                              provide a period of not. less Uiau 30 days from die date the notice is given iu accordance widi Section IS
                              within which Borrower must pay all sums secured by Uiis Security Instrument. If Borrower tails to pay
                              these sums prior to die expiration of this period.      Lender may    invoke any remedies permitted by this
                              Security Instrument without furdier notice or demand on Borrower.
                                   19.   Borrower's Right to Reinstate After Acceleration,           if Borrower meets certain conditions.
                              Borrower sliall have the' right to have enforcement of this Security Instrument discontinued at any time
                              prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
                              this Security Instrument; (b) such odier period as Applicable Law might specify for die termination of
                              Borrower's right to reinstate; or (c) entry of a judgment euforcing diis Security Instrument. Those
                              conditions are that Borrower: (a) pays Lender all sums which Uten would be due uuder this Security
                              Instrument and die Note as if no acceleration had occurred; (b) cures any default of aiiy other covenants or
                              agreements; (c) pays all expenses incurred in enforcing diis Security Instrument, including, but not limited
                              to. reasonable attorneys' fees, property inspection and valuation fees, and odier fees incurred for die
                              purpose of protecting Lender's interest in die Property and rights under this Security' Instrument; and (d)
                              takes such action as Lender inay reasonably require to assure Uiat Lender's iuterest in' die Property and
                              rights under this Security Instrument, and Borrower's obligation to pay die sums secured by this Security
                              Instrument, shall continue unchanged. Lender may require that Borrower pay sucli reinstatement sums and
                              expenses in one or more of die following forms, as selected by Lender: (a) cash; (b) money order; (c)
                              certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon
                              an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
                              Funds Transfer. Upon reinstatement by Borrower, diis Security Instrument and obligations secured hereby
                              shall remain folly effective as if no acceleration had occurred. However, diis right to reinstate shall not
                              apply in the case of acceleration under Sectiou' 18.          '
                                    20. Sale of Note; Change of Loan Servicer; Notice or Grievance. The Note or a partial interest in
                              the Note (together with this Security Instrument) can be* sold one or more times without prior notice to
                              Borrower. A sale might result in a change in the entity (known as die "Loan Servicer?) Uiat collects
                              Periodic 'Paymeuis due under the Note and diis Security instrument and performs odier mortgage loan
                              servicing obligations under die Note, diis Security Instrument, and Applicable Law. There also might be
                              one or more cliauges of die Loan Servicer unrelated lo a sale of die Note. 11' there is a cliange of die Loan
                              Servicer, Borrower will be given written notice of die change which will state the name and address of the
                              new Loan Servicer, die address to which payments should be made and any odier information RESPA



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                                requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
            N                   serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
            >0                  to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
            Irt                 assumed by die Note purchaser unless otherwise provided by the Note purchaser.
            *                            Neither Borrower uor Lender may commence, join, or be joined to any judicial action (as either an
            '<1                 individual litigant or the member of a class) tliat arises from the other party's actions pursuant to this
                                Security Instrument or dtat alleges tliat die other party has breached any provision of, or any duty owed by
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             o                  reasou of. this Security Instrument, until such Borrower or Lender has notified die other party (with such
            00
                                notice given in compliance with the requirements of Section IS) of such alleged breach and afforded the

            "S                  other party      hereto a   reasonable period after die giving of such notice to take corrective action,                  if
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                                Applicable Law provides a time period which must elapse before certain action can be taken, iliat time
            o
                                period .will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
                                opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
                                Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
                                action provisions of diis Section 20.                  •
                                         21.   Hazardous Substances. As     used in this Section 21:         (a)     "Hazardous Substances" are those
                                substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
                                following substances: gasoline, kerosene, odier flammable or toxic petroleum products, toxic pesticides
                                and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
                                (b) "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
                                relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response
                                action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
                                Condition"       means a condition tliat can cause, contribute to. or otherwise trigger an Environmental
                                Cleanup.
                                         Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
                                Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
                                nor allow anyoite else to do, anything affecting tlte Property (a) that is in violation of any Environmental
                                Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
                                Hazardous Substance, creates a condition that adversely affects the value of the Property. Tlte preceding
                                two sentences shall not apply to lite presence, use, or storage on the Property of small quantities of
                                Hazardous Substances that are generally recognized to be appropriate to normal residential uses aud to
                                maiutetiauce of the Property (including, but not limited to, hazardous substances in consumer products).
                                         Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
                                or odter action by any governmental or regulatory agency or private party involving 'the Property and any
                                Hazardous       Substance   or   Environmental   Law       of which    Borrower       has   actual   knowledge,   (b)   auy
                                Environmental Condition, including but not limited to. any spilling, leaking, discharge, release or threat of
                                release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
                                Hazardous Substance which adversely affects tlte value of the Property. If Borrower learns, or is notified
                                by any governmental or regulatory authority, or any private party, tliat any removal or other remediation
                                of any Hazardous Substance affecting the Property is necessary. Borrower slut! I promptly take all necessary
                                remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
                                Leuder for an Environmental Cleanup.




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                              N ON-U Ni FORM COVENANTS. Borrower aud Lender further covenant and agree as follows:
    N                         22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
    0                    Borrower's breach of any            covenant or agreement in        this Security   Instrument   (but not   prior to

    Irt                  acceleration tinder Section 18 unless Applicable Law provides oilierwise). The notice shall specify: (a)
                         the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
    *
                         tlie notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
    ••0                  default on or before the date specified in the notice may result in acceleration of.the sums secured by
                         tliis Security Instrument and sale of the Property. The notice shall further inform Borrower of tlie
     o                   right to reinstate after acceleration and the right to bring a court action to assert the non-existence of
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                         a default or any other defense of Borrower to acceleration and sale. If the default Is not cured on or
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     0.1                 before the date specified in the notice, Lender at its option may require immediate payment in full or
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                         all sums secured by this Security Instrument witliout further demand and may invoke the power of
                         sale granted by Borrower and any other remedies permitted by Applicable Law. Borrower appoints
                         Lender the agent and attorney-in-fact for Borrower to exercise the power of sale. Lender shall be
                         entitled   to   collect   all   expenses incurred in pursuing tlie remedies provided in this Section 22,
                         including, but not limited to, reasonable attorneys* fees anil costs of title evidence.
                              If Lender invokes the power of sale. Lender shall give a copy of a notice of sale by public
                         advertisement for the time and in the manner prescribed by Applicable Law. Lender, without further
                         demand on Borrower,'shall sell the Property at public auction to the highest bidder at the time and
                         place and under the terms designated in the notice of sale in one or more parcels and in any order
                         Lender determines. Lender or its designee may purchase the Property at any sale.
                              Lender shall convey to tlie purchaser indefeasible title to the Property, and Borrower hereby
                         appoints Lender Borrower's agent and attorney-in-fact to make such conveyance. The recitals in the
                         Lender's deed shall be prima facie evidence of the truth of the statements made therein. Borrower
                         covenants and agrees that Lender shall apply the proceeds of the sale in the following order: (a) to all
                         expenses of the sale, including, but not limited to, reasonable attorneys' fees; (b) to all sums secured
                         by this Security Instrument; and (c) any excess to the person or persons legally entitled to it. The
                         (lower and agency granted are coupled with an interest, are irrevocable by death or otherwise and are
                         cumulative to the remedies for collection of debt as provided by Applicable Law.
                              If the Property Is sold pursuant to this Section 22, Borrower, or any person holding possession
                         of the Property through Borrower, shall immediately surrender possession of the Property to the
                         purchaser at the sale. If possession is not surrendered. Borrower or such person shall be a tenant
                         holding over and may be dispossessed in accordance with Applicable Law.
                              23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall cancel this
                         Security Instrument. Borrower sliall pay any recordation costs. Lender may charge Borrower a fee for
                         releasing this Security Instrument, but only if die' fee is paid to a third party for services rendered aud die
                         charging of die fee is permitted under Applicable Law.
                              24. Waiver of Homestead. Borrower waives all rights of homestead exemption in the Property.
                              25. Assumption Not a -Novation. Lender's acceptance of an assumption of die obligations of this
                         Security Instrument and die Note, and any release of Borrower in connection therewidi, shall not constitute
                         a uovatioti.
                              26. Security Deed. This conveyance is to be construed under the existing laws of die State of Georgia
                         as a deed passing title, and not. as a mortgage, and is intended to secure die payment of all sums secured
                         hereby.




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                             BORROWER ACCEPTS AND AGREES to the terms and covenants contained in this Security
    N                  Instrument and in any Rkler executed by Borrower and recorded with it.
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                           IN WITNESS WHEREOF. Borrower has signed and sealed this Security Instrument.

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    o                                                               (Seal)                                                   _ (Seal)
                                                                  -Borrower                                                   -Borrower




                                                                     (Seal)                                                  — (Seal)
                                                                  -Borrower                                                   -Borrower




                                                                  — (Sea!)                                                      (Seal)
                                                                  -Borrower                                                   -Borrower




                       STATE OF GEORGIA,                                                                County ss:
                            Sigued, sealed and delivered in the preseuce of:




                                                                                 Unofficial Witness




                                      §
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                                                                                 Notary Public,
                                                                                                         Cksvy\z>               County

                                                                                 State of Georgia




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                                  PLANNED UNIT DEVELOPMENT RIDER
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                             THIS PLANNED UNIT DEVELOPMENT RIDER is made this 18th                                                   day of
                      September.     2007                              , and is incorporated                             into and shall be
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0.1                   deemed to amend and supplement the Mortgage, Deed of Trust, or Security Deed (the
Q
                      "Security Instrument") of the same date, given by the undersigned (the "Borrower") to
                      secure Borrower's Note to Wachovia Mortgage Corporation


                      (the   "Lender")   of   the   same   date   and       covering    the   Property   described       in   the   Security
                      instrument and located at: 3434 Hamlin Square. Atlanta, GA 30349


                                                                  (Property Address]
                      The Property includes, but is not limited to, a parcel of land improved with a dwelling,
                      together with other such parcels and certain common areas and facilities, as described in




                      (the   "Declaration").   The    Property    is   a    part   of   a   planned   unit   development        known    as
                      Wellesley Estates


                                                  (Name of Planned Unit Development)
                      (the "PUD"). The Property also includes Borrower's interest in the homeowners association or
                      equivalent entity owning or managing the common areas and facilities of the PUD (the
                      "Owners Association") and the uses, benefits and proceeds of Borrower's interest.
                           PUD COVENANTS. In addition to the covenants and agreements made in the Security
                      Instrument, Borrower and Lender further covenant and agree as follows:
                           A. PUD Obligations. Borrower shall perform all of Borrower's obligations under the PUD'S
                      Constituent Documents. The "Constituent Documents" are the (i) Declaration; (ii) articles of
                      incorporation, trust instrument or any equivalent document which creates the Owners
                      Association; and liii) any by-laws or other rules or regulations of the Owners Association.
                      Borrower shall promptly pay, when due, all dues and assessments imposed pursuant to the
                      Constituent Documents.




                      MULTISTATE PUD RIDER - Single Family -                 Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
                      Form 3150 1/01
                      Wolters Kluwer Financial Services                    Page 1 of 3                       Initials:
                      VMP®-7R (0411).01




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    Ml                      B.   Property Insurance.     So long as the Owners Association maintains, with a generally
                        accepted insurance carrier,       a   "master" or      "blanket"   policy   insuring     the       Property which is
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                        satisfactory to     Lender and    which     provides    insurance coverage         in   the    amounts      (including
                        deductible levels), for the periods, and against toss by fire, hazards included within the term
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    (V                  "extended coverage," and any other hazards, including, but not limited to, earthquakes and
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                        floods, for which Lender requires insurance, then: (i) Lender waives the provision in Section 3
                        for the Periodic Payment to Lender of the yearly premium installments for property insurance
                        on the Property; and (ii) Borrower's obligation under Section 5 to maintain property insurance
                        coverage on the Property         is deemed satisfied to the extent that the required coverage is
                        provided by the Owners Association policy.
                            What Lender requires as a condition of this waiver can change during the term of the
                        loan.
                            Borrower shall give       Lender prompt notice of any lapse in required property insurance
                        coverage provided by the master or blanket policy.
                            In the event of a distribution of property insurance proceeds in lieu of restoration or
                        repair following a loss to the Property, or to common areas and facilities of the PUD, any
                        proceeds payable to Borrower are hereby assigned and shall be paid to Lender. Lender shall
                        apply the proceeds to the sums secured by the Security Instrument, whether or not then due,
                        with the excess, if any, paid to Borrower.
                             C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to
                        insure that the Owners Association maintains a public liability insurance policy acceptable in
                        form, amount, and extent of coverage to Lender.
                             D. Condemnation. The proceeds of any award or claim for damages, direct or
                        consequential, payable to Borrower in connection with any condemnation or other taking of all
                        or any part of the Property or the common areas and facilities of the PUD, or for any
                        conveyance in lieu of condemnation, are hereby assigned and shall be paid to Lender. Such
                        proceeds shall be applied by Lender to the sums secured by the Security Instrument as
                        provided in Section 1 1 .
                             E. Lender's Prior Consent. Borrower shall not, except after notice to Lender and with
                        Lender's   prior written consent, either partition or subdivide the Property or consent to: (i) the
                        abandonment or termination of the PUD. except for abandonment or termination required by
                        law in the case of substantial destruction by fire or other casualty or in the case of a taking
                        by condemnation or eminent domain; (ii)           any amendment to any provision of the "Constituent
                        Documents"     if   the   provision   is   for   the   express   benefit    of    Lender;      (iii)   termination   of
                        professional management and assumption of self-management of the Owners Association; or
                        (iv) any action which would have the effect of rendering the public liability insurance coverage
                        maintained by the Owners Association unacceptable to Lender.                  .
                            F. Remedies. If Borrower does not pay PUD dues and assessments when due, then
                        Lender may pay them. Any amounts disbursed by Lender under this paragraph F shall become
                        additional debt of Borrower secured by the Security Instrument. Unless Borrower and Lender
                        agree to other terms of payment, these amounts shall bear interest from the date of
                        disbursement at the No.te rate and shall be payable, with interest, upon notice from Lender to
                        Borrower requesting payment.
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                                                                                              Initials:
                        VMP®-7R (0411).01                                 Page 2 of 3                                  •    Form 3150 1/01




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                       BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
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                       this PUD Rider.
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    0)
o                      Charlton C. Lester                  -Borrower                                         -Borrower




                                                               (Seal)                                             (Seal)
                                                           -Borrower                                         -Borrower




                                                               (Seal)                                             (Seal)
                                                           -Borrower                                         -Borrower




                                                               (Seal)                                             (Seal)
                                                           -Borrower                                         -Borrower




                       VMP®-7R (041 1). 01                       Page 3 of 3                           Form 31 50 1/01




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    m    »                                                               EXHIBIT A
a.


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•fl                 ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 98 OF THE !4fF
If/                 DISTRICT, FULTON COUNTY, GEORGIA, BEING LOT 309, WELLESLEY ESTATES, PHASE 1 1 1-A,
                    AS PER PLAT RECORDED IN PLAT BOOK 274, PAGES 30-33, FULTON COUNTY, GEORGIA
>0                  RECORDS, SAID PLAT BEING INCORPORATED HEREIN AND MADE REFERENCE HERETO.

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                    3434 Hamlin Square. Atlanta. GA, 30349

                    Legal Description



                    Exhibit A (Legal Description-Lettet).rdw                                                   LEN-07QS005I8S
                    U SR 09/28/06                                                                           09/1 8/07 @ tO:27-AM
    *       Case
          Nm:     21-05122-jrs
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              GEORGIA.
                                                                                                                                        Deed Book 45737 Pg        253
                                                                                                                                        C^'the 1 e v> e    "
                                                                                                                                                           Robinson
              Grantor:                              Charlton      C. Lester _                                                               Clerk of Superior Court
                                                                                                                                             Fulton County, Georgia
*       * i   Lender:                 '             Wachovia Mortgage Corporation
              Date of Security Deed:                September 1 8, 2007

                                                                       WAIVER OF BORROWER'S RIGHTS

                       By execution of this paragraph. Grantor expressly: (I) acknowledges the right to accelerate the debt and the power of
              attorney given herein to Lender to sell the premises by nonjudicial foreclosure upon default by Grantor without any judicial hearing
              and without any notice other than such notice as is required to be given under the provisions hereof; (2) waives any and all rights
              which Grantor may have under the fifth and fourteenth amendments to the Constitution of the United States, the various provisions of
              the constitution for the several states, or by reason of any other applicable law to notice and to judicial hearing prior to the exercise by
              Lender of any right or remedy herein provided to Lender, except such notice as is specifically required to be provided hereof; (3)
              acknowledges that Grantor has read this deed and specifically this paragraph and any and all questions regarding the legal effect of
              said deed and its provisions have been explained fully to Grantor and Grantor has been afforded an opportunity to consult with
              counsel of Grantor's choice prior to executing this deed; (4) acknowledges that all waivers of the aforesaid rights of Grantor have
              been made knowingly, intentionally and willingly by Grantor as part of a bargained-for loan transaction; and (J) agrees that the
              provisions hereof are incorporated into and mule a part of the Security Deed.

                          Read and aft reed by Grantor:

              Signed, si        and dinivj              in ths<pnrsence of:                                           Borrowers)


                                                                                                                      GhaffuIiPS? Lester"

                                                                             5         £ My Comm. Exp. t        =
              Notary Public                          .      *                H         -.January 1 1. 2010/     =
              My Commission Expires:                r j'* {* &



                                                                       CLOSING ATTORNEY *S AFFIDAVIT
                      Before the undersigned attesting officer personally appeared the undersigned closing attorney, who having been first duty
              sworn according to law, states under oath as follows:
                          In closing the above loan, but prior to the execution of the Security Deed and "Waiver of Borrower's Rights" by the
              Borrowerfs), 1 reviewed with and explained to the Borrowers) the terms and provisions of the Security Deed and particularly the
              provisions thereof authorizing the Lender to sell the secured property by a nonjudicial foreclosure under the power of sale, together
              with the "Waiver of Borrower's Rights" and informed the Borrowcrfs) of Borrower's rights under the Constitution of the State of
              Georgia and the Constitution of the United States to notice and a judicial hearing prior to such foreclosure in the absence of a
              knowing, intentional and willing contractual waiver by Borrowers) of Borrower's rights. After said review with and explanation to
              Borrower(s), BorrowerCs) executed the Security Deed and "Waiver of Borrower's Rights".
                       Based on said review with and explanation to the Borrower(s) it is my opinion that borrowerfs) knowingly, intentionally and
              willingly executed the Waiver of Borrower's constitutional rights to notice and judicial hearing prior to any such nonjudicial
              foreclosure.                '


              Sworn to and subscribed before me,                                                               Morris|Hardwick[Schneider, LLC
              set forth                                           a?                              %
                                                                                                  3S- '
                                                                                                   s
                                                                                                    s


                                                                 ^SllsS*
                                                                                                               Closing Attorney
              Notary Public
              My Commission Expires:




                                                                  FORECLOSURE CLOSING DISCLOSURE

              O.C.G.A. Section 7- 1- 1014(3) requires that we inform you that if you foil to meet any condition or term of the documents that you
              sign in connection with obtaining a mortgage loan you may lose the property that serves as collateral for the mortgageJoan through                                    .
              foreclosure.     _ .                                                                                                     r ATr^-i         ®                Pg      IT'S
                                                                                                                                       CATH£LENE ROBINSON
              Charlton^                                    ^                                                                                Fni*, Q . Super i or Court
                                                                                                                                            Fulton Counts* Georgia




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              d> 7.9.2W7                                                                                                                                          O«I«A>70 (OrSS'AM



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                                              I hereby certify the^within and foregoingjrfoe a true, correct and complete copy of the
                                 original that appears inylP. BKH5n?CT                                         in.this^office'.'thiaStv day          p+- 20£U_
                                                                   CATHLENE ROBINSOJN Clerk of Superior Court, Fulton County, GA
                                                                                                        ^       ^    ... ^   ^   ,

                                                         Bvfcoor^^teU                                                            -•   Deputy Clerk
                                                                         v       -riot valid unless sigin'ea,in RED ink




                                 I hereby certify the within^nd                            goingrto be a-true; correct and complete copy of the
                            original that appears in              rr— - -          ,       gPGlffi?0 fffiShii office thisaMf day of                     20 pp
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                                                                                           Deed Book 64-562 pg       I 76
          Recording Requested By:                                                      Filed and Recorded Sep -29-2021 01:58pm
          Trust# RE199848455US-04                                                         2021 -0308370
          % P.O. Box 43846                                                            CATHELENE       ROBINSON
                                                                                           Clerk of Superior Court
          Atlanta, Georgia dmm 602 1.3e (2)
                                                                                            Fulton County t Georgia

          And When Recorded Mail To:
          Trust# RE 1 99848455US-04
          % P.O. Box 43846
          Atlanta, Georgia dmm 602 1.3e (2)




                                          NOTICE OF CLAIM DEED


        "This is actual constructive public notice by Grantor(s)[that he is]owner and holder of all
        right, title, and interest in Fulton County Magistrate Court, Case no. 20-ED-168758 in the
        name of CHARLTON CARLOS LESTER, at 3434 Hamlin Square, Atlanta, Georgia 30349, with
        the non-negotiable instrument claim number RE 199848455 US-04 with all attachments
        and proceeds therefrom as being held in private.                                            .                   •


        If any information regarding this needs to be gleaned, please contact the Grantor(s) at the
        address above."


        WITNESS MY SIGNATURE on this, the                      2^ay of September, in the year Two Thousand
        and Twenty One.



         By Grantor:


                                          Lester, Charlton Carlos, Grantor             ~
                       Private American citizen of the United States of America, privately
                       residing within a non-military occupied private estate, outside a
                   "Federal District" not subject to the jurisdiction of the "United States".




                                      I               ACKNOWLEDGEMENT


                 On this         'day of                            in the yep r Two,Thousand and Twenty One,
         personally appeared before me                         / at/jui£fo                         , whose name is
         subscribed within NOTICE OF CLAIM DEED instrument and acknowledged to me that he
         executed the same.




               otary Public, Signature


                                                           £ ^ NOTARY             -
            Commission Expires:                            :       PUBLIC         :


                                                                   Mar 31. 2025


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                                  NOTICE OF CLAIM DEED # RE 199 848 455 US-04                                   ^SPunv-
               Case 21-05122-jrs          Doc 12     Filed 03/01/22 Entered 03/01/22 14:20:24                      Desc Main
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                                                                                                   Deed Book                 Ps    177




                   Certificate of Title of Special Deposit REGISTERED MAIL#RE 199 848 455 US




               To All to Whom These Presents Shall Come:


                /, :Lester, Charlton Carlos: , in my capacity as a private citizen of The United States of America, hereby certify that on th«

           , day of September 202 1 ; from within the State of GEORGIA County of FULTON, without theuUnited States," within a

    non-military occupied private estate, that /, the grantor/settlor, with intent and purpose, hereby deliver/ convey/ transfer legal title o:

    all right title and interest of equitable asset title RE 199 848 455 US / ASSET CREDIT VOUCHER No. RE 199 848 455 US along

    with all of its special deposit as I do assign if any, attachment, derivations, RE 000 000 000 US-004 thru and including RE 000 000

    000 US-999. and did perform the Deed of Delivery via USPS Registered No. RE 567251242 US as evidenced by this original

    Certificate in trust and care of the appointee/trustee, Charlton Carlos Lester, TRUSTEE-CO-TRUSTEES et al, in care Trustee, at P.C

*   Box 43846, Atlanta, GA 30336, Co-Trustee, Assistant, all successors and assigns, and it shall be binding upon him/her by its
    acceptance by the Trustee(s) in the absence of a valid disclaimer.




    This legal title supersedes all previously issued legal titles of same by Charlton Carlos Lester.


    Executed and Sealed this      £7^         day of September, 202 1 1 set my seal below in execution of the above:




                                               : Lester, Charlton-Carlos: grantor/settler


                                           Private Citizen of the United States of/America

        <=a.




    Private Witness 1                                                   Private Witness 2


    Private Citizen of the United States                                Private Citizen of the United States




                             Lester, Charlton-Carlos: Private Citizen of the United States




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                                                                                                                      Georgia Intangible Tax Paid $352.50
                                                                                                                       Cat hel en e        Robinson
M                                                                                                                           Clerk of Superior Court
                                                                                                                                Fulton County, Georgia
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o                     P.O. Bo^chs.
                      Rocfe/Mount, KC
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                                                               Duluth.GA 3GG90




                                                                            SECURITY DEED
                  MAXIMUM LIEN. The lien of this Security Deed shall not exceed at any one time $117,500.00.
                  THIS SECURITY DEED dated September 25, 2009, is made and executed between Charlton C Lester, whose
                  address is 3434 Hamlin Square, Atlanta, GA 30331 (referred to bblow as "Grantor") and RBC Bank (USA),
                  whose address is Lending Service Center, P.O. Box 1220, Rocky Mount NC 27802 (referred to below as
                  "Lender"). '**                                  .    '
                  GRANT OF SECURITY DEED. FOR AND IN CONSIDERATION of the financial sccommodaUcns to Grantor by Lender resulting m the
                  obligation which s hereinafter more particularly described, and in order to secure that obligation. Grantor hereby granls, bargains, conveys.
                  jransfora^asstcpis andseBs toUnde^all of GraptoFs n^hLUUe,»id Merest in andto^tho foftcwmg described real property: The Real


                       See Exhibit A, which is attached to this Security Deed and made a part of this Security Deed as If fully set
                      forth herein.                                                       •"
              v
                  TOGETHER WITH ANY AND ALL of the Miming: (!) all buildings,- structures and Improvements now or hereafter located on the real
                  property or on any part or parcel thereof and aft fixtures affixed or attached, actually or constructively, thereto; (li) all and singular the
                  tenements, hereditaments, easements and appurtenances belonging thereunto or tn. any- wise appertaining thereto and the reversion and
                  reversions, remainder or remainders thereof; (0> aS) Rents accruing therefrom, whether now or hereafter due; <tv) aO accounts and
                  contract rights now or hereafter arising in connection with any part or parcel thereof or any buBtfngs. structures or improvements now or
                  hereafter located thereon, mchicBng without Brmtaltcn all accounts and contract nghls in and to aD leases or undertakings to leasa now or
                  hereafter affecting the land or any buildings, structures, or improvements thsreon; (v) all minerals, flowers, crops, trass, Umber, shrubbery
                  and other emblements now or hereafter (mated thereon or thereunder or on or under any part or parcel thereof; (vl) a8 estates, rights, title
                  and interest therein, or in any part or parcel thereof; (vfi) ail equipment, machinery, apparatus, fittings, fixtures, furniture, furnishings,
                  mobile twmes. modular homes and all personal property of every kind or description whatsoever now or hereafter located thereon, or In or
                  on the buildings, structures and Improvements thereon, and used in connection with the operation and maintenance thereof, and all
                  adcfittens thereto and replacemenis thereof; and (vill) aft building materials, supplies, goods end equipment dethroned thereto and placed
                  thereon for the purpose of being affixed to or installed or incorporated or otherwise used In the buMtngs. structures or other improvements
                  now or hereafter located thereon or any part or parcel thereof.

                  The Real Property or its address Is commonly known as 2225 Wallace Rd SW, Atlanta, GA 30331.
                  REVOLVING UNE OF CREDIT. This Security Deed secures the Indebtudnesa .tnchidlng, without limitation, a revolving fine of credit, which
                  obligates Lender to make advances to Grantor up to the maximum prthapi.taitoihsiihass of $117,500.00 so long as Grantor complies with
                  ail the terms of the Credit Agreement. Such advances may ba made;; repaid,- and remade from time to time, subject to the HmttaUon that
                  the total outstanding balance owing at eny one time, not hieluding finance charges oh such balance at a fixed or variable rate or sum as
                  provided tn the Credit Agreement, any temporary overages, other charges, and any amounts expended or advanced as provided In either
                  the Indebtedness paragraph or this paragraph, shall not exceed the, Credit Umit as provided in the Credit Agreement It b the intention of
                  Grantor and Lender that this Security Deed secures the balance outstanding under the Credit Agreement from tfrna to time from zero up to
                  the Credit Limit as provided tn the Credit Agreement and any intermediate balance. The maturity date of the Credit Agreement Is October
                  10, 2029. The initial advance under the terms of the Credit Agreement- is to be applied toward the purchase of the Property.

                  THIS SECURITY DEED, INCLUDING THE ASSIGNMENT OF RENTS AND THE SECURITY INTEREST IN THE RENTS AND PERSONAL
                  PROPERTY, IS GIVEN TO SECURE (A)- PAYMENT OF THE INDEBTEDNESS AND (B) PERFORMANCE OF EACH OF GRANTOR'S
                  AGREEMENTS AND OBLIGATIONS UNDER THE CREDIT AGREEMENT, THE RELATED DOCUMENTS, AND THIS SECURITY DEED.                                   IT IS
                  THE INTENTION OF GRANTOR AND LENDER TO CREATE A PERPETUAL OR INDEFINITE SECURITY INTEREST IN THE REAL PROPERTY
                  DESCRIBED IN THIS SECURITY DEB) PURSUANT TO O.C.GA 44-1440 AND TO AGREE THAT TITLE SHALL NOT REVERT TO
                  GRANTOR FOR A PERIOD OF SEVEN (7) YEARS FROM THE MATURITY DATE OF THE DEBT OR DEBTS SECURED BY THIS SECURITY
                  DEED.   HOWEVER. NOTHING IN THIS PARAGRAPH WILL- IMPAIR LENDER'S RIGHTS' TO COLLECTION OF THE INDEBTEDNESS ANO
                  FORECLOSURE OF THE SECURITY INTEREST IF THE INDEBTEDNESS IS NOT REPAID WHEN DUE. THIS SECURITY DEED IS GIVEN AND
                  ACCEPTED ON THE FOLLOWING TERMS:




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                                                                           SECURITY DEED
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               PAYMENT AND PERFORMANCE. Except as otherwise provided in this Security Deed, Grantor shall pay to Lender 80 amounts secured by
Of             this Security Deed as thay become due and shsS strictly perform ail of Grantor's obligations under this Security Deed and the Related
o
               Documents.

               POSSESSION AND MAINTENANCE OF THE PROPERTY.                  Grantor agrees that Grantor's possession and use of the Property shall be
               governed by the following provisions:

                   Possession and Use. Until the occurrence of an Event of Default, Grantor may (1) remain cn possession and control of the Property;
                   (2) use. operate or manage the Property; and (3) collect the Ranis from the Property.
                   Duty to Maintain.     Grantor shall maintain the Property m good condition and promptly perform ah repass, replacements, end
                   maintenance necessary to preserve its value.

                   Compliance With Environmental Laws. Grantor represents and warrants to Lender that (1) Ourmg the period of Grantor's ownership
                   of the Property, there has been no use. generation, manufacture,- storage, treatment, dispose], release or threatened release of any
                   Hazardous Substance by any poison on. under, about or from the Property. (2) Grantor has no Knowledge of. or reason to believe
                   that there has been, except as previously cfisctosed to and acknowledged by Lender in writing, (a) any breach or vioiaBon of any
                   Environmental Laws,      (b)   any use, generation, manufacture, storage, treatment, disposal, release or threatened release of any
                   Hazardous Substance on. under, about or from (ha Property by any pnor owners or occupants of the Property, or (c) any actual or
                   threatened Gligation or cfcuma of any kind by any person relating to 'such matters; and (3) Excopt as previously disclosed to and
                   acknowledged by Lender in writing, (a) neither Grantor nor any tenant, contractor, agent or other authorized user of the Property
                   shsS use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from the Property;
                   end (b) any such activity shah be conducted m compliance with all applicable federal, state, end local laws, regulations and
                   ordinances, including without Dmfiatton ah Environmental Laws. Grantor authorizes Lender and its agents to enter upon the Property
                   to make such inspections and tosts, at Grantor's expense, as Lender may deem appropriate to determine compliance of the Property
                   with this section of the Security Deed. Any inspections or tests nwda by Lender shell be for Lender's purposes only and shall not bo
                   construed to create any rcsponslbSliy or Debility on (he pari of Lender to Grantor or to any other person. The representations and
                   warranties contained heretn are based on Grantor's due diligence in investigating the Property for Hazardous Substances. Grantor
                   hereby (1 > releases and waives any felure dams against Lander for mdemnily or contribution in the event Grantor becomes [table for
                   cleanup or other costs under any such laws; and (2) agrees to mdamnify, defend, and hold harmless Lender agamst any and all
                   claims, losses. HabHiltos, damages, penalties, and expenses which Lender may directly or indirectly sustam or suffer resulting from a
                   breach of this section of the Security Deed or as a consequence of any use, generation, manufacture, storage, disposal, release or
                   threatened release oocurnng pnor to Grantor's ownership or interest at the Property, whether or not die same was or should have
                   been known to Grantor. The provisions of this section of the Security Deed, including tho obligation to indemnify and defend, shall
                   survive tha payment of the indebtedness and the satisfaction and reconveyance of the lien of this Security Deed and shaO not ba
                   affected by Lender's acquisition of any interest m the Property, whether by foreclosure or otherwise.
                   Nuisance. Waste. Grantor shall not cause, conduct or permit any nuisance nor commit, permit, or suffer any stepping of or waste on
                   or to the Property or anv portion of the Property. Without Smiting the generality of the foregoing. Grantor will not remove, or grant to
                   any other party the nght to remove, any timber, minerals (Including oil and gas], ooal, day, scona. sot), gravel or rock products
                   without Lender's prior written consent

                   Removal of Improvements.       Grantor shall not demolish or remove any Improvements from tha Rod Property without Lender's prior
                   written consent. As a condition to the removal of sny Improvements, lander may require Grantor to make arrangements satisfactory
                   to Lender to replace such Improvements with Improvements of at (east equal value.

                   Lender's Right to Enter. Lender and Lander's agents and representsttvas may enter'upon (he Red Property at eD reasonable Urnas to
                   attend to Lender's interests and to rasped the Real Property for purposes of Grantor's compliance with foe terms arte conditions of
                   this Security Deed.
                   Compliance with Governmental Requirements. Grantor shall promptly comply with afl laws, ordinances, and regulations, now or
                   hereafter in- effect, of ell governmental authorities applicable to the use or occupancy of the Property. Grantor may contest m good
                   faith any such law. ordinance, or regulation end withhold compliance durmg any proceeding, (ndw£ng appropriate appeals, so long as
                   Grantor has notified Lender m writing prior to doing so and so tang an, oi Lender's scfa opinion, Lender's interests m the Property are
                   not jeopardized. Lender may require Grantor to post adequate security or a surety bond, reasonably satisfactory to Lender, to protest
                   Lender's interest
                   Duty to Protect.   Grantor agrees neither to abandon or leave unattended the Property.    Grantor shall do all other acts, in adcEtron to
                   those acts set forth above in this section, which from tha character and use of the Property are reasonably necessary to protect end
                   preserve (ha Property.

               DUE ON SALE - CONSENT 8Y LENDER. Lender may, at Lender's option, dedsro immediately due and payable aS sums secured by this
               Security Deed upon the sate or transfer, without Lender's pm»r written consent, of alt or any part of the Property, or any interest tn the
               Property. A "sale or transfer" means the conveyance of Property or any nght, tltla or interest in the Property; whether toga), benefaaal or
               equttebte; whether voluntary or involuntary; whether by outright sale, desd, installment sate contract, land contract, contract for deed,
               leasehold interest wfth a term greater than three (3) years, loase-optton contract, or by sale, assignment, or transfer of any beneficial
               interest in or to any land trust hdrfing title to the Property, or by any other method of conveyance of an interest m tha Property. However,
               this option shaO not ba exercised by Lender tf such exemsa b prohibited by federal law or by Georgia taw.
               TAXES AND LIENS. The following provisions relating to the taxes and Bens on tee Property are part of this Security Deed:

                   Payment Grantor shall pay when due (and in an events prior to delinquency) aO taxas, payroll taxes, special taxes, assessments,
                   water charges and sewer service charges tewed egaxtsl or on account of the Property, and shafl pay when due all ctaons for work




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                        dona on or for services rendered or materia! furnished to the Property.     Grarrtor shall maintain the Property free of any Hens having

"S                      priority over or equal to the interest of Lender under this Security .Dead, except for the Existing Indebtedness referred to m this
 Ql                     Security Deed or those (tens specifically agreed to in writing by Lender, and except for the Ben of taxes end assessments not due as
a                       further specified in the Right to Contest paragraph.

                        Right to Contest Grantor may withhold payment of any lax, assessment or claim in connection with a good faith dispute over the
                        obligation to pay, so long as Lender's interest in the Property is not jeopardized. If a Ben arises or is filed as a result of nonpayment.
                        Grantor shaD within fifteen (15) days after Uts tisn arises or. if a SBn is filed, within fifteen (15) days after Grantor has notice of the
                        fifing, secure the discharge of the lien, or If requested by Lender, deposit with Lender cash or a sufficient corporate surety bond or
                        other security satisfactory to Lender in an amount sufficient to discharge the Hen pkis any costs and attorneys' fees, or other charges
                        that could accrue as a result or a foreclosure or sale under the Ben. In any contest, Grantor shall defend itself and Lender end shall
                        satisfy any adverse (udgment before enforcement against the Property. Grantor shall name Lender as en additional cbEgee under any
                        surety bond furnished in the contest proceedings.

                        Evidence of Payment Grantor shafi upon demand furnish to Lender satisfactory evidence of payment of the taxes or assessments and
                        shad authorize the appropriate governmental official to deliver to Lender at any time a written statement of the taxes and assessments
                        against the Property.

                        Notice of Construction.    Grantor shall notify Lender at least fifteen (15) days before any work s commenced, any services ere
                        furnished, or any materials are supplied to the Property, if any mechanics (ten, materialmen's Sen. or other (ten could be asserted on
                        account of the work, services, or matenafe. Grantor will upon request of Lender femish to Lender advance assurances satisfactory to
                        Lender that Grantor can and will pay the cost of such improvements.

                    PROPERTY DAMAGE INSURANCE. The following provisions relating to insuring the Property are a part of this Security Deed:

                        Maintenance of Insurance.      Grantor shaS procure and maintain policies of fire insurance with standard extended coverage
                        endorsements on a replacement basis for the fell insurable value covering a9 Improvements on the Real Property in en amount
                        sufficient to avoid appficBOcn of any coinsurance clause. and with a standard mortgagee clause in favor of Lender. Pctaes shall be
                        written by such insurance companies and m such form as may be reasonably acceptable to Lender. Grantor shall deliver to Lender
                        certificates of coverage from each insurer containing a sliputaUon that coverage will not be conceited or rfiminished without a
                        minimum of ten (10) days' prior written notice to Lender and not containing any disclaimer of the insurer's liabSfty fat failure to give
                        such notice. Each insurance policy also shall include an endorsement provirfing that coverage m favor of Lender wDl not be impaired in
                        any way by any act, omission or default of Grantor or any other person. Should the Real Property be located in an area designated by
                        the Director of the Federal Emergency Management Agency as z speoal flood hazard area Grantor agrees to obtain and mamiain
                        Federal Rood Insurance, if available, within 45 days after notice is given by Lender that the Property is located in a special flood
                        hazard area, for the maximum smount of Grantor's credit line and the feS unpaid principal balance of any prior Bens on the property
                        securing the loan, up to the maximum poficy limits set under the National Plead insurance Program, or as otherwise required by
                        Lender, and to maintain such insurance for the term of tfta loan.
                        Application of Proceeds. Grantor shall promptly notify Lender of any loss or damago to the Property. Lender may mans proof of toss
                        if Grantor fails to do so within fifteen (15) days of the casualty. Whether or not Lender's security is impaired. Lender may. at Lender's
                        election, receive and retain the proceeds of any insurance and apply the proceeds to the reduction of the Indebtedness, payment of
                        any lien affecting the Property, or the restoration and repair of the Property. If Lender elects to apply the proceeds to restoration and
                        repair. Grantor shaa repair or replace the damaged or destroyed improvements tn a manner satisfactory to Lender. Lender shall, upon
                        satisfactory proof of such expenditure, pay or reonburse Grantor from the proceeds for the reasonable cost of repair or restoration if
                        Grantor ts not in default under this Security Deed. Arty proceeds which have not been rfisbursed within 180 days after their receipt
                        and which Lender has not committed to the repair cr restoration of the Property shall be used first to pay any amount owmg to Lender
                        under this Security Deed, then to pay accrued interest, and the remainder, if any, shall be applied to the pnnclpa) balance of the
                        Indebtedness. If Lender holds any proceeds after payment m fell of the Indebtedness, such proceeds shall be paid to Grantor as
                        Grantor's interests may appear.                                     '                                                                   '
                         Compliance with Existing Indebtedness. During the period in which any Existing Indebtedness described below is In effecL compliance
                        with the insurance provisions contained in the instrument evbtenang such Existing Indebtedness shaB constitute compliance with the
                        insurance provisions under this Security Deed, to the extent compBance with the terms of this Security Deed would constitute a
                        duplication of insurance requsemenL If any proceeds from the insurance become payable on toss, the provisions or this Security Deed
                         for division of proceeds shall apply oniy to teat portion of the proceeds not payable to the holder of the Existing Indebtedness.

                    LENDSfS EXPENDITURES. If Grantor fails (A) to keep the Property free of ail taxes. Sens, security interests, encumbrances, and other
                    claims, (B) to provide any required insurance on the Property, (C) to make repairs to the Property or to comply with any obligation to
                    maintain Existing Indebtedness in good standing as required below, then Lender may (to so. If any action or proceeding is commenced thai
                    would materially affect Lender's interests n the Property, then Lemter un Grantor's behalf may, but is not required to. fake any action that
                    Lender believes to be appropriate to protect Lender's interests. Ail expenses recurred or paid by Lender for such purposes will then bear
                    interest at the rale charged under the Credit Agreement from the date incurred or paid by Lender to the date of repayment by Grantor. AO
                    such expenses will become a part of the Indebtedness and. at Lender's option, will (A) be payable on dsmand; (8) bo added to the
                    balance of the Credit Agreement and be apportioned among and be payable with any installment payments to become due during either (1)
                    lha term of any appScabie insurance policy: cr (2) the remaining term of the Credit Agreement; or (C) be treated as a baHoon payment
                    which will be due and payable at the Credit Agreement's maturity. The Securfty Deed also will secure payment of these amounts. The
                    nghts provided for tn this paragraph shall be m addition to any ether rights or any remmfies to which Lender may be sntltted on account or
                    any default Any such action by Lender shaB not be construed as cunng tea default so as to bar Lender from any remedy that it otherwise
                    would have had.




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               WARRANTY; DEFENSE OF TITLE, The foOowmg provisions relating to ownership of the Property are a part of this Security Deed:
~S                  Title. Grantor warrants that (a) Grantor holds good and marketable tide of record to the Property m fee simple, free end dear of all
                    liens and encumbrances other than those set forth m the Real Property description or in the Existing Indebtedness section below
                                                                                                                                                    or in
                    any title insurance policy, title report, or Rnal title opinion issued tn favor of. and accepted by. Lender in connection with tins Security
                    Deed, end (b) Grantor has the futt right, power, and authority to execute and deSver this Security Deed to Lender.
                    Defense of Till a. Subiect to the exception m the paragraph above. Grantor warrants and will forever defend the file to the Property
                    against the lawful claims of a3 persons, tn the event any action or proceeding ts commenced that questions Granted title or
                                                                                                                                                       the
                    interest of Lender under this Security Deed, Grantor shafl defend the action at Grantor's expense. Grantor may be the nominal party
                    in such proceeding, but Lender shafl be entitled to participate in the proceeding and to be represented in (he proceeding by counsel
                                                                                                                                                         of
                    Lender's own choice, and Grantor win deliver, -or cause to be delivered, to Lender such instruments as Lender may request from time
                    to time to permit such partiapalion.

                    Compliance With Laws. Grantor warrants that the Property and Grantor's use of the Property compiles with ail existing applicable
                    taws, ordinances, and regulations of governmental authorities.

                    Survival of Promises. All promises, agreements, and statements Grantor has made to this Security Deed shafl survive the execution
                    and delivery of this Security Deed, shafl be continuing tn nature and shall rematn tn full force end effect until such time as Grantor's
                    Indebtedness ts paid in fulL                                                                                 .
               EXISTING INDEBTEDNESS. The following provisions concerning Existing todeUerinass are a part of this Security Deed:
                    Existing Lien. The security interest arising under this Security Deed securing the indebtedness may be secondary and inferior to
                                                                                                                                                     an
                    existing den. Grantor expressly covenants and agrees to pay, or see to the payment of. the Existing indebtedness end to prevent any
                    default on such indebtedness, any default under the instruments evidencing such indebtedness, or any default under any security
                    documents for such indebtedness.                                             '
                    No Modification. Grantor shall not enter into any agreement with the holder of any security deed, mortgage, deed of trust, or other
                    security agreement which has priority over this Security Deed by which that agreement ts modified, emended, extended, or renewed
                    without the pnor written consent of Lender. Grantor shall neither request nor accept eny future advances under any such security
                    agreement without the pnor written consent of Lender.
                    Assignment of Proceeds. Grantor hereby transfers and assigns to Lender any and ail proceeds, tn excess of the amount required to
                    satisfy the Existing indebtedness, which may be or become payable by reason or foreclosure uufer (Ira Existing Indebtedness.
                                                                                                                                                     Grantor
                    further authorizes, directs and instructs that any end alt such proceeds be paid directly to Lender and not to Grantor, up to the
                                                                                                                                                         fun
                    oxtBn! required to satisfy the Indebtedness, and Grantor hereby releases and rettoquishes any and all right title, interest
                                                                                                                                                and ctetms tn
               "    and to such proceeds to that extent Tho term "foreclosure* as used m this paragraph shall mean or include, without limitation,
                    torectosure of afl or any part of the Property by exercise of any power of sale contained in the Existing Indebtedness, judicial
                    foreclosure, conveyance in ttou of foreclosure, or other means.                                                                     '
               CONDEMNATION. The following provisions relating to condemnation proceetfings are a part of tins Security Deed:
                                                                                                                                                            .
                    Proceedings, tf any proceeding in condemnation is tiled. Grantor shat) promptly notify Lender In writing, and Grantor Shan promptly
                    lake such steps as may be necessary to defend fee action and obtain the award. Grantor may be the nominal party in such
                    proceeding, but Lander shed be entitled to participate in the proceeding and to bo represented in the proceeding by counsel of its own
                    choice, and Grantor wis deliver or cause to be delivered to Lender such instruments and documentation as may be requested by
                    Lender from time to time to permit such participation.

                    Application of Net Proceeds. If afl or any part of the Property ts condemned by eminent domain proceedings or by any proceeding or
                    purchase m Sou of condemnation. Lender may at Its election require that all or any portion of the net proceeds of the award be applied
                    to the Indebtedness or tha repair or restoration of the Property. The net proceeds of the award shafl rraan the award after payment of
                    atl reasonable attorneys' fees and costs and expenses, including court costs thai are incurred by Lender m connection with (he
                    condemnation.

               tfiflPOSmON OF TAXES. FEES AND CHARGES BY GOVERNMENTAL AUTHORITIES. The following provisions relating to governmental
               taxes, fees ano charges ere a perl of this Secutfy Deed:
                   Current Taxes, Fees and Charges. Upon request by Lender. Grantor shall execute such documents In addition to this Security Deed
                   and take whatever other action is requested by Lender to perfect and continue Lender's security interest on the Property. Grantor
                   shafi reimburse Lender for afl taxes, as descrtoed below, together with all expenses incurred in recording, perfecting or continuing this
                    Security Deed, including without Srotation Ml taxes, fees, documentary stamps, and othar charges for recording or registering this
                    Security Deed.
                   Taxes. The following shall constitute taxes to which this section appSes: (1) a specific tax upon this type of Security Deed or upon
                   alt or eny- part of the • Indebtedness secured by this Security Deed; (2) a spsdric tax on Grantor which Grantoris authorized or
                   required to-deduct from payments on the Indebtedness secured by this type of Security Deed; (3) a tax on this type of Security Deed
                    chargeable against the Lender or the holder of the CredH Agreement: and (4) a specific tax on all or any portion of the indebtedness
                   or an payments of principal and Interest made by Grantor,

                   Subsequent Taxes. If any tax to which (his section applies is enacted subsequent to the dato of this Security Deed, this event shell
                   have the same effect as an Event of Default, and Lender may exercise any or ait of its avaSabte remedies for an Event of Default as
                   provided below unless Grantor either (1) pays the tax before it beoonves delinquent, or (2) contests the tax es provided above m the
                   Taxes and Liens section and deposits with Lender cash or a sufficient corporate surety bond or other security satisfactory to Lender.




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               SECURITY AGREEMENT; FINANCING STATEMENTS. The following piOvisaens relating to thts Security Deed as a security agreement are a
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               part of ths Security Deed:
o                  Security Agreement. This instrument shall constitute a Security Agreement to the extent any of the Properly constitutes fixtures, and
                   Lender shall have an of the rigtits of a secured party under the Uniform Commensal Code as amended from time to time.

                   Security Interest Upon request try Lender. Grantor shall take whatever action is requested try Lender to perfect and continue Lender's
                   security interest tn the Personal Property. In addition to recording this Security Deed in the real property records. Lender may. at any
                   time and without further authorization from Grantor. Me executed counterparts, copies or reproductions of this Security Deed as a
                   financing slatereenL Grantor shall reunbursa Lender for all expenses incurred m perfecting or continuing this security interest     Upon
                   dofault Grantor shell not remove, sever or detach the Personal Properly from ihe Property. Upon default. Grantor shall assemble any
                   Personal Property not affixed to the Prop arty in a manner and at a place reasonably convenient to Grantor end Lender and make It
                   available to Lender within three (3) days after receipt of written demand from Lender to the extent permitted by applicable law.

                   Addresses. The matflng addresses of Grantor (debtor) and Lender (secured party) from which information concerning the security
                   interest granted by this Security Deed may be obtained (each as required by ihe Uniform Commercial Code) are as stated on tha first
                   page of this Security Deed.                                                     •

               FURTHER ASSURANCES: ATTORNEY-IN-FACT. The foBowtng provisions relating to further assurances and attorney-in-fact are a part of
               this Security Deed:

                   Further Assurances. At any time, and from time to time, upon request of Lender, Grantor will make, execute and deliver, or will cause
                   to be made, executed or dafivered, to Under or to Lender's designee, and when requested by Lender, causa to be Clad, recorded,
                   rented, or rerecorded, as the case may be, at such times and tn such offices and places as Under may deem appropriate, any and a9
                   such mortgages, deeds of trust, security deeds, security agreements, Gnancmg statements, continuation statements, instruments of                   .
                   further assurance, certificates, and ether documents as may. in the sols opinion of Under, be necessary or desirable In order to
                   effectuate, complete, perfect, continue, or preserve (1) Gcantoris obligations under the Credit Agreement, this Security Deed, and
                   the Related Documents, and (2) tha Dens and security interests created by (his Security peed on the Property, whether now owned
                   or hereafter acquired by Grantor. Unless prohfirited by taw or Lender agrees to the contrary tn writing. Grantor shall reimburse Lender
                   for all costs and expenses incurred In connection with the matters referred to in tins paragraph.                                 -
                   Attorney-in-Fact If Grantor falls to do any of the things referred to in the preceding paragraph, Lender may do so for and In the name
                   of Grantor and at Grantor's expense. For such purposes. Grantor hereby irrevocably appoints Lender as Grantor's ettomey-in-fact for
                   the purpose of making, executing, delivering, fifing, recording, and dang aQ other things as may ba necessary or desirable, m Lender's
                   solo opsson. to accomplish the matters referred to in the preceding paragraph.

               FULL PERFORMANCE. If Grantor pays all the Indebtedness whan due, terminates the credit tine ecccunL and otherwise performs ail the
               obligations Imposed upon Grantor under this Security Deed, Lender shun execute end de&ver to Grantor a suitable satisfaction of this
               .Security Deed and suitable statements of tomanation of any financing statement on tile evidencing Lender's security interest in (he Rents
               and the Persona! Property. Grantor wsB pay. If permitted by appficable lew, any reasonable termination fee as determined by Lender from
               time to time.

               EVENTS OF DEFAULT. Grantor \v3) be in default under this Security Deed if sny of the fafiowfrtg happen: (A) Grantor commits fraud or
               mokes a material mtsrapresentation ai any time tn connection with the Credit Agreement This can include, for example, a false statement
               about Grantor's mcoma, assets, HabRHIes, or any other aspects of Grantor's financed condition. (B> Grantor does not meet tha repayment
               terms of tits Credit Agreement (C) Grantor's action or inaction adversely affects the collateral or Landaria rights m ihe collateral. Ths
               can include, for example, failure to maintain required insurance, waste or destructive use of the dwelling, failure to pay taxes, death of all
               persons Dabte on the account transfer of title or sale of the dwelling, creation of a senior Ren on the dwelling without Lander's peimsaon,
               foreclosure by the holder of another Hen. or the use of funds or ihe dwefiing for prohibited purposes.   '
               LENDER'S RBAEDtES AND POWER OF SALE. Upon Ihe occurrence of an Even) of OefaufL Lender shan have the felowmg nghls. powers,
               snd remedies:
                    Accelerate indebtedness. Lender, at Lender's option and etaction and without notice to Grantor, may doctors aB or any portion of the
                    bidebte&mss to be immediately due and payable, whereupon the same shall ba and shall become due and payable forthwith without
                    presentment demand, protest or notice of any kind, at) of which are expressly waived by Grantor.

                    Entry and Possession.    Lender may enter upon'lhe Property, or any pari thereof, and take possession of tha Property, exekxfing
                    therefrom Grantor and stO agents, employees and representatives of Grantor; employ a manager of the Property or any part thereof;
                    hold, store, use, operate, manage, control, maintain and lease the Property or any part thereof; conduct business thereon; make all
                    necessary and appropnata repass, renewals, and replacements; *eep die Property insured; and carry out or enter into agreements of
                    any kind with respect to the Property.

                    Collection of Rants.    Lender may collect and receive all Rents from the Property snd apply the same to tire Indebtedness, after
                    deducting therefrom all costs, charges, and expenses of taking, hokfing, managing, and operating the Property, including the foes and
                    expenses of Lender's attorneys, and agents.
                    Payments. Lender may pay any sum or sums deemed necessary or appropriate by Lender to protect the Property or any pert of the
                    Property or Lender's interest n the Property.
                    Other Remedies. Lender may exerase bQ fights and remedies contained m any Retoted DoeumsnL heretofore, concurrently herewith
                    or in tha future executed by Grantor m favor of Lender In connection with Ihe transactions resulting in tea indebtedness or any part
                    thereof.




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                      Appointment of Recmvor. Lender may make application to any court and be entitled to the appointment of a recover to lake charge of
"8                    the Property or any part thereof without sBegrng or proving, or having any consideration given to. the insolvency of Grantor, the value
                      of die Property as security tor the Indebtedness, or any other matter usually incident to Iho appointment of 8 receiver.
                      liCC Remedies. With respect to the Personal Property in which a security interest is herein granted. Lender may exercise any or an of
                      the nghts accruing to a secured party wider this Security Deed, tho Uniform Commercial Coda (Sections 11-9-101 oL seq. of lhaGa.
                      Code Annotated) and any other applicable law. Grantor shall, if Lender requests, assemble ell such Personal Property end mske it
                      availstrie to Lender el a place or places to be designated by Lender, which shall be reasonably convenient to Grantor and Lander. Any
                      notice required to be given bv Lender of a puttie or prorata sale, lease or other disposition of the Personal Property or any other
                      intended action by Lender may be delivered personalty to Grantor or may be deposited in the United States mall with postage prepaid
                      duty 8ddressad to Grantor at the address of Grantor last known to Lender at feast five (9) business days prior to such proposed action,
                      end shad constitute reasonable end for notice to Grantor of any such action.
                      Power of Sate. Lender may sail the Property, or any part thereof or any interest therein, separately, at Lender's discretion, wtth or
                      without taking possession thereof, at puttie sals before the courthouse door of the county tn which the Property, or any part thereof,
                      is located, to the highest bidder for cash, after first giving notice of the time, place and terms of such sale by advertisement, published
                      once a weak for four weeks {without regard for the number of days) m a newspaper In which advertisements of sheriffs sates are
                      pubfishsd in such county. The advertisement so pubSshed shall be notice to Grantor, and Grantor hereby waives ail other notices.
                      Lender may bid and purchase at any such sate, and Lender may execute and deliver to the purchaser or purchasers at any such sale a
                      sufficient conveyance of the Property, or the part thereof or interest therein sold, lender's conveyance may contain recitals as to the
                      occurrence of an Event of Default, under this Security Deed, which recitals shaD be presumptive evidence that aB preSmmary acts
                      prerequisite to such sala and conveyance were in ail firings duty complied with. The recitals' made by Lender shall be binding and
                      conclusive upon Grantor, and the sets and conveyance made by Lender shall divest Grantor of all right, title. interest and equity that
                      Grantor may have had tn, to and under the Property, or the part thereof or interest therein sold, and Shan vest the same in the
                      purchaser or purchasers at such sate. Lender may hold one or more sates hereunder until fits Indebtedness has bean satisfied in fufl.
                      Grantor hereby constitutes end appoints Lender es Grantor's agent snd attcmey-an-facl to make such sale, to execute and deliver such
                      conveyance and to make such recitals, and Grantor hereby ratifies and confirms all of the acts and doings of Lender as Grantor's
                      agent and ettcmey-m-focl hereunder, lender's agency and power as attorney-in-fact hereunder are coupled with an interest, cannot
                      be revoked by insolvency, vtcompstancy, death or otherwise, and shafi not be exhausted untEMhe Indebtedness has been satisfied in
                      firil The proceeds of ezch sale by Lender hereunder shall be appSed first to the costs snd expenses of the sale and of all proceedings
                      in connection therewith, including attorneys' fees (f applicable, then to payment of the Indebtedness, and the remainder, if any, shaO
                      be paid to Grantor, if the proceeds of any sale are not sufficient to pay the Indebtedness tn TuB, Lender shaB determine, at Lender's
                      option and tn Lender's discretion, the portions of the Indebtedness to which the proceeds (after deducting therefrom tha costs and
                      expenses of the safe and a0 proceedings in connection therewith) shall be applied and tn what order tha proceeds shall be so eppfied.
                      Grantor covenants and egress that tn the event of any sale pursuant to the agency and power herein granted, Grantor shall ba and
                      becoma.a tenant holding over and shall deliver possession of the Property, or the port thereof or interest therein sold, to the purchaser
                      or purchasers at the sale or be summarily dispossessed in acconiance with die provisions of law applicable to tenants holding over.
                      AD of lender's nghts snd remedies will be cumulative and may be axerased atone or together.
                      Attorneys' Fees; Expenses. If any part of the Indebtedness is collected by or with any assistance bom or consultation with an
                      attorney at tew. Grantor shall pay to Lender as Lenders attorneys* fees, fifteen percent (15%) of such amount ooSscted. Whether or
                      not any court action s involved, snd to the extent not prohibited by taw. afl attorneys' fees and aB reasonable expenses Lender meuis
                      that in Lender's optoion are necessary at any time for the protection of its interest or the enforcement of its nghts shaO become a part
                      of the Indebtedness payable on demand end shefi bear interest at (he Credit Agreement rate from the date of the expenditure untB
                      repaid. Expenses covered bv this paragraph include, without ftmltetton. however subject to any Omits under appScsble taw, Lender's
                      attorneys' fees snd Lender's tegtt expenses whether or not there is a lawsuit, indudbtg attorneys' fees and expenses for bankruptcy
                      proceetSngs (fanctudfng efforts to morfify or vacate sny automatic stay or injunction), appeals, and any anticipated post-tudgment
                      collection services, the cost of searching records, obtaining title reports (inchiding foredesure reports), surveyors' reports, end
                      appraisal fees and title insurance, to fee extant promoted by applicable tew. Grantor also wiU pay any court costs, m addftkm to all
                      other sums provided by taw.

                  NOTICES. Any notice required to be given under this Security Deed, including without Bmiration any notice of default and any notice cf
                  sale shall be given in writing, and shall be effective when actually defivored, when actually received by tetataesintite (unless otherwise
                  required by tew), when deposited with a nationally recognized overnight courier, or. if mailed, when deposited in the United States ma8, as
                  first class, certified or registered maQ postage prepaid, tfireeted.to the addresses shown near the beginning of this Security Deed. At)           .
                  copies of notices of foreclosure bom the holder of any pner security interest which has priority over this Security Daed shall be sent to
                  Lender's address, as shown near the beginning of Otis Security Deed. Any person may change Iris or her address for notices under fitis
                  Security Deed by giving forma) written notice to the other person or persons, specifying that tha purpose of the notice is to change the
                  person's address.    For notice proposes. Grantor agrees to keep Lender informed at aB limes of Grente1*5 current address.              Unless
                  otherwise provided or requred by law. if there & more than one Grantor, any notice given by Lender to any Grantor is deemed to be notice
                  given to ati Grantors. It will be Grantoite responstbllly to tell the others of the notice from Lender.
                  ANT1-MONEY LAUNDERING AND ANTI-TERRORISM. Grantor represents, warrants era) covenants to Bank as foSows: (1) Grantor (a) is not
                  and shaD not become a person whose property or interest in property is blocked or subject to Mocking pursuant to Section 1 of Executive
                  Order 13224 of September 23, 2001 Blodctng Property end Prchibiling Transactions With Persons Who Commit. Threaten to Commit or
                  Support Terrorism (66 Fed Reg. 49079 (2001)), (b) does not engage in and shall not engsge in any dealings or transactions prohibited by
                  Section 2 cf such executive order, and ts not and shaB not otherwise became assoaated wtth any sudi person m sny manner violative of
                  Section 2. (c) e not and shall not become a person on the (1st of Specialty Designated Nationals and Btocked Persons, and (d) ts no) and
                  shaB no) become subject to the limitations cr prohibitions under any other U.S. Department of Treasury's Office of Foreign Assets Control




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            regulation or executive order: (2) Grantor is and slea remain m compilenco, in sU material respects, with (a) the Trading with the Enemy
"S          Ad. bs amended, and each of the foreign assets control regulations of the United States Treasury Department (31 CFR. Subtitle B. Chapter
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            V, as amended) and any other enabling legislation or executive order relating thereto, and (b) the Uniting And Strengthening America 8y
            Providing Appropriate Toots Required To Intercept And Obslnid Terrorism (USA Patriot Act of 2001 ); end (3) Grantor has not and shall not
            use at) or any part of the proceeds, advances or other amounts or sums constituting or evidenced by the Obligations, directly or indirectly,
            for any payments to any governmental official or employee, poStleel party, official of a political party, eamfidate for political office, or
            anyone else acting m an official capacity, m order to obtain, retain or direct business or obtain any improper advantage, tn violation of the
            United States Foreign Corrupt Practices Ad of 1977, as amended.

            DEED TO SECURE DEBT. This Security Deed is a "deed to secure debt" made m compliance with O.C.G.A. 44-14-60 el seq. end this
            conveyance is not a mortgage and shall no) be held to be a mortgage. Tha grant of Grantor's right, title and interest as set forth herein is
            IN FEE SIMPLE.

            MISCELLANEOUS PROVISIONS. The fottewmg msceilaneous provisions are a part of Utts Security Deed:
                Amendments.      What is written in this Security Deed and in the Related Documents is Grantor's entire agreement with Lerater
                concerning the matters cowered by this Security Deed. To be effective, any change or amendment to this Security Deed must be m
                writing and must bo signed by whoever will be bound or obligated by the change or amendment.

                 Caption Headings. Caption headings in this Security Deed are for convenience purposes only and ere net to be used to interpret or
                 daffna the provisions of this Security Dead.                                            -
                 Governing Law. This Security Deed will be governed by federal taw applicable to Lender and, to the extent not preempted by federal
                 law. the laws of the State of Georgia without regard to its conflicts of law provisions. This Security Deed has been accepted by
                 Lander m the State of Georgia.

                 No Vfehrer by Lender. Grantor understands Lender will not give up any of Lender's rights under this Security Deed unless Lender does
                 so tn writing. The fact that Lender delays or omits to exercise any nght will not mean that Lender has green up that nghL If Lender
                 does agree tn writing to give up one of Lender's nghts. that does not mean Grantor w9! not have to comply with the other provisions
                 of this Security Deed. Grantor slso understands dial if Lender does consent to a request. that does not mean that Grantor will not
                 have to get Lender's consent again if the situation happens egam. Grantor further understands that iusi because Lender consents to
                 one or more of Grantor's requests, that does not mean Lender will be required to consent to any of Grantor's future requests. Grantor
                 wetvee presentment, demand for payment, protest, and notice of dishonor.

                 Severabffity. If a court finds that any provision of this Security Cued Is net vafid or should not be enforced, that fact by itself win not
                 mean that lha rest of this Security Deed wiD not be valid or enforced. Therefore, a court will enforce the rest of the provisions of this
                 Security Deed even if a prtretston of this Security Deed may be found to be mvaGd or unenforceable.
                 Merger.   There shall be no merger of the interest or estate created by this Security Deed with any clhsr Interest or estate tn the
                 Property at any time held by or for the benefit of Lender tn any capacity, without the written consent of Lender.

                 Successors and Assigns. Subject to any iimitaiions stated m this Security Deed on transfer of Grantor's interest, this Security Deed
                 shall be binding upon and mure to the benefit of (he parties, their successors and assigns. If ownership of the Property becomes
                 vested m a person other than Grantor, Lender, without notice to Grantor, may deal with Grantors successors with referenco to this
                 Security Deed and the Indebtedness by way of forbearance or extension without releasing Grantor from the obligations of ttus Security
                 Deed or liability under the Indebtedness.

                 Time is of the Essence. Time is of the essence m the performance of this Securfty Deed.
                 Waiver of Notice and Hearing and Homestead Exemption. Grantor expressly waives: (1) any right Grantor may have under the
                 Constitution of the State of Georgia or the Constitution of the United Slates of America to notice or to a judicial heanng prior to the
                 exerose of eny nght or remedy provided to Lender by ties Security Deed and Grantor waives Grantor's nghts. if any. to set aside or
                 invaSdala any sale under power duly consummated tn accordance with the provisions of this Security Deed on the ground (if such be
                 the case) that the sate was consummated without prior notice or judicial heanng or both; and (2) a9 homestead exemption nghts. If
                 any, which Grantor or Grantor's family may have pursuant to the Constitution and taws of tha United States, the State of Georgia or
                 any other State of the United States, m and to the Property to against the collection of the Indebtedness, or any part of the
                 Indebtedness.   AB waivers by Grantor m the provision have been made voluntarily, intetUgently and Knowingly by Grantor, after
                 Grantor has been afforded an opportunity to be mformed by counsel of Grantor's choice as to possbta alternative nghts. Grantor's
                 execution of this Security Dead shaft be conctusree evidence of the making of such waivers and that such waivers have been
                 voluntarily, inlolDgentiy end Knowingly made.

            DEFINITIONS. The fbffowing words shall have the foiiowmg meanings when used to this Security Deed:
                 Borrower. The word "Borrower" means Chariton C Lester and metudes at) co-signers end co-makers signing the Credit Agreement and
                 a3 their successors and assigns.



                 of, end substitutions tor the prcmssory note or agreement. The maturity date of the Credit Agreement is October 10, 2029. NOTICE
                 TO GRANTOR: THE CREDIT AGREEMENT CONTAINS A VARIABLE INTEREST RATE.
                 Environmental Laws. The words "Environmental Laws" mean any end e9 state, federal end local statutes, regulations and ordinances
                 relating to the protection of human health or the environment, mctudifrg without limitation the Comprehensive Envtmnmsntal
                 Response, Compensation, and Lability Act of 1980. 89 emended, 42 U.S.C. Section 9601, el seq. ("CERCLA'X the Superfund




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                     Amendment end Reauthorization Act of 1986, Pub. L No. 99-499 ("SARA*), Ute Hazardous Materials Transportation Act. 49 U.S.C.
"8                    Section 1801. et seq., the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., or other applicable state or
 at                   federal taws, rales, or regulations adopted pursuant thereto.                     '
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                      Event of Default The words "Event of Default* mean any of the events of default set forth m this Security Deed in the events of
                      default section of this Security Deed.

                      Existing Indebtedness.   The words "Existing Indebtedness" mean the indebtedness described In the Existing (Jens provwen of this
                      Security Deed.

                      Grantor. The word "Grantor" means Chariton'C Lester.                                                                      •
                      Hazardous Substances.      The words "Hazardous Substances" mean materials that because of their quantity, concentration or
                      physcol, chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment
                      whan improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handed. The words
                      "Hazardous Substances* era used in thee very broadest senso and include wShout limitation any and an hazardous or toxic
                      substances, materials or wasta as defined by or listed under the Erivnmmsntal Laws.            The term "Hazardous Substances" also
                      tndudas, without Umllalton, petroleum and petroleum by-products or any fraction thereof and asbestos.
                      tmprovsnumts. The word "tmprovBmsrrttfVmeans aH existing and future improvements, biddings, structures, mobile homes affixed on
                      the Real Property, fadiaies, additions, replacements and other construction on the Real Property.
                      Indebtedness. The word Indebtedness" means, all principal, interest, and other amounts, costs and expenses payable under the
                      Credit Agreement or Related Documents, together with afl renewals of. extensions of, modifications of, consolidations of and
                      substitutions for fire Credit Agreement or Related Documents and any amounts expended or advanced by Lender to (fisdwrgo
                      Grantor's ebtlgatians or expenses incurred by Lender to enforce Grantor's obligations under this Security Deed, together with any
                      amounts expended to preserve end protect the Property and together with interest on such amounts as provided in this Security Deed.
                      Lender. The word "Lender* means R8C Bank (USA), its successors and assigns.            The words "Successors or assigns" mean any
                      parson or company that acquires any interest in tho Credit Agreement.

                      Personal Property. Tits words "Personal Property" mean at! equipment, fixtures, mobBe homes. modular homes, and other articles of
                      personal property now or hereafter owned by Grantor, and now or hereafter attached, affixed to the Real Property excfutfng only (hat
                      property which by operation of law ts Real Property; together with all accessions, pans, and additions to. til replacements of, and all
                      substitutions for, any of such property; and together with ell proceeds (including without limitation all insurance proceeds and refunds
                      of premiums) from any sate or other disposition of the Property.
                      Property. Tho word "Property" moans coSectivefy the Real Property and the Personal Property.

                      Real Property. The words "Real Property" mean the res) property, interests and rights, as further descrfeed in this Security Deed less
                      and except the Personal Property.
                      Related Documents. The words "Related Documents" mean 89 promissory notes, credft agreements, loan agreements, environmental
                      agreements, guaranties, security agreements, mortgages, deeds of bust, security deeds, coaaterai mortgages, and afi other
                      instruments, agreements and documents, whether now or hereafter existing, executed m connection wfth the indebtedness.
                      Rents. The word "Rents" means efi present and future rents, revenues, income, issues, royalties, profits, and other benefits derived
                      from the Property.

                      Security Dsed. The wonte "Security Ooad" maan this Security Deed between Grantor end Lender, and Includes without BmUatton ail
                      assignments and security interest provsron relating to (he Persons! Property end (he Rents.



                tN             WHEREOF, THIS SECURITY DEED HAS BEEN SIGNED BY THE UNDERSIGNED, WHO ACKNOWLEDGES A COMPLETED COPY
                HI             S SECURITY DEEO IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS SECURITY DEED IS AND SHALL CONSTITUTE
                      HAVE THE EFfESf OF A SEALED INSTRUMENT ACCORDING TO LAW.

                Signed, Seated and/ffiftlverad In the presence eft                             GRANTOR:


                     Unofficial Yvitntess
                                                                                                                                                       JSeal)
                                                                                                 Chariton C Lester


                Notary Public,

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                                       (NOTARY SEAL) | ^ CEOK^ } ^3§
                My Commission expires:


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N                                                            EXHIBIT "A"
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Ifi.                 ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
*
                     94 AND 105 OF THE 14™ (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
                     BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:
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                     BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
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                     WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
                     WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE                                            .
                     NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                     ROAD, FIFTY-ONE AND SDC-TENTHS (5 1.6) FEET TO AN IRON PIN; RUNNING
                     THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88 DEGREES
                     51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
                     THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING     •
                     THENCE SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF .107
                     DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
                     HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
                     EASTERLY LINE OF LAND LOT 1 05, RUNNING THENCE EASTERLY, FORMING
                     AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE PRECEDING
                     CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
                     RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
                     EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
                     SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE .
                     NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE.
                     ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
                     IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
                     ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
                      1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
                     73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.




              This Deed to Secure Debt is made subject to a prior Deed to Secure Debt from CARLTON C. LESTER to CBC
              NATIONAL BANK dated September 26, 2009, recorded in Deed Book                     Page      , FULTON
              County, Georgia Records; securing an original principal sum of $417000.00.  .           .       .


              Any default in the performance by Grantor of any of the covenants of said prior Security Deed or Note evidencing
              the indebtedness secured thereby shall be construed as a default under the terms of this Deed to Secure Debt by '
              reason of which Grantee may declare the entire indebtedness secured hereby due and payable at once.          «




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                WHEN RECORDED MAtL TO:
                      RBC Bank (USA)
"S                    ATTN: Jeff Taylor
at
a                     P.O. Box 500
                      Rocky Mount. NC 27602




                                                          WAIVER OF GRANTOR'S RIGHTS
                GRANTOR: ChartIon C Lester
                LENDER: RBC Bank (USA)
                DATE OF SECURITY DEED: September 25, 2009
                PROPERTY DESCRIPTION: Located En: Fulton County, State of Georgia and is described as follows:
                      See Exhibit A. which is attached to this Waiver and made a pert of this Waiver as If fully set forth herein.
                The Real Property or Its address is commonly known as 2225 Wallace Rd SW, Atlanta, GA 30331.

                BY EXECUTION OF THIS PARAGRAPH, EACH GRANTOR EXPRESSLY: (A) Acknowledges the right to accokirato the debt and the power
                of 8ttomey given herein to Lender to sell the property by non-judicial forocfoaure upon default by Grantor without any judical hearing and
                without any notice other than such notice as Is required to be given under the provisions of the Security Deed: (B) Waives any and at!
                rights wlttch each Grantor may have under the FifUl and Fourteenth Amendments to the Constitution of the United States, Be various
                provtsioHs of the Constitution for the several States, or by reason of any other applicable taw, to notice and to judical hearing prior to the
                exerese by Lender of any nght or remedy herein provided to Lender, except such notice as is specifically required to be provided tn the
                Security Deed; (C) Acknowledges thai each Grantor has read the Security Deed and specifically thai paragraph relating to the foreclosure
                provisions, and any and alt questions regarding the legal effect of the Security Deed and Its provisions have been explained folly to each
                Grantor and each Grantor has been afforded en opportunity to consult with counsel prior to executing the Security Deed; (D)
                Acknowledges that sit wavers of the aforesaid rights of each Grantor have been made knowmgly. mtenUonalty end wflSngly by each
                Grantor as part of a bargained for loan transaction; and (E) Agrees that the provisions of BUS waiver of Grantor's Rights are Incorporated
                into and made a pert of the Security Deed.

                IN WITNESS WHEREOF, THIS WAIVER HAS BEEN SIGNED BY THE UNDERSIGNED, WHO ACKNOWLEDGES A COMPLETED COPY
                HEREOF. THIS WAIVER IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS WAIVER IS AND SHALL CONSTITUTE AND HAVE THE
                 EFFECT OF A§£Al£D INSTRUMENT ACCORDING TO LAW.
                 SlgneiLSdatep and Dotbrered tn Ihe presence of:                                GRANTOR:

                 X.
                              il Wttnoss

                                                                                                 ^Chariton C Lester

                                                                                3*
                      uy Public,



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                 My Commission expires:
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                 LASER PRO Lending. Ver. S^.Ct^^rCwV^^Hg-Rnaricial Solutions Inc. 1897. 2009.                                  All Rights Reserved.     H3A
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                WHEN RECORDED MAIL TO:
T3
                    ABC Bank (USA)
V
Of                  ATTN: Jeff Taylor
O                   P.O. Box 500
                    Rocky Mount. NC 27802




                                                       CLOSING ATTORNEY'S AFFIDAVIT
                GRANTOR: Charlton C Lester

                LENDER: RBC Bank (USA)
                DATE OP SECURITY DEB): September 23. 2009

                PROPERTY DESCRIPTION: Located In: Fulton County. State of Georgia and is described as follows:
                    8oe Exhibit A, which Is attached to this Affidavit and mads b part of this Affidavit as If fully set forth herein.
                The Real Property or its address is commonly known as 222S Waftaco Rd SW, Atlanta, GA 30331.

                BEFORE THE UNDERSIGNED ATTESTING OFFICER personally appeared the unttenignsd dosing attorney, who having been Erst duly sworn
                according to law states under oath as follows:

                br cfosmg the above loan but prior to the execution of the Security Desd and Waiver of Grantor's Rights by Charlton C Lester ("Grantor"), I
                reviewed with and -explained to Grantor the terms and provisions of the Security Deod and partlcuterty Die provisions thereof authorizing
                Lender to sea the secured Property by a nontudlaal foreclosure under a power of sale, togelher with the Waiver of Grantor's Rights, and
                informed Grantor of Grantor's rights.under the Constitution of the State of Georgia snd (he Constitution of the United States to notice and
                a judicial haanng prior to such ferectosura m the absence of a knowing, intentional and willing contractual waiver by Grantor of Grantor's
                nghts. After the review with and explanation to Grantor. Grantor executed the Security Deed and Waiver of Grantor's Rights.

                Based on the review with and explanation to Grantor. It a my optmon thai Grantor knowingly, intentionally and wliangty executed the
                waiver of Grantor's constitutional rights to notice and (utSdal hearing prior to any such nontudictal foreclosure.


                IN WITNESS WHEREOF. THIS AFFIDAVIT HAS BEEN SIGNE0                            iEALED BY THE UNDERSIGNED. WHO ACKNOWLEDGES A
                COMPLETED COPY HEREOR^*^7

                                                                                   JSEAL)

                   Ctesing Attorney



                SWORN TO AND SUBSCRIBED before rae this




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      '   V                                                                                                   Clerk of Superior Court
                                                                                                               Fulton County, Georgia




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                                                                         (Continued)                                                       Page 2



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                  9               PP         C/^LENE^BINSONX^j-k ofSupeS^ourt, Fulton County, GA                                                    ?'
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                                                                                2022-0022747
                                                                                Real Estate Transfer Tax $830.00
                                                                                CATHELENE ROBINSON
                                                                                Clerk of Superior Court
                                                                                Fulton County, GA
                                                                                Participant IDs: 1663542869
                                                                                0848497841




Please return to:
CAMPBELL & BRANNON, LLC ("CB")
5565 Glenridge Connector, Suite 3S0
Atlanta, GA 30342                                                                        Tax Parcel ID 14F0094 LL0193
G212633DM
                                                                                         Transfer Tax $830.00


STATE OF GEORGIA




                                      TRUSTEE'S DEED OF REAL ESTATE

  THIS INDENTURE made this               day of February in the year 2022, between WILLIAM J. LAYNG, JR. AS AND
ONLY AS CHAPTER 7 TRUSTEE IN THE BANKRUPTCY ESTATE OF WEINSTOCK & SCAVO, P.C. Debtors, in
a case in the United States Bankruptcy Court for die Northern District of Georgia, Atlanta Division, under Case No. 12-80220-
JRS filed on December 4, 2012 (hereinafter called "Grantor") and HAROLD RUBEN MADDOX (hereinafter called
"Grantee").

        Grantor, as owner ofrecord and pursuant to his power as Trustee, as set forth in the Notice of Chapter 7 Bankruptcy
Case, Meeting of Creditors, & Deadlines and by virtue of the power and authority given in and by that Order (the "Sale Order")
entered upon the Trustee's Motion to Sell Property Pursuant to 1 1 U.S.C. 363 (b), which Sale Order was entered by the United
States Bankruptcy Court for the Northern District of Georgia, Atlanta Division on January 10, 2022, a copy ofwhich is
attached as Exhibit "B" and in consideration of TEN DOLLARS ($10.00), lawful money of the United States paid by the
Grantee, receipt whereof is hereby acknowledged, and other good and valuable consideration, does hereby grant, bargain, sell
convey and release unto Grantee, its heirs and assigns forever:

          ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 94 AND 105 OF THE 14™
(FF)   DISTRICT OF FULTON COUNTY, GEORGIA AND                                 BEING   MORE PARTICULARLY DESCRIBED ON
EXHIBIT "A" ATTACHED HERETO.



Together with the appurtenances and all of the estate which die said WEINSTOCK & SCAVO, P.C. the Debtors, had in said
premises at the time of the filing ofhis Involuntary Petition for Relief in the United States Bankruptcy Court for the Northern
District of Georgia, Atlanta Division, and also the estate therein which die Grantor had or has power to convey or dispose of as
Trustee in Bankruptcy for said WEJNSTSOCK & SCAVO, P.C, the Debtors, pursuant to the Sale Order (collectively the
'•Property").                                             .


          TO HAVE AND TO HOLD the Property herein granted unto the Grantee, its heirs and assigns forever.

          IN WITNESS WHEREOF, Grantor herein has hereunto set hand and seal, die day and year first above written.

Signed, sealed and delivered in die presence of:                      GRANTOR

                                             f        v
                                                                     V)                     \                  (Seal)
Witness
          5                                                           WILLIAM nf. iJ
                                                                      As Chapter. 7\Tri
                                                                                         fG,\JR. as and only
                                                                                         i in the Bankruptcy Estate of
                                                                      WEINSTOl       & SCAVO, P.C.




Notary Public
My Commission Expires:

                                        8    /  EXPIRES \               t
                                        I    i GEORGIA I                s
                                        i|   \     August 31. 2024        |                                                          ST:*.



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                                                                            Deed Book 6521 5 Page 613




                                            EXHIBIT A




ALL THAT IRACXCRPAiUSEL OF LAND LYING AND BEING INLAND LOTS
94 AND I OS OF THE 14™ (KF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
ROAD, FIFTY-ONE AND SIX-TENTHS (51 .6) FEET TO AN IRON PIN; RUNNING
THENCE SOUTHWESTERLY* FORMING AN INTERIOR ANGLE OF 88 DEGREES
5 1 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING
THENCE SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107
DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
EASTERLY LINE OF LAND LOT 105, RUNNING THENCE EASTERLY, FORMING
AN INTERIOR ANGLE OF 128 DEGREES 1 2 MINUTES WITH THE PRECEDING
CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE
NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                                                                  AN
ROAD, SDC HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO
IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
                                                             ,
ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUSTS
1961 , PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
73, PACE 70, FULTON COUNTY, GEORGIA RECORDS.




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 Legal Description                                                                         G2"

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                                                         EXHIBIT "B"




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                                                   Document     Page 1 of 5




                  IT IS ORDERED as set forth below:
                                                                                       '$STS!&<£


                  Date: January 10, 2022

                                                                               JamesR. sacca
                                                                         U.S. Bankruptcy Court Judge




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                                    ATLANTA DIVISION

                IN RE:
                                                                            CHAPTER 7
                WEINSTOCK & SCAVO, P.C,
                                                                            CASE NO. 12-80220-jrs
                       Debtor.
                                                                            JUDGE SACCA



                 ORDER GRANTING MOTION TO SELL PROPERTY OF THE ESTATE FREE AND
                 n.F.AR OF LIENS. CLAIMS AND ENCUMBRANCES AND TO PAY REAL ESTATE
                                                        COMMISSIONS


                       The Trustee's Motion to Sell Property ofthe Estate Free and Clear ofLiens, Claims and

                Encumbrances and to Pay Real Estate Commissions was filed December 2, 2021 in the above

                referenced case (the '"Wallace Sale Mofion")[Doc. No. 234]. A bearing was held on the Wallace

                Sale Motion on January 5, 2022 at which time appearances were made by William J. Layng, Jr.,

                as chapter 7 trustee, Theodore N. Stapleton, attorney for the trustee, Tony Money, the real estate

                agent for the estate, and Charlton Carlos Lester ("Lester"). Lester filed the only objection to the

                Wallace Sale Motion and asserted his objections at the hearing. Mr. Money testified to his
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                                                       Document      Page 2 of 5




                extensive experience.in the real estate industry, his marketing efforts, the lack ofany relationships


                between die Trustee and the proposed purchasers and his opinion that die offers reflected in die

                Maddox Purchase Agreement and die King/Peoples Purchase Agreement, as identified in die


                Wallace Sale Motion, represent the highest and best offers for purchase of the Property.1 The

                Court overruled all objections asserted at the hearing and based upon the evidence presented,

                arguments of counsel, and all pleadings ofrecord in the case; it is hereby


                ORDERED THAT:


                        1)      The Wallace Sale Motion is GRANTED as set forth herein;


                        2)      The transactions contemplated in the Wallace Sale Motion and this Order are

                undertaken by the Purchaser in good faith, as that term is used in Section 363(m) ofthe Bankruptcy

                Code, and accordingly, the reversal or modification on appeal of die authorization provided herein to

                consummate the Sale of die Property shad not affect the validity of the Sale to the Purchaser, unless

                such authorization is duly stayed pending such appeal. The Purchaser is a purchaser in good faith of

                the Property and is entitled to all the protections afforded by Section 363(m) ofthe Bankruptcy Code;


                        3)      Under Fed. R. Bankr. P. 6004(h), this Order shall be effective and enforceable

                immediately upon entry, and its provisions shall be self-executing. In die absence of any person or

                entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the sale ofthe Property

                at any time, at which time the gross sales proceeds shall be paid to Trustee pursuant to this Order, and

                those disbursements requested by Trustee in die Sale Motion are authorized to be made;




                        1 Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to them in the
                Wallace Sale Motion.
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                       4)      The net sale proceeds afterpayment ofall customary closing costs and fees

                including applicable real estate taxes, the four percent (4%) commission on the sale will be split

                3%-l% between RE/MAX Around Atlanta Realty c/o Tony Money, representing the estate as

                seller, and Compass c/o GabrieUe Maddox, representing Maddox as buyer, or alternatively in the

                event Maddox Purchase Agreement does not close, the six percent (6%) commission to be split

                3%-3% between RE/MAX Around Atlanta Realty c/o Tony Money, representing die estate as


                seller, and Keller Williams Really Atlanta Partners c/o Kyera Perry, repiesetrting.King/Pecrples

                as the buyers, the commissions and costs of sale be paid at closing, and Mr. Money's costs to

                secure the Property, will be paid into the Trustee's escrow account (the "Escrow Account

                Funds") subject to any and all claims, interests, and rights ofcreditors and other interested

                parties in this case which shall attach to the Escrow Account Funds in the same validity, priority

                and extent therein which exists as of today and not disbursed without further order ofthis Court;

                and

                       5)      The Trustee is authorized to execute all documents necessary to effectuate die

                purchase/sale transaction.



                                                    [END OF DOCUMENT]


                Prepared and presented by:


                THEODORE N. STAPLETON, P.C.
                /s/ Theodore N. Stapleton
                Theodore N. Stapleton
                Georgia Bar No. 675850
                Attorneys for Trustee


                Suite 100-B
                2802 Paces Ferry Road
                Atlanta, Georgia, 30339
                Telephone: (770) 436-3334
                tstaple@tstaple.com
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                                             Document        Page 4 of 5




                                               DISTRIBUTION LIST


                                                United Stales Trustee
                                             362 Richard Russell Building
                                                75 Spring Street, S.W.
                                               Atlanta, Georgia 30303

                                             Theodore N. Stapleton, Esq.
                                                    Suite 100-B
                                                2802 Paces Feny Road
                                               Atlanta, Georgia, 30339


                                                United States Trustee
                                                362 Richard Russell Building
                                                75 Ted Turner Drive, S.W.
                                                Atlanta, Georgia 30303

                                                Lisa Kaplan, Esq,
                                                Rubin Lubin LLC
                                                3145 Avalon Ridge Place
                                                Suite 100
                                                Peachtree Corners, GA 30071


                                                Charlton C. Lester
                                                PO Box 43846
                                                Atlanta, GA 30336


                                                Charlton C. Lester
                                                PO Box 492289
                                                Atlanta, GA 30349

                                                Charlton C. Lester
                                                2864 Georgian Dr. West
                                                Chamblee, GA 30341-4858


                                                Vivieon K. Jones
                                                Assistant United States Attorney
                                                United States Attorney's Office
                                                Northern District of Georgia
                                                75 Ted Turner Drive SW, Suite 600
                                                Atlanta, GA 30303



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                                                                                                    Clerk of Superior Court




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                                              Document          Page 5 of 5




                                                   Internal Revenue Service
                                                   PO Box 7346
                                                   2970 Market Street
                                                   Philadelphia, PA 19104-5002

                                                   Charlton Carlos Lester
                                                   3434 Hamlin Square, S.W.
                                                   Atlanta, OA 30331


                                               -   US Bank Trust National Association,
                                                   not in its individual capacity but soley
                                                   as Owner Trustee for VRMTG Asset Trust
                                                   888 7th Avenue, 10th Floor
                                                   New York, NY 10019

                                                   Jermaine Bradley
                                                   150 Campbellton Street
                                                   Faiiburn,GA 30213

                                                   Jermaine Bradley
                                                   150 Campbellton Road
                                                   Fairburn, GA 30213

                                                   RBC Bank (USA)
                                                   c/o Lending Service Center
                                                   POBox 1220
                                                   Rocky Mount, NC 27802

                                                   PNC Bank, National Association
                                                   Corporation Service Company
                                                   2 Sun Court, Suite 400
                                                   Peachtree Comers, GA 30092


                                                   RBC Bank (USA)
                                                   W. James Westlake, CEO
                                                   301 Fayetteville Street
                                                   Suite 2100
                                                   Raleigh, NC    27601




                                                   ^—




              I hereby certify the within and foregpii%to be a true t.cprfecfand complete copy of the                     as
         original that appears info£ BK&S2IS RGhi jhfrt: Sfin thls^ffice this       day of        20
                              CATHLENE ROBINs6h^£terk of Superior Court, Fulton County, GA                                        .'V?

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                                                                                                                                     CATHELENE ROBINSON
                                                                                                                                        Clerk of Superior Court



 2
 UCC FINANCING STATEMENT
 FOLLOW INSTRUCTIONS
                                                                                                                                         Fulton County, Beorgia




  A. NAME & PHONE OF CONTACT AT FILER (optional)


  B. E-MAIL CONTACT AT FILER (optional)



  C. SEND ACKNOWLEDGMENT TO: (Name and Address)

    1      Jermaine Bradley
    '      150 East Campbellton Road
                                                                                               n
           Fairburn, GA 30213



    L                                                                                          j                       THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

 1. DEBTOR'S NAME: Provide only ona Debtor name (1a or lb) (use exact, CuO name; do not omit, modify, or abbreviate any part of the Debtor's name): if any part of the Individual Debtor's
    name will not fit in line 1b, leave an of item 1 blank, check here Q and provide the Individual Debtor information In item 10 of the Financing Statement Addendum (Form UCC1 Ad)
        1a. ORGANIZATION'S NAME

        JADE EYE 72 TRUST
 OR
        lb. INDIVIDUALS SURNAME                                                        FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX



 1c. MAILING ADDRESS                                                                   CITY                                                 STATE      POSTAL CODE                  COUNTRY

  2225 WALLACE ROAD                                                                    ATLANTA                                               GA        30331                         USA
 2. DEBTOR'S NAME: Provido only one Debtor namo (2a or 2b) (uso exact, full name; do not omit modify, or abbreviate any part at the Debtor's name): if eny part of the Individual Debtor's
    name w!B not fit In line 2b. leave all of item 2 blank, check here Q and provido the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCCIAd)
        2a. ORGANIZATION'S NAME


 OR
        2b. INDIVIDUALS SURNAME                                                        FIRST PERSONAL NAME                                  ADDITIONAL NAME(SyiNITlAL(S)            SUFFIX



 2c. MACLtNG ADDRESS                                                                   OTY                                                  STATE      POSTAL CODE                  COUNTRY




 3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only gap Secured Party name (3a or 3b)
        3a. ORGANIZATIONS NAME


 OR
        3b. INDIVIDUALS SURNAME                                                        FIRST PERSONAL NAME                                  ADDITIONAL NAME(SyiNITlAL(S)            SUFFIX

        Bradley                                                                        Jermaine
 3c. MAILING ADDRESS                                                                   OTY                                                  STATE      POSTAL CODE                  COUNTRY

  150 East Campbellton Road                                                             Fairburn                                             GA        30213
 4. COLLATERAL This financing statement covers the foUowing collateral:
  THIS IS ACTUAL AND CONSTRUCTIVE NOTICE all the Debtor's interested in the following property is hereby
  Accepted as collateral for securing contractual obligation in favor of the Secured Party This is a suit or action at
  Common Law and the value in controversy exceeds twenty (20) dollars. The controversy Is not confined to the question
  of Title to Property or in relation to other property, but to Claimant's Common Law Claim for the acquisition, finance,
  repair, maintenance and improvements to the herein described property, and obligations of duties, wherein the Claiment
  demands the said controversy by determined by a Common Law Jury in a Court of Common Law and according to the
  Rules of Common Law. Common Law. Liens supersede ALL Liens, including, bnt not Limited to, Mortgage Leins, Statutory
  Liens, and Lis Pendens Liens. The value of the Secured Party's Claim in $3,000,000.00 United States Dollars this in the entry
  of the DEBTOR into the Commercial Registry and Public Notice of a Commercial Transaction. The Secured Party hereby
  secures all rights interest and title in said property.




 5. Check enfr if applicable and check only one box: Collateral is I | held In a Trust (see UCCIAd, item 17 and Instructions)    I I boina administered by a Decedent's Personal Roprasomativo
 6a. Check only if applicable and chsck only one box:                                                                                6b. Check only if applicable and check only one box:

        I | Pubtic-Rnanco Transaction      Q Mamifactured-Hcroe Transaction            I [ A Debtor is a Transmitting UtBily             | | Agricultural Lien     | j Non-UCC Filing
 7. ALTERNATIVE DESIGNATION (if applicable):        |~| Lessee/Lessor           I   | Consignee/Consignor          I    | Seller/Buyer       I   | Bailee/Bailor           Uccnsce/Licensor            -9®^
 8. OPTIONAL FILER REFERENCE DATA:                                                                                                                                                               03.



                                                                                                                   International Association of Commercial Administrators (IAd&£\                         &
                                                                                                                                                                                                         •:<3
 FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
 Case 21-05122-jrs                               Doc 12          Filed 03/01/22 Entered 03/01/22 14:20:24 Desc Main
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                                                                                                                                    CflTHELENE ROBINSON
                                                                                                                                        Clerk of Superior Court
                                                                                                                                               Fulton County,           6eorgia




 UCC FINANCING STATEMENT ADDENDUM
 FOLLOW INSTRUCTIONS

 9. NAME OF FIRST DEBTOR: Same as Una la or lb on Financing Statement: il tine lb was left blank
    because Individual Debtor name did not til, chock hero |       j

        9a. ORGANIZATION'S NAME

        JADE EYE 72 TRUST


 OR 8b. INDIVIDUAL'S SURNAME

           FIRST PERSONAL NAME



           ADDITIONAL NAME(SylNITtAL<S)                                                                 SUFFIX


                                                                                                                             THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

 1 0. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor nemo or Debtor namo that did not St In lino lb or 2b of ttto Financing Statement (Form UCC1 ) (use exact (tiD name;
      do not omtt modify, or abbreviate any port of the Debtor's name) and enter the mailing address In line 10c

        10a. ORGANIZATION'S NAME


 OR
        10b. INDIVIDUAL'S SURNAME



            INDIVIDUAL'S FIRST PERSONAL NAME



            INDIVIDUAL'S ADDITIONAL NAME(S)/INiTIAL(S)                                                                                                                           SUFFIX



 10c MAILING ADDRESS                                                                       CITY                                            STATE      POSTAL CODE                COUNTRY




 t1.|    | ADDITIONAL SECURED PARTY'S NAME nr                          f~~| ASSIGNOR SECURED PARTY'S NAME: Provide only soft name (11a or 11b)
        1 1a. ORGANIZATION'S NAME


 OR
        1 1b. INDIVIDUAL'S SURNAME                                                         FIRST PERSONAL NAME                             ADDITIONAL NAME(SyMIT1AL(S)           SUFFIX



 11c MAILING ADDRESS                                                                       CITY                                            STATE     I POSTAL CODE               COUNTRY




 1 2. ADDITIONAL SPACE FOR ITEM 4 (Collateral):                .              .    ^                      ,     _                                                           „
 This Common Law lien is can only be discharged by Claimant, or by Common Law Jury in a Court of Common Law and
 according to the rules of Common Law. It can not be discharged for One Hundred (100) years, and cannot be extinguished
 due to die death of Claimant, or by Claimant's heirs, assigns, or executors. This Common Law Lien is for repairs/
 maintenance and improvements related to said Claimant, and performance of duty as related to all other assets due and
 payable In lawful money of the United States, a DOLLAR being described in the 1792 US Coinage Acts 371.25 grains of fine
 silver, or the equivalent of Gold, notes or other instruments acceptable to Claimant.


 13. [0 This FINANCING STATEMENT is to be filed [for record] (or recorded) In the          14. This FINANCING STATEMENT:
           REAL ESTATE RECORDS (if applicable)                                                     covem timber to be cut       covers os-extractod coHatsrel        filed es a flxtum ®ng

 15. Namo and address of a RECORD OWNER of real estate described in item 16                16. Description of real estate:
      (if Debtor does not have a record interest):
 JADE EYE 72 TRUST                                                                         all that tract or parcel of land lying and being in land lots 94 and
 2225 Wallace Road                                                                         105 of the 14th (fl) district of Fulton County, Georgia, and being
 Atlanta, GA 30331                                                                         more particularly described as follows: Beginning at an iron pin
                                                                                           located on the southwesterly side of Wallace road at the intersection
                                                                                           of the southwest side Wallace rjoad and the east line of land lot 105;
                                                                                           running thence northwesterly along the southwesterly side of
                                                                                           Wallace rjoad, fifty-one and six-tenths (51.6) feed to an iron pin;
                                                                                           running thence southwesterly,




 17. MISCELLANEOUS:
 Secured Parties are sovereign and operating in Common Law and without the United States also in Common Law
                                                                        International Association of Commercial Administrators (IACA)
 FILING OFFICE COPY — UCC FINANCING STATEMENT ADDENDUM (Form UCC1Ad).(Rev. 04/20/11)




                             I hereby certify the within and foregoing to be a-true, corrected complete copy of the
                     original that appears in j}£.                                     PG                in this office this AH* day of                         20AA
                                                      CATHLENE RGBJiJSON JCIerk of Superior-Court, Fulton County, GA                                                                      3*   v*
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*   3010 ROYAL               ILEVARD SOUTH,             SUITE      230                             CROSS REFERENCE
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                          3471 Donaville Street
                          Duluth, GA 3Q0S8




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                                                                SECURITY DEED

    DEFINITIONS

    Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13, 18,
    20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16.


    (A) "Security Instrument" means this document, which is dated                            SEPTEMBER 25,        2009
    together with ail Riders to this document.
    (B) "Borrower" is CHARLTON C.                         LESTER

                                                                      Borrower is the grantor under this Security Instrument.
    (C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting solely as
    a nominee for Lender and Lender's successors and assigns. MERS is the grantee under this Security Instrument. MERS
    is organized and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint,
    Michigan 48501-2026, tel. (888)679-MERS.
    (D) "Lender" is CBC NATIONAL BANK


    Lender is           A NATIONAL BANK                                      organized and existing under the laws of
                                                   . Lender's address is 3010 ROYAL BOULEVARD
    SOUTH, SUITE 230, ALPHARETTA, GEORGIA 30022
    (E) "Note" means the promissory note signed by Borrower and dated      SEPTEMBER 25, 2009
    The Note states that Borrower owes Lender FOUR HUNDRED SEVENTEEN THOUSAND AND NO/100

    Dollars (U.S. $       417,000.00                             ) plus interest. Borrower has promised to pay this debt in regular Periodic
    Payments and to pay the debt in full not later than  OCTOBER 1, 2039
    (F) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."
    (G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under the
    Note, and all sums due under this Security Instrument, plus interest.
    (H)    "Riders" means all riders to this Security Instrument that are executed by Borrower. The following riders are to be
    executed by Borrower [check box as applicable]:

          [I Adjustable Rate Rider                          _| Condominium Rider                                Second Home Rider
          C Balloon Rider                                   _ Planned Unit Development Rider                fx! Other(s) [specify]
               1-4 Family Rider                             _J Biweekly Payment Rider                          LEGAL ATTACHED
                                                WAIVER OF BORROWER'S                      RIGHTS AND    CLOSING ATTORNEY




    GEORGIA • Single Family - Finnic MteiFreddie Mac UNIFORM INSTRUMENT                                                              Fann 3011
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   (I)   "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
   administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial opinions.
   <J) "Community Association Dues, Fees and Assessments" means all dues, fees, assessments and other charges that are
   imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.
   (K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft, or
   similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic tape
   so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not
   limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and
   automated clearinghouse transfers.
   (L) "Escrow Items" means those items that are described in Section 3.
   (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any third party
   (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or destruction of, the
   Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or
   (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
   (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
   (O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note, plus (ii)
   any amounts under Section 3 of this Security Instrument.
   (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its implementing
   regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or successor
   legislation or regulation that governs the same subject matter. As used in this Security. Instrument, "RESPA" refers to all
   requirements and restrictions that are imposed in regard to a "federally related mortgage loan" even if the Loan does not
   qualify as a "federally related mortgage loan" under RESPA.
   (Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that party
   has assumed Borrower's obligations under the Note and/or this Security Instrument.

   TRANSFER OF RIGHTS IN THE PROPERTY

   This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications
   of the Note; and (ii) the performance of Borrower's covenants and agreements under this Security Instrument and the Note.
   For this purpose. Borrower does hereby mortgage, grant and convey to MERS (solely as nominee for Lender and Lender's
   successors and assigns) and to the successors and assigns of MERS, with power of sale, the following described property
   located in the             COUNTY                           of    FULTON                                                :
                                    (Type of Recording Jurisdiction)                        |Name of Recording Jurisdiction)
   LEGAL        DESCRIPTION ATTACHED                          HERETO AND MADE A                       PART      HEREOF




   wfficii tmraei^y^EH^akSress of 2225 WALLACE ROAD SW
                                                                              (Street)

   ATLANTA                                     , Georgia      30331                ("Property Address") :
              [Cilyl                                            (Zip Code)


        TO HAVE AND TO HOLD this property unto MERS (solely as nominee for Lender and Lender's successors and
   assigns) and to the successors and assigns of MERS, forever, together with all the improvements now or hereafter erected
   on the property, and all easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements
   and additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument
   as the "Property." Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower
   in this Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's
   successors and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to
   foreclose and sell the Property; and to take any action required of Lender including, but not limited to, releasing and
   canceling this Security Instrument .


   GEORGIA - Single Family • Funis Mao/Freddie Msc UNIFORM INSTRUMENT                                                          Form 3011   1/01   «9.
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       BORROWER COVENANTS that Borrower Is lawfully seised of the estate hereby conveyed and has the right to grant
   and cpnvey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants
   and will defend generally the title to the Property against all claims and demands, subject to any encumbrances of record.

         THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
   variations by jurisdiction to constitute a uniform security instrument covering real property.

          UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
          1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay
   when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges due
   under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and
   this Security Instrument shall be made in U.S. currency. However, if any check or other instrument received by Lender
   as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all
   subsequent payments due under the Note and this Security Instrument be made in one or more of the following forms, as
   selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided
   any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or entity; or
   (d) Electronic Funds Transfer.                                          '
          Payments are deemed received by Lender when received at the location designated in the Note or at such other location
   as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return any payment
   or partial payment if the payment or partial payments are Insufficient to bring the Loan current. Lender may accept any
   payment or partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice to
   its rights to refuse such payment or partial payments in the future, but Lender is not obligated to apply such payments at the
   time such payments are accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not
   pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
   current. If Borrower does not do so within a reasonable period of time. Lender shall either apply such funds or return them
   to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under the Note
   immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future against Lender shall
   relieve Borrower from making payments due under the Note and this Security Instrument or performing the covenants and
   agreements secured by this Security Instrument.
         2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted and
   applied by Lender shall be applied in the following order of priority: (a) interest due under the Note; (b) principal due under
   the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the order in which
   it became due. Any remaining amounts shall be applied first to late charges, second to any other amounts due under this
   Security Instrument, and then to reduce the principal balance of the Note:
         If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to
   pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If more than one
   Periodic Payment is outstanding. Lender may apply any payment received from Borrower to the repayment of the Periodic
   Payments if, and to the extent that, each payment can be paid in full. To the extent that any excess exists after the payment
   is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late charges due.
   Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.
         Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall not
   extend or postpone the due date, or change the amount, of the Periodic Payments.
         3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
   until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and assessments and
   other items which can attain priority over this Security Instrument as a lien or encumbrance on the Property; (b) leasehold
   payments or ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under Section
   5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of
   Mortgage Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow Items." At
   origination or at any time during the term of the Loan, Lender may require that Community Association Dues, Fees and
   Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower
   shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds
   for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may
   waive Borrower's obligation to pay to Lender Funds for any      all Escrow Items at any time. Any such waiver may only
   be in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for any


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    Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender
    receipts evidencing such payment within such time periud as Lender may require. Borrower's obligation to make such
t   payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
    Instrument, as the phrase "covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items
    directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights
    under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
    amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with
    Section 15 and, upon such revocation. Borrower shall pay to Lender all Funds, and in such amounts, that are then required
    under this Section 3.
          Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the
    time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA. Lender shall
    estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow
    Items or otherwise in accordance with Applicable Law.
         The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
    (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender
    shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge
    Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless
    Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless an
    agreement is made in writing or Applicable Law requires interest tu be paid on the Funds, Lender shall not be required to
    pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall
    be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as required by
    RESPA.
         If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
    funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall
    notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage
    in accordance with RESPA, but in no more than twelve monthly payments. If there is a deficiency of Funds held in escrow,
    as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
    necessary to make up the deficiency in accordance with RESPA, but in no more than twelve monthly payments.
          Upon payment in full of ail sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
    Funds held by Lender.
        4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the
    Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if any,
    and Community Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow Items,
    Borrower shall pay them in the manner provided in Section 3.
          Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a) agrees
    in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as
    Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against enforcement of the lien
    in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien while those proceedings are
    pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an agreement satisfactory
    to Lender subordinating the lien to this Security Instrument. If Lender determines that any part of the Property is subject
    to a lien which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the lien.
    Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions
    set forth above in this Section 4.
          Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used
    by Lender in connection with this Loan.
          5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property
    insured against loss by fire, hazards included within the term "extended coverage," and any other hazards including, but not
    limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in the amounts
    (including deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the preceding
    sentences can change during the term of the Loan. The insurance carrier providing the insurance shall be chosen by
    Borrower subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender
    may require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determination,
    certification and tracking services; or (b) a one-time charge for flood zone determination and certification services and
    subsequent charges each time remappings or similar changes occur which reasonably might affect such determination or
    certification. Borrower shall also be responsible for the payment of any fees imposed by the Federal Emergency
    Management Agency in connection with the review of any flood zone determination resulting from an objection by Borrower.

    GEORGIA    Single Family - Fannie Mac/Freddie Mac UNIFORM INSTRUMENT                                              Fern 3011,
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        If Borrower fails to maintain any of the coverages described above. Lender may obtain insurance coverage, at Lender's
   option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of coverage.
   Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in the Property,
   or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser coverage than was
   previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed
   the cost of insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
   become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate
   from the date of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
   payment.
        All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to disapprove
   such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional loss
   payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires. Borrower shall promptly
   give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance coverage, not
   otherwise required by Lender, for damage to, or destruction of, the Property, such policy shall include a standard mortgage
   clause and shall name Lender as mortgagee and/or as an additional loss payee.
         In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof
   of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance proceeds,
   whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of the Property,
   if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
   period. Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity to inspect such
   Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
   promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
   payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid
   on such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on such proceeds. Fees
   for public adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance proceeds and shall
   be the sole obligation of Borrower. If the restoration or repair is not economically feasible or Lender's security would be
   lessened, the insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due,
   with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
         If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
   matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to settle
   a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice is given. In either
   event, or if Lender acquires the Property under Section 22 or otherwise. Borrower hereby assigns to Lender (a) Borrower's
   rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument,
   and (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by Borrower) under
   all insurance policies covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender
   may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this
   Security Instrument, whether or not then due.               "•
         6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within sixty
   days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's principal
   residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall
   not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's control.
         7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage
   or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is
   residing in the Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or
   decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or restoration is not
   economically feasible, Borrower shall promptly repair the Property if damaged to avoid further deterioration or damage.
   If insurance or condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower shall
   be responsible for repairing or restoring the Property only if Lender has released proceeds for such purposes. Lender may
   disburse proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work is
   completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Property, Borrower is not
   relieved of Borrower's obligation for the completion of such repair or restoration.
         Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
   Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of or
   prior to such an interior inspection specifying such reasonable cause.


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        8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process. Borrower or
   any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially false,
   misleading, or inaccurate information or statements to Lender (or failed to provide Lender with material information) in
   connection with the Loan. Material representations include, but are not limited to, representations concerning Borrower's
   occupancy of the Property as Borrower's principal residence.
         9.   Protection of Lender's Interest in the Property and Rights Under this Security
  Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
  is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security
  Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which
  may attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
  Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property
  and rights under this Security Instrument, including protecting and/or assessing the value of the Property, and securing and/or
  repairing the Property (as set forth below). Lender's actions can include, but are not limited to: (a) paying any sums secured
  by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys' fees
  to protect its interest in the Property and/or rights under this Security Instrument, including its secured position in a
  bankruptcy proceeding. Securing the Property includes, but is not limited to, making repairs, replacing doors and windows,
  draining water from pipes, and eliminating building or other code violations or dangerous conditions. Although Lender may
  take action under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed
  that Lender incurs no liability for not taking any or all anions authorized under this Section 9.
       Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
  Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable,
  with such interest, upon notice from Lender to Borrower requesting payment.
       If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If Borrower
  acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger in
   writing.
         10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall
   pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage Insurance
   coverage required by Lender ceases to be available from the mortgage insurer that previously provided such insurance and
   Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall
   pay the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a
  cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
  mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not available, Borrower
  shall continue to pay to Lender the amount of the separately designated payments that were due when the insurance coverage
  ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in lieu of
  Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in
   full, and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer
  require loss reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
  provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires separately designated
  payments toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making
  the Loan and Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance,
  Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
  reserve, until the Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between
  Borrower and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
  Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
         Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if
  Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
         Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
  agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
  conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
  agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer may
  have available (which may include funds obtained from Mortgage Insurance premiums).
         As a result of these agreements, Lender, any purchaser of ine Note, another insurer, any reinsurer, any other entity,
  or any affiliate of any of the forgoing, may receive (directly cr indirectly) amounts that derive from (or might be
  characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the
  mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the
  insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
  reinsurance." Further:


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            (a) Any sucii agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance,
     or any Other terms of the Loan.               Such agreements will not increase the amount Borrower will owe for Mortgage
 _   Insurance, and they will not entitle Borrower to any refund.
            (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage Insurance
     under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to receive certain
     disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
     automatically, and/or to receive a refund of any Mortgage Insurance premiums that were unearned at the time of such
     cancellation or termination.
          1 1. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and shall
     be paid to Lender.
            If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if
     the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
     period. Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect such
     Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
     promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of progress payments as
     the work is completed.          Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
     Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous
     Proceeds. If the restoration or repair is not economically feasible or Lender's security would be lessened, the Miscellaneous
     Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any,
     paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.
          In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be applied
     to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
          In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
     Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the sums
     secured by this Security Instrument immediately before the partial taking, destruction, or loss in value, unless Borrower and
     Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the
     Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured immediately before
     the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
     partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
          In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
     Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured
     immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing,
     the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether or not the sums are then
     due.
           If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined
     in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender within 30
     days alter the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to
     restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then due. "Opposing
     Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right
     of action in regard to Miscellaneous Proceeds.
           Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's judgment,
     could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under
     this Security Instrument. Borrower can cure such a default and. if acceleration has occurred, reinstate as provided in Section
     19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the
     Property or other material impairment of Lender's interest in the Property or rights under this Security Instrument. The
     proceeds of any award or claim for damages that are attributable to the impairment of Lender's interest in the Property are
     hereby assigned and shall be paid to Lender.
            All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
     provided for in Section 2.
            12.   Borrower Not Released; Forbearance By Lender Not a Waiver.                Extension of the time for payment or
     modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor
     in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of Borrower.
     Lender shall not be required to commence proceedings against any Successor in Interest of Borrower or to refuse to extend
     time for payment or otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand


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     made by the original Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any
     right or remedy including, without limitation, Lender's acceptance of payments from third persons, entities or Successors
 ,   in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any
     right or remedy.
           13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees that
     Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security Instrument
     but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to mortgage, grant and convey
     the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
     sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify,
     forbear or make any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
     consent.
           Subject to the provisions of Section 18, any Successor In Interest of Borrower who assumes Borrower's obligations
     under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and benefits under
     this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under this Security
     Instrument unless Lender agrees to such release in writing. The covenants and agreements of this Security Instrument shall
     bind (except as provided in Section 20) and benefit the successors and assigns of Lender.
           14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's default,
     for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument, including, but not
     limited to, attorneys' fees, property inspection and valuation fees. In regard to any other fees, the absence of express
     authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the
     charging of such fee. Lender may not charge fees that are expressly prohibited by this Security Instrument or by Applicable
     Law.
          If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest
     or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any such
     loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already
     collected from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this
     refund by reducing the principal owed under the Note or by making a direct payment to Borrower. If a refund reduces
     principal, the reduction will be treated as a partial prepayment without any prepayment charge (whether or not a prepayment
     charge is provided for under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower will
     constitute a waiver of any right of action Borrower might have arising out of such overcharge.
           13. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing.
     Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower when
     mailed by first class mail or when actually delivered to Borrower's notice address if sent by other means. Notice to any one
     Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The notice address
     shall be the Property Address unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall
     promptly notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change
     of address, then Borrower shall only report a change of address through that specified procedure. There may be only one
     designated notice address under this Security Instrument at any one time. Any notice to Lender shall be given by delivering
     it or by mailing it by first class mail to Lender's address stated herein unless Lender has designated another address by notice
     to Borrower. Any notice in connection with this Security Instrument shall not be deemed to have been given to Lender until
     actually received by Lender. If any notice required by this Security Instrument is also required under Applicable Law, the
     Applicable Law requirement will satisfy the corresponding requirement under this Security Instrument.
           16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by federal law
     and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security
     Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly
     allow the parties to agree by contract or it might be silent, but such silence shall not be construed as a prohibition against
     agreement by contract.         In the event that any provision or clause of this Security Instrument or the Note conflicts with
     Applicable Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be given
     effect without the conflicting provision.
          As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter
     words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and (c)
     the word "may" gives sole discretion without any obligation to take any action.
           17.   Borrower's Copy.          Borrower shall be given one copy of the Note and of this Security Instrument.




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           18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the
     Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests
 ,   transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the
     transfer of title by Borrower at a future date to a purchaser.
          If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural
     person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may
     require immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be
     exercised by Lender if such exercise is prohibited by federal law.
          If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a period
     of not less than 30 days from the date the notice is given in- accordance with Section 15 within which Borrower must pay
     all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
     Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.
           19. Borrower's Right to Reinstate After Acceleration.                        If Borrower meets certain conditions. Borrower shall have
     the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days before
     sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other period as Applicable
     Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security
     Instrument.     Those conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
     Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c)
     pays all expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys' fees,
     property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's interest in the Property
     and rights under this Security Instrument; and (d) takes such action as Lender may reasonably require to assure that Lender's
     interest in the Property and rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this
     Security Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and expenses
     in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
     treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured by
     a federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security
     Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred. However, this right
     to reinstate shall not apply in the case of acceleration under Section 18.
           20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note (together
     with this Security Instrument) can be sold one or more times without prior notice to Borrower.                      A sale might result in a
     change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note and this Security
     Instrument and performs other mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable
     Law. There also might be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change
     of the Loan Servicer, Borrower will be given written notice of the change which will state the name and address of the new
     Loan Servicer, the address to which payments should be made and any other information RESPA requires in connection with
     a notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the
     purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer or be
     transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise provided by the Note
     purchaser.
           Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant
     or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that alleges that
     the other party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such Borrower
     or Lender has notified the other party (with such notice given in compliance with the requirements of Section 15) of such
     alleged breach and afforded the other party hereto a reasonable period after the giving of such notice to take corrective
     action. If Applicable Law provides a time period which must elapse before certain action can be taken, that time period will
     be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure given to
     Borrower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed
     to satisfy the notice and opportunity to take corrective action provisions of this Section 20.
          21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances defined as
     toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline, kerosene,
     other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos
     or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal laws and laws of the jurisdiction where
     the Property is located that relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any
     response action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition"
     means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.


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        Borrower shall nol cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances, or
   threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do,
 . anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an Environmental
   Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely
   affects the value of the Property. The preceding two sentences shall not apply to the presence, use, or storage on the
   Property of small quantities of Hazardous Substances that are generally recognized to be appropriate to normal residential
   uses and to maintenance of the Property (including, but not limited io, hazardous substances in consumer products).
        Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action by
   any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
   Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited
   to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused
   by the presence, use or release of a Hazardous Substance which adversely affects the value of the Property. If Borrower
   learns, or is notified by any governmental or regulatory authority, or any private party, that any removal or other remediation
   of any Hazardous Substance affecting the Property is necessary. Borrower shall promptly take all necessary remedial actions
   in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an Environmental Cleanup.

         NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
        22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's
   breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18 unless
   Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action required to cure the
   default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by which the default must be
   cured; and (d) that failure to cure the default on or before the date specified in the notice may result in acceleration
   of the sums secured by this Security Instrument and sale of the Property. The notice shall further inform Borrower
   of the right to reinstate after acceleration and the right to bring a court action to assert the non-existence of a default
   or any other defense of Borrower to acceleration and sale. If the default is not cured on or before the date specified
   in the notice, Lender at its option may require immediate payment in full of all sums secured by this Security
   Instrument without further demand and may invoke the power of sale granted by Borrower and any other remedies
   permitted by Applicable Law. Borrower appoints Lender the agent and attorney-in-fact for Borrower to exercise the
   power of sale. Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
   Section 22, including, but not limited to, reasonable attorneys' fees and costs of title evidence.
        If Lender invokes the power of sale, Lender shall give a copy of a notice of sale by public advertisement for the
   time and in the manner prescribed by Applicable Law. Lender, without further demand on Borrower, shall sell the
   Property at public auction to the highest bidder at the time and place and under the terms designated in the notice
   of sale in one or more parcels and in any order Lender determines. Lender or its designee may purchase the Property
   at any sale.
        Lender shall convey to the purchaser indefeasible title to the Property, and Borrower hereby appoints Lender
   Borrower1 s agent and attorney-in-fact to make such conveyance. The recitals in the Lender' s deed shall be prima facie
   evidence of the truth of the statements made therein. Borrower covenants and agrees that Lender shall apply the
   proceeds of the sale in the following order: (a) to all expenses of the sale, including, but not limited to, reasonable
   attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the person or persons legally
   entitled to it. The power and agency granted are coupled with an interest, are irrevocable by death or otherwise and
   are cumulative to the remedies for collection of debt as provided by Applicable Law.
         If the Property is sold pursuant to this Section 22, Borrower, or any person holding possession of the Property
   through Borrower, shall immediately surrender possession of the Property to the purchaser at the sale. If possession
   is not surrendered, Borrower or such person shall be a tenant holding over and may be dispossessed in accordance
   with Applicable Law.
         23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall cancel this Security
   Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
   Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee is permitted under
   Applicable Law.
        24. Waiver of Homestead. Borrower waives all rights of homestead exemption in the Property.
        25. Assumption Not a Novation. Lender's acceptance of an assumption of the obligations of this Security Instrument
   and the Note, and any release of Borrower in connection therewith, shall not constitute a novation.
        26. Security Deed. This conveyance is to be construed under the existing laws of the State of Georgia as a deed
   passing title, and not as a mortgage, and is intended to secure the payment of all sums secured hereby.

   GEORGIA     Single Family - Funic MuflFicdrfia Mu UNIFORM INSTRUMENT
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        BORROWER ACCEPTS AND AGREES to the terras and covenants contained in this Security Instrument and in any
   Rider .executed by Borrower and recorded with it.

        IN WITNESS WHEREOF, Borrower has signed and sealed this Security Instrument.

   Signe(L>edIeH and delivered in the presence of:
                                                                                          \

                   ritn€ss
                                      ^                                                   CHARLTON    C.   LESTER             Borrower



                                                                                                                                   (Seal)
   Notaiy Public                                                                                                              Borrower



   My Commission Expires^^gf^'^^A                                                                                                  (Seal)
                                                                                                                              Borrower
                                  |^/          EXPIRES       'VP%
                                 31    ? GEORGIA !
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                                 5           Harch 10.2012    I     s
                                                                                                                                   (Seal)
                                                                                                                              Borrower



                                                                                                                                   (Seal)
                                                                                                                              Borrower



                                                                                                                                   (Seal)
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                                                         (Space Below This Line For Acknowledgment)




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                                               EXHIBIT "A"


        ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
        94 AND 105 OF THE 14™ (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
        BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

        BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
        WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
        WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
        NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
        ROAD, FIFTY-ONE AND SIX-TENTHS (5 1 .6) FEET TO AN IRON PIN; RUNNING
        THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88 DEGREES
        51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
        THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING
        THENCE SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107
        DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
        HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
        EASTERLY LINE OF LAND LOT 105, RUNNING THENCE EASTERLY, FORMING
        AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE PRECEDING
        CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
        RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
        EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
        SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE
        NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
        ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
        IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
        ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
        1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
        73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.
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                                                                                                               Clerk of Superior Court
                                                                                                                Fulton County, Georgia

       GEORGIA
       GRANTOR:           CHARLTON              C.    LESTER


       LENDER:           CBC     NATIONAL              BANK
       DATE OF SECURITY DEED:                        SEPTEMBER      25,    2 00 9

                                                             WAIVER OF BORROWER'S RIGHTS

          BY EXECUTION OF THIS PARAGRAPH. GRANTOR EXPRESSLY: (1) ACKNOWLEDGES THE RIGHT TO
       ACCELERATE THE DEBT AND THE POWER OF ATTORNEY GIVEN HEREIN TO LENDER TO SELL THE
       PREMISES BY NONJUDICIAL FORECLOSURE UPON DEFAULT BY GRANTOR WITHOUT ANY JUDICIAL
       HEARING AND WITHOUT ANY NOTICE OTHER THAN SUCH NOTICE AS IS REQUIRED TO BE GIVEN UNDER
       THE PROVISIONS HEREOF; (2) WAIVES ANY AND ALL RIGHTS WHICH GRANTOR MAY HAVE UNDER THE
       FIFTH AND FOURTEENTH AMENDMENTS TO THE CONSTITUTION OF THE UNITED STATES. THE VARIOUS
       PROVISIONS OF THE CONSTITUTION FOR THE SEVERAL STATES. OR BY REASON OF ANY OTHER
       APPLICABLE LAW TO NOTICE AND TO JUDICIAL HEARING PRIOR TO THE EXERCISE BY LENDER OF ANY
       RIGHT OR REMEDY HEREIN PROVIDED TO LENDER. EXCEPT SUCH NOTICE AS IS SPECIFICALLY REQUIRED
       TO    BE      PROVIDED            HEREOF;       (3)    ACKNOWLEDGES          THAT        GRANTOR     HAS     READ     THIS     DEED      AND
       SPECIFICALLY THIS PARAGRAPH AND ANY AND ALL QUESTIONS REGARDING THE LEGAL EFFECT OF
       SAID DEED AND ITS PROVISIONS HAVE BEEN EXPLAINED FULLY TO GRANTOR AND GRANTOR HAS BEEN
       AFFORDED AN OPPORTUNITY TO CONSULT WITH COUNSEL OF GRANTOR'S CHOICE PRIOR TO EXECUTING
       THIS DEED; (4) ACKNOWLEDGES THAT ALL WAIVERS OF THE AFORESAID RIGHTS OF GRANTOR HAVE
       BEEN MADE KNOWINGLY, INTENTIONALLY AND WILLINGLY BY GRANTOR AS PART OF A BARGAINED
       FOR LOAN TRANSACTION: AND (5) AGREES THAT THE PROVISIONS HEREOF ARE INCORPORATED INTO
       AND MADE A PART OF THE SECURITY DEED.

             READ AND AGREED BY GRANTOR:


       Signed, s
       in
                         and delivered
                 reseoce of
                                                                                    V
                                                                                     •Grantor      ^       CTC          LESTER

                                                                                                                                               (SEAL)
            ~r                                                                       •Grantor


                                                                                                                                               (SEAL)
      <^iaryPul)|^                                                   %
                                                                                        •Grantor


                                                                                                                                               (SEAL)
                                                                                        -Grantor


                                                i:                        I
                                                                                        -Grantor
                                                                                                                                               (SEAL)


                                                                                                                                               (SEAL)
                                                                                        -Grantor




                                                             CLOSING ATTORNEY'S AFFIDAVIT

             Before the undersigned attesting officer personally appeared the undersigned closing attorney, who. having been first
       duly sworn according to law. states under oath as follows:
            In closing the above loan, but prior to the execution of the Deed to Secure Debt and "Waiver of Borrower's Rights"
       by the Borrower(s) . I reviewed with and explained to the Borrower(s) the terms and provisions of the Deed to Secure Debt
       and particularly the provisions thereof authorizing the Lender to sell the secured property by a nonjudicial foreclosure under
       a power of sale, together with the "Waiver of Borrower's Rights" and informed the Borrower (s) of Borrower's rights under
       the Constitution of the State of Georgia and the Constitution of the United States to notice and a judicial hearing prior to such
       foreclosure in the absence of a knowing, intentional and willing contractual waiver by Borrower(s) of Borrower's rights.
       After said review with and explanation to Borrower(s), Borrower(s) executed the Deed to Secure Debt and "Waiver of
       Borrower's Rights."
           Based on said review with and explanation to the Borrower (s). it is my opinion that Borrower(s) knowingly, intentionally
       and willingly executed the waiver of Borrowed                  al rights to notice and judicial hearing prior to any such
       nonjudicial foreclosure.

       Swoon to and subscript             befb&me on th§fdgt£

                                                                                         1
       Notary Public                                                                       (sing Attorn^



                                                        F0R^^0                              DISCLOSURE

                 O.C.G.A.     Section 7-1-1014(3)       requires that we inform you that if you fail to meet any condition or term of the
       documents that you sign in connection with obtaining a mortgage loan you may lose the property that serves as collateral
       for the mortgage loan through foreclosure.




                 rcTon



       HP4002S7- 10/08           52065. 16241                                                                     WAIVER OF BORROWER'S RIGHTS (GEORGIA)




                        I hereby certify the within and jbregoing-io be a true, correct and complete copy of the                                               ••A..
                   original that appears in t)€ BK HgHoft " PGWJ^gTJn this office1this?-*1     day of        20 <9-<9k
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                                                                             Clerk of Superior Court
                                                                             Fulton County, GA
                                                                             Participant IDs: 9578415599
                                                                             7067927936




        Prepared By and Return To:


        Collateral Department
        Meridian Asset Services, LLC
        3201 34th Street South, Suite 310
        St. Petersburg, FL 3371 1
        (727) 497-4650



                                                     Space above for Recorder's use

                                                                                                 13564145
                                             ASSIGNMENT OF SECURITY DEED

        FOR GOOD AND VALUABLE CONSIDERATION, the sufficiency of which is hereby acknowledged, the
        undersigned, SPECIALIZED LOAN SERVICING LLC, whose address is 6200 S QUEBEC ST,
        GREENWOOD VILLAGE, CO 80111, (ASSIGNOR), does hereby grant, assign and transfer to US BANK
        TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS OWNER
        TRUSTEE FOR VRMTG ASSET TRUST, whose address is 888 7TH AVENUE 10TII FLOOR, NEW YORK,
        NY 10019, (ASSIGNEE), its successors, transferees and assigns forever, all beneficial interest under that certain
        Security Deed, together with the certain note(s) described therein with all interest, all liens, and any rights due or to
        become due thereon.

        Date of Security Deed: 9/25/2009
        Original Loan Amount: $417,000.00
        Executed by (Borrowers)): CHARLTON C. LESTER
        Original Lender: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS GRANTEE, AS
        NOMINEE FOR CBC NATIONAL BANK, ITS SUCCESSORS AND ASSIGNS
        Filed of Record: In Book 48403, Page 675
        Document/Instrument No: 2009-0285032 in the Recording District of Fulton, GA, Recorded on 9/30/2009.

        Legal Description: SEE EXHIBIT "A" ATTACHED
        Property more commonly described as: 2225 WALLACE ROAD SW, ATLANTA, GEORGIA 30331

        IN WITNESS WHEREOF, the undersigned by its duly elected officers and pursuant to proper authority of its board
        of directors has duly executed, sealed, acknowledged and delivered this assignment.

        Date:


        SPECIALIZED LOAN SERVICING LLC, BY FAY SERVICING, LLC, ITS ATTORNEY-IN-FACT



                         Daniel Atvarado                                          Witness Name:      REG1NA MCAtsHNOH
        Title:                  Assistant Secretary

                                                                                             i      orv\          q_
                                                                                  Witness Name:        CfatlcHaM Andrew*




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        A NOTARY PUBLIC OR OTHER OFFICER COMPLETING THIS CERTIFICATE VERIFIES ONLY THE IDENTITY OF
        THE INDIVIDUAL WHO SIGNED THE DOCUMENT TO WHICH THIS CERTIFICATE IS ATTACHED, AND NOT THE
        TRUTHFULNESS, ACCURACY, OR VALIDITY OF THAT DOCUMENT



                              TEXAS
       State of .
       County of              DALLAS




       On               it,-?i
                           n .             . before me, MARY CHAVARRIA % a Notary Public, personally
       appeared            Daniel /uvaraao           . Assistant Secretary        of/for FAY
       SERVICING, LLC, AS ATTORNEY-IN-FACT FOR SPECIALIZED LOAN SERVICING LLC, personally
       known to me. nr who proved to me on the basis of satisfactory evidence to be the person(s) whose name(slg/pre
       subscribed to the within instrument and acknowledged to me thatjtfefehe/they executed the same in^htS/her/tKeir
       authorized capacity(ies), and that byyfusjfher/their signature(s) on me instrument the person(s). or the entitv upon
       behalf of which the person(s) acted, executed the instrument. I certify under PENALTY OF PERJURY under the
       laws of the State of  TEXAS that the foregoing paragraph is true and correct. I further certify
                   Daniel Alvarado         signed, sealed, attested and delivered this document as a voluntary act in my
       presence.



       Witness my hand and official seal.


        yVVL^ CRfiAfCLhXtes
       rNharv^J MARYCHAVARRIA
       My commission expires:      3'       ' d£f
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                                                                                               CATHELENE ROBINSON
                                                                                               Clerk of Superior Court




                                                       EXHIBIT "A"


         ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
         94 AND 105 OF THE 14th (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
         BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

         BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
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        RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
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        NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
        ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
        IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
        ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
         1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
         73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.




                                                                      '•V                                         a:
                                                                                                                  co:



                                                                                                                  -£         &
                I hereby certify the within and foregoing, to bera true, correct and-complete copyiof the         tko:       -m
           original that appears int)F BK       5\ ' PG?^-S3t in this office this JlH^dav of                           V;   •m
                                                                                                      20 3J.
                                 CATH L E N EfRO B I N S ONrGlerk of Superior Court, FultonXojShty, GA
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                                                                                                       Georgia Intangible Tax Paid $352.50
                                                                                                        Cathelene           Robinson
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                                                                                                                  Fulton County, Georgia




               [ECORDEDJKWL TO:
         RBC      (U
         ATTN: JeftZSylor
         P.O. Bo*«hN^
         Roi     lount, NCS87802
                                                 Hudnall Cohn Fyvofartt & ShavOf, P.C.
                                                 3471 Donaville Street
                                                 Dultrth, GA 30096




                                                              SECURITY DEED
    MAXIMUM LIEN. The lien of this Security Deed shall not exceed at any one time $117,500.00.

    THIS SECURITY DEED dated September 25, 2009, is made and executed between Chariton C Lester, whose
    address is 3434 Hamlin Square, Atlanta, GA 30331 (referred to below as "Grantor") and RBC Bank (USA),
    whose address is Lending Service Center, P.O. Box 1220, Rocky Mount, NC                                 27802 (referred to below as
    "Lender").
    GRANT OP SECURITY DEED. FOR AND IN CONSIDERATION of the financial accommodations to Grantor by Lender resulting m the
    obligation which is ttsreinaRer more particularly described, and m order to secure that obligation. Grantor hereby grants, bargains, convoys.
    transfer&^asstcjns ard^sefts toj.eriderail ofGrantoYs n^ht^titie, and interest in and^the following described real property:      The Real

        See Exhibit A, which is attached to this Security Deed and made a part of this Security Deed as if fully set
        forth herein.                                        '
    TOGETHER WITH ANY AND ALL of the following: (i) all buildings, structures and Improvements now or hereafter located on the real
    property or on any part or parcel thereof and all fixtures affixed or attached, actually or constructively, thereto; Qi) all and singular the
    tenements, hereditaments, easements and appurtenances belonging thereunto or maiiy-wise appertaining thereto and the reversion and
    reversions, remainder or remainders thereof; (S) all Rents accruing therefrom, whether now or hereafter due; (fv> a3 accounts and
    contract rights now or hereafter eristng in connection with any part or parcel thereof or any buildings, structures or improvements now or
    hereafter located thereon, tnclutflng without [imitation ail accounts and contract rights in and to aft leases or undertakings to lease now or
    hereafter affecting the land or any buildings, structures, or improvements thereon; {vj ail minerals, flowers, craps, trees, timber, shrubbery
    and other emblements now or hereafter located (hereon or thereunder or on or under any part or parcel thereofc (vl) a9 estates, nghts, title
    and interest therein, or in any part or parcel thereof: (vQ) Bit equipment, machinery, apparatus, fittings, fixtures, furniture, furnishings,
    mobile homes, modular hemes and ait personal property of every kind or description whatsoever now or hereafter located thereon, or En or
    on the buMngs. structures and Improvements thereon, and used in connection with the operation and maintenance thereof, and all
    additions thereto and replacements thereof; and (viil) aft building materials, supplies, goods and equipment delivered thereto and placed
    thereon for the purpose of being affixed to or installed or incorporated or otherwise used In the buildings, structures or other improvements
    now or hereafter located thereon or any pari or parcel thereof.

    The Real Property or its address Is commonly known as 2225 Wallace Rd SW, Atlanta, GA 30331.
    REVOLVING LINE OF CREDIT. This Security Deed secures the indebtedness .including, without llmftathm, a revolving line of credit, which
    obligates Lender to make advances to Grantor up to the maximum prthapd.tartetitedhesa or $117,500.00 so long as Grantor complies with
    all the terms of the Cretflt Agreement Such advances may be made^repaW.and remade from time to time, subject to the limitation that
    the total outstanding balance owing at any one time, not including finance charges on such balance at a fixed or variable rate or sum as
    provided in the Credit Agreement, any temporary overages, other charges, end any amounts expanded or advanced as provided in either
    the Indebtedness paragraph or this paragraph, shall not exceed the, Credit limit as provided in the Credit Agreement ft is the intention of
    Grantor and Lander that this Security Deed secures the balance outstanding under the Credit Agreement from time to time from zero up to
    the Credit Limit as provided In the Credit Agreement and any intermediate balance. The maturity date of the Credit Agreement Is October
    10. 2029. The initial advance under the terms of the Credit Agreement is to be applied toward the purchase of the Property.

    THIS SECURITY DEED, INCLUDING THE ASSIGNMENT OF RENTS AND THE SECURITY INTEREST IN THE RENTS AND PERSONAL
    PROPERTY, IS GIVEN TO SECURE           (A)   PAYMENT OF THE INDEBTEDNESS AND              (B)   PERFORMANCE OF EACH OF GRANTOR'S
    AGREEMENTS AND OBLIGATIONS UNDER THE CREDIT AGREEMENT, THE RELATED DOCUMENTS, AND THIS SECURITY DEED. IT IS
    THE INTENTION OF GRANTOR AND LENDER TO CREATE A PERPETUAL OR INDEFINITE SECURITY INTEREST IN THE REAL PROPERTY
    DESCRIBED IN THIS SECURITY DEED PURSUANT TO O.C.GA. 44-14-80 AND TO AGREE THAT TITLE SHALL NOT REVERT TO
    GRANTOR FOR A PERIOD OF SEVEN (7) YEARS FROM THE MATURITY DATE OF THE DEBT OR DEBTS SECURED BY THIS SECURITY
    DEED. HOWEVER, NOTHING IN THIS PARAGRAPH WILL IMPAIR LENDER'S RIGHTS TO COLLECTION OF THE INDEBTEDNESS AND
    FORECLOSURE OF THE SECURITY INTEREST IF THE INDEBTEDNESS IS NOT REPAID WHEN DUE. THIS SECURITY OEED IS GIVEN AND
    ACCEPTED ON THE FOLLOWING TERMS:




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                                                              SECURITY DEED
                                                                (Continued)                                                             Page 2


    PAYMENT AND PERFORMANCE. Except as otherwise provided in this Security Deed, Grantor shall pay to Lender all amounts secured by
    this Security Oeed as they become due and shall strictly perform all of Grantor's obligations under this Security Deed and the Related
    Documents.

    POSSESSION AND MAINTENANCE OF THE PROPERTY.                  Grantor agrees that Grantor's possession and use of the Property shall be
    governed by the following provisions:
         Possession and Use. Until the occurrence of an Event of Default. Grantor may (1) remain tn possession and control of the Property;
         (2) use. operate or manage the Property; and (3) collect the Rents from the Property.
         Duty to Maintain.  Grantor shatt maintain the Property tn good condition and promptly perform all repairs, replacements, and
         maintenance necessary to preserve its value.

         Compliance With Environmental Laws. Grantor represents and warrants to Lender that: (1) Dunng the penod of Grantor's ownership
         of the Property, there has been no use. generation, manufacture, storage, treatment, disposal, retsase or threatened release of any
         Hazardous Substance by any person on. under, about or bom the Property, (2) Grantor has no Knowledge of. or reason to believe
         that there has been, except as previously disclosed to and acknowledged by Lender tn writing, (a) any breach or violation of any
         Environmental Laws, (b) any use, generation, manufacture, storage, treatment, disposal, release or threatened release of any
         Hazardous Substance on, under, about or from the Property by any pnor owners or occupants of the Property, or (c) any actual or
         threatened litigation or claims of any kind by any person relating to 'such matters; and (3) Except as previously disclosed to and
         acknowledged by Lender in writing,    (a)   neither Grantor nor any tenant, contractor, agent or other authonzed user of the Property
         shall use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from the Property;
         and   (b)   any such activity shaft be conducted m compliance with all applicable federal state, and local laws, regulations and
         ordinances. mctmSng without limitation aQ Environmental Laws. Grantor authorizes Lender and its agents to enter upon the Property
         to make such inspections and tests, at Grantor's expense, as Lender may deem appropriate to determine compliance of the Property
         with this section of the Security Deed. Any inspections or tests made by Lender shall be for Lender's purposes only and shall not be
         construed to create any responsibility or fiabillly on the part of Lender to Grantor or to any other person. The representations and
         warranties contained herein are based an Grantor's due diligence in investigating the Property for Hazardous Substances. Grantor
         hereby (1) releases and waives any future claims against Lender for indemnity or contribution in the event Grantor becomes liable for
         cleanup or other costs under any such laws; and (2) agrees to indemnify, defend, and hold harmless Lender against any and all
         claims, losses, liabilities, damages, penalties, and expenses which Lender may directly or tndirectly sustain or suffer resulting from a
         breach of this section of the Security Deed or as a consequence of any use, generation, manufacture, storage, disposal, release or
         threatened release occurring pnor to Grantor's ownership or interest in the Property, whether or not the same was or should have
         been known to Grantor. The provisions of this section of the Security Deed, including the obligation to indemnify and defend, shall
         survive the payment of the indebtedness and the satisfaction and reconveyance of the iien of this Security Deed and shall not bs
         affected by Lender's acquisition of any interest in (he Property, whether by foreclosure or otherwise.
        Nuisance, Waste. Grantor shall not cause, conduct or permit any nuisance nor commit, permit, or suffer any stripping of or waste on
        or to the Property or any portion of the Property. Without limiting the generality of the foregoing, Grantor will not remove, or grant to
        any other party the nght to remove, any timber, minerals (including oil and gas), coal, day, sccna, soil, gravel or rock products
        without Lender's prior written consent

        Removal of Improvements. Grantor shall not demolish or remove any Improvements from the Real Property without Lender's prior
        written consent. As a condition to the removal of any Improvements. Lender may require Grantor to make arrangements satisfactory
        to Lender to replace such Improvements with Improvements of at least equal value.
         Lender's Right to Enter. Lender and Lender's agents and representatives may enter'upon the Real Property at all reasonable times to
        attend to Lender's interests and to inspect the Real Property for purposes of Grantor's compliance with the terms and conditions of
        this Security Deed.
         Compliance with Governmental Requirements.        Grantor shall promptly comply with an laws, ordinances, and regulations, now or
        hereafter tn- effect, of all governmental authorities applicable to the use or occupancy of the Property. Grantor may contest tn good
        faith any such law, ordinance, or regulation end withhold compliance dunng any proceeding, inducing appropriate appeals, so long as
        Grantor has notified Lender tn writing prior to doing so and so long as. tn Lender's sots opinion. Lender's interests m tha Property are
        not jeopardized. Lender may require Grantor to post adequate security or a surety bond, reasonably satisfactory to Lender, to protect
        Lender's interest
         Duty to Protect.   Grantor agrees neither to abandon or leave unattended the Property.    Grantor shall do aQ other acts, in addition to
        those acts set forth above tn this section, which from tha character and use cf the Property are reasonably necessary to protect and
        preserve the Property.

    DUE ON SALE - CONSENT BY LENDER. Lender may, at Lender's option, declare immediately due and payable ail sums secured by this
    Security Deed upon the sale or transfer, without Lender's pnor written consent of all or any part of the Property, or any interest tn the
    Property. A "sals or transfer" means the conveyance of Property or any nght, title or interest In the Property; whether legal, beneficial or
    equitable; whether voluntary or involuntary; whether by outright sale, deed, installment sate coniracl land contract, contract for deed,
    leasehold interest with a term greater than three (3) years, tease-option contract, or by sate, assignment, or transfer of any beneficial
    interest tn or to any land bust holding title to the Property, or by any other method of conveyance of an interest tn tha Property. However,
    this option shall not be exercised by Lender if such exercise is prohibited by federal law or by Georgia law.
    TAXES AND UENS. The following provisions relating to the taxes and Bens on the Property are part of this Security Deed:
        PaymanL Grantor shall pay when due (and in all events prior to delinquency) ail taxes, payroll taxes, special taxes, assessments,
        water charges end sewer service charges levied against or on account of the Property, and shall pay when due all claims for work




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                                                                SECURITY DEED
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        dens on or for services rendered or material furnished to (he Property.      Grantor shaB maintain the Property free of any Gens having
         priority over or equal to the interest of Lender under this Security .Deed, except for the Existing Indebtedness referred to in this
        Security Oeed or (hose liens specifically agreed to in writing by Lender, and except for the lien of taxes and assessments not due as
         further specified In lha Right to Contest paragraph.

         Right to Contest Grantor may withhold payment of any tax. assessment, or claim in connection with a good faith dispute over the
         obligation to pay, so long as Lender's interest in the Property is not jeopardized. If a Ren arises or is filed as a result of nonpayment.
         Grantor shall within fifteen (15) days after the fen arises or. if a Ran is filed, within fifteen (15) days after Grantor has notice of the
         filing, secure the discharge of the lien, or If requested by Lender, deposit with Lender cash or a sufficient corporate surety bond or
         other security satisfactory to Lender in an amount sufficient to discharge the Ren pkis any cods and attorneys' fees, or other charges
         that could accrue as a result of a foreclosure or safe under the lien. In any contest, Grantor shall defend itself and Lender and shall
         satisfy any adverse judgment before enforcement against the Property. Grantor shall name Lender ss an additional obligee under any
         surety bond furnished in the contest proceedings.
         Evidence of Payment Grantor shall upon demand furnish to Lender satisfactory evidence of payment of the taxes or assessments and
         shall authorize the appropriate governmental official to deliver to Lender at any time a written statement of the taxes and assessments
         against the Property.

         Notice of Construction. Grantor shall notify Lender at least fifteen (15) days before any work is commenced, any services are
         furnished, or any materials are supplied lo the Property, if any mechanic's Ren, materialmen's den, or other Hen could be asserted on
         account of the work, sendees, or materials. Grantor will upon request of Lender furnish to Lender advance assurances satisfactory to
         Lender that Grantor can and will pay the cost of such improvements.
    PROPERTY DAMAGE INSURANCE. The following provisions relating to insuring the Property are a part of this Security Deed:

         Maintenance of Insurance.       Grantor shaQ procure and maintain polices of fire insurance with standard extended coverage
        endorsements on a replacement basis for the toll insurable value covering all Improvements on the Real Property in si amount
        sufficient to avoid application of any coinsurance clause, and with a standard mortgagee clause in favor of Lender. Policies shaB be
        written by such insurance companies and tn such form as may ba reasonably acceptable to Lender. Grantor shall deliver to Lender
        certificates of coverage from each insurer containing a stipulation that coverage will not be cancelled or diminished without a
         minimum of ten (10) days' pnor written notice to Lender and not containing any disclaimer of the insurer's liability tor failure to give
        such notice. Each insurance policy also shall include an endorsement providing that coverage tn favor of Lender will not be impaired in
        any way by any act, omission or default of Grantor or any other person. Should the Real Property be located in an area designated by
        the Director of the Federal Emergency Management Agency as z special flood hazard area. Grantor agrees to obtain and maintain
        Federal Flood Insurance, If available, within 45 days after notice is given by Lender that the Property is located in a special flood
         hazard area, for the maximum amount of Grantor's credit line and the full unpaid principal balance of any prior Gens on the property
        securing the loan, up to the maximum policy limits set under the National Flood Insurance Program, or as otherwise required by
        Lender, and to maintain such insurance for the term of the loan.
        Application of Proceeds. Grantor shall promptly notify Lender of any loss or damage to the Property. Lender may make proof of loss
        if Grantor fails to do so within fifteen (15) days of the casualty. Whether or not Lender's security is impaired. Lender may. at Lender's
        election, receive and retain the proceeds of any insurance and apply the proceeds to the reduction of the Indebtedness, payment of
        any Ren affecting the Property, or the restoration and repair of the Property. If Lender elects to apply the proceeds to restoration and
        repair. Grantor shaS repair or replace the damaged or destroyed improvements in a manner satisfactory to Lender. Lender shall, upon
        satisfactory proof of such expenditure, pay or reimburse Grantor from the proceeds for the reasonable cost of repair or restoration if
        Grantor is not in default under this Security Deed. Any proceeds which have not bean disbursed within 180 days after their receipt
        and which Lender has not committed to the repair or restoration of the Property shall be used first to pay any amount owing to Lender
        under this Security Deed, then to pay accrued interest, and the remainder, if any, shall be applied to the principal balance of the
         Indebtedness.   If Lender holds any proceeds after payment m toil of the Indebtedness, such proceeds shall be paid to Grantor as
         Grantor's interests may appear.                                    '
        Compliance with Existing Indebtedness. During the period in which any Existing Indebtedness described below is in effect, compliance
        with the insurance provisions contained in the instalment evidencing such Existing Indebtedness shall constitute compliance with the
        insurance provisions under this Security Deed, to the extent compfiance with the terms of (his Security Deed would constitute a
        duplication of insurance requirement. If any proceeds from the insurance become payable on loss, the provisions in this Security Deed
        for division of proceeds shall apply only to that portion of the proceeds not payable to the holder of the Existing Indebtedness.
    LENDER'S EXPENDITURES. If Grantor foils (A) to keep the Property flee of all taxes, liens, security interests, encumbrances, and other
    claims, (B) to provide any required insurance on the Property, (C) to make repairs lo the Property or to comply with any obligation to
    maintain Existing Indebtedness in good standing as required below, then Lender may do so. If any action or proceeding is commenced that
    would matenally effect Lender's interests in the Property, then Lender on Grantor's behalf may, but is not required to, lake any action that
    Lender believes to be appropriate to protect Lender's interests.   All expenses incurred or paid by Lender for such purposes will thsn bear
    interest at the rale charged under the Credit Agreement from the date incurred or paid by Lender to die date of repayment by Grantor. All
    such expenses will become a part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the
    balance of the Crerfit Agreement and be apportioned among and be payable with any installment payments to become due during either (1)
    the term of any applicable insurance policy: or (2) the remaining term of the Credit Agreement; or (C) be treated as a balloon payment
    which will be due and payable at the Credit Agreements maturity. The Security Deed also will secure payment or these amounts. The
    rights provided for tn this paragraph shall be tn addition to any other rights or any remedies to which Lender may be entitled on account of
    any default Any such action by Lender shaB not ba construed as cunng the deffoitt so as to bar Lender from any remedy that It otherwise
    would have had.




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                                                               SECURITY DEED
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    WARRANTY; DEFENSE OF TITLE, The following provisions relating to ownership of the Property are a part of
                                                                                                             this Security Deed:
        Title. Grantor warrants that* (a) Grantor hokts goad and marketable title of record to the Property m
                                                                                                                      fee simple, free and clear of ail
        liens and encumbrances other than those set forth m the Real Property description or in the Existing Indebtedness
                                                                                                                                   section below or in
        any title insurance policy, title report, or final title opinion issued In favor of. and accepted by. lender
                                                                                                                     in connection with this Security
        Deed, and (b) Grantor has the full right, power, and authority to execute and deliver this Security Deed
                                                                                                                       to Lendor.
        Defense of Title. Subject to the exception m the paragraph above, Grantor warrants and will forever
                                                                                                                defend the title to the Property
        against the lawful claims of ail persons. In the event any action or proceeding is commenced that
                                                                                                                questions Grantor's title or the
        interest of Lender under this Security Deed, Grantor shall defend the action at Grantor's expense.
                                                                                                              Grantor may ba the nominal party
        in such proceeding, but Lender shall be entitled to participate in the proceeding and to be represented
                                                                                                                in (he proceeding by counsel of
        Lender's own choice, and Grantor will deGver. cr cause to ba delivered, to Lender such instruments as
                                                                                                                  Lender may request from time
        to time to permit such participation.
        Compliance With Laws.      Grantor warrants that the Property and Grantor's use of the Property complies with all existing
                                                                                                                                   applicable
        laws, ordinances, and regulations of governmental authorities.
        Survival of Promises. AD promises, agreements, and statements Grantor has mads in this Security Deed
                                                                                                                     shall survive the execution
        and delivery of this Security Deed, shall be continuing in nature and shall remain in full force and
                                                                                                             effect until such Urns as Grantor's
        Indebtedness is paid in full.
    EXISTING INDEBTEDNESS. The following provisions concerning Existing Indebtedness are a part of this
                                                                                                        Security Deed:
        Existing lien. The security interest arising under this Security Deed securing the Indebtedness may ba secondary
                                                                                                                           and inferior to an
        existing tien. Grantor expressly covenants and agrees to pay. or see to the payment of, the Existing Indebtedness
                                                                                                                          and to prevent any
        default on such indebtedness, any default under the instruments evidencing such indebtedness,
                                                                                                      or any default under any security
        documents for such indebtedness.                                               '
        No Modification. Grantor shall not enter into any agreement with the holder of any security deed, mortgage,
                                                                                                                    deed of trust, or other
        security agreement which has priority over this Security Deed by which that agreement is modified,
                                                                                                           amended, extended, or renewed
        without the pnor written consent of Lender.      Grantor shall neither request nor accept any future advances under any such security
        agreement without the pnor written consent of Lender.

        Assignment of Proceeds. Grantor hereby transfers and assigns to Lender any and all proceeds, in excess
                                                                                                               of foe amount required to
        satisfy foe Existing indebtedness, which may ba or become payable by reason of foreclosure under
                                                                                                         the Existing Indebtedness. Grantor
        further authorizes, directs and instructs that any and all such proceeds be paid directly to Lender end
                                                                                                                 not to Grantor, up to foe full
        extent required to satisfy the Indebtedness, and Grantor hereby releases and relinquishes any and all nght,
                                                                                                                    title, interest and claims m
        and to such proceeds to that extent. The term "foreclosure" as used in this paragraph shall mean
                                                                                                                or include, without limitation,
        foreclosure of atl or any part of the Property by exercise of any power of sale contained
                                                                                                  in foe Existing indebtedness, judicial
        foreclosure, conveyance in lieu of foreclosure, or other means.

   CONDEMNATION. The following provisions relating to condemnation proceedings ere a part of this
                                                                                                  Security Deed:                            .
        Proceedings. If any proceeding in condemnation ts filed. Grantor shall promptly notify Lender In writing,
                                                                                                                    and Grantor shall promptly
        take such steps as may be necessary to defend foe action and obtain foe sward. Grantor may
                                                                                                                be foe nominal party in such
        proceeding, but Lender shad be entitled to participate in the proceeding and to be represented in the
                                                                                                              proceeding by counsel of its own
        choice, and Grantor will deliver or cause to be delivered to Lender such instruments and documentation
                                                                                                               as may be requested by
        Lender from time to time to permit such participation.
        Application of Nat Proceeds. If ail or any part of the Property ts condemned by eminent domain proceedings
                                                                                                                       or by any proceeding or
        purchase in Deu of condemnation, Lender may at its election require that at! or any portion of foe net
                                                                                                               proceeds of the award be applied
        to foe indebtedness or the repair or restoration of foe Property. The net proceeds of the award shell mean
                                                                                                                   the award after payment of
        all reasonable attorneys' fees and costs and expenses, including court costs that are incurred by Lender
                                                                                                                       in connecdon with the
        condemnation,
   IMPOSITION OF TAXES. FEES AND CHARGES BY GOVERNMENTAL AUTHORITIES.                           The following provisions relating to governmental
   taxes, fees ana charges are a part of this Security Deed:
        Cunent Taxes, Fees and Charges. Upon request by Lender, Grantor shall execute such documents h
                                                                                                       addition to this Security Deed
        and take whatever other action is requested by Lender to perfect and continue Lender's security
                                                                                                        interest on foe Property.            Grantor
        shaS reimburse Lender for aO taxes, as described below, together with atl expenses incurred in recording, perfecting or continuing
                                                                                                                                           this
        Security Deed, including without limitation ail taxes, fees, documentary stamps, and other charges
                                                                                                           for recording cr registering this
        Security Deed.

       Taxes. The following shall constitute taxes to which this section applies: (1) a specific tax upon this
                                                                                                               type of Security Deed or upon
       all or any part of lire > indebtedness secured by this Security Deed; (2) a specific tax on Grantor which
                                                                                                                     Grantor is authorized or
       required to -deduct from payments on foe Indebtedness secured by this type of Security Deed; (3) a tax on this
                                                                                                                        type of Security Deed
       chargeable against the Lender or foe holder of foe Credit Agreement: and (4) a specific tax on atl or any
                                                                                                                  portion of the Indebtedness
       or on payments of principal and interest made by Grantor.

       Subsequent Taxes. If any tax to which this section applies is enacted subsequent to the date of this Security
                                                                                                                     Deed, this event shall
       have foe same effect as an Event of Default, and Lender may exercise any or all of its avaQable remedies
                                                                                                                for an Event of Default as
       provided below unless Grantor either (1 ) pays foe tax before it becomes delinquent, or (2) contests foe
                                                                                                                tax as provided above m the
       Taxes and Liens section and deposits with Lender cash or a sufficient corporate surety bond or other security
                                                                                                                     satisfactory to Lender.




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                                                              SECURITY DEED
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    SECURITY AGREEMENT; FINANCING STATEMENTS. The following piOvisscns relating to tins Security Dead as a security agreement are a
    part of this Security Deed:

        Security Agreement. This instrument shall constitute a Security Agreement to the extent any of the Property constitutes fixtures, and
        Lender shall have an of tha rights of a secured party under the Uniform Commercial Code as amended from time to time.
        Security Interest Upon request by Lender, Grantor shall take whatever action is requested by Lender to perfect end continue Lender's
        security interest in tha Personal Property. In addition to recording this Security Deed In the real property records. Lender may, at any
        time and without further authorization from Grantor, file executed counterparts, copies or reproductions of this Security Deed as a
        financing statement Grantor shall reimburse Lender for all expenses incurred tn perfecting or continuing this security interest Upon
        default. Grantor shall not remove, sever or detach the Personal Property from the Property. Upon default. Grantor shall assemble any
        Personal Property not affixed to the Property in a manner and at a place reasonably convenient to Grantor and Lender and make it
        available to Lender within three (3) days after receipt of written demand from Lender to the extent permitted by applicable law.
        Addresses.    The mailing addresses of Grantor (debtor) and Lender (secured party) from which information concerning the security
        interest granted by tins Security Deed may be obtained (each as required by the Uniform Commercial Code) are as stated on tha fust
         page of this Security Deed.

    FURTHER ASSURANCES; ATTORNEY-IN-FACT.              The following provisions relating to further assurances and attorney-in-fact are a part of
    this Security Deed:
        Further Assurances. At any time, and from time to time, upon request of Lender, Grantor will make, execute and deliver, or wiil cause
        to bo made, executed or delivered, to Lender or to Lender's designee, and when requested by Lender, cause to be filed, recorded,
        refiled, or rerecorded, as the case may be, at such times and m such offices and places as Lender may deem appropriate, any and en
        such mortgages, deeds of Crust, security deeds, security agreements, financing statements, continuation statements, instruments of
        further assurance, certificates, and other documents as may, in the sole opinion of Lender, be necessary or desirable In order to
        effectuate, complete, perfect, continue, or preserve (1) Grantor's obligations under the Credit Agreement, this Security Deed, and
        the Related Documents, and (2) the liens and security interests created by this Security Deed on the Property, whether now owned
        or hereafter acquired by Grantor. Unless prohibited by law or Lender agrees to the contrary in writing. Grantor shall reimburse Lender
        for ail costs and expenses incurred In connection with the matters referred to in this paragraph.                                -
        Attorney-in-Fact. If Grantor falls to do any of the things referred to in the preceding paragraph. Lender may do so for and in the name
        of Grantor and at Grantor's expense. For such purposes. Grantor hereby irrevocably appoints Lender as Grantor's attorney-in-fact for
        the purpose of making, executing, delivering, filing, recording, and doing ail other things as may be necessary or desirable, in Lender's
        sole opinion, to accomplish the matters referred to tn the preceding paragraph.

   FULL PERFORMANCE. If Grantor pays all the Indebtedness whan due, terminates the credit line account, and otherwise performs aO the
   obligations imposed upon Grantor under this Security Deed. Lender shall execute and deliver to Grantor a suitable satisfaction of this
   Security Deed and suitable statements of termination of any financing statement on fiie evidencing Lenders security interest in tha Rents
   and the Personal Property. Grantor will pay. if permitted by applicable law. any reasonable termination fee as determined by Lender from
   time to time.

   EVENTS OF DEFAULT. Grantor w31 be in default under this Security Deed if any of foe following happen: (A) Grantor commits fraud or
   makes a material misrepresentation at any time tn connection with foe Credit Agreement. This can include, for example, a false statement
   about Grantor's income, assets, liabilities, or any other aspects of Grantor's financial condition. (B> Grantor does not meet the repayment
   terms of the Credit Agreement (C) Grantor's action or inaction adversely affects the collateral or Lender's rights in the cottaterei. This
   can include, for example, failure to maintain required insurance, waste or destructive use of foe dwelling, failure to pay taxes, death of all
   persons liable on the account, transfer of title or sale of the dwelling, creation of a senior lien on the dwelling without Lender's permission,
   foreclosure by (he holder of another (ten. or the use of funds or the dwetting for prohibited purposes.

   LENDER'S REMEDIES AND POWER OF SALE. Upon the occurrence of an Event of Default. Lender shall have foe following rights, powers,
   and remedies:

        Accelerate Indebtedness. Lender, at Lender's option and election and without notice to Grantor, may declare ail or any portion of the
        Indebtedness to be immediately due and payable, whereupon foe same shall be and shall become due and payable forthwith without
        presentment demand, protest or notice of any kind, ail of which am expressly waived by Grantor.
        Entry and Possession. Lender may enter upon the Property, or any part thereof, and take possession of the Property, exclutfing
        therefrom Grantor and ail agents, employees and representatives of Grantor; employ a manager of the Property or any part thereof;
        hold, store, use, operate, manage, control, maintain and lease foe Property or any part thereof; conduct business thereon; make all
        necessary and appropriate repairs, renewals, and replacements; «eep ihe Property insured; and cany out or enter into agreements of
        any kind with respect to the Property.

        Collection of Rents. Lender may collect and receive ail Rents from the Property and apply the same to the indebtedness, after
        deducting therefrom ail costs, charges, and expenses of taking, holding, managing, and operating the Property, including the fees and
        expenses of Lender's attorneys, and agents.
        Payments. Lender may pay any sum or sums deemed necessary or appropriate by Lender to protect foe Property or any part of foe
        Property or Lender's interest (n foe Property.
        Other Remedies.    Lender may exerase all rights and remedies contained in any Related Document, heretofore, concurrently herewith
        or In the future executed by Grantor tn favor of Lender In connection with the transactions resulting in the Indebtedness or any part
        thereof.




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       Appointment of Receiver. Lender may make application to any court aid be entitled to the appointment of a receiver to lake charge of
       the Property or any part thereof without alleging or proving, or having any consideration given to. the insolvency of Grantor, (he value
       of the Property as security for the Indebtedness, or any other matter usually incident to the appointment of a receiver.
       UCC Remedies. With respect to the Personal Property in which a security interest is herein granted. Lender may exercise any or all of
       the rights accruing to a secured party under this Security Deed, the Uniform Commercial Code (Sections 11-9-101 et. seq. of the Ga.
       Code Annotated) and any other applicable law. Grantor shall, if Lender requests, assemble all such Personal Property and make it
       avatleble to Lender at a place or pieces to be designated by Lender, which shall be reasonably convenient to Grantor mid Lender. Any
       notice required to be given by Lender of a public or private sale, lease or other disposition of the Personal Property or any other
       intended action by Lender may be delivered personally to Grantor or may be deposited in the United States mall with postage prepaid
       duly addressed to Grantor at the address of Grantor last known to Lender at (east five (5) business days prior to such proposed action,
       and shall constitute reasonable and fair notice to Grantor of any such action.
       Power of Sale.   Lendsr may sail the Property, or any pert thereof or any interest therein, separately, at Lender's discretion, with or
       without taking possession thereof, at public sale before the courthouse door of the county en which the Property, or any part thereof,
       is located, to the highest bidder for cash, after first giving notice of the time, place and terms of such sale by advertisement, published
       once a weak for four weeks (without regard for the number of days) m a newspaper in which advertisements of sheriffs sales are
       published in such county. The advertisement so pubftshed shall be notice to Grantor, and Grantor hereby waives ad other notices.
       Lender may bid and purchase at any such sale, and Lender may execute and deliver to the purchaser or purchasers at any such sale a
       sufficient conveyance of the Property, or (he part thereof or interest therein sold. Lender's conveyance may contain recitals as to the
       occurrence of an Event of Default, under this Security Deed, which recitals shad be presumptive evidence that aft pre&mnary acts
       prerequisite to such sate and conveyance were in all things duly complied with. The recitals made by Lender shall be binding and
       conclusive upon Grantor, and the sale and conveyance made by Lender shall divest Grantor of all right, title, interest and equity that
       Grantor may have had in. to end under the Property, or the part thereof or interest therein sold, and shall vest the same in the
       purchaser or purchasers at such sale. Lender may hold one or more sales hereunder until the indebtedness has bean satisfied in full.
       Grantor hereby constitutes and appoints Lender as Grantor's agent and attomey-m-facl to make such sale, to execute and deliver such
       conveyance and to make such recitals, and Grantor hereby ratifies mid confirms 811 of the acts mid dotngs of Lender as Grantor's
       agent and attorney-in-fact hereunder. Lender's agency and power as attorney-in-fact hereunder ere coupled with an interest, cannot
       be revoked by insolvency, incompetency, death or otherwise, and shall not be exhausted untQ the Indebtedness has been satisfied in
       full. The proceeds of each sale by Lender hereunder shall be appBed first to tha costs mid expenses of the sale and of all proceedings
       in connection therewith, including attorneys' fees If applicable, then to payment of the Indebtedness, and die remainder, if any, shad
       be paid to Grantor. If the proceeds of any sale are not sufficient to pay the indebtedness in full, Lender shall determine, et Lender's
       option and in Lender's discretion, the portions of the Indebtedness to which die proceeds (after deducting therefrom the costs and
       expenses of the sale and all proceedings in connection therewith) shall be applied and tn what order tha proceeds shall be so applied.
       Grantor covenants and egress that in the event of any sate pursuant to the agency and power herein granted, Grantor shall be and
       become, a tenant holding over and shall deliver possession of (he Property, or (he part thereof or interest therein sold, to the purchaser
       or purchasers at the sale or be summarily dispossessed in accordance with the provisions of law applicable to tenants holding over.
       AD of Lender's nghts and remedies will be cumulative and may be exercised alone or together.

       Attorneys* Fees; Expenses.     If any part of the Indebtedness is collected by or with any assistance from or consultation with an
       attorney at (aw. Grantor shall pay to Lender as Lender's attorneys' fees, fifteen percent (15%) of such amount collected. Whether or
       not any court action is involved, end to die extent not prohibited by law, ait attorneys' fees and all reasonable expenses Lender incurs
       that in Lender's opinion are necessary at any time for the protection of its interest or the enforcement of its nghts shaft become a pert
       of Ute Indebtedness payable on demand and shall bear interest at the Credit Agreement rate from the date of the expenditure untB
       repaid. Expenses covered by this paragraph include, without (imitation, however subject to any limits under applicable law. Lender's
       attorneys* fees end Lender's legal expenses whether or not there is a lawsuit, including attorneys' fees and expenses for bankruptcy
       proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment
       collection services, the cost of searching records, obtaining title reports (including foreclosure reports), surveyors? reports, end
       appraisal fees end title insurance, to the extent permitted by applicable taw. Grantor also will pay any court costs, tn addition to an
       other sums provided by law.

   NOTICES. Any notice required to be given under this Security Dead, including wfthout [imitation any notice of default and any notice of
   sale shall be given in writing, and shaft be effective when actually delivered, when actually received by tetefccslmSe (unless otherwise
   required by taw), when deposited with a nationally recognized overnight courier, or. If mailed, when deposited in the United States mad, as
   first class, certified or registered mail postage prepaid, directed to the addresses shown near the beginning of Otis Security Deed. All
   copies of notices of foreclosure from the holder of any pnor security interest which has priority over this Security Deed shall be sent to
   Lender's address, as shown near the beginning of this Security Deed. Any person may change his or her address for notices under this
   Security Deed by givrng formal written notice to the other person or persons, specifying that the purpose of the notice is to change the
   person's address. For notice purposes, Grantor agrees to keep Lender informed et aB times of Grantor's current address. Unless
   otherwise provided or required by taw. if there is mora than one Grantor, any notice given by Lender to any Grantor is deemed to be notice
   given to ati Grantors. It will be Grantor's responsEbSIty to tell the others of the notice from Lender.
   ANTt-MONEY LAUNDERING AND ANTITERRORISM. Grantor represents, warrants and covenants to Bank as follows: (i) Grantor (a) is not
   and shaft not become a person whose property or interest in property is blocked or subject to blocking pursuant to Section 1 of Executive
   Order 13224 of September 23, 2001 Blocking property and Prohibiting Transactions With Persons Who Commit, Threaten to CcrrtmlL or
   Support Terrorism (66 Fed. Reg. 4S079 (2001)), (b) does not engage tn and shall not engage in any dealings or transactions prohibited by
   Section 2 of such executive order, and is not and shaft not otherwise become associated with any such person m any manner violative of
   Section 2, (c) is not and shaft not become a person on the list of Specially Designated Nationals and Blocked Persons, and (d) is not and
   shall not become subject to the limitaiions or prohibitions under any other U.S. Department of Treasury's Office of Foreign Assets Control




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   regulation or executive order; (2) Grantor «s and shaB remain in compliance, tn alt material respects, with (a) the Trading with the Enemy
   Act, as amended, and each of the foreign assets control regulations of the United States Treasury Department (31 CFR. Subtitle B, Chapter
   V. as amended) and sny other enabling legislation or executive order relating thereto, and (b) the Uniting And Strengthening America 8y
   Providing Appropnate Tools Required To Intercept And Obstruct Terrorism (USA Patriot Act of 2001 ); and (3) Grantor has not and shall not
   use all or any part of the proceeds, advances or other amounts or sums constituting or evidenced by the Obligations, directly or indirectly,
   for sny payments to any governmental official or employes, political party, official of a political party, candidate far political office, or
   anyone else acting in an official capacity, tn order to obtain, retain or direct business or obtain any improper advantage, in violation of the
   United States Foreign Corrupt Practices Act of 1977, as amended.

   OEED TO SECURE DEBT. This Security Deed is a "deed to secure debt" made in compliance with O.C.G.A. 44-14-60 et seq. and this
   conveyance ts not a mortgage and shall not be held to be a mortgage. The grant of Grantor's right, title and Interest as set forth herein is
   IN FEE SIMPLE .
   MISCELLANEOUS PROVISIONS. The fallowing mtsceiianeous provisions are a part of (his Security Deed:
        Amendments.      What is written in this Security Deed and in the Related Documents is Grantor's entire agreement with Lender
        concerning the matters covered by this Security Deed. To be effective, any change or amendment to this Security Deed must be in
        writing and must be signed by whoever will be bound or obligated by the change or amendment

        Caption Headings. Caption headings in this Security Deed are for convenience purposes only and are not to be used to interpret or
        define the provisions of this Security Deed.                                             -

        Governing Law. This Security Deed will be governed by federal law applicable to Lender and, to the extent not preempted by federal
        law, the laws of the State of Georgia without regard to its conflicts of law provisions. This Security Deed has been accepted by
        Lender tn the State of Georgia.

        No Waiver by Lender. Grantor understands Lender will not give up any of Lender's nghts under (his Security Deed unless Lender does
        so tn writing. The fact that Lender delays or omits to exercise any nght will not mean that Lender has given up that nght. If Lender
        does aQree in writing to give up one of Lender's nghts, that dees not mean Grantor will not have to comply with the other provisions
        of this Security Deed. Grantor also understands that if Lender does consent to a request, that does not mean that Grantor will not
        have to get Lender's consent again if the situation happens again. Grantor further understands that just because Lender consents to
        one or more of Grantor's requests, that does not mean Lender will be required to consent to any of Grantor's future requasts. Grantor
        waives presentment, demand far payment, protest, and notice of dishonor.

        Severability. If a oourt finds that any provision of this Security Coed is not valid or should not be enforced, that fact by itself will not
        mean that the rest of this Security Deed win not be valid or enforced. Therefore, a court will enforce the rest of the provisions of tins
        Security Deed even if a provision of this Security Deed may bs found to be invalid or unenforceable.
        Merger. There shall be no merger of the interest or estate created by this Security Deed with any other Interest or estate in the
        Property at any time held bv or for the benefit of Lender in any capacity, without the written consent of Lender.

        Successors and Assigns. Subject to any limitations stated m this Security Deed on transfer of Grantor's interest, this Security Deed
        shall be bimfirtg upon and inure to the benefit of the parties, thsir successors and assigns. If ownership of the Property becomes
        vested m a person other than Grantor, Lender, without notice to Grantor, may deal with Grantor's successors with reference to this
        Security Deed and the Indebtedness by way of forbearance or extension without releasing Grantor from the obligations of this Security
        Deed or HabHity under the Indebtedness.

        Time Is of the Essence. Time is of the essence tn the performance of this Security Deed.

        Waiver of Notice and Hearing and Homestead Exemption. Grantor expressly waives: (1) any right Grantor may have under the
        Constitution of the State of Georgia or the Constitution of the United States of America to notice or to a judicial hearing poor to the
        exercise of any nght or remedy provided to Lender by this Security Deed and Grantor waives Grantor's nghts. if any, to set aside or
        invalidate any sale under power duly consummated in accordance with the provisions of this Security Dead on the ground (if such be
        the case) that the ssfa was consummated without prior notice or judicial heanng or both; and (2) afl homestead exemption nghts, if
        any. which Grantor or Grantor's family may have pursuant to the Constitution and laws of the United States, the State of Georgia or
        any other Slate of the United States, in and to the Property as against the collection of the Indebtedness, or any part of the
        Indebtedness. AH waivers by Grantor in this provision have been made voluntarily, intelligently and knowingly by Grantor, after
        Grantor has been afforded an opportunity to be informed by counsel of Grantor's choice as to possble alternative nghts. Grantor's
        execution of this Security Deed shall be conclusive evidence of tee making of such waivers and teat such waivers have been
        voluntarily, intelligently and knowingly made.

   DEFINITIONS. The following words shall have the following meanings when used in this Security Deed:
        Borrower. The word "Borrower" means Charlton C Lester and includes 81) co-signers and co-makers signing the Credit Agreement and
        all their successors and assigns.
        Credit    ireement The words "Credit Agreement" mean tee credit agreement dated September 25, 2009, with credit limit of
        v . . . ,w00.00 from Grantor to Lender, together with ail renewals- of, extensions of. modifications of, refinancings of. consolidations
        of. and substitutions for the promissory note or agreement The maturity date of the Credit Agreement is October 10, 2029. NOTICE
        TO GRANTOR: THE CREDIT AGREEMENT CONTAINS A VARIABLE INTEREST RATE.

        Environmental Laws. The words "Environmental Lews" mean any and at) slate, federal and Coca! statutes, regulations and ordinances
        relating to tee protection of human health or the environment, including without [Imitation the Comprehensive Environmental
        Response, Compensation, and LiabBity Act of 1980. as amended, 42 U.5.C. Section 9601. et seq. ("CERCLA"), tee Supeffand




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        Amendments end Reauthorization Act of 1986, Pub. L No. 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C.
        Section 1801, et seq., the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901. et seq., or other applicable state or
        federal laws, rules, or regulations adopted pursuant thereto.

        Event of OefeulL The words "Event of Default" mean any of the evants of default set forth in this Security Deed in the events of
         default section of this Security Deed.

         Existing Indebtedness.   The words "Existing indebtedness" mean the indebtedness described in the Existing Usns provision of this
         Security Deed.

         Grantor. The word "Grantor? means Chariton C Lester.                                                                      •
        Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or
        physical, chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment
        when improperly used, treated, stared, disposed of, generated, manufactured, transported or otherwise handled.                 The words
        "Hazardous Substances" are used in their very broadest sense and include without [imitation any and all hazardous or toxic
        substances, materials or waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also
        includes, without [imitation, petroleum and petroleum by-products or any fraction thereof and asbestos.

        tmprovemsnts. The word "improvements" means all existing and future improvements, buildings, structures, mobile homes affixed on
        the Real Property, facilities, additions, replacements and other construction on Ute Real Property.

        Indebtedness. The word Indebtedness" means all principal, interest, and other amounts, costs and expenses payable under the
        Credit Agreement or Related Documents, together with all renewals of, extensions of, modifications of. consolidations of and
        substitutions for tfta Credit Agreement or Related Documents and any amounts expended or advanced by Lender to discharge
        Grantor's obligations or expenses incurred by Lander to enforce Grantor's obligations under this Security Deed, together with any
        amounts expended to preserve and protect the Property and together with interest on such amounts as provided in this Security Dead.

        Lender.      The word "Lender" means RBC Bank (USA), Its successors and assigns.        The words "successors or assigns" mean any
        parson or company that acquires any interest in the Credit Agreement.

        Personal Property. Tha words "Personal Property* mean ail equipment, fixtures, mobile homes, modular homes, and other articles of
        personal property now or hereafter owned by Grantor, and now or hereafter attached, affixed to the Real Property excluding only that
        property which by operation of law is Real Property; together with all accessions, parts, and edffittons to. ail replacements of, and ail
        substitutions for, any of such property; and together with all proceeds (including without limitation all insurance proceeds and refunds
        of premiums) from any sate or other disposition of the Property.
        Property. The word "Property" means coHectivety the Real Property and tha Personal Property.
        Real Property. The words "Real Property" mean tha real property, interests and rights, as further described in this Security Deed less
        and except the Personal Property.

        Related Documents. The words "Related Documents" mean aii promissory notes, credit agreements, loan agreements, environmental
        agreements, guaranties,     security agreements, mortgages,    deeds of bust,    security deads,   coBateral   mortgages, and afl other
        instruments, agreements and documents, whether now or hereafter existing, executed tn connection with the Indebtedness.

        Rants. The word "Rents* means all present and future rents, revenues, income, issues, royalties, profits, and other benefits derived
        from the Property.

        Security Dead. The words "Security Deed" mean this Security Deed between Grantor and Lander, and Includes without limitation all
        assignments and security interest provision relating to foe Persons! Property end foe Rents.



   IN      ESfrWHEREOF, THIS SECURITY DEED HAS BEEN SIGNED BY THE UNDERSIGNED, WHO ACKNOWLEDGES A COMPLETED COPY
   HI      . THJS SECURITY DEED IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS SECURITY DEED IS AND SHALL CONSTITUTE
         HAVE          jfOF A SEALED INSTRUMENT ACCORDING TO LAW.
   'Signed,          ai     tvered In the presence of:
                                                                                 GRANTOR:
                               -<
        Unofficial
                                                                                                                                          JSeal)
                                                                                   Charlton C Lester


   Notary Public,                                                     &

                          (NOTARY SEAL)
                                             ! [<&%/ I1
   My Commission expires:




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                                                EXHIBIT "A"


        ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
        94 AND 105 OF THE 14th (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND
        BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

        BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SIDE OF
        WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
        WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
        NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
        ROAD, FIFTY-ONE AND SIX-TENTHS (5 1 .6) FEET TO AN IRON PIN; RUNNING
        THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88 DEGREES
        51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
        THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING                                 .
        THENCE SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107
        DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
        HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
        EASTERLY LINE OF LAND LOT 1 05, RUNNING THENCE EASTERLY, FORMING
        AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE PRECEDING
        CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
        RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
        EIGHT-TENTHS (188.8) FEET TO AN IRON PIN; LOCATED ON THE
        SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE         .
        NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
        ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679.9) FEET TO AN
        IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON SURVEY
    .   ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9,
        1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK
        73, PAGE 70, FULTON COUNTY, GEORGIA RECORDS.




This Deed to Secure Debt is made subject to a prior Deed to Secure Debt from CARLTON C. LESTER to CBC
NATIONAL BANK dated September 26, 2009, recorded in Deed Book                          Page            FULTON
County, Georgia Records; securing an original principal sum of $417000.00.

Any default in the performance by Grantor of any of the covenants of said prior Security Deed or Note evidencing
the indebtedness secured thereby shall be construed as a default under the terms of this Deed to Secure Debt by
reason of which Grantee may declare the entire indebtedness secured hereby due and payable at once.




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   WHEN RECORDED MAIL TO:
        RBC Bank (USA)
        ATTN: Jeff Taylor
        P.O. Box 500
        Rocky Mount. NC 27802




                                               WAIVER OF GRANTOR'S RIGHTS
    GRANTOR: Chariton C Lester
    LENDER: RBC Bank (USA)

    DATE OF SECURITY DEED: September 25, 2009

    PROPERTY DESCRIPTION: Located In: Fulton County, State of Georgia and is described as follows:
        See Exhibit A. which is attached to this Waiver and made a part of this Waiver as If fully set forth herein.
    The Real Property or Its address is commonly known as 2225 Wallace Rd SW, Atlanta, GA 30331.

    BY EXECUTION OF THIS PARAGRAPH, EACH GRANTOR EXPRESSLY: (A) Acknowledges the right to accelerate the debt and the power
    of attorney given herein to Lender to sell the property by noniudfcrai foreclosure upon default by Grantor without any tudiciat hearing end
    without any notice other than such notice as is required to be given under the provisions of the Security Deed:      (B) Waives any and ail
    rights which each Grantor may have under the Fifth and Fourteenth Amendments to (he Constitution of the United States, the various
    provisions of the Constitution for the several States, or by reason of any other applicable law, to notice and to {Udictai heanng prior to the
    exercise by Lender of any right or remedy herein provided to Lender, except such notice as is specifically required to be provided m the
    Security Deed: (C) Acknowledges thai each Grantor has read the Security Dead and specifically that paragraph relating to foe foreclosure
    provisions, and any and all questions regarding the legal effect of the Security Deed and its provisions have been explained fully to each
    Grantor and each Grantor has been afforded en opportunity to consult with counsel prior to executing the Security Deed:                  (D)
    Acknowledges that all waivers of the aforesaid rights of each Grantor have been made knowingly, intentionally and willingly by each
    Grantor as part of a bargained for loan transaction; and (E) Agrees that the provisions of this Waiver of Grantor's Rights are Incorporated
    Into and made a part of the Security Deed.

    IN WITNESS WHEREOF, THIS WAIVER HAS BEEN SIGNED BY THE UNDERSIGNEO, WHO ACKNOWLEDGES A COMPLETED COPY
    HEREOF. THIS WAIVER IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS WAIVER IS AND SHALL CONSTITUTE AND HAVE THE
    EFFECT OF A                IN!   UMENT ACCORDING TO LAW.
    SlgnedpJMSatej and Doll          In the presence of:
                                                                                  GRANTOR:


                     Witness

                                                                                      "Chariton C Lester


  ^NfJtary Public,                           fc-c (6
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                           (NOTARY                                               ..pv     ,
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    My Ccmmissiun expires:

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    WHEN RECORDED MAIL TO:
        RBC Bank (USA)
        ATTN: Jeff Taylor
        P.O. Bex 500
        Rocky Mount. NC 27802




                                           CLOSING ATTORNEY'S AFFIDAVIT
    GRANTOR: Charlton C Lester

    LENDER: RBC Bank (USA)

    DATE OF SECURITY DEB): September 25. 2009

    PROPERTY DESCRIPTION: Located in: Fulton County, State of Georgia and is described as follows:
        See Exhibit A, which is attached to this Affidavit and made a part of this Affidavit as if fully set forth herein.
    The Real Property or its address is commonly known as 2225 Wallace Rd SW. Atlanta, GA 30331.

    BEFORE THE UNDERSIGNED ATTESTING OFFICER personally appaared the undersigned dosing attorney, who having been first duly sworn
    according to law states under oath as follows:

    tn dosing the above loan but pnor to the execution of the Security Deed and Waiver of Grantor's Rights by Charlton C Lester ("Grantor"), l
    reviewed with and explained to Grantor ttte terms and provisions of tee Security Deed and particularly tee provisions (hereof authorizing
    Lender to sen tee secured Property by a nonjudtaal foreclosure under a power of sale, together with tee waiver of Grantor's Rights, end
    informed Grantor of Grantor's nghts under tee Constitution of tee Slate of Georgia and the Constitution of tee United States to notice and
    a judicial heanng prior to such foradosure tn the absence of a knowing, intentional and willing contractual waiver by Grantor of Grantor's
    rights. After tee review with and explanation to Grantor. Grantor executed the Security Deed and Waiver of Grantor's Rights.

    Based on the review with and explanation to Grantor, it is my opmton that Grantor knowingly, intentionally and wittingly executed the
    waiver of Grantor's constitutional rights to notice and Judicial hearing prior to any such nonjudicial foredosure.


    IN WITNESS WHEREOF, THIS AFFIDAVIT HAS BEEN SIGNED                            iEALEO BY THE UNDERSIGNED, WHO ACKNOWLEDGES A

    COMPLETED COPY HEREOF^-^7

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    SWORN TO AND SUBSCRIBED before me this                                                                       1

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                                                                                                   Clerk of Superior Court
                                                                                                    Fulton County, Georgia




                                          CLOSING ATTORNEY'S AFFIDAVIT
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                I hereby certify the within andibregbingto be. a.true, corxect and complete copy of the
           original that appears in TF BK H^o3> ' PG6fo;<1oajn this officethis^M^ day of R/b 20_                                              L>.
                                 CATHLENE ROBINSON Clexk of SupetlpiXourt, Fulton County, GA

                          By
                                              not validunfess^igned Jn^Ei^ ink
                                                                                  £       Deputy Clerk
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                                                                                                                                        Cathelene Robinson
                                                                                                                                             Clerk of Superior Court
                                                                                                                                              Fulton County, Georgia




                This Document Prepared By:
                GREGORY MERRILL
                WELLS FARGO BANK; N.A.
                3476 STATEVIEW BLVD. MAC# X780 1 -03 K
                FORT MILL, SC 297 IS


                  When recorded mail to: #:1 01 62673
                  First American Title IBDIIBIBIlDIEUDDfllDiOl
                  Loss Mitigation Title Services 1079.12
            .     P.O. Box 27670
                  Santa Ana. CA 927S9
                  RE: LESTER - PR DOCS

                Tax/Parcel#: 14FG094 LL0193
                                                                      |Space Above This Line for Recording Data)
                Original Principal Amount: $417,000.00                                                                      Investor Loan No.:

                Unpaid Principal Amount: $374*375.27
                New Principal Amount $402,445.53
                Total Cap Amount: $28,070.26



                               LOAN MODIFICATION AGREEMENT (SECURITY DEED)

                Executed on this day: AUGUST 26, 2016                                                                                                                                            '
                Borrower ("I"):' CHARLTON C LESTER
                Borrower Mailing Address: 2225 WALLACE ROAD SW, ATLANTA, GEORGIA 30331
                Lender or Servicer ("Lender"): WELLS FARGO BANK, N.A.
                Lender or Servicer Address: 3476 STATEVIEW BLVD, MAC# X7801-03K, FORT MILL, SC 29715-
                Date of first lien mortgage, deed of trust, or security deed ("Mortgage") SEPTEMBER 25, 2009 and the Note
                ("Note") date of SEPTEMBER 25, 2009


                Property Address ("Property"): 2225 WALLACE ROAD SW, ATLANTA, GEORGIA 3033 1


                Legal Description:


                SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF:



                ' Iftbaa is mote (hen one Borrower or Mortgagor executing this document, etch is referred to as "I Fot purposes ofthis document words signifying the ringultr (such as 1- or "m>")
                shell include the phiral (such es "wo' or "out") end vice versa where appropriate.

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             Prior instrument reference: Recorded on SEPTEMBER 30, 2009 in BOOK 48403                      PAGE 675, of the
             Official Records of FULTON COUNTY, GEORGIA



             This Loan Modification Agreement ("Agreement") is made on AUGUST 26, 2016 by and between Borrower,
             as obligors), or as title holders) to the Property, as the context may require, and Lender. Borrower's
             obligations under the Note are secured by a properly recorded Mortgage, dated the same date as the Note
             encumbering the Property. Borrower agrees that, except as expressly modified in this Agreement, the Note and
             the Mortgage remain in full force and effect and are valid, binding obligations upon Borrower, except as
             discharged in Bankruptcy, and are properly secured by the Property.

             If my representations in Section 1. Borrower Representations, continue to be true in all material respects, then
             this Agreement will amend and supplement (1) the Mortgage on the Property, and (2) the Note secured by the
             Mortgage.. The Mortgage and Note together, as they may previously have been amended, are hereafter referred
             to as the "Loan Documents." Capitalized terms used in this Agreement and not defined have the meaning given
             to them in the'Loan Documents.

             In consideration of the covenants hereinafter set forth and for other good and valuable consideration, the
             receipt and sufficiency of which are hereby acknowledged, it is agreed as follows (notwithstanding anything to
             the contrary in the Loan Documents).

             1 understand that after 1 sign and return two copies of this Agreement to the Lender, the Lender will send me a
             signed copy of this Agreement.


             Nothing in this Agreement shall be understood or construed to be a satisfaction or release, in whole or in part
             of the Borrower's obligations under the Loan Documents. Further, except as otherwise specifically provided in
             this Agreement, the.Loan Documents will remain unchanged, and Borrower and Lender will be bound by, and
             shall comply with, all of the terms and provisions thereof, as amended by this Agreement:

             I.   Borrower Representations.

                    I certify, represent to Lender and agree:


                    A.   I am experiencing a financial hardship, and as a result, (i) I am in default under the Loan
                         Documents, and/or (ii) 1 do not have-sufficient income or access to sufficient liquid assets to make
                         the monthly mortgage payments now or in the near future; I did not intentionally or purposefully
                         default of the Mortgage Loan in order to obtain a loan modification;

                    B.   Under penalty for perjury, all documents and information I have provided to Lender in connection
                         with this Agreement, including the documents and information regarding my eligibility for the
                         modification, are true and correct;                                      .    '

                    C.   If Lender requires me to obtain credit counseling in connection with the modification, I will do so;

                    D.   I have made or will make all payments required within.this modification process;

                    E.   In consideration of the covenants hereinafter set forth and for other good and valuable -
                         consideration, the receipt and sufficiency of which are hereby acknowledged by the Parties, it is
                         agreed as follows (notwithstanding anything to the contrary in the Loan Documents).      '

             2.   The Modification.


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                        A.   The modified principal balance of the Note will include amounts and arrearages that will be past
                             due as of the Modification Effective Date (which may include unpaid and deferred interest, fees,
                             escrow advances and other costs, but excluding unpaid late charges, valuation, property
                             preservation, and other charges not' permitted under the terms of this modification, collectively,
                             "Unpaid Amounts**) less any amounts paid to the Lender but not previously credited to the modified
                             loan. The new principal balance of my Note will be $402,445.53 (the "New Principal Balance")
                             which includes a previously deferred principal balance in the amount of $0.00. Borrower
                             understands that by agreeing to add the Unpaid Amounts including the prior forbearance to the
                             principal balance, the added Unpaid Amounts accrue interest based on the interest rate in effect
                             under this Agreement. Borrower also understands that this means interest will now accrue on the
                             unpaid Interest that is added to the outstanding principal balance, which would not happen without
                             this Agreement.


                        B.   Interest at the rate of 5.1250% will begin to accrue on the- New Principal Balance as of
                             SEPTEMBER I, 2016 and the first new monthly payment on. the New Principal Balance will be
                             due on OCTOBER 1, 2016 Interest due on each monthly payment will be calculated by
                             multiplying the New Principal Balance and the interest rate in effect at the time of calculation and
                             dividing the result by twelve (12); My payment schedule for the modified Loan is as follows:

              Months          Interest Rate    I ateresl Rale    Monthly Principal         Monthly            Total      Payment
                                               Change Date      and Interest Payment        Escrow          Monthly     Begins On
                                                                                           Payment          Payment*
                                                                                           Amount*      -



                  480           5.1 250%        09/01/2016           $1,974.01             $2,269.55        S4,243.56   10/01/2016




                             * This includes an escrow shortage amount to be paid over the first 60 month term. After your
                             modification is complete, escrow payments adjust at least annually in accordance with
                             applicable law; therefore, the total monthly payment may change accordingly.

                             The above terms shall supersede any provisions to the contrary in the Loan Documents, including
                             but not limited to, provisions for an adjustable, step or simple interest rate.

             3.    Loan Modification Terms.


                   This Agreement hereby modifies the following terms of the Loan Documents as described herein above as
                   follows:

                        A.   The current contractual due date has been changed from JANUARY 1, 2016 to OCTOBER 1,
                             2016. The first modified contractual due date is OCTOBER 1, 2016.


                        B.   The maturity date is SEPTEMBER 1,2056.


                        C.   The amount of Recoverable Expenses*' to be capitalized will be U.S. $705.00.


                             'Recoverable Expenses may include, but are not limited to: Title.                   Attorney   fees/costs.
                             BPO/Appraisal, and/or Property Preservation/Property Inspections.


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                    D.   Lender will forgive outstanding Other Fees U.S. S0.00. Other Fees may include, but are not limited
                         to: Prior Deferred Interest, appraisal fees.

                    E.   Lender will forgive outstanding NSF Fees U.S. SO.OO.

                    F.   Lender agrees to waive all unpaid Late Charges in the amount of U.S. $340.59.


                    G.   The amount of interest to be included (capitalized) will be U.S. $14,390.01 .

                    H.   The amount of the Escrow Advance to be capitalized will be U.S. $1 2,975.25.

             4.   Additional Agreements.


                  I agree to the following:

                    A.   If applicable, the Note may contain provisions allowing for changes in the interest rate and the
                         monthly payment. The Note limits the amount the Borrower's interest rate can change at any one
                         time and the maximum rate the Borrowers must pay.

                    B.   If a biweekly loan, the Loan will convert to a monthly payment schedule. References in the Loan
                         Documents to "biweekly," "every two weeks," and "every other Monday" shall be read as
                         "monthly," except as it relates to the Modified Maturity Date. Interest will be charged on a 360-day
                         year, divided into twelve (12) segments. Interest charged at all other times will be computed by
                         multiplying the interest bearing principal balance by the interest rate, dividing the result by 365. and
                         then multiplying that daily interest amount by the actual number of days for which interest is then
                         due. As part of the conversion from biweekly to monthly payments, any automatic withdrawal of
                         payments (auto drafting) in effect with. Lender for the Loan are cancelled.

                    C.   Funds for Escrow Items. I will pay to Lender on the day payments are due under the Loan
                         Documents as amended by this Agreement, until the Loan is paid in full, a sum (the "Funds") to
                         provide for payment of amounts due for: (a) taxes and assessments and other-items which can attain
                         priority over the Mortgage as a lien or encumbrance on the Property: (b) leasehold payments or
                         ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender
                         under the Loan Documents; (d) mortgage insurance premiums, if any, or any sums payable to
                         Lender in lieu of the payment of mortgage insurance premiums in accordance with the Loan
                         Documents: and (e) any community association dues, fees, and 'assessments that Lender requires to
                         be escrowed. These items are called "Escrow Items." I shall promptly furnish to Lender all notices
                         of amounts to be paid under this Section 4.E. I shall pay Lender the Funds for Escrow Items unless
                         Lender waives my obligation to pay the Funds for any or all Escrow Items. Lender may waive my
                         obligation to pay to Lender Funds for any or alt Escrow Items. at any time. Any such waiver may
                         only be in writing. In the event of such waiver, I shall pay directly, when and where payable, the
                         amounts due for any Escrow Items for which payment of Funds has been waived by Lender and, if
       I

                         Lender requires, shall furnish to Lender receipts evidencing .such payment within such time period
                         as Lender may require. My obligation to make such payments and to provide receipts shall for all
                         purposes be deemed to be a covenant and Agreement contained in the Loan Documents, as the
                         phrase "covenant and Agreement" is used in the Loan Documents. If I am obligated to pay Escrow
                         Items directly, pursuant to a waiver, and I fail to pay the amount due for an Escrow Item, Lender,
                         may exercise its rights under the Loan 'Documents and this Agreement and pay such amount and I
                         shall then be obligated to repay to Lender any such amount. Lender may revoke the waiver as to
                         any or all Escrow Items at any time by a notice given in accordance with the Loan Documents, and.


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                         upon such revocation, 1 shall pay to Lender all Funds, and in such amounts, that are then required
                         under this Section 4.E.

                         Lender may. at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to
                         apply the Funds at the lime specified under the Real Estate Settlement Procedures Act ("RESPA"),
                         and (b) not to exceed the maximum amount a lender can require tinder RESPA. Lender shall
                         estimate the amount or Funds due on the basis of current data and reasonable estimates of
                         expenditures of future Escrow Items or otherwise in accordance with applicabie law.
                         Hie Funds shall be held in an institution whose deposits are insured by a federal agency,
                          instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so
                         insured) or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items
                         no later than the time specified under RESPA. Lender shall not charge me for holding arid applying
                         the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender
                         pays me interest on the Funds and applicable law permits Lender to make such a charge. Unless an
                         agreement is made in writing or applicable law requires interest to be paid on the Funds. Lender
                         shall not be required to pay me any interest or earnings on the Funds. Lender and 1 can agree in
                         writing, however, that interest shall be paid on the Funds. Lender shall provide me, without charge,
                         an annual accounting of the Funds as required by RESPA.

                          If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to me
                         for the excess hinds in accordance with RESPA. If there is a shortage of Funds held in escrow, as
                         defined under RESPA, Lender shall notify me as required by RESPA, and I shall pay to Lender the
                         amount necessary to make up the shortage in accordance with RESPA, but tn no more than 12
                         monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA.
                         Lender shall notify me as required by RESPA, and I shall pay to Lender the amount necessary to
                         make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

                         Upon payment in full of all sums secured by the Loan Documents, Lender shall promptly refund to
                         me any Funds held by- Lender.

                    D.   If the Borrowers balance has been reduced as a result of this new Agreement, it is understood that
                         any credit life, accident and health, and involuntary unemployment insurance written in connection
                         with this loan has been cancelled, and that any refund of unearned premiums or charges made
                         because of the cancellation of such credit insurance is reflected in the amount due under this
                         Agreement. Exception: In the state of California, Life, A&H, and IUI insurance must be cancelled,
                         with refunds applied to the account prior to entry of the settlement transaction, even though there is
                         no reduction in balance as part of the settlement.

                    E.   If this loan has "Monthly Add-On Premium" Credit Life or Credit Accident & Health Insurance
                         coverage, it is understood and agreed that the Borrowers acceptance of this Agreement will result in
                         the cancellation of the above-mentioned insurances.

                    F.   If the' Borrower's home owners insurance should lapse, Wells Fargo Home Mortgage reserves the
                         right to place Lender Placed Insurance (LPI) on the account. If LPI is placed on the account the
                         monthly payment could increase. All other terms of the modification Agreement will not be affected
                         by the LPI and will remain in effect with accordance to this Agreement.

                -   G.   If all or any part.of the Property or any interest in the Property is sold or transferred (or if Borrower
                         is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's
                         prior written consent. Lender may require immediate payment in full of all sums secured by the
                         Loan Documents. If Lender exercises this option. Lender shall give Borrower notice of



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                         acceleration. The notice shall provide a period of not less than 30 days from the date the notice is
                         delivered or mailed within which Borrower must pay all sums secured by the Loan Documents. If
                         Borrower fails to pay these sums prior to the expiration of this period. Lender may invoke any
                         remedies permitted by the Loan Documents without further notice or demand on Borrower.

                    H.   If Borrower has a pay option adjustable rate mortgage Loan, upon modification, the minimum
                         monthly payment option, the interest-only or any other payment options will no longer be offered
                         and that the monthly payments described in the above payment schedule for.my modified Loan will
                         be the minimum payment that will be due each month for the remaining term of the Loan.

                   I.    If Borrower fails to pay Lender the amount due and owing or to pay any monthly payment on the
                         dates above. Borrower shall surrender the Property to Lender. If Borrower fails or refuses to
                         surrender the Property to Lender, Lender may exercise any and all remedies to recover the Property
                         as may be available to Lender pursuant to its security interest and lien and applicable law. These
                         remedies may include the recovery of reasonable attorney's fees actually incurred, plus legal
                         expenses and expenses for entering on the Property to make repairs in any foreclosure action filed
                         to enforce the Lender lien. Lender's rights and remedies extend only to the Property, and any action
                         related to the Property itself and not to recovery of any amount owed to Lender under the Note as
                         modified herein, which.has been discharged in bankruptcy.

                   i.    If included, the undersigned Borrowers) acknowledge receipt and acceptance of the 1-4 Family
                         Modification Agreement Rider Assignment of Rents.

                   K.    If included, the undersigned Borrowers) acknowledge receipt and acceptance of the Notice of
                         Special Flood Hazard disclosure.

                   L.    CORRECTION AGREEMENT: The undersigned Borrowers), - for and in consideration of the
                         approval, closing and funding of this Modification, hereby grants Wells Fargo Home Mortgage, as
                         lender, limited power of attorney to correct and/or initial all typographical or clerical errors
                         discovered in the Modification Agreement required to be signed. In the event this limited power of
                         attorney is exercised, the undersigned will be notified and receive a copy of the document executed
                         or initialed on their behalf. This provision may not be used to modify the interest rate, modify the
                         term, modify the outstanding principal balance or modify the undersigned's monthly principal and
                         interest payments as modified by this Agreement. Any of these specified .changes must be executed
                         directly by the undersigned. This limited power of attorney shall automatically terminate in 120
                         days from the closing date of the undersigned's Modification. Borrower agrees to make and execute
                         such other documents or papers as necessary or required to effectuate the terms and conditions of
                         this Agreement which, if approved and accepted by Lender, shall bind and inure to their heirs,
                         executors, administrators, and assigns of the Borrower.

                   M. If the Borrower's Loan is currently in foreclosure, the Lender will attempt to suspend or cancel the
                         foreclosure action upon receipt of the first payment according to this Agreement. Lender agrees to
                         'suspend further collection efforts as long as Borrowers continue making the required payments
                         under this Agreement.

                   N.    All the rights and remedies, stipulations, and conditions contained in the Loan Documents relating
                         to default in the making of payments under the Loan Documents shall also apply to default in the
                         making of the modified payments hereunder.



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                   O.       This Agreement shall supersede the terms of any modification, forbearance, trial period plan or
                            other mortgage assistance that the Borrower previously entered into with Lender.

                    P.      In cases where the Loan has been registered with Mortgagee who has only legal title to the interests
                            granted by the Borrower in the Loan Documents, Mortgagee has the right to exercise any or all of
                            those interests, including, but not limited to, the right to foreclose and sell the Property, and to take
                            any action required of Lender including, but not limited to. releasing and canceling the Loan.

                    Q.      If the Loan Documents govern a home equity loan or line of credit, then Borrower agrees that as of
                            the Modification Effective Date, the right to borrow new funds under the home equity loan or line
                            of credit is terminated. This means that Borrower cannot obtain additional advances and must make
                            payments according to this Agreement. Lender may have previously terminated or suspended the
                            right to obtain additional advances under the home equity loan or line of credit, and if so, Borrower
                            confirms and acknowledges that no additional advances may be obtained.

                       R.   Unless this Agreement is executed without alteration and is signed and relumed along with the
                   -        following documents with the payment, if required, within IS days from the date of this letter in the
                            enclosed, prepaid overnight envelope, it will be of no force or effect and the Loan will remain
                            subject to all existing terms and conditions provided in the Loan Documents. Upon receipt of a
                            properly executed Agreement, this Agreement will become effective on SEPTEMBER 1, 2016.

                    S.      I agree that this Agreement will be null and void if the Lender is unable to receive all necessary title
                            endorsement(s). title-insurance product(s) andf or subordination Agreement(s).

                    T.      Borrower must deliver to Wells Fargo Home Mortgage a properly signed modification Agreement
                            by SEPTEMBER 10, 2016. If Borrower does not return a properly signed modification Agreement
                            by this date and make all payments pursuant to the trial plan Agreement or any other required pre-
                            modification payments, Wells Fargo Home Mortgage may deny or cancel the modification. If the
                            Borrower returns properly signed modification Agreement by said- date, payments pursuant to the
                            loan modification Agreement are due as outlined in this modification Agreement. Wells Fargo
                            Home Mortgage may deny or cancel this loan modification Agreement if Borrower fails to make
                            the first payment due pursuant to this loan modification Agreement.


                    U.      This Agreement modifies an obligation secured by an existing security instrument recorded in
                            FULTON COUNTY, GEORGIA, upon which all recordation taxes have been paid. As of the
                            date of this Agreement, the unpaid principal balance of the original obligation secured by the
                            existing security instrument is $374,375.27. The principal balance secured by the existing
                            security instrument as a result of this Agreement is $402,445.53, which amount represents the
                            excess of the unpaid principal balance of this original obligation.


             All Borrowers are required to sign and date this Agreement in blue or black ink only as the borrowers*
             name appears below. If signed using any other color or method, the document will not be accepted and
             another copy of the Agreement will be sent to the Borrower to be signed.


             By signing below, all Borrowers certify they have read this Agreement in its entirety, that all Borrowers
             know and understand the meaning and intent of this Agreement and that all Borrowers enter into this
             Agreement knowingly and voluntarily. By sighing below, all Borrowers agree to all terms and conditions
             described on every page of this Agreement.                                                    -



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             In Witness Whereof, I have executed thi^grej       !k


             Borrower:etTXRLTbS' C LESTER
                                           [Space Below This Line for Acknowledgments]



             State of rT
             County of G                            ss.



             Signed, seated and delivered on thi   *52^day of                  bar               .<33            in the
             presence of:



                                                                                fe,
              Inofficial witness                                                              lotaty PubpTslay            >rj
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                                                                sm
                                                                5*                J&S M                      Printed Name
             Document Prepared By
             GREGORV MERRILL
                                                                                                            n <9on?
                                                                                                  My Commission Expires
             WELLS FARGO BANK. N.A.
             3476 STATEVIEW BLVD. MAC# X7801-03K
             FORT MILL. SC 29715




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             In Witness Whereof, the Lender have executed this Agreement.
                                                                       Marcelline Zomatcti)
             WELLS KARCO BANK, N.A.
                                                                 Vice President Loan Documentation
             By: (print name)
                                  ??!^ivyvVW
                           \f\ ff >
                                                                                   (sign)
                                                                                                                       •to 12,
                                                                                                                           Date




                                                                                                                Y,'d~
                                  Witness - Printed Name                                      Witness - Printed Name



                                             [Space Below This Line for Acknowledgments]



             STATE OF         MjuV&QiPt                               COUNTY OF             Warn
             The    instrument    was    acknowledged        before
                                                             fa       me    this            /o-n-K,                         by

             UAfftil hfc 7jnkJffTCH-i                                                                                       the

                   Vice President Loan Documentation                   of WELLS FARGO BANK, N.A.. a company, on

             benBlf of said/jrfmbany.




                                                                                             \ ISABELGRIST1NA WtOWN :
                     Public                                                                  1 KOttmRJttlC-liJtffiSOTA

             Printed Name:       tsobel Crisllno Brown   '
             My commission expires: 0 i ' 3\ - Oi
             THIS DOCUMENT WAS PREPARED BY:
             GREGORY MERRILL
             WELLS FARGO BANK, N.A.
             3476 STATEVIEW BLVD, MAC# X7801-03K
             FORT MILL, SC 29715




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                                                        EXHIBIT A



             BORROWERS): CHARLTON C LESTER

             LOAN NUMBER: (scan barcode)


             LEGAL DESCRIPTION:

             ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS 94 AND 10S OF
             THE 14TH (FF) DISTRICT OF FULTON COUNTY, GEORGIA, AND.BEING MORE
             PARTICULARLY DESCRIBED AS FOLLOWS: BEGINNING AT AN IRON PIN LOCATED ON THE
             SOUTHWESTERLY SIDE OF WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST
             SIDE OF WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
             NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE ROAD, FIFTY-ONE
             AND SIX-TENTHS (51.6) FEET TO AN IRON PIN; RUNNING THENCE SOUTHWESTERLY,
             FORMING AN INTERIOR ANGLE OF 88 DEGREES 51 MINUTES WITH THE PRECEDING CALL
             A DISTANCE OFTHREE HUNDRED THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN
             IRON PIN; RUNNING THENCE SOUTHEASTERLY, FORMING AN INTERIOR ANGLE OF 107
             DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR HUNDRED
             TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE EASTERLY LINE OF LAND LOT
             105, RUNNING THENCE EASTERLY, FORMING AN INTERIOR ANGLE OF 128 DEGREES 12
             MINUTES WITH THE PRECEDING CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530)
             FEET TO AN IRON PIN; RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT
             AND EIGHT-TENTHS (188.8) FEET tO AN IRON PIN; LOCATED ON THE SOUTHWESTERLY
             SIDE OF WALLACE ROAD; RUNNING THENCE NORTHWESTERLY ALONG THE
             SOUTHWESTERLY SIDE OF WALLACE ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-
             TENTHS (679.9) FEET TO AN IRON PIN AND THE POINT OF BEGINNING, AS SHOWN ON
             SURVEY ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST 9, 1961,
             PREPARED BY CE. RUPPE, ENGINEER, AND RECORDED IN PLAT BOOK 73, PAGE 70,
             FULTON COUNTY, GEORGIA RECORDS.


             ALSO KNOWN AS: 2225 WALLACE ROAD SW, ATLANTA, GEORGIA 30331




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                                                                                             Deed Book 56794 Pg                625
                                                                                            Cathelene                 Robinson
                                                                                                  Clerk of Superior Court
                                                                                              i    Fulton   County,    Georgia




             Date: AUGUST 26, 2016
             Loan Number: (scan barcode)
             Lender: WELLS FARGO BANK, N.A.

             Borrower: CHARLTON C LESTER

             Property Address: 2225 WALLACE ROAD SW. ATLANTA, GEORGIA 30331

                                      NOTICE OF NO ORAL AGREEMENTS
             THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE
             PARTIES  AND   MAY   NOT  BE  CONTRADICTED    BY   EVIDENCE  OF  PRIOR.
             CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE
             ARE NO ORAL AGREEMENTS BETWEEN THE PARTIES.

             Receipt of Notice. The undersigned hereby admit to having each received and read a copy of this Notice on or
             before execution of the Loan Agreement. "Loan Agreement" means one or more promises, promissory notes,
             agreements, undertakings, security agreements, deeds of trust or other documents, or commitments, or any
             combination of those actions or.documents, pursuant to which a financial institution loans or delays repayment of or
             agrees to-loan or deiay repayment, of money, goods or any other thing of value or 19 otherwise extend credit or make
             a financial accommi       ^               ~                 ~


             Borrower:                                                                               Date
             CHARLTON C LESTER




             Wells Fargo Custom Non HAMP.061020I6_368
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                  I hereby certify the within ariS^regoing to be. a tf^cbrrect and complete copy of the
                                                                                                                20 Jl«P-
                                     CATH L E N E'-R6B! N S Q N Cieriottf Superior Court, Fulton County, GA
                                                                                                                                    mmf
                            By                                                           Deputy Clerk
                                               not valid unless signed in RED ink
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        AFTER RECORDING       Document         Page   158 of 178
        PLEASE RETURN TO:
    CAMPBELL & BRANNON, LLC.                                                        Deed Book 6521 5 Page 619
        ATTORNEYS AT LAW                                                            Filed and Recorded 02/02/2022 09:08:00 AM
   . 5565 GLENR1DGE CONNECTOR                                                       2022-0022748
               SUITE 350                                                            Georgia Intangible Tax Paid $2,241.00
         ATLANTA, GA 30342                                                          CATHELENE ROBINSON
                                                                                    Clerk of Superior Court
                                                                                    Fulton County, GA
                                                                                    Participant IDs: 1663542869
                                                                                    0848497841
        After Recording Return To:
        MOVEMENT MORTGAGE,           LLC
        8024 CALVIN HALL RD
        INDIAN LAND, SC 29707
        888—589—4416


        Prepared By:
        MARGARET MARCINIK
        MOVEMENT MORTGAGE,           LLC
        8024 CALVIN HALL ROAD
        INDIAN LAND, SC 29707
        888-589-4416                                                                    Intangible Tax $2,241.00
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                                                  SECURITY DEED
                                                                                 MADDOX


                                                                                 FIN: 14F—0094—IiL—019—3
                                                                                 MIN: 100670800035781467
                                                                                 MERS Phone: 1-888-679-6377

        DEFINITIONS
        Words used in multiple sections of this document are defined below and other words are defined in Sections
        3, 1 1 , 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided
        in Section 16.
        (A) "Security Instrument" means this document, which is dated FEBRUARY 1 , 2022, together with all
        Riders to this document
        (B) "Borrower" is HAROLD RUBEN MADDOX,                AN UNMARRIED MAN. Borrower is the grantor under
        this Security Instrument
        (C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
        acting solely as a nominee for Lender and Lender's successors and assigns. MERS is the grantee under this
        Security Instrument MERS is organized and existing under the laws of Delaware, and has an address and
        telephone number of P.O. Box 2026, Flint MI 48501-2026, tel. (888) 679-MERS.
        (D) "Lender" is MOVEMENT MORTGAGE , LLC. Lender is a LLC organized and existing under the laws of
        DELAWARE. Lender's address is 8024 CALVIN HALL ROAD INDIAN LAND,                       SC 29707.
        (E) "Note" means the promissory note signed by Borrower and dated FEBRUARY 1,                2022. The Note
        states that Borrower owes Lender SEVEN HUNDRED FORTY-SEVEN THOUSAND AND 00/100 Dollars
        (U.S. $747, 000 . 00) plus interest Borrower has promised to pay this debt in regular Periodic Payments
        and to pay the debt in full not later than MARCH 1,   2052.
        (F) "Property" means the property that is described below under the heading "Transfer of Rights in the
        Property.'*
        (G) "Loan" means the debt evidenced by the Note, plus interest any prepayment charges and late charges
        due under die Note, and all sums due under this Security Instrument pins interest
        (H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
        Riders are to be executed by Borrower [check box as applicable]:


        GEORGIA—Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
        HI 318.66                                       Page 1 of 15                                   Fonn3011    1/01
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          Adjustable Rate Rider             Condominium Rider                   Second Home Rider
          Balloon Rider                     Planned Unit Development Rider      Biweekly Payment Rider
          1-4 Family Rider               El Other(s) [specify] GA ACKNOWLEDGEMENT OF BORROWER RIGHTS

        (I) "Applicable Law" meaas aU^Xng^SeSal, state                                                              ons,

        ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
        non-appealable judicial opinions.
        (J) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
        charges that are imposed on Borrower or the Property by a condominium association, homeowners
        association or similar organization.
        (K) "Electronic Fnnds Transfer" means any transfer of funds, other than a transaction originated by check,
        draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
        computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
        account Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
        transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
        (L) "Escrow Items" means those items that are described in Section 3.
        (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
        by any third party (other than insurance proceeds paid under the coverages described in Section 5) for. (i)
        damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property;
        (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
        condition of the Ptopexty.
        (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the
        Loan.
        (O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
        Note, plus (ii) any amounts under Section 3 of this Security Instrument
        (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its
        implementing regulation, Regulation X (12 CJF.R. Part 1024), as they might be amended from time to time,
        or any additional or successor legislation or regulation that governs the same subject matter. As used in this
        Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
        "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage loan"
        under RESPA.
        (Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
        not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.


        TRANSFER OF RIGHTS IN THE PROPERTY

        This Security Instrument secures to Lender (i) the repayment of the Loan, and all renewals, extensions and
        modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this
        Security Instrument and the Note. For this purpose, Borrower does hereby grant and convey to MERS (solely
        as nominee for Lender and Lender's successors and assigns) and to the successors and assigns of MERS, with
        power of sale, the following described property located in the COUNTY of FULTON:
        SEE EXHIBIT A LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF

        which currently has the address of 2225 WALLACE RD SW, ATLANTA,                  GA 30331-7760 ("Property
        Address"):


        GEORGIA—Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
           318.66                                       Page 2 of 15                                    Form 3011    1701




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               TO HAVE AND TO HOLD this property unto MERS (solely as nominee for Lender and Lender's
        successors and assigns) and to the successors and assigns of MERS, forever, together with all the
        improvements now or hereafter erected on the properly, and all easements, appurtenances, and fixtures now
        or hereafter a part of the property. All replacements and additions shall also be covered by this Security
        Instrument AD of the foregoing is referred to in this Security Instrument as the "Property." Borrower
        understands and agrees that MERS holds only legal tide to the interests granted by Borrower in this Security
        Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's
        successors and assigns) has die right: to exercise any or all of those interests, including, but not limited to, the
        right to foreclose and sell the Property; and to take any action required of Lender including, but not limited
        to, releasing and canceling this Security Instrument


                BORROWER COVENANTS that Borrower is lawfiiUy seised of the estate hereby conveyed and
        has the right to grant and convey the Property and that the Property is unencumbered, except for
        encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
        claims and demands, subject to any encumbrances of record.


                THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
        covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
        property.


                  UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                 1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
        Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
        prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
        pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
        currency. However, if any check or other instrument received by Lender as payment under die Note or this
        Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
        due under the Note and this Security Instrument be made in one or more of the following forms, as selected
        by Lender (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
        provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
         instrumentality, or entity; or (d) Electronic Funds Transfer.
                 Payments are deemed received by Lender when received at the location designated in the Note or at
         such other location as may be designated by Lender in accordance with die notice provisions in Section 15.
        Lender may return any payment or partial payment if the payment or partial payments are insufficient to
        bring the Loan current Lender may accept any payment or partial payment insufficient to bring the Loan
        current without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
        payments in the future, but Lender is not obligated to apply such payments at the time such payments are
         accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest
        on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
        current If Borrower does not do so within a reasonable period of time, Lender shall either apply such funds
        or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal
        balance under the Note immediately prior to foreclosure. No offset or claim which Borrower might have now
        or in the future against Lender shaU relieve Borrower from making payments due under the Note and this
        Security Instrument or performing the covenants and agreements secured by this Security Instrument
                  2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all


         GEORGIA—Single FamDy-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
        m    318.66                                         Page 3 of 15                                   Form 3011    1701




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         payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest due
         under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be
         applied to each Periodic Payment in the order in which it became due. Any remaining amounts shall be
         applied first to late charges, second to any other amounts due under this Security Instrument, and then to
         reduce the principal balance of the Note.
                  If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
         sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
         late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
         Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in
         full. To the extent that any excess exists after the payment is applied to the full payment of one or more
         Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be
         applied first to any prepayment charges and then as described in the Note.
                 Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
         the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
                  3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
         under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for
         (a) taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
         encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums
         for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any,
         or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
         accordance with the provisions of Section 10. These items are called "Escrow Items." At origination or at any
         time during the term of the Loan, Lender may require that Community Association Dues, Fees, and
         Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
         Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower
         shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds
         for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all
         Escrow Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower
         shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
         Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such
         payment within such time period as Lender may require. Borrower's obligation to make such payments and
         to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this
         Security Instrument, as the phrase "covenant and agreement" is used in Section 9. If Borrower is obligated to
         pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow
         Item, Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be
         obligated under Section 9 to repay to Lender any such amount Lender may revoke the waiver as to any or all
         Escrow Items at any time by a notice given in accordance with Section 15 and, upon such revocation,
         Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.
                  Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to
         apply the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
         require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
         reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
         Law.
                  The Funds shall be held in an institution whose deposits are insured by a federal agency,
         instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
         any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time

         GEORGIA-Single Famfly-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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         specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
         analyzing die escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
         Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing or
         Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any
         interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall be
         paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as
         required by RESPA.
                   If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
         Borrower for die excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as
         defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
         Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
         monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
         notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
         the deficiency in accordance with RESPA, but in no more than 12 monthly payments.
                  Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
         to Borrower any Funds held by Lender.
                  4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
         attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
         ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
         the extent that these items are Escrow Items, Borrower shall pay them in the maimer provided in Section 3.
                  Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
         Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
         Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or
         defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent
         the enforcement of the lien while those proceedings are pending, but only until such proceedings are
         concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the
         lien to this Security Instrument. If Lender determines that any part of the Property is subject to a lien which
         can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the lien.
         Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more
         of the actions set forth above in this Section 4.
                  Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
         reporting service used by Lender in connection with this Loan.
                  5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
         the Property insured against loss by fire, hazards included within the term "extended coverage," and any
         other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance. This
         insurance shall be maintained in the amounts (including deductible levels) and for the periods that Lender
         requires. What Lends: requires pursuant to the preceding sentences can change during die term of the Loan.
         The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right to
         disapprove Borrower's choice, which right shall not be exercised unreasonably. Lends: may require Borrower
         to pay, in connection with this Loan, either (a) a one-time charge for flood zone determination, certification
         and tracking services; or (b) a one-time charge for flood zone determination and certification services and
         subsequent charges each time remappings or similar changes occur which reasonably might affect such
         determination or certification. Borrower shall also be responsible for the payment of any fees imposed by die
         Federal Emergency Management Agency in connection with the review of any flood zone determination
         resulting from an objection by Borrower.

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                 If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
        coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
        particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might not
        protect Borrower, Borrower's equity in tire Property, or the contents of the Property, against any risk, hazard
        or liability and might provide greater or lesser coverage than was previously in effect. Borrower
        acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
        insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
        become additional debt of Borrower secured by this Security Instrument These amounts shall bear interest at
        the Note rate from the date of disbursement and shall be payable, with such interest upon notice from Lender
        to Borrower requesting payment
                  All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
        right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
        mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
        certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
        renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for
        damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and shall
        name Lender as mortgagee and/or as an additional loss payee.
                 In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
        may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
        writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be
        applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
        Lender's security is not lessened. During such repair and restoration period, Lender shall have the right to
        hold such insurance proceeds until Lender has had ah opportunity to inspect such Property to ensure the work
        has been completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly.
        Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
        payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires
        interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or
        earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not be
        paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is
        not economically feasible or Lender's security would be lessened, the insurance proceeds shall be applied to
        the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
        Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                 If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
        claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
        insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
        period will begin when the notice is given. In either event, or if Lender acquires the Property under Section
        22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an
        amount not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of
        Borrower's rights (other than the right to any refund of unearned premiums paid by Borrower) under all
        insurance policies covering the Property, insofar as such rights are applicable to the coverage of the Property.
        Lender may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid
        under the Note or this Security Instrument, whether or not then due.
                6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
        residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
        Properly as Borrower's principal residence for at least one year after the date of occupancy, unless Lender

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         otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
         circumstances exist which are beyond Borrower's control.
                  7. Preservation, Maintenance and Protection of the Property; inspections. Borrower shall not
         destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
         Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent
         the Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to
         Section 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property
         if damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid in
         connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
         restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse proceeds
         for the repairs and restoration in a single payment or in a series of progress payments as the work is
         completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
         Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.
                 Lender or its agent may make reasonable entries upon and inspections of die Property. If it has
         reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
         Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.
                  8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
         process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
         knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
         (or failed to provide Lender with material information) in connection with the Loan. Material representations
         include, but are not limited to, representations concerning Borrower's occupancy of the Property as
         Borrower's principal residence.
                  9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument
         If (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument (b) there
         is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this
         Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
         enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
         regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
         reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
         Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing the
         Property (as set forth below). Lender's actions can include, but are not limited to: (a) paying any sums
         secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying
         reasonable attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument,
         including its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited
         to, making repairs, replacing doors and windows, draining water from pipes, and eliminating building or
         other code violations or dangerous conditions. Although Lender may take action under this Section 9, Lender
         does not have to do so and is not under any duty or obligation to do so. It is agreed that Lender incurs uo
         liability for not taking any or all actions authorize! under this Section 9.
                 Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
         secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
         disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
         payment

                  If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
         lease. Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or cancel
         the ground lease. Borrower shall not, without the express written consent of Lender, alter or amend the

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        ground lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge
        unless Leader agrees to the merger in writing.
                 10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the
        Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect If, for any
        reason, the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage
        insurer that previously provided such insurance and Borrower was required to make separately designated
        payments toward the premiums for Mortgage Insurance, Borrower shall pay die premiums required to obtain
        coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
        equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage
        insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not available,
        Borrower shall continue to pay to Lender the amount of the separately designated payments that were due
        when the insurance coverage ceased to be in effect. Lender will accept, use and retain these payments as a
        non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable,
        notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay
        Borrower any interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if
        Mortgage Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer
        selected by Lender again becomes available, is obtained, and Lender requires separately designated payments
        toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition of
        making the Loan and Borrower was required to make separately designated payments toward the premiums
        for Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance in effect,
        or to provide a non-refundable loss reserve, until Lender's requirement for Mortgage Insurance ends in
        accordance with any written agreement between Borrower and Lender providing for such termination or until
        termination is required by Applicable Law. Nothing in this Section 10 affects Borrower's obligation to pay
        interest at the rate provided in the Note.
                 Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
        may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
                Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
        enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
        are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
        these agreements. These agreements may require die mortgage insurer to make payments using any source of
        funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
        Insurance premiums).
                 As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
        any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
        derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
        exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement provides
        that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to
        the insurer, the arrangement is often termed "captive reinsurance." Further:
               (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
        Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
        Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.
               (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
        Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
        include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
        Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any

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        Mortgage Insurance premiums that were unearned at the time of such cancellation or termination.
                  11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
        assigned to and shall be paid to Lender.
                 If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
        the Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
        such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until
        Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender's
        satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and
        restoration in a single disbursement or in a series of progress payments as the work is completed. Unless an
        agreement is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds,
        Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the
        restoration or repair is not economically feasible or Lender's security would be lessened, die Miscellaneous
        Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
        excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in
        Section 2.
                In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
        Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
        excess, if any, paid to Borrower.
                 In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
        value of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
        than the amount of the sums secured by this Security Instrument immediately before the partial taking,
        destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this
        Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
        following fraction: (a) the total amount of the sums secured immediately before the partial taking,
        destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
        partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
                 In die event of a partial taking, destruction, or loss in value of the Property in which the fair market
        value of the Property immediately before the partial taking, destruction, or loss in value is less than the
        amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
        Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
        secured by this Security Instrument whether or not the sums are then due.
               If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
        Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
        Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized to
        collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums
        secured by this Security Instrument, whether or not then due. "Opposing Party" means the third party that
        owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to
        Miscellaneous Proceeds.
                 Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
        Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's interest
        in the Property or rights under this Security Instrument Borrower can cure such a default and, if acceleration
        has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a
        ruling that, in Lender's judgment, precludes forfeiture of the Property or other material impairment of
        Lender's interest in the Property or rights under this Security Instrument The proceeds of any award or claim
        for damages that are attributable to the impairment of Lender's interest in the Property are hereby assigned

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          and shall be paid to Lender.
                    All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
          applied in the order provided for in Section 2.
                   12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
          payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
          to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or
          any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
          Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
          of the sums secured by this Security Instrument by reason of any demand made by die original Borrower or
          any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy
          including, without limitation, Lender's acceptance of payments from third persons, entities or Successors in
          Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the
          exercise of any right or remedy.
                   13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
          and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
          co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security
          Instrument only to mortgage, grant and convey the co-signer's interest in the Property under die terms of this
          Security Instrument; (b) is not personally obligated to pay the sums secured by this Security Instrument; and
          (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any
          accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
          consent

                   Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
          Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all
          of Borrower's rights and benefits under this Security Instrument Borrower shall not be released from
          Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release in
          writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section
          20) and benefit the successors and assigns of Lender.
                    14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
         Borrower's default for the purpose of protecting Lender's interest in the Property and rights under this
         Security Instrument including, but not limited to, attorneys' fees, property inspection and valuation fees. In
         regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee
         to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge fees
          that are expressly prohibited by this Security Instrument or by Applicable Law.
                    If tire Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted
          so that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
         permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
          charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
         limits will be refunded to Borrower. Lender may choose to make this refund by reducing die principal owed
         under the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will
         be treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
         provided for under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower
         will constitute a waiver of any right of action Borrower might have arising out of such overcharge.
                    15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
         must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
         have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice

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        address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
        Applicable Law expressly requires otherwise. The notice address shall be the Property Address unless
        Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
        Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
        address, then Borrower shall only report a change of address through that specified procedure. There may be
        only one designated notice address under this Security Instrument at any one time. Any notice to Lender shall
        be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless Lender
        has designated another address by notice to Borrower. Any notice in connection with this Security Instrument
        shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by
        this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
        the corresponding requirement under this Security Instrument
                 16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
        governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
        obligations contained in this Security Instrument are subject to any requirements and limitations of
        Applicable Law. Applicable Law might explicitly or implicidy allow the parties to agree by contract or it
        might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In die
        event that any provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such
        conflict shall not affect other provisions of this Security Instrument or the Note which can be given effect
        without the conflicting provision.
                 As used in this Security Instrument: (a) words of the masculine gender shall mean and include
        corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
        include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take
        any action.
                 17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security
        Instrument
                  18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
        "Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited to,
        those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
        escrow agreement, die intent of which is the transfer of title by Borrower at a future date to a purchaser.
                 If all or any part of die Property or any Interest in the Property is sold or transferred (or ifBorrower
        is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
        written consent, Lender may require immediate payment in full of all sums secured by this Security
        Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
        Applicable Law.
                If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
        provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
        within which Borrower must pay all sums secured by this Security Instrument If Borrower fails to pay these
        sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
        Instrument without further notice or demand on Borrower.
                 19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
        Borrower shall have die right to have enforcement of this Security Instrument discontinued at any time prior
        to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this
        Security Instrument; (b) such other period as Applicable Law might specify for die termination of Borrower's
        right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that
        Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note as

        GEORGIA—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
        m  318.66                                       Page 11 of 15                                   Form 3011    1701




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        if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all
        expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys'
        fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's
        interest in the Property and rights under this Security Instrument; and (d) takes such action as Lender may
        reasonably require to assure that Lender's interest in the Property and rights under this Security Instrument,
        and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
        Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following
        forms, as selected by Lender (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
        cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a federal
        agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this
        Security Instrument and obligations secured hereby shall remain folly effective as if no acceleration had
        occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 1 8.
                 20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
        the Note (together with this Security Instrument) can be sold one or more times without prior notice to
        Borrower. A sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic
        Payments due under the Note and this Security Instrument and performs other mortgage loan servicing
        obligations under the Note, this Security Instrument, and Applicable Law. There also might be one or more
        changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer,
        Borrower will be given written notice of the change which will state the name and address of Ihe new Loan
        Servicer, the address to which payments should be made and any other information RESPA requires in
        connection wife a notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a
        Loan Service- other than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will
        remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the
        Note purchaser unless otherwise provided by the Note purchaser.
                Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
        individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
        Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of,
        this Security Instrument, until such Borrower or Lender has notified the other party (with such notice given
        in compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto
        a reasonable period after the giving of such notice to take corrective action. If Applicable Law provides a
        time period which must elapse before certain action can be taken, that time period will be deemed to be
        reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure given to
        Borrower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18
        shall be deemed to satisfy the notice and opportunity to take corrective action provisions of this Section 20.
                 21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are tbose
        substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
        following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
        herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials; (b)
        "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
        relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response
        action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
        Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.
                 Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
        Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
        nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental


        GEORGIA—Single Family—Fannie Mac/Freddie Mac UNIFORM INSTRUMENT
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         Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
         Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding two
         sentences shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous
         Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of
         the Property (including, but not limited to, hazardous substances in consumer products).
                  Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
         or other action by any governmental or regulatory agency or private party involving the Property and any
         Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
         Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
         release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
         Hazardous Substance which adversely affects die value of the Property. If Borrower learns, or is notified by
         any governmental or regulatory authority, or any private party, that any removal or other remediation of any
         Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
         remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
         Lender for an Environmental Cleanup.


                 NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                 22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
         following Borrower's breach of any covenant or agreement in this Security Instrument (but not prior
         to acceleration under Section IS unless Applicable Law provides otherwise). The notice shall specify:
         (a) the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the
         date the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure
         the default on or before the date specified in the notice may result in acceleration of the sums secured
         by this Security Instrument and sale of the Property. The notice shall further inform Borrower of the
         right to reinstate after acceleration and the right to bring a court action to assert the non-existence of a
         default or any other defense of Borrower to acceleration and sale. If the default is not cured on or
         before the date specified in the notice, Lender at its option may require immediate payment in full of
         all sums secured by this Security Instrument without further demand and may invoke the power of
         sale granted by Borrower and any other remedies permitted by Applicable Law. Borrower appoints
         Lender the agent and attorney-in-fact for Borrower to exercise the power of sale. Lender shall be
         entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including,
         but not limited to, reasonable attorneys' fees and costs of title evidence.
                 If Lender invokes the power of sale, Lender shall give a copy of a notice of sale by public
         advertisement for the time and in the manner prescribed by Applicable Law. Lender, without further
         demand on Borrower, shall sell the Property at public auction to the highest bidder at the time and
         place and under the terms designated in the notice of sale in one or more parcels and in any order
         Lender determines. Lender or its designee may purchase the Property at any sale.
                 Loader shall convey to the purchaser indefeasible title to the Property, and Borrower hereby
         appoints Lender Borrower's agent and attorney-in-fact to make such conveyance. The recitals in the
         Lender's deed shall be prima facie evidence of the truth of the statements made therein. Borrower
         covenants and agrees that Lender shall apply the proceeds of the sale in the following order: (a) to all
         expenses of the sale, including, but not limited to, reasonable attorneys' fees; (b) to all sums secured by
         this Security Instrument; and (c) any excess to the person or persons legally entitled to it. The power
         and agency granted are coupled with an interest, are irrevocable by death or otherwise and are
         cumulative to the remedies for collection of debt as provided by Applicable Law.

         GEORGIA—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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                 If the Property is sold pursuant to this Section 22, Borrower, or any person holding possession
         of the Property through Borrower, shall immediately surrender possession of the Property to the
         purchaser at the sale. If possession is not surrendered, Borrower or such person shall be a tenant
         holding over and may be dispossessed in accordance with Applicable Law.
                  23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall cancel this
         Security Instrument Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
         releasing this Security Instrument but only if the fee is paid to a third party for services rendered and the
         charging of the fee is permitted under Applicable Law.
                 24. Waiver of Homestead. Borrower waives all rights of homestead exemption in the Property.
                  25. Assumption Not a Novation. Lender's acceptance of an assumption of the obligations of this
         Security Instrument and the Note, and any release of Borrower in connection therewith, shall not constitute a
         novation.
                 26. Security Deed. This conveyance is to be construed under the existing laws of the State of
         Georgia as a deed passing tide, and not as a mortgage, and is intended to secure the payment of all sums
         secured hereby.



                 BORROWER ACCEPTS AND AGREES to the terms and covenants contained in this Security
         Instrument and in any Rider executed by Borrower and recorded with it


                 IN WITNESS WHEREOF, Borrower has signed and sealed this Security Instrument




         - BORROWER -       HAROLD      RUBEN    MADDOX




         GEORGIA—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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        Signed, scaled and delivered in die presence of:




        Unofficial Witness



        Notary I*n5Bc, FCTISQW-County
                                                                       & AA             /
                       (VMb                                                             /
                                                                       W—^ *
                                           [Space Below This Line For Acknowledgment!




        Individual Loan Originator: TODD COSPER, NMLSR ID: 462233
        Loan Originator Organization: MOVEMENT MORTGAGE, LLC, NMLSR ID: 39179




        GEORGIA.—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
           318.66                                        Page 15 of 15                         Form 3011   1/01




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      After Recording Return To:
      MOVEMENT MORTGAGE,           LLC
      ATTENTION:
      8024 CALVIN HALL RD
      INDIAN LAND, SC 29707


      Prepared By:
      MARGARET MARCINIK
      MOVEMENT MORTGAGE,           LLC
      8024    CALVIN HALL ROAD
      INDIAN LAND, SC 29707
      888-589-4416



                           ACKNOWLEDGMENT OF BORROWER'S RIGHTS
                                                                      M&DDOX




      GRANTOR: HAROLD RDBEN MADDOX,               AN UNMARRIED MAN


      LENDER: MOVEMENT MORTGAGE,            LLC


      DATE OF SECURITY DEED: FEBRUARY 1,             2022


      BY EXECUTION OF THIS PARAGRAPH, GRANTOR EXPRESSLY: (1) ACKNOWLEDGES THE RIGHT TO
      ACCELERATE THE DEBT AND THE POWER OF ATTORNEY GIVEN HEREIN TO LENDER TO SELL
      THE PREMISES BY NONJUDICIAL FORECLOSURE UPON DEFAULT BY GRANTOR WITHOUT ANY
      JUDICIAL HEARING AND WTTHOUT ANY NOTICE OTHER THAN SUCH NOTICE AS IS REQUIRED TO
      BE GIVEN UNDER THE PROVISIONS HEREOF; (2) ACKNOWLEDGES THAT GRANTOR HAS READ THIS
      DEED AND SPECIFICALLY THIS PARAGRAPH AND ANY AND ALL QUESTIONS REGARDING THE
      LEGAL EFFECT OF SAID DEED AND ITS PROVISIONS HAVE BEEN EXPLAINED FULLY TO GRANTOR
      AND GRANTOR HAS BEEN AFFORDED AN OPPORTUNITY TO CONSULT WTTH COUNSEL OF
      GRANTOR'S CHOICE PRIOR TO EXECUTING THIS DEED; (3) AGREES THAT THE PROVISIONS
      HEREOF ARE INCORPORATED INTO AND MADE A PART OF THE SECURITY DEED.



      READ AND AGREED BY GRANTOR:




      - BORROWER -      HAROLD      RUBEN   MADDOX




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       Signed, sealed and dgfiyeredin the presence of:




       05official Witness                                                  L- #      / mm      \          l
                                                                              I      | GEORGIA I          §
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                                           CLOSING ATTORNEY'S AFFIDAVIT
       Before the undersigned attesting officer personally appeared the undersigned closing attorney, who, having been
       first duly sworn according to law, states under oath as follows:

       In closing the above loan, but prior to the execution of the Deed to Secure Debt and "Acknowledgment of the
       Borrower's Rights" by the Borrowers), I reviewed with and explained to the Borrowers) the terms and provisions
       of the Deed to Secure Debt and particularly the provisions thereof authorizing the Lender to sell the secured
       property by a nonjudicial foreclosure under a power of sale. After said review with and explanation to Borrowex(s),
       Borrowers) executed the Deed to Secure Debt and "Acknowledgment of Borrower's Rights."




       Closing Attorney


       Sworn to and subscribed before me on     02/01/2022



       Notary Public


       My Commission Expires:




                                 I                          I




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                                 GEORGIA FORECLOSURE DISCLOSURE


                          Made Pursuant to Ga. Comp. R. & Regs. r. 80-ll-l-.01(9)
                                                                                 MftDDOX


                                                                                  M1N: 100670800035781467
     Date: FEBRUARY 1,      2022

     Lender MOVEMENT MORTGAGE,           LLC

      Borrower(s): HAROLD RDBEN MADDOX

     Property Address: 2225 WALLACE RD SW
                        ATLANTA,     GA 30331-7760


     O.C.G.A. Section 7-1-1014(3) requires that we inform you that if you fail to meet any condition or term of the
     documents that you sign in connection with obtaining a mortgage loan you may lose the property that serves
     as collateral for the mortgage loan through foreclosure.

     By signing below, you acknowledge receipt of this Disclosure.



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                                             e
     - BORROWER -       HAROLD     RDBEN    MADDOX - DATE -




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                                                                                              CATHELENE ROBINSON
                                                                                              Clerk of Superior Court




                                                      EXHIBIT A




        ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOTS
        94 AND 105 OFTHE 14™ (FF) DISTRICT OF "FULTON COUNTY, GEORGIA, AND
        BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

                                                                   OF
        BEGINNING AT AN IRON PIN LOCATED ON THE SOUTHWESTERLY SEDE
        WALLACE ROAD AT THE INTERSECTION OF THE SOUTHWEST SIDE OF
        WALLACE ROAD AND THE EAST LINE OF LAND LOT 105; RUNNING THENCE
        NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
        ROAD, FIFTY-ONE AND SIX-TENTHS (51 .6) FEET TO AN IRON PIN; RUNNING
        THENCE SOUTHWESTERLY, FORMING AN INTERIOR ANGLE OF 88 DEGREES
        51 MINUTES WITH THE PRECEDING CALL A DISTANCE OF THREE HUNDRED
        THIRTY-EIGHT AND ONE-TENTH (338.1) FEET TO AN IRON PIN; RUNNING
        THENCE SOUTHEASTERLY. FORMING AN INTERIOR ANGLE OF 107
        DEGREES 24 MINUTES WITH THE PRECEDING CALL A DISTANCE OF FOUR
        HUNDRED TWENTY-SIX (426) FEET TO AN IRON PIN LOCATED ON THE
        EASTERLY LINE OF LAND LOT 105, RUNNING THENCE EASTERLY, FORMING
                                                                        G
        AN INTERIOR ANGLE OF 128 DEGREES 12 MINUTES WITH THE PRECEDIN
        CALL, A DISTANCE OF FIVE HUNDRED THIRTY (530) FEET TO AN IRON PIN;
        RUNNING THENCE NORTHERLY, ONE HUNDRED EIGHTY-EIGHT AND
        EIGHT-TENTHS (IS8J8) FEET TO AN IRON PIN; LOCATED ON THE
        SOUTHWESTERLY SIDE OF WALLACE ROAD; RUNNING THENCE
        NORTHWESTERLY ALONG THE SOUTHWESTERLY SIDE OF WALLACE
                                                                       AN
        ROAD, SIX HUNDRED SEVENTY-NINE AND NINE-TENTHS (679J9) FEET TO
         IRON PIN AND THE POINTOF BEGINNING, AS SHOWN ON SURVEY
                                                                        9,
         ENTITLED PROPERTY OF MRS. GUSSIE TRAW RENEGER, DATED AUGUST
                                                                      BOOK
         1961, PREPARED BY C.E. RUPPE, ENGINEER, AND RECORDED IN PLAT
         73, PAGE 70. FULTON COUNTY, GEORGIA RECORDS-




         Legal Description




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          '                  WRIT OF FIERI FACIAS
           IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA


Civil Action Number        201 1CV205919                                 LOUIS R. COHAN and WEINSTOCK &
                                                                                    SCAVO. P.C..
Judgment date              04/03/2017
                                                                                            Plaintiff(s)
PlaintifPs Attorney — Name, Address & Telephone
                                                                                             VS.
Name: Scott F. Bertschi
                                                                                CHARLTON CARLOS LESTER
Address: Clyde & Co US LLP
                                                                                    Defendant(s)
 271 17th Street NW                                               To all and singular the sheriffs of the State and their
                                                                  lawful deputies:
Suite 1720
                                                                   In the above styled case, and on the judgment date set
Atlanta, GA 30363                                                  out, the p!aintiff(s) named above, judgment in the
                                                                   following sums:
Telephone & Area Code 404-410-3171
                                                                       Principal                $         62.317.87
Fi. Fa. In Hands of:
                                                                       Interest                 $
                                                                       Late Fees                $.

                                                                       Attorney Fees            $.

                                                                       Court Cost               $_
                                                                       Totals                  $_
                                                                  NOTE:.



                                                                  with future interest upon said principal amount from the
                                                                  date of the judgment at the legal rate.

                   CANCELLATION                                   Therefore, YOU ARE COMMANDED, that of the goods
                                                                  and chattels, land and tenements of said defendants),
The within and forgoing Fi Fa. Having been paid in full
                                                                  and ESPECIALLY/ONLY of the following described
the Clerk of Superior Court is hereby directed to cancel it
                                                                  property, to wit*
of this                          day of         20

Signature: 1

Title:



YOU cause to be made the several sums set out in the forgoing recital of the judgment in this cause and have the
said several sums of money before the Superior Court of this County at the next term of court, with this Writ to render
to said plaintiff(s), interest, attorney fees and costs aforesaid.

                                                                                                                                                        3:
Witness the Honorable              Christopher S. Brasher                                 Judge of Said Court, this the
                                                                                                                                              W         ID
14th                              .day of June. 2016.                                                                                         w
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                                                                      Cathelene Robinson, Clerk of Superior Coi^t.




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                   I hereby certify the within ancFforegoing to be-a true, correct and complete cogy of the
               original that appears in Lw                        in'this office this        day of jro 2(^                mm
                                     CATHLENE FfOBlNSON-Glerk oT Sujrerior Court, Fulton CountyG/)                   ®v
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